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              EXHIBIT 40
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  CHAPTER 18 Mental Health                                                  et al., 2014; Peterson et al., 2021). In addition, psy-
                                                                            chiatric     symptoms           lessen    with     appropriate
  This chapter is intended to provide guidance to
                                                                            gender-affirming medical and surgical care (Aldridge
  health care professionals (I-ICPs) and mental health
                                                                            et al., 2020; Almazan and Keuroghlian; 2021; Bauer
  professionals (MHPs) who offer mental health care
                                                                            et al., 2015; Grannis et al., 2021) and with inter-
  to transgender and gender diverse (TGD) adults. It
                                                                            ventions that lessen discrimination and minority
  is not meant to be a substitute for chapters on the
                                                                            stress (Bauer et al., 2015; Heylens, Verroken et al.,
  assessment or evaluation of people for hormonal or
                                                                            2014; McDowell et al., 2020).
  surgical interventions. Many TGD people will not
                                                                               Mental health treatment needs to be provided by
  require therapy or other forms of mental health care
                                                                            staff and implemented through the use of systems
  as part of their transition, while others may benefit                     that respect patient autonomy and recognize gender
  from the support of mental health providers and                           diversity. MHPs working with transgender people
  systems (Dhejne et al., 2016).                                            should use active listening as amethod to encourage
       Some studies have shown ahigher prevalence of                        exploration in individuals who are uncertain about
  depression (Witcomb et al., 2018), anxiety (Bouman                        their gender identity. Rather than impose their own
  et al., 2017), and suicidality (Arcelus et al., 2016;                     narratives or preconceptions, MHPs should assist
  Bränström & Pachankis, 2022; Davey et al., 2016;                          their clients in determining their own paths. While
  Dhejne, 2011; Herman et al., 2019) among TGD                              many transgender people require medical or surgical
  people (Jones et al., 2019; Thorne, Witcomb et al.,                       interventions or seek mental health care, others do
  2019) than in the general population, particularly                        not (Margulies et al., 2021). Therefore, findings from
  in     those       requiring         medically         necessary          research involving clinical populations should not
  gender-affirming medical treatment (see medically                         be extrapolated to the entire transgender population.
  necessary         statement       in    Chapter        2—Global              Addressing mental illness and substance use
  Applicability; Statement 2.1). However, transgender                       disorders is important but should not be abarrier
  identity is not a mental illness, and these elevated                      to transition-related care. Rather, these interven-
  rates have been linked to complex trauma, societal                        tions to address mental health and substance use
  stigma, violence, and discrimination (Nuttbrock                           disorders can facilitate successful outcomes from




       Statements of Recommendations

       18.1- We recommend mental health professionals address mental health symptoms that interfere with a person's capacity to
       consent to gender-affirming treatment before gender-affirming treatment is initiated.
       18.2- We recommend mental health professionals offer care and support to transgender and gender diverse people to address
       mental health symptoms that interfere with aperson's capacity to participate in essential perioperative care before gender-affirmation
       surgery.
       18.3- We recommend when significant mental health symptoms or substance abuse exists, mental health professionals assess the
       potential negative impact that mental health symptoms may have on outcomes based on the nature of the specific gender-affirming
       surgical procedure.
       18.4- We recommend health care professionals assess the need for psychosocial and practical support of transgender and gender
       diverse people in the perioperative period surrounding gender- affirmation surgery.
       18.5- We recommend health care professionals counsel and assist transgender and gender diverse people in becoming abstinent
       from tobacco/nicotine prior to gender-affirmation surgery.
       18.6-We recommend health care professionals maintain existing hormone treatment if atransgender and gender diverse individual
       requires admission to a psychiatric or medical inpatient unit, unless contraindicated.
       18.7- We recommend health care professionals ensure if transgender and gender diverse people need in-patient or residential
       mental health, substance abuse or medical care, all staff use the correct name and pronouns (as provided by the patient), as
       well as provide access to bathroom and sleeping arrangements that are aligned with the person's gender identity.
       18.8- We recommend mental health professionals encourage, support, and empower transgender and gender diverse people to
       develop and maintain social support systems, including peers, friends, and families.
       18.9- We recommend health care professionals should not make it mandatory for transgender and gender diverse people to undergo
       psychotherapy prior to the initiation of gender-affirming treatment, while acknowledging psychotherapy may be helpful for some
       transgender and gender diverse people.
       18.10- We recommend "reparative" and "conversion" therapy aimed at trying to change a person's gender identity and lived
       gender expression to become more congruent with the sex assigned at birth should not be offered.



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transition-related care, which can improve quality        give informed consent—for example treating an
of life (Nobili et al., 2018).                            underlying psychosis—will allow the patient to
   All the statements in this chapter have been           gain the capacity to consent to the required treat-
recommended based on a thorough review of                 ment. However, mental health symptoms such as
evidence, an assessment of the benefits and               anxiety or depressive symptoms that do not affect
harms, values and preferences of providers and            the capacity to give consent should not be abar-
patients, and resource use and feasibility. In some       rier for gender-affirming medical treatment, par-
cases, we recognize evidence is limited and/or            ticularly as this treatment has been found to
services may not be accessible or desirable.              reduce mental health symptomatology (Aldridge
                                                          et al., 2020).
Statement 18.1
We recommend mental health professionals                  Statement 18.2
address mental health symptoms that interfere             We recommend mental health professionals
with a person's capacity to consent to gender-            offer care and support to transgender and gen-
affirming treatment before gender-affirming               der diverse people to address mental health
treatment is initiated.                                   symptoms that interfere with aperson's capacity
   Because patients generally are assumed to be           to participate in essential perioperative care
capable of providing consent for care, whether            before gender-affirmation surgery.
the presence of cognitive impairment, psychosis,            The inability to adequately participate in
or other mental illness impairs the ability to give       perioperative care due to mental illness or sub-
informed consent is subject to individual exam-           stance use should not be viewed as an obstacle
ination (Applebaum, 2007). Informed consent is            to needed transition care, but should be seen as
central to the provision of health care. The health       an indication mental health care and social sup-
care provider must educate the patient about the          port be provided (Karasic, 2020). Mental illness
risks, benefits, and alternatives to any care that        and substance use disorders may impair the abil-
is offered so the patient can make an informed,           ity of the patient to participate in perioperative
voluntary choice (Berg et al., 2001). Both the            care (Barnhill, 2014). Visits to health care pro-
primary care provider or endocrinologist pre-             viders, wound care, and other aftercare proce-
scribing hormones and the surgeon performing              dures (e.g., dilation after vaginoplasty) may be
surgery must obtain informed consent. Similarly,          necessary for a good outcome. A patient with a
MI-IPs obtain informed consent for mental health          substance use disorder might have difficulty
treatment and may consult on apatient's capacity          keeping necessary appointments to the primary
to give informed consent when this is in ques-            care provider and the surgeon. A patient with
tion. Psychiatric illness and substance use disor-        psychosis or severe depression might neglect
ders, in particular cognitive impairment and              their wound or not be attentive to infection or
psychosis, may impair an individual's ability to          signs of dehiscence (Lee, Marsh et al., 2016).
understand the risks and benefits of the treatment        Active mental illness is associated with a greater
(Hostiuc et al., 2018). Conversely, a patient may         need for further acute medical and surgical care
also have significant mental illness, yet still be        after   the      initial   surgery   (Wimalawansa
able to understand the risks and benefits of a            et al., 2014).
particular treatment (Carpenter et al., 2000).              In these cases, treatment of the mental illness
Multidisciplinary communication is important in           or substance use disorder may assist in achieving
challenging cases, and expert consultation should         successful outcomes. Arranging more support for
be utilized as needed (Karasic & Fraser, 2018).           the patient from family and friends or a home
For many patients, difficulty understanding the           health care worker may help the patient partici-
risks and benefits of a particular treatment can          pate sufficiently in perioperative care for surgery
be overcome with time and careful explanation.            to proceed. The benefits of mental health treat-
For some patients, treatment of the underlying            ments that may delay surgery should be weighed
condition that is interfering with the capacity to        against the risks of delaying surgery and should




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      include an assessment of the impact on the             of transgender and gender diverse people in
      patients' mental health delays may cause in            the      perioperative           period    surrounding
      addressing gender dysphoria (Byne et al., 2018).       gender-affirmation surgery.
                                                               Regardless of specialty, all HCPs have arespon-
      Statement 18.3                                         sibility to support patients in accessing medically
      We recommend when significant mental health            necessary care. When HCPs are working with
      symptoms or substance abuse exists, mental             TGD people as they prepare for gender-affirming
      health professionals assess the potential nega-        surgical procedures, they should assess the levels
      tive impact mental health symptoms may have            of psychosocial and practical support required
      on outcomes based on the nature of the specific        (Deutsch, 2016b). Assessment is the first step in
      gender-affirming surgical procedure.                   recognizing where additional support may be
        Gender-affirming surgical procedures vary in         needed and enhancing the ability to work col-
      terms of their impact on the patient. Some pro-        laboratively with the individual to successfully
      cedures require a greater ability to follow preop-     navigate the pre-, pen-, and postsurgical periods
      erative planning as well as engage in pen- and         (Tollinche et al., 2018). In the perioperative
      postoperative care to achieve the best outcomes        period, it is important to help patients optimize
      (Tollinche et al., 2018). Mental health symptoms       functioning, secure stable housing, when possible,
      can influence a patient's ability to participate in    build social and family supports by assessing their
      the planning and perioperative care necessary for      unique situation, plan ways of responding to
      any surgical procedure (Paredes et al., 2020). The     medical complications, navigate the potential
      mental health assessment can provide an oppor-         impact on work/income, and overcome additional
      tunity to develop strategies to address the poten-     hurdles some patients may encounter, such as
      tial negative impact mental health symptoms may        coping with electrolysis and tobacco cessation
      have on outcomes and to plan support for the           (Berli et al., 2017). In acomplex medical system,
      patient's ability to participate in the planning and   not all patients will be able to independently
      care. Gender-affirming surgical procedures have        navigate the procedures required to obtain care,
      been shown to relieve symptoms of gender dys-          and HCPs and peer navigators can support
      phoria and improve mental health (Owen-Smith           patients through this process (Deutsch, 2016a).
      et al., 2018; van de Grift, Elaut et al., 2017).
      These benefits are weighed against the risks of        Statement 18.5
      each procedure when the patient and provider           We recommend health care professionals coun-
      are deciding whether to proceed with the treat-        sel and assist transgender and gender diverse
      ment. HCPs can assist TGD people in reviewing          people in becoming abstinent from tobacco/
      preplanning and perioperative care instructions        nicotine prior to gender-affirmation surgery.
      for each surgical procedure (Karasic, 2020).             Transgender populations have higher rates of
      Provider and patient can collaboratively deter-        tobacco and nicotine use (Kidd et al., 2018).
      mine the necessary support or resources needed         However,          many       are     unaware      of       the
      to assist with keeping appointments for periop-        well-documented smoking-associated health risks
      erative care, obtaining necessary supplies, address-   (Bryant et al., 2014). Tobacco consumption
      ing   financial   issues,   and   handling    other    increases the risk of developing health problems
      preoperative coordination and planning. In addi-       (e.g.,     thrombosis)      in     individuals   receiving
      tion, issues surrounding appearance-related and        gender-affirming hormone treatment, particularly
      functional expectations, including the impact of       estrogens (Chipkin & Kim, 2017).
      these various factors on gender dysphoria, can           Tobacco use has been associated with worse out-
      be explored.                                           comes in plastic surgery, including overall compli-
                                                             cations, tissue necrosis, and the need for surgical
      Statement 18.4                                         revision (Coon et al., 2013). Smoking also increases
      We recommend health care professionals assess          the risk for postoperative infection (Kaoutzanis
      the need for psychosocial and practical support        et al., 2019). Tobacco use has been shown to affect




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the healing process following any surgery, including       et al., 2015). Halting a patient's regularly pre-
gender-related surgeries (e.g., chest reconstructive       scribed hormones denies the patient of these
surgery, genital surgery) (Pluvy, Garrido et al.,          salutary effects, and therefore may be counter to
2015). Tobacco users have a higher risk of cuta-           the goals of hospitalization.
neous necrosis, delayed wound healing, and scar-                Some providers may be unaware of the low risk
ring disorders due to hypoxia and tissue ischemia          of harm and the high potential benefit of continu-
(Pluvy, Panouilleres et al., 2015). In view of this,       ing transition-related treatment in the inpatient
surgeons recommend stopping the use of tobacco/            setting. A study of US and Canadian medical
nicotine prior to gender-affirmation surgery and           schools revealed that students received an average
abstaining from smoking up to several weeks post-          of 5hours of LGBT-related course content over
operatively until the wound has completely healed          their entire four years of education (Obedin-Maliver
(Matei & Danino, 2015). Despite the risks, cessa-          et al., 2011). According to a survey of Emergency
tion may be difficult. Tobacco smoking and nico-           Medicine physicians, who are often responsible for
tine use is addictive and is also used as a coping         making quick decisions about medications as
mechanism (Matei et al., 2015). HCPs who see               patients are being admitted, while 88% reported
patients longitudinally before surgery, including          caring for transgender patients, only 17.5% had
mental health and primary care providers, should           received any formal training about this population
address the use of tobacco/nicotine with individuals       (Chisoim-Straker et al., 2018). As education about
in their care, and either assist TGD people in             transgender topics increases, more providers will
accessing smoking cessation programs or provide            become aware of the importance of maintaining
treatment directly (e.g., varenicline or bupropion).       transgender patients on their hormone regimens
                                                           during hospitalization.
Statement 18.6
We recommend health care professionals main-               Statement 18.7
tain existing hormone treatment if a transgen-             We recommend health care professionals ensure
der and gender diverse individual requires                 if transgender and gender diverse people need
admission to a psychiatric or medical inpatient            inpatient or residential mental health, substance
unit, unless contraindicated.                              abuse, or medical care, all staff use the correct
   TGD people entering inpatient psychiatric, sub-         name and pronouns (as provided by the patient),
stance use treatment, or medical units should be           as well as provide access to bathroom and sleep-
maintained on their current hormone regimens.              ing arrangements that are aligned with the per-
There is an absence of evidence supporting rou-            son's gender identity.
tine cessation of hormones prior to medical or                  Many TGD patients encounter discrimination
psychiatric admissions. Rarely, a newly admitted           in awide range of health settings, including hos-
patient may be diagnosed with a medical com-               pitals, mental health treatment settings, and drug
plication necessitating suspension of hormone              treatment programs (Grant et al., 2011). When
treatment, for example an acute venous throm-              health systems fail to accommodate TGD indi-
boembolism (Deutsch, 2016a). There is no strong        viduals, they reinforce the longstanding societal
evidence for routinely stopping hormone treat-             exclusion many have experienced (Karasic, 2016).
ment prior to surgery, and the risks and benefits          Experiences of discrimination in health settings
for each individual patient should be assessed             lead to avoidance of needed health care due to
before doing so (Boskey et al., 2018).                     anticipated discrimination (Kcomt et al., 2020).
   Hormone treatment has been shown to improve                  The experience of discrimination experienced
quality of life and to decrease depression and         by TGD individuals is predictive of suicidal ide-
anxiety (Aldridge et al., 2020; Nguyen et al., 2018;       ation (Rood et al., 2015; Williams et al., 2021).
Nobili et al,, 2018; Owen-Smith et al., 2018,              Gender minority stress associated with rejection
Rowniak et al., 2019). Access to gender-affirming          and nonaffirmation has also been associated with
medical treatment is associated with a substantial         suicidality (Testa et al., 2017). Denial of access
reduction in the risk of suicide attempt (Bauer            to    gender   appropriate bathrooms     has   been




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  associated with increased suicidality (Seelman,       and accepted as their authentic identity and help
  2016). However, the use of chosen names for           them cope with symptoms of gender dysphoria.
  TGD people has been associated with lower             Interpersonal problems and lack of social support
  depression and suicidality (Russell et al., 2018).    have been associated with a greater incidence of
  Structural as well as internalized transphobia        mental health difficulties in TGD people (Bouman,
  must be addressed to reduce the incidence of          Davey et al., 2016; Davey et al., 2015) and have
  suicide attempts in TGD people (Brumer et al.,        been shown to be an outcome predictor of
  2015). To successfully provide care, health set-      gender-affirming medical treatment (Aldridge
  tings must minimize the harm done to patients         et al., 2020). Therefore, HCPs should encourage,
  because of transphobia by respecting and accom-       support, and empower TGD people to develop
  modating TGD identities.                              and maintain social support systems. These expe-
                                                        riences can foster the development of interper-
  Statement 18.8                                        sonal skills and help with coping with societal
  We recommend mental health professionals              discrimination, potentially reducing suicidality
  encourage, support, and empower transgender           and improving mental health (Pflum et al., 2015).
  and gender diverse people to develop and main-
  tain social support systems, including peers,         Statement 18.9
  friends, and families.                                We recommend health care professionals should
    While minority stress and the direct effects of     not make it mandatory for transgender and gen-
  discriminatory societal discrimination can be         der diverse people to undergo psychotherapy prior
  harmful to the mental health of TGD people,           to the initiation of gender-affirming treatment,
  strong social support can help lessen this harm       while acknowledging psychotherapy may be help-
  (Trujillo et al., 2017). TGD children often inter-    ful for some transgender and gender diverse people.
  nalize rejection from family and peers as well as       Psychotherapy has along history of being used
  the transphobia that surrounds them (Amodeo           in clinical work with TGD people (Fraser, 2009b).
  et al., 2015). Furthermore, exposure to transphobic   The aims, requirements, methods and principles
  abuse may be impactful across aperson's lifespan      of psychotherapy have been an evolving compo-
  and may be particularly acute during the adoles-      nent of the Standards of Care from the initial
  cent years (Nuttbrock et al., 2010).                  versions (Fraser, 2009a). At present, psychothera-
    The development of affirming social support         peutic assistance and counseling with adult TGD
  is protective of mental health. Social support can    people may be sought to address common psy-
  act as abuffer against the adverse mental health      chological concerns related to coping with gender
  consequences of violence, stigma, and discrimi-       dysphoria and may also help some individuals with
  nation (Bockting et al., 2013), can assist in nav-    the coming-out process (Hunt, 2014). Psychological
  igating health systems (Jackson Levin et al.,         interventions, including psychotherapy, offer effec-
  2020), and can contribute to psychological resil-     tive tools and provide context for the individual,
  ience in TGD people (Bariola et al., 2015; Baar       such as exploring gender identity and its expres-
  and Oz, 2016). Diverse sources of social support,     sion, enhancing self-acceptance and hope, and
  especially LGBTQ + peers and family, have been        improving resilience in hostile and disabling envi-
  found to be associated with better mental health      ronments (Matsuno and Israel, 2018). Psychotherapy
  outcomes, well-being, and quality of life (Bariola    is an established alternative therapeutic approach
  et al., 2015; Baar et at., 2016; Kuper, Adams         for addressing mental health symptoms that may
  et al., 2018; Puckett et al., 2019). Social support   be revealed during the initial assessment or later
  has been proposed to facilitate the development       during the follow-up for gender-affirming medical
  of coping mechanisms and lead to positive emo-        interventions. Recent research shows, although
  tional experiences throughout the transition pro-     mental health symptoms are reduced following
  cess (Budge et al., 2013).                            gender-affirming medical treatment, levels of anx-
    HCPs can support patients in developing social      iety remain high (Aldridge et al., 2020) suggesting
  support systems that allow them to be recognized      psychological therapy can play a role in helping




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individuals suffering from anxiety symptoms fol-                      by many major medical and mental health orga-
lowing gender-affirming treatment.                                    nizations across the world, including the World
    In recent years, the uses and potential benefits                  Psychiatric Association, Pan American Health
of specific psychotherapeutic modalities have                         Organization, American Psychiatric and American
been reported (Austin et al., 2017; Budge, 2013;                      Psychological Associations, Royal College of
Budge et al., 2021; Embaye, 2006; Fraser, 2009b;                      Psychiatrists, and British Psychological Society.
Heck et al., 2015). Specific models of psychother-                    Many states in the US have instituted bans on
apy have been proposed for adult transgender                          practicing conversion therapy with minors.
and nonbinary individuals (Matsuno & Israel,                          Gender identity change efforts refers to inter-
2018). However, more empiric data is needed on                        ventions by MHPs or others that attempt to
the comparative benefits of different psychother-                     change gender identity or expression to be more
apeutic          models           (Catelan   et   al.,   2017).       in line with those typically associated with the
Psychotherapy can be experienced by transgender                       person's   sex   assigned   at   birth   (American
persons as a fearful as well as a beneficial expe-                    Psychological Association, 2021).
rience (Applegarth & Nuttall, 2016) and presents                        Advocates of "conversion therapy" have sug-
challenges to the therapist and to alliance forma-                    gested it could potentially allow a person to fit
tion when it is associated with gatekeeping for                       better into their social world. They also point
medical interventions (Budge, 2015).                                  out some clients specifically ask for help changing
    Experience suggests many transgender and non-                     their gender identities or expressions and thera-
binary individuals decide to undergo gender-                          pists should be allowed to help clients achieve
affirming medical treatment with little or no use                     their goals. However, "conversion therapy" has
of psychotherapy (Spanos et al., 2021). Although                      not been shown to be effective (APA, 2009;
various modalities of psychotherapy may be ben-                       Przeworski et al., 2020). In addition, there are
eficial for different reasons before, during, and after               numerous potential harms. In retrospective stud-
gender-affirming medical treatments and varying                       ies, a history of having undergone conversion
rates of desire for psychotherapy have been reported                  therapy is linked to increased levels of depression,
during different stages of transition (Mayer et al.,                  substance abuse, suicidal thoughts, and suicide
2019), a requirement for psychotherapy for initi-                     attempts, as well as lower educational attainment
ating gender-affirming medical procedures has not                     and less weekly income (Ryan et al., 2020; Saiway
been shown to be beneficial and may be aharmful                       et al., 2020; Turban, Beckwith et al., 2020). In
barrier to care for those who do not need this type                   2021, the American Psychological Association
of treatment or who lack access to it.                                resolutions states that "scientific evidence and
                                                                      clinical experience indicate that GICEs [gender
Statement 18.10                                                       identity change efforts] put individuals at signif-
We recommend "reparative" and "conversion"                            icant risk of harm" (APA, 2021).
therapy aimed at trying to change a person's                            While there are barriers to ending gender iden-
gender identity and lived gender expression to                        tity "change" efforts, education about the lack of
become more congruent with the sex assigned                           benefit and the potential harm of these practices
at birth should not be offered.                                       may lead to fewer providers offering "conversion
    The use of "reparative" or "conversion" therapy                   therapy" and fewer individuals and families
or gender identity "change" efforts is opposed                        choosing this option.




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  Acknowledgements                                               Conflict of Interest

  Karen A. Robinson, Professor of Medicine at Johns              Conflict of interests were reviewed as part of the selection
  Hopkins   University    and    Director    of the   School's   process for committee members and at the end of the process
  Evidence-based Practice Center and her staff for con-          before publication. No conflicts of interest were deemed sig-
  ducting all systematic reviews and their assistance in         nificant or consequential.
  the development of the recommendations that underpin
  the SOC-S. Ethical considerations: Carol Bayley, Simona        Ethical Approval
  Giordano, and Sharon Sytsma. Legal perspectives: Jennifer
                                                                 This manuscript does not contain any studies with human
  Levi and Phil Duran. Reference checkers: Taymy Caso,
                                                                 participants performed by any of the authors.
  Oscar Dimant, Zil Goldstein, Ali Harris, Nat Thorne.
  Editors: Margueritte White, Jun Xia. Administrative sup-
  port: Blame Vella, Taylor O'Sullivan and Jamie Hicks.          Funding
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                                                                 Practice Center of Johns Hopkins University for their work. Editors
  Transgender    Network        Foundation    (APTN),     The    and reference checkers were paid nominal fees. Committee mem-
  International Lesbian, Gay, Bisexual, Trans and Intersex       bers were not paid for their contributions. Some travel expenses
  Association (ILGA), and Transgender Europe (TGEU)              for committee chairs were covered by the World Professional
  for their helpful and constructive feedback on an earlier      Association for Transgender Health (WPATH). WPATH staff and
  version of the SOC-8.                                          other internal expenses were covered by the Association's budget.




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     Appendix A METHODOLOGY                                                  •      A transparent selection process to develop the
                                                                                    guidelines steering committee as well as to select
     1. Introduction                                                                chapter leads and members;
                                                                             •      The inclusion of diverse stakeholders in the devel-
     This version of the Standards of Care (SOC-8) is based                         opment of the SOC-8
     upon a more rigorous and methodological evidence-based                  •      Management of conflicts of interest
     approach than previous versions. This evidence is not only
                                                                             •      The use of aDelphi process to reach agreement on
     based on the published literature (direct as well as back-
                                                                                    the recommendations among SOC-8 committee
     ground evidence) but also on consensus-based expert opin-
                                                                                    members
     ion. Evidence-based guidelines include recommendations                  •      The involvement of an independent body from a
     intended to optimize patient care and are informed by a
                                                                                    reputable university to help develop the methodol-
     systematic review of evidence and an assessment of the                         ogy and undertake independent systematic literature
     benefits and harms of alternative care options. Evidence-based                 reviews where possible
     research provides the basis for sound clinical practice guide-                 Recommendations were graded as either "recom-
     lines and recommendations but must be balanced by the                          mend" or "suggest" based upon the strength of the
     realities and feasibility of providing care in diverse settings.               recommendations.
     The process for development of the SOC-8 incorporated                   •      The involvement of an independent group of clinical
     recommendations on clinical practice guideline development                     academics to review citations.
     from the National Academies of Medicine and The World                   •      The involvement of international organizations work-
     Health Organization that addressed transparency, the
                                                                                    ing with the transgender and gender diverse (TGD)
     conflict-of-interest policy, committee composition and group
                                                                                    community, members of WPATH and other profes-
     process. (Institute of Medicine Committee on Standards for
                                                                                    sional organizations as well as the general public
     Developing Trustworthy Clinical Practice, 2011; World                          who provided feedback through a public comment
     Health Organization, 2019a).
                                                                                    period regarding the whole SOC-8.
         The SOC-8 revision committee was multidisciplinary and
     consisted of subject matter experts, health care profession-
     als, researchers and stakeholders with diverse perspectives
     and geographic representation. All committee members                  3. Overview of SOC-8 development Process
     completed conflict of interest dec l  ara ti ons .*
                                                                           The steps for updating the Standards of Care are summa-
         A guideline methodologist assisted with the planning and
                                                                           rized below:
     development of questions, and an independent team under-
     took systematic reviews that were used to inform some of
                                                                             1.     Establishing Guideline Steering Committee including
     the statements for recommendations. Additional input to the
                                                                                    Chair, and Co-Chairs (July 19, 2017)
     guidelines was provided by an international advisory com-
                                                                             2.     Determining chapters (scope of guidelines)
     mittee, legal experts, and feedback received during apublic
                                                                             3.     Selecting Chapter Members based upon expertise
     comment period. Recommendations in the SOC-8 are based
                                                                                    (March 2018)
     on available evidence supporting interventions, adiscussion
                                                                             4.     Selecting the Evidence Review Team: John Hopkins
     of risks and harms, as well as feasibility and acceptability
                                                                                    University (May 2018)
     within different contexts and country settings. Consensus of
                                                                             5.     Refining topics included in the SOC-8 and review
     the final recommendations was attained using aDelphi pro-
                                                                                    questions for systematic reviews
     cess that included all members of the Standards of Care
     Revision committee and required that recommendation state-              6.     Conducting systematic reviews (March 2019)
     ments were approved by 75% of members. Supportive and                   7.     Drafting the recommendation statements
                                                                             8.     Voting on the recommendation statements using a
     explanatory text of the evidence for the statements were
                                                                                    Delphi process (September 2019—February 2022)
     written by chapter members. Drafts of the chapters were
                                                                             9.     Grading of the recommendations statements
     reviewed by the Chair and the Co-Chairs of the SOC
                                                                             10.    Writing the text supporting the statements
     Revision Committee to ensure the format was consistent,
                                                                             11.    Independently validating the references used in the
     evidence was properly provided, and recommendations were
     consistent across chapters. An independent team checked                        supportive text
                                                                              12.   Finalizing a draft SOC-8 (December 1, 2021)
     the references used in the SOC-8 before the guidelines were
                                                                              13.   Feedback on the statements by International
     fully edited by asingle professional. A detailed overview of
                                                                                    Advisory Committee
     the SOC-8 Methodology is described below.
                                                                              14.   Feedback on the entire draft of the SOC-8 during
                                                                                    apublic comment period (November 2021—January
     2. Difference between the methodology of the                                   2022)
                                                                              15.   Revision of Final Draft based on comments (January
     SOC-8 and previous editions
                                                                                    2022- May 2022)
     The main differences in the methodology of the SOC-8                     16.   Approval of final Draft by Chair and Co-Chairs
     when compared with other versions of the SOC are:                              (June 10, 2022)
                                                                              17.   Approval by the WPATH Board of Directors
             The involvement of a larger group of professionals               18.   Publication of the SOC-8
             from around the globe;                                           19.   Dissemination and translation of the SOC-8



                                                      EXHIBIT
                                                      WIT:

                                                       DATE:
                                                       CARLA SOARES, CSR




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  3.1. Establishment of Guideline Steering                               15.   Primary care
  Committee                                                              16.   Reproductive Health
                                                                         17.   Sexual Health
  The WPATH Guideline Steering Committee oversaw the                     18.   Mental Health
  guideline development process for all chapters of the
  Standards of Care. Except for the Chair (Eli Coleman) who              * The Education Chapter was originally intended to cov-

  was appointed by the WPATH board to maintain aconti-                er both education and ethics. A decision was made to cre-
  nuity from previous SOC editions, members of the Guideline          ate a separate committee to write a chapter on ethics. In
  Steering Committee were selected by the WPATH Board                 the course of writing the chapter, it was later determined
  from WPATH members applying for these positions. Job                topic of ethics was best placed external to the SOC8 and
  descriptions were developed for the positions of Co-Chairs,         required further in-depth examination of ethical consider-
  Chapter Leads, Chapter Members and Stakeholder. WPATH               ations relevant to transgender health.
  members were eligible to apply by completing an application
  form and submitting their CV. The Board of WPATH vot-
  ed for the position of co-chair (one member of the board            3.3. Selection of chapter members
  did not participate in view of conflict of interest). The chairs
  and co-chairs selected the chapter leads and members (as            A call for applications to be part of the SOC-8 review
  well as stakeholders) based on the application form and             committee (chapter lead or member) was sent to the
  CVs.                                                                WPATH membership. The Chairs of the Guideline Steering
     The Guideline Steering Committee for Standards of Care           Committee appointed the members for each chapter, en-
  8th Version are:                                                    suring representation from avariety of disciplines and per-
                                                                      spectives.
            Eli Coleman, PhD (Chair) Professor, Director and             Chapter Leads and Members were required to be
            Academic Chair, Institute for Sexual and Gender           WPATH Full Members in good standing and content ex-
            Health, Department of Family Medicine and                 perts in transgender health, including in at least one chap-
            Community Health, University of Minnesota Medical         ter topic. Chapter Leads reported to the Guideline Steering
            School (USA)                                              Committee and were responsible for coordinating the par-
     •      Asa Radix, MD, PhD, MPH (Co-chair) Senior                 ticipation of Chapter Members. Chapter members reported
            Director, Research and Education Callen-Lorde             directly to the Chapter Lead.
            Community Health Center Clinical Associate                   Each chapter also included stakeholders as members who
            Professor of Medicine New York University, USA            bring perspectives of transgender health advocacy or work
     •      Jon Arcelus, MD, PhD (Co-chair) Professor of              in the community, or as amember of afamily that includ-
            Mental Health and Well-being Honorary Consultant          ed a transgender child, sibling, partner, parent, etc.
            in Transgender Health University of Nottingham,           Stakeholders were not required to be full members of
            UK                                                        WPATH.
     •      Karen A. Robinson, PhD (Lead, Evidence Review                The Chapter Members were expected to:
            Team) Professor of Medicine, Epidemiology and
            Health Policy & Management Johns Hopkins                     •     Participate in the development refinement of review
            University, USA                                                    questions
                                                                         •     Read and provide comments on all materials from
                                                                               the Evidence Review Team
  3.2. Determination of topics for chapters                              •     Critically review draft documents, including the
                                                                               draft evidence report
  The Guideline Steering Committee determined the chapters               •     Review and         assess  evidence    and    draft
  for inclusion in the Standards of Care by reviewing the                      recommendations
  literature and by reviewing the previous edition of the SOC.           •     Participate in the Delphi consensus process
  The chapters in the Standards of Care 8th Version:                     •     Develop the text to back up the recommendation
                                                                               statements
     1.     Terminology                                                  •     Grade each statement to describe the strength of
     2.     Global Applicability                                               the recommendation
     3.     Population estimates                                         •     Review and address the comments from the Chairs
     4.     Education'                                                         during the whole process
     5.     Assessment of Adults                                         •     Develop the content of the chapters
     6.     Adolescent                                                   •     Review comments from public comments and assist
     7.     Children                                                           in the development of a revision of guidelines
     8.     Nonbinary                                                    •     Provide input and participate in the dissemination
     9.     Eunuch                                                             of guidelines
     10.    Intersex
     11.    Institutional environments                                   Training and orientation for Chapter Leads and Members
     12.    Hormone Therapy                                           was provided, as needed. Training content included formu-
     13.    Surgery and Postoperative Care                            lation and refinement of questions (i.e., use of PICO), re-
     14.    Voice and communication                                   viewing the evidence, developing recommendation state-




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 ments, grading the evidence and the recommendations, and              results of the systematic reviews to the members of the
 information about the guideline development program and               relevant chapter for feedback.
 process.
    A total of 26 chapter-leads were appointed (some chap-
 ters required co-leads), 77 chapter members and 16 stake-             Protocol
 holders. A total of 127 were selected. During the Soc
 process, 8 people left, due to personal or work-related is-           A separate detailed systematic review protocol was devel-
                                                                       oped for each review question or topic, as appropriate. Each
 sues. Therefore, there were 119 final authors of the SOC-8.
                                                                       protocol was registered on PROSPERO.


 3.4. Selection of the evidence review team
                                                                       Literature search
 The WPATH Board issued a request for applications to
 become the Evidence Review Team. For Standards of care                The Evidence Review Team developed a search strategy
 8th Version the WPATH Board engaged the Evidence                      appropriate for each research question including MEDLINE,
 Review Team at Johns Hopkins University under the lead-               Embase', and the Cochrane Central Register of Controlled
 ership of Karen Robinson.                                             Trials (CENTRAL). The Evidence Review Team searched
                                                                       additional databases as deemed appropriate for the research
                                                                       question. The search strategy included MeSH and text terms
    •   Karen A. Robinson, PhD (Lead, Evidence Review
                                                                       and was not limited by language of publication or date.
        Team) Professor of Medicine, Epidemiology and
                                                                           The Evidence Review Team hand searched the reference
        Health Policy & Management Johns Hopkins
                                                                       lists of all included articles and recent, relevant systematic
        University, USA
                                                                       reviews. The Evidence Review Team searched ClinicalTrials.
                                                                       gov for any additional relevant studies.
    Dr Robinson also guided the steering committee in the
                                                                           Searches were updated during the peer review process.
 development of the SOC-8 by providing advice and training
                                                                           The literature included in the systematic review was
 in the development of rico questions, statements, and the
                                                                       mostly based on quantitative studies conducted in Europe,
 Delphi process as well as undertaking avery rigorous sys-
                                                                       the US or Australia. We acknowledge a bias towards per-
 tematic literature review where direct evidence was available.
                                                                       spectives from the global north that does not pay sufficient
                                                                       attention to the diversity of lived experiences and perspec-
                                                                       tives within transgender and gender diverse (TGD) com-
 Conflict of interest
                                                                       munities across the world. This imbalance of visibility in
 Members of the Guideline Steering Committee, Chapter                  the literature points to a research and practice gap that
 Leads and Members, and members of the Evidence Review                 needs to be addressed by researchers and practitioners in
 Team were asked to disclose any conflicts of interest. Also           the future in order to do justice to the support needs of
 reported, in addition to potential financial and competing            all TGD people independent of gender identification.
 interests or conflicts, are personal or direct reporting rela-
 tionships with achair, co-chair or aWPATH Board Member
 or the holding of a position on the WPATH Board of                    Study selection
 Directors.
                                                                       The Evidence Review Team, with input from the Chapter
                                                                       Workgroup Leads, defined the eligibility criteria for each
                                                                       research question apriori.
 3.5. Refinement of topics and review of questions                        Two reviewers from the Evidence Review Team inde-
 The Evidence Review Team abstracted the recommendation                pendently screened titles and abstracts and full-text articles
 statements from the prior version of the Standards of Care.           for eligibility. To be excluded, both reviewers needed to
                                                                       agree that the study met at least one exclusion criteria.
 With input from the Evidence Review Team, the Guideline
                                                                       Reviewers resolved differences regarding eligibility through
 Steering Committee and Chapter Leads determined:
                                                                       discussion.
    •   Recommendation statements that needed to be
        updated
                                                                       Data extraction
    •   New areas requiring recommendation statements
                                                                       The Evidence Review Team used standardized forms to
                                                                       abstract data on general study characteristics, participant
 3.6. Conduct the systematic reviews                                   characteristics, interventions, and outcome measures. One
                                                                       reviewer abstracted the data, and a second reviewer con-
 Chapter Members developed questions to help develop rec-
                                                                       firmed the abstracted data.
 ommendation statements. For the questions eligible for
 systematic review, the Evidence Review Team drafted review
 questions, specifying the Population, Interventions,                  Assessment of risk of bias
 Comparisons, and Outcomes (PICO elements). The Evidence
 Review Team undertook the systematic reviews. The                     Two reviewers from the Evidence Review Team independent-
 Evidence Review Team presented evidence tables and other              ly assessed the risk of bias for each included study. For




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  randomized controlled trials, the Cochrane Risk of Bias Tool      was not approved, the statement was removed from the
  was used. For observational studies, the Risk of Bias in          SOC. Every member of the SOC voted for each statement.
  Non-Randomized Studies—of Interventions (ROBINS-I) tool           There was a response rate between (74.79% and 94.96%)
  was used. Where deemed appropriate, existing recent sys-          for the statements.
  tematic reviews were considered and evaluated using ROBIS.

                                                                    3.9. Grading criteria for statements
  Data synthesis and analysis
                                                                    Once the statements passed the Delphi process, chapter
  The Evidence Review Team created evidence tables detailing        members graded each statement using a process adapted
  the data abstracted from the included studies. The members        from the Grading of Recommendations, Assessment,
  of the Chapter Workgroups reviewed and provided com-              Development and Evaluations (GRADE) framework. This a
  ments on the evidence tables.                                     transparent framework for developing and presenting sum-
                                                                    maries of evidence and provides a systematic approach for
                                                                    making clinical practice recommendations (Guyatt et al.,
  Grading of the evidence                                           2011). The statements were graded based on factors such as:

  The Evidence Review Team assigned evidence grades using
                                                                       •   The balance of potential benefits and harms
  the GRADE methodology. The strength of the evidence was
                                                                       •   Confidence in that balance or quality of evidence
  obtained using predefined critical outcomes for each ques-
                                                                       •   Values and preferences of providers and patients
  tion and by assessing the limitations to individual study
                                                                       •   Resource use and feasibility
  quality/risk of bias, consistency, directness, precision, and
  reporting bias.
                                                                       The statements were classified as:

                                                                       •   Strong recommendations ("we recommend") are for
  3.7. Drafting of the Recommendation Statements
                                                                           those interventions/therapy/strategies where:
  Chapter Leads and Members drafted recommendation state-                  • the evidence is of high quality
  ments. The statements were crafted to be feasible, actionable,           • estimates of the effect of an intervention/therapy/
  and measurable.                                                             strategy (i.e., there is a high degree of certainty
     Evidence-based recommendation statements were based                      effects will be achieved in practice)
  on the results of the systematic, and background literature              • there are few downsides of therapy/intervention/
  reviews plus consensus-based expert opinions.                               strategy
     The Chair and Co-Chairs and Chapter Leads reviewed                    • there is ahigh degree of acceptance among pro-
  and approved all recommendation statements for clarity                     viders and patients or those for whom the rec-
  and consistency in wording. During this review and                          ommendation applies.
  throughout the process any overlap between chapters was              •   Weak recommendations ("we suggest") are for those
  also addressed.                                                          interventions/therapy/strategies where:
     Many chapters had to work closely together to ensure                  • there are weaknesses in the evidence base
  consistency of their recommendations. For example, as there              • there is a degree of doubt about the size of the
  are now separate chapters for childhood and adolescence, to                 effect that can be expected in practice
  ensure consistency between both chapters, some authors were              • there is aneed to balance the potential upsides and
  part of both chapters. For asimilar reason, when applicable,                downsides of interventions/therapy/strategies
  a workgroup collaborated with other Chapter Workgroups                   • there are likely to be varying degrees of accep-
  on topics shared between the chapters (i.e., Assessment of                  tance among providers and patients or those for
  Children, Assessment of Adults, Hormone Therapy, Surgery                    whom the recommendation applies.
  and Postoperative Care and Reproductive Health).

                                                                    3.10. Writing of the text supporting the
  3.8. Approval of the recommendations using the                    statements
  Delphi process
                                                                    Following the grading of the statements, the Chapter
  Formal consensus for all statements was obtained using the        Workgroups wrote the text providing the rationale or rea-
  Delphi process (a structured solicitation of expert judge-        soning for the recommendation. This included providing
  ments in three rounds). For a recommendation to be ap-            the available evidence, providing details about potential
  proved, a minimum of 75% of the voters had to approve             benefits and harms, describing uncertainties, and infor-
  the statement. A minimum of 65% of the SOC-8 members              mation about implementation of the recommendation,
  had to take part in the Delphi process for each statement.        including expected barriers or challenges among others.
  People who did not approve the statement had to provide           References use APA-7 style, to support the information
  information as to the reasons for their disapproval, so the       in the text. Links to resources are also provided, as ap-
  statement could be modified (or removed) according to this        propriate. The text, including whether a recommendation
  feedback. Once modified, the statement was put through            has been described as strong or weak, was reviewed and
  the Delphi process again. If after 3 rounds the statement         approved by the Chair and Co-Chairs.




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  3.11. External validation of references used to                Delphi process were accepted by the chapters, and the new
                                                                 statements were added or modified accordingly. The new
  support the statements
                                                                 supportive text was added.
  A group of independent clinical academics working in the          All the new versions of the chapters were reviewed again
  field of transgender health reviewed the references used       by the Chair and Co-Chairs and changes or modifications
  in every chapter in order to validate that the references      were suggested. Finally, once the Chairs and the Chapter
  were appropriately used to support the text. Any queries       Members were satisfied with the draft, the chapter was
  regarding the references were sent back to the chapters        finalized.
  for review.                                                       All new references were double checked by an indepen-
                                                                 dent member.

  3.12. Finalizing a draft SOC-8
                                                                 3.16. Approval of final draft by Chair and
  A final SOC-8 draft was made available for comments.
                                                                 Co-Chairs

                                                                 Modifications were reviewed by the Chairs and were ac-
  3.13. Distribute Standards of Care for review by               cepted by them.
  international advisors

  The statements of the recommendations of Standards of
                                                                 3.17. Approval by the WPATH Board of Directors
  Care 8th were circulated among the broader Standards of
  Care Revision Committee and the WPATH International            The final document was presented to the WPATH Board
  Advisory Group, which included the Asia Pacific Transgender    of Directors for approval and it was approved on the 20th
  Network (APTN), the Global Action for Transgender              of June 2022.
  Equality (GATE), the International Lesbian, Gay, Bisexual,
  Transgender, Intersex Association (ILGA), and Transgender
  Europe (TGEU).                                                 3.18. Publication of the SOC-B and dissemination
                                                                 of the Standards of Care

                                                                 The Standards of Care was disseminated in a number of
  3.14. Public comment period
                                                                 venues and in a number of formats including publication
  The revised draft version of the Standards of Care docu-       in the International Journal of Transgender Health (the
  ment was posted online for comment from the public,            official scientific journal of WPATH).
  including WPATH members, on the WPATH website. A
  6-week period was allocated for comments. A total of 1,279
  people made comments on the draft with a total of 2,688        4. Plan to Update
  comments.                                                      A new edition of the SOC (SOC-9) will be developed in
                                                                 the future, when new evidence and/or significant changes
                                                                 in the field necessitating a new edition is substantial.
  3.15. Revision of final draft based on comments
                                                                    *The development of SOC-8 was a complex process at
  The Chapter Leads and Guideline Steering Committee con-        a time of COVID-19 and political uncertainties in many
  sidered the feedback and made any necessary revisions. All     parts of the world. Members of the SOC-8 worked on the
  public comments were read and, where appropriate, inte-        SOC-8 on top of their day-to-day job, and most of the
  grated into the background text.                               meetings took place out of their working time and during
     As part of this process, 3 new Delphi statements were       their weekends via Zoom. There were very few face-to-face
  developed and 2 were modified enough to require a new          meetings, most of them linked to WPATH, USPATH or
  vote by the SOC-8 committee. This meant a new Delphi           EPATH conferences. Committee members of the SOC-8
  process was initiated in January 2022. The results of this     were not paid as part of this process.




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION




   BRIANNA BOE, individually and on
   behalf of her minor son, MICHAEL BOE;
   etal.,

                    Plaintiffs,                          Case No. 2:22-cv-00184-LCB-CWB


   and
                                                         Honorable Liles C. Burke

   UNITED STATES OF AMERICA,

                    Plaintiff-Intervenor,

            V.



   STEVE          MARSHALL,       in   his   official
   capacity as Attorney General of the State
   of Alabama; etal.,

                    Defendants.




                 EXPERT REBUTTAL REPORT OF DAN H. KARASIC, M.D.




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                                                                      EXHIBIT      LI
                                                                      WIT:

                                                                      DATE: 6-1-24
                                                                      CARLA SOARES, CSR




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     I.     INTRODUCTION

              I, Dan H. Karasic, M.D., hereby state as follows:

              1.    Ihave been retained by counsel for Plaintiffs as an expert in connection with the

     above-captioned litigation. Ihave actual knowledge of the matters stated herein. If called to testify

     in this matter, Iwould testify truthfully and based on my expert opinion.


                    A.        Qualifications

             2.     The information provided regarding my professional background, experiences,

     publications, and presentations are detailed in my curriculum vitae ("CV"). A true and correct copy

     of my most up-to-date CV is attached as Exhibit A.

             3.     Iam a Professor Emeritus of Psychiatry at the University of California           -   San

     Francisco (UCSF) Weill Institute for Neurosciences. Ihave been on faculty at UCSF since 1991. I

     also have had atelepsychiatry private practice since 2020.

             4.     Ireceived my Doctor of Medicine (M.D.) degree from the Yale Medical School in

     1987. In 1991, Icompleted my residency in psychiatry at the University of California   -   Los Angeles

     (UCLA) Neuropsychiatric Institute, and from 1990 to 1991, Iwas apostdoctoral fellow at UCLA

     in atraining program in mental health services r
                                                    esearch for persons living with AIDS.

             5.     For over 30 years, Ihave worked with patients with gender dysphoria.

             6.     Iam aDistinguished Life Fellow of the American Psychiatric Association and the

     chair of the American Psychiatric Association Workgroup on Gender Dysphoria, as well as the

     sole author of the chapter on transgender care in the American Psychiatric Press's Clinical Manual

     of Cultural Psychiatry, Second Edition.

             7.     For over 30 years, Ihave provided care for thousands of transgender patients. For

     17 years, Iwas the psychiatrist for the Dimensions Clinic, for transgender youth ages 12-25 years

     old, in San Francisco.




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          8.     Ipreviously sat on the Board of Directors of the World Professional Association

  for Transgender Health (WPATH) and was lead author of the Mental Health chapter of WPATH' s

  Standards of Care for the Health of Gender Diverse and Transgender People Version 8

  (WPATH Soc 8), which are the internationally accepted guidelines designed to promote the health

  and welfare of transgender, transsexual, and gender variant persons. Iwas also aco-author of

  WPATH soc 7.

          9.     As a member of the WPATH Global Education Initiative, Ihelped develop a

  specialty certification program in transgender health and helped train over 2,000 health providers.

  At UCSF, Ideveloped protocols and outcome measures for the Transgender Surgery Program at

  the UCSF Medical center. ialso served on the Medical Advisory Board for the UCSF Center of

  Excellence for Transgender Care and co-wrote the mental health section of the original Guidelines

  for the Primary and Gender-Affirming Care of Transgender and Gender Nonbinary People and

  the revision in 2016.

           10.   Ihave worked with the San Francisco Department of Public Health, having helped

  develop and implement their program for the care of transgender patients and for mental health

  assessments for gender-affirming surgery. Iserved on the City and County of San Francisco Human

  Rights Commission's LGBT Advisory Committee, and Ihave been an expert consultant for

  California state agencies and on multiple occasions for the United Nations Development Programme

  on international issues in transgender care.

           11.   Ihave held numerous clinical positions concurrent to my clinical professorship at

  UCSF. Among these, Iserved as an attending psychiatrist for San Francisco General Hospital's

  consultation-liaison service for AIDS care, as an outpatient psychiatrist for HIV-AIDS patients at

  UCSF, as apsychiatrist for the Transgender Life Care Program and the Dimensions clinic at Castro

  Mission Health Center, and as the founder and co-lead of the UCSF Alliance Health Project's




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     Transgender Team. In these clinical roles, Ispecialized in the evaluation and treatment of

     transgender, gender dysphoric, and HIV-positive patients. Ialso regularly provide consultation

     on challenging cases to psychologists and other psychotherapists working with transgender and

     gender dysphoric patients. Ihave been aconsultant in transgender care to the California Department

     of State Hospitals and the California Department of Corrections and Rehabilitation.

             12.    As part of my psychiatric practice treating individuals diagnosed with gender

     dysphoria and who receive medical and surgical treatment for that condition, as well as aco-

     author of the WPATH Standards of Care and UCSF' sGuidelines for the Primary and Gender-

     Affirming Care of Transgender and Gender Nonbinary People, Iam and must be familiar with

     additional aspects of medical care for the diagnosis of gender dysphoria, beyond mental health

     treatment, assessment, and diagnosis.

             13.    In addition to this work, Ihave done research on the treatment of depression. I

     have authored many articles and book chapters and edited the book Sexual and Gender Diagnoses

     of the Diagnostic and Statistical Manual (DSM): A Reevaluation.

             14.    Since 2018, Ihave performed over 100 independent medical reviews for the State

     of California to determine the medical necessity of transgender care in appeals of denial of

     insurance coverage.

                    B.     Compensation


             15.    Iam being compensated for my work on this matter at arate of $400.00 per hour for

     preparation of declarations and expert reports. Iwill be compensated $3,200.00 per day for any

     deposition testimony or trial testimony. My compensation does not depend on the outcome of this

     litigation, the opinions Iexpress, or the testimony Imay provide.




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                  C.      Previous Testimony


           16.    Over the past four years, Ihave given expert testimony at trial or by deposition in

   the following cases: C.P. v. Blue Cross Blue Shield of Illinois, No. 3:20-cv-06145-RJB (W.D.

   Wash.); Kadel v. Folwell, No. 1:19-cv-00272 (M.D.N.C.); Fain v. Crouch, 3:20-cv-00740

   (S.D.W. Va.); Brandt v. Rutledge, No. 4:21-cv-00450 (E.D. Ark.); K.C. et al. vs Individual

   Members of the Indiana Licensing Board, et al.; Dekker, et al. v. Weida, et al., No. 4:22-cv-

   00325-RH-MAF (N.D. Fla.); and Doe v. Ladapo, No. 4:23-cv-OO1 14-RH-MAF (N.D. Fla.). To

   the best of my recollection, Ihave not given expert testimony at atrial or at adeposition in any

   other case during this period.

                  D.      Bases for Opinions

           17.    In preparing this report, Ihave relied on my training and years of research and

   clinical experience, as set out in my curriculum vitae, and on the materials listed therein, as

   documented in my curriculum vitae.

           18.    Ihave also reviewed the materials listed in the bibliography attached hereto as

   Exhibit B. The sources cited therein include authoritative, scientific peer- reviewed publications.

   I have additionally relied on the documents specifically cited as supportive examples in

   particular sections of this report.

           19.    Additionally, Ireviewed the text of the Alabama law being challenged in this

   case.

           20.    The materials Ihave relied upon in preparing this report are the same types of

   materials that experts in my field of study regularly rely upon when forming opinions on the

   subject. Ireserve the right to revise and supplement the opinions expressed in this report or the

   bases for them if any new information becomes available in the future, including as aresult of

   new scientific research or publications or in response to statements and issues that may arise in



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      my area of expertise.

             21.       Ireserve the right to revise and supplement the opinions expressed in this report

      or the bases for them if any new information becomes available in the future, including as a

      result of new scientific research or publications or in response to statements and issues that may

      arise in my area of expertise. Imay also further supplement these opinions in response to

      information produced by Defendants in discovery and in response to additional information

      from Defendants' designated experts.

                                       EXPERT REBUTTAL OPINIONS

             22.       Ireviewed the expert reports and supplemental reports, where applicable, of

      Michael K. Laidlaw, M.D., James M. Cantor, PhD,, Kristopher Kaliebe, MD and Geeta Nangia,

      M.D. Isubmit this report to respond to certain points raised in the reports of these experts.

             23.       The critiques below apply to more than one expert. In this rebuttal report, Irespond

      to some of the central points made in those reports. Ido not address each and every assertion

      made in those reports that Ibelieve are baseless, misleading, or mischaracterizations of the

      evidence, as there are many. Instead, my aim is to provide an explanation of the erroneous

      premises upon which their conclusions are based. As ageneral matter, the State's experts hold

      views that are outside the mainstream of experts in transgender health and mainstream medical

      organizations.

        THE STATE'S EXPERT WITNESSES' DESCRIPTION OF GENDER-AFFIRMING
            CARE FOR ADOLESCENTS WITH GENDER DYSPHORIA BEARS NO
            RESEMBLANCE TO THE PREVAILING TREATMENT PROTOCOLS

             24.       The State's experts offer adescription of medical care for adolescents with gender

      dysphoria that bears no resemblance to the widely accepted protocols for treatment articulated

      in the WPATH Standards of Care 8("WPATH SOC") and the Endocrine Society Guideline.

      Throughout their reports, the State's experts claim that doctors who provide medical interventions



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   to treat gender dysphoria actively encourage patients to be transgender, rush to provide medical

   interventions without mental health assessments of patients, disregard other mental health and

   family issues that could be causing the patient distress, oppose psychotherapy, and fail to inform

   patients and their families of the risks associated with treatment. (See, e.g., Cantor Report ¶126

   (referring to "transition-on-demand").)

          25.    The State's experts also claim that there is no consensus or agreed standard of care

   concerning therapeutic approaches to gender dysphoria in adolescents. In fact, there is an

   international consensus of leaders in providing and researching care for transgender people,

   which is published as the WPATH Standards of Care for the Health of Transgender and Gender

   Diverse People, Version 8. The use of the WPATH Standards of Care is supported and/or

   adopted by, among others, the American Psychiatric Association, the American Psychological

   Association, the American Medical Association, the American Academy of Pediatrics, by the

   Federal Bureau of Prisons, and by many insurance companies, and health systems, as well as by

   Maximus, which administers independent medical reviews for insurance appeals in many states

   as well as federal appeals. The fact that there are some outlier views which, no matter how loud,

   constitute aminority within the medical and scientific community, does not mean that there is

   no broad consensus among the larger medical and scientific community about the propriety,

   safety, and effectiveness of medical care for the treatment of gender dysphoria.

          26.    Under the prevailing standard of care for instance:

                 a.   Under the WPATH SOC and Endocrine Society Guideline, appropriate care for

                      transgender youth does not mean steering them in aparticular direction, but

                      rather supporting them through their period of exploration of gender expression

                      and increasing self-awareness of their identity. (Coleman, et al., 2022, at 50-51;

                      Ehrensaft, 2017). The WPATH SOC 8makes clear that "[for some youth,




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                         obtaining medical treatment is important while for others these steps may not be

                         necessary." (Coleman, etal., 2022, at 51).

                    b.   The protocols state that before any medical interventions are provided to

                         adolescents, acareful mental health assessment should be conducted to ascertain

                         whether the diagnostic criteria for Gender Dysphoria in Adolescents and Adults

                         are met and the appropriateness of such care for the patient. (Coleman, et al.,

                         2022, at S50; Hembree, et al., 2017, at 3877).

                    c.   The protocols provide that clinicians should ensure than any psychiatric

                         conditions are appropriately addressed and that it is important that mental health

                         care is available to patients before, during, and sometimes after transitioning.

                         (Coleman, et al., 2022 at S256-7; Hembree, et al., 2017, at 3876, 3879.)

                    d.   The protocols provide for arigorous informed consent process that includes

                         informing the patient and their parents of side effects of treatment, including the

                         potential loss of fertility. For hormone therapy, in addition to requiring the

                         parents' informed consent, the adolescent must have "sufficient mental

                         capacity   .   .   .   to estimate the consequences of this (partly) irreversible treatment,

                         weigh the benefits and risks, and give informed consent." (Hembree, et al.,

                         2017, at 3878.)

             27.         In sum, the State's experts create astraw man by providing afalse description

      of care under the prevailing protocols and then attack it. They either misunderstand the prevailing

      protocols or assume, without basis, that all or most gender clinics disregard them. As aclinician

      who, unlike the State's experts, actively works with amultitude of clinicians providing care to

      transgender youth and adults, Iknow firsthand that their characterization of treatment is wholly

      inconsistent with the prevailing practice. WPATH SOC 8also requires that practitioners have




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   knowledge of child development and family development and approach the child in away that

   "does not favor any identity." (Coleman, et al., 2022).

          28.        If there are individual doctors who deviate from the accepted protocols and

   inappropriately provide care that is harmful to patients, medical licensing boards can address that

   without denying care to those who have been appropriately assessed and determined to need it.

   The State's experts point to comments by Drs. Laura Edwards-Leeper and Erica Anderson

   expressing concerns that some children and adolescents are being subjected to puberty blockers

   and hormonal intervention far too quickly. (See, e.g., Kaliebe Supp. Report ¶19.) These doctors'

   comments were aimed at improving care, not banning it. After making the comments cited by the

   State's experts, Dr. Bowers and Dr. Anderson were signatories to a letter from USPATH and

   WPATH supporting gender-affirming medical care for adolescents with gender dysphoria and

   opposing legislation like Alabama's law.'       Dr. Edwards-Leeper and Dr. Anderson similarly

   expressed their full support for gender-affirming care and "disgust" at legislative bans of such care.

          29.        Dr. Edwards-Leeper, Dr. Anderson and Dr. Bowers were original signatories on

   a2023 letter, published at https://www.gamcstatement.org/, which states: "However, often lost in

   the public version of these debates is our strong agreement about two central points that we wish to

   highlight here. First, there is consensus in the field, and amongst these signatories, that gender

   affirming medical care is important and beneficial for many transgender youth. Second, we do not

   support laws restricting access to gender affirmative care. As with all medical care, we believe an

   adolescent's health care, including their access to gender affirming medical care, should be

   determined by the youth along with their families and health care teams."



  1United States Professional Association for Transgender Health and World Professional

  Association for Transgender Health. (2021). Joint Letter from USPATH and WPATH. Available
  at
  https://www.wpath.org/media/cms/Documents/Public%20Policies/202 1/Joint%2OWPATH%2OUSP
  ATH%20Letter%20Dated%200ct%20 12%20202 1.pdf


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             30.         It is clear from some of the State's experts' reports*
                                                                              that their concern is not about

      the alleged lack of thorough mental health assessments or access to psychotherapy for patients; it

      is about opposition to transition-related medical care. (See, e.g., Corr. Nangia Report ¶56;

      Laidlaw ¶246.)

        MEDICAL CARE FOR TRANSGENDER ADOLESCENTS IS SAFE AND EFFECTIVE
              AND IT WOULD BE HARMFUL TO BAN ACCESS TO THIS CARE

              31.        Gender-affirming medical interventions in accordance with the WPATH SOC 8

      and Endocrine Society Guidelines are widely recognized in the medical community as safe,

      effective, and medically necessary for many adolescents with gender dysphoria. (See American

      Academy of Pediatrics, 2018; the American Medical Association, 2021; the Endocrine Society,

      2020, the Pediatric Endocrine Society, 2021; the American Psychiatric Association, 2018; the

      American Psychological Association, 2021; the American Congress of Obstetricians and

      Gynecologists, 2021; the American Academy of Family Physicians, 2020; WPATH, 2012).

              32.    Medical treatment for gender dysphoria has been studied for over half acentury,

      and there is substantial evidence that it improves quality of life and measures of mental health.

      (Aldridge etal., 2020; A!mazan, etal., 2021; Baker etal., 2021; Chen, et al., 2023, Murad, et al., 2010;

      Nobili et al., 2018; Pfafflin & Junge, 1998; T'Sjoen etal. 2019; van de Grift et al., 2017; White

      Hughto and Reisner, 2016; Wierckx et al., 2014).

              33.    The State's experts' claims that there is no evidence medical transition significantly

      reduces rates of suicide or suicida!ity among transgender youth are false. A study of transgender

      youth in the United States showed adecrease in suicida!ity and increase in reported well-being

      after treatment with gender affirming hormones. (Allen, et al., 2019). In aprospective study at

      Seattle Children's Gender clinic of 104 transgender and nonbinary youth ages 13-21 who received

      puberty blockers or hormones over a 12-month period, treatment with puberty blockers or

      hormones was associated with 60% less moderate to severe depression and 73% less suicidal



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   ideation, compared to youth not treated (Tordoff, et al. 2022). A Dutch study showed increased

   suicidality and self-harm in transgender youth compared to cisgender peers before puberty

   suppression, but transgender youth who were treated with puberty suppression had similar

   psychological function as cisgender peers. (Van der Miesen, et al., 2020). In aFinnish study, the

   start of hormone treatment in transgender adolescents reduced the need for psychiatric treatment

   for suicidality from 35% to 4% (Kaltiala, et al., 2020).

          34.    Data from the Dutch experience with evaluation and care by a multidisciplinary

   team, using puberty blockers, followed by hormones and surgery when indicated, show that this

   approach, over many years of follow up, results in high satisfaction, alack of regret, and mental

   health outcomes similar to those of acontrol group that was not transgender. (DeVries, et al., 2014).

   Zucker, et al., (20 10) states about the Dutch studies of treatment of adolescents: "For adolescents

   recommended for puberty-blocking hormonal therapy, there was.        .   .   evidence of improvement in

   general psychologic problems at follow-up and certainly no evidence of deterioration in

   psychological wellbeing." In aCanadian study of transgender people 16 and older, completing a

   medical transition was associated with a62% reduction in suicidal ideation. (Bauer, et al., 2015);

   see also (Green et al., 2021) (finding that access to hormone therapy during adolescence was

   associated with lower odds of recent depression and having attempted suicide in the past year);

   (Turban, et al., 2020) ((finding that access to puberty blockers during adolescence is associated

   with a decreased lifetime incidence of suicidal ideation among adults); (Achille, et al., 2020)

   (finding that endocrine intervention was associated with decreased depression and suicidal

   ideation and improved quality of life for transgender youth); (Costa, et al., 2015) (finding

   improved psychological function after six months of puberty suppression).

          35.    The studies on gender-affirming medical care for adolescents with gender dysphoria

   are consistent with decades of clinical experience of mental health providers across the U.S. and




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      around the world. At professional conferences and other settings in which I interact with

      colleagues, clinicians report that gender-affirming medical care, for those for whom it is indicated,

      provides great clinical benefit. In my 30 years of clinical experience treating gender dysphoric

      patients, including 19 years working with adolescents, Ihave seen the benefits of gender affirming

      medical care on my patients' health and well-being. Ihave seen many patients show improvements

      in mental health, as well as in performance in school, in social functioning with peers, and in family

      relationships when they experience relief from gender dysphoria with gender-affirming medical

      care.

              36.   To be clear, medical care for a transgender adolescent is not provided simply

      because someone requests it; it is recommended and provided by health professionals when such

      care is medically indicated based on an individualized assessment of ayouth's medical needs, and

      only after obtaining the informed consent of the youth's parents or legal guardians and the

      informed assent of the youth.

              37.   Regret rates for gender-affirming medical care are very low. A study of everyone

      receiving gender-affirming surgery in Sweden over 50 years (1960 to 2010) found aregret rate of

      2.2.%, declining over the years. There were ten cases of regret from 1960 to 1980, and only five

      cases of regret total in the last 30 years that were reviewed, from 1981-2010. (Dhejne, et al., 2014).

      A meta-analysis of 27 studies which reported regret after gender-affirming surgery found that of

      7928 people having gender-affirming surgery, the regret rate was 1%. (Bustos, et al., 2021). A

      study of 209 gender-affirming mastectomies in transmasculine adolescents aged 12-17, performed

      at Kaiser Permanente Northern California from 2013 to 2020, showed aregret rate of 1%. (Tang,

      et al 2022). Cavve, et al (2024) found a 1% rate of detransition in adolescents due to re-

      identification with birth sex in 196 adolescents treated with puberty blockers and hormones.

      Bruce, et al. 2023 found that of 235 people receiving gender-affirming mastectomy over 30 years,




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   none regretted surgery: amedian regret score of 0.0 on a1-100 scale. These studies showing regret

   is uncommon are consistent with my clinical practice. Ihave had some patients who halted their

   transition due to challenging personal circumstances—e.g., fear of losing family support— but

   they still had gender dysphoria. And some came back years later to resume their transition. But

   in 30 years, Ihave never seen apatient who had undergone hormone therapy and surgery and

   later came to identify with their sex assigned at birth and, thus, regretted the treatment and wanted

   to undo its effects.

           38.      The overarching goal of treatment is to eliminate the distress of gender dysphoria

   by aligning an individual patient's body and presentation with their internal sense of self. The

   denial of medically indicated care to transgender people not only results in the prolonging of their

   gender dysphoria, but causes additional distress and poses other health risks, such as depression,

   posttraumatic stress disorder, and suicidality. In other words, lack of access to gender-affirming

   care directly contributes to poorer mental health outcomes for transgender people. (Owen-Smith,

   et al., 2018).

           39.      For patients for whom gender-affirming medical care is indicated, no alternative

   treatments have been demonstrated to be effective. The American Psychological Association states

   that gender identity change efforts provide no benefit and instead do harm. (American

   Psychological Association, 2021). In 2023, the Substance Abuse and Mental Health Services

   Administration published acomprehensive review of existing literature on therapeutic efforts to

   change achild's gender identity or gender expression and found:


                    No research has demonstrated that gender identity change efforts are
                    effective in altering gender identity; there is also no evidence of any benefits
                    of such practices to children, adolescents, or their families. Recent large,
                    methodologically sound studies have investigated harms associated with
                    gender identity change efforts. These studies indicate that exposure to
                    gender identity change efforts—in childhood, adolescence, and/or
                    adulthood—is associated with harm, including suicidality, suicide attempt,




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                    and other negative mental health outcomes such as severe psychological
                    distress.'

             40.    Accordingly, major medical organizations, such as the American Medical

      Association, American Psychiatric Association, the Endocrine Society, American College of

      Obstetricians and Gynecologists, American Urological Association, American College of Physicians,

      American Association of Clinical Endocrinology, and American Academy of Family Physicians

      oppose the denial of this medically necessary care and support public and private health insurance

      coverage for treatment of gender dysphoria as recommended by the patient's physician. (American

      Medical Association, 2021, 2023; American Psychiatric Association, 2018; Endocrine Society,

      2012; American College of Obstetricians and Gynecologists, 2021; American Academy of Family

      Physicians, 2020). Denial of this appropriate care for transgender adolescents is also opposed by

      medical professional organizations responsible for the care of youth, including the American

      Academy of Pediatrics, the American Academy of Child and Adolescent Psychiatry, and the

      Pediatric Endocrine Society. (American Academy of Pediatrics, 2018; American Academy of Child

      and Adolescent Psychiatry, 2019; Pediatric Endocrine Society, 2021.)

             41.    For all of the reasons above, there is no basis in medicine or science for acategorical

      exclusion of gender-affirming care for either adolescents or adults.

          THE STATE'S EXPERT WITNESSES OFFER NO ALTERNATIVE EFFECTIVE
               TREATMENT FOR ADOLESCENTS WITH GENDER DYPHORIA

             42.    The State's expert witnesses disapprove of existing protocols for treating gender

      dysphoria in adolescents (and for some of the State's experts, people of any age). As explained

      above, these opinions are wholly unwarranted. Moreover, the alternative treatments they propose

      lack any evidence of effectiveness.




     2 Substance Abuse and Mental Health Services Administration (SAMHSA), Moving Beyond

     Change, Pages 26-27, (2023), available at, https:Hstore.samhsa.gov/sites/default/files/pep22-03-
     12-00 I.pdf (last visited June 15, 2023).


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           43.   The State's experts appear to believe that psychotherapy can enable areturn to a

   gender identity that matches sex assigned at birth. (See, e.g., Con. Nangia Report ¶55 (stating

   that among her adolescent patients, "the vast majority realigned with their natal sex over the course

   of treatment").) Efforts were made in the past to assist patients to come to identify with their sex

   assigned at birth but those efforts have proven to be ineffective and harmful and, thus, treatment

   with the goal of changing aperson's gender identity are no longer considered ethical. (Coleman,

   et al., 2012, at 16; American Psychological Association, 2021).

          44.    Dr. Nangia also appears to suggest that as an alternative to medical interventions,

   health care providers can address gender dysphoria by helping patients and their parents

   understand that there are options beyond sex-stereotyped behaviors, and that such gender

   nonconforming behavior should not be pathologized or "seen as something to be concerned

   about." (Nangia ¶50.) This represents amisunderstanding of gender dysphoria and its diagnosis

   and treatment. If apatient's distress relates only to asense of limitation on behaviors related to

   gender and they are not experiencing gender dysphoria with clinically significant distress or social

   or occupational impairment lasting at least 6months, they would not meet the criteria for diagnosis

   and medical treatment.

          45.    The State's experts incorrectly point to "watchful waiting" as an alternative treatment

   approach to the existing treatment paradigms outlined in the WPATH SOC and the Endocrine

   Society Guideline. (See, e.g., Cantor Report ¶257.) "Watchful waiting" refers only to prepubertal

   children, not to adolescents. The term was coined by the same Dutch researchers who pioneered

   the use of puberty blockers once the same children reached puberty, and found that puberty

   blockers, hormones, and later surgery successfully treated gender dysphoria in the same patients

   once they were of developmental stage for puberty blockers. (Ehrensaft, 2017). The result was that

   mental health outcomes significantly improved in the adolescents who received transition care in




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      the study. (de Vries, et al., 2014). Other studies have also shown improvement in mental health

      measures in transgender adolescents with gender-affirming medical treatment. (e.g., van der

      Miesen, et al., 2020; Kuper, et al., 2020). There is no medical basis for denying these treatments

      to transgender adolescents, which would serve no purpose other than to subject them to needless

      suffering and harm, and there is no alternative treatment for transgender adolescents known as

      "watchful waiting."

             46.     The State's experts rely significantly on the work of Kenneth Zucker in support of

      "watchful waiting."     But Zucker recognizes the need for medical interventions for gender

      dysphoria in adolescence and does not suggest that watchful waiting is appropriate for adolescents.

      (Zucker, et al., 2010). His clinic in Toronto provided puberty blockers and hormone therapy to

      adolescents with gender dysphoria. (Zucker, et al., 2010). Similarly, the Dutch researchers who

      coined the term watchful waiting for prepubertal children did the seminal research on medical

      interventions for those patients whose gender dysphoria persists until adolescence. (de Vries,

      2011; Steensma, 2011; de Vries, 2014).

             47.     The State's experts incorrectly claim that, in the absence of receiving medical care,

      most transgender youth will naturally "desist" from being transgender. Though numbers vary by

      study, desistance is a pre-pubertal phenomenon. Older longitudinal studies included gender

      nonconforming children who were not transgender due to the broad criteria for the since-abandoned

      "gender identity disorder in children" diagnosis, and the one large modern American longitudinal

      study showed very low desistance rates. (Olson, et a!, 2022). Moreover, because no medical

      treatment, let alone irreversible medical and surgical interventions, is used prior to puberty, the

      persistence and desistance statistics of pre-pubertal children do not inform the decision whether

      or not to initiate these treatments.

              48.    To be clear, the desistance studies cited by the State's experts focused on pre-




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   pubertal children. Whatever conclusions can be drawn from them about the likelihood of

   persistence of gender dysphoria in pre-pubertal children, which again is uncertain given the

   diagnostic limitations identified above, data indicate that once youth reach the beginning of puberty

   and identify as transgender, desistance is rare. (DeVries, et al., 2011; Wiepjies, et al., 2018; Brik, et

   al., 2020; van der Loos, 2022). This data is consistent with clinical experience. In fact, the

   Amsterdam and Toronto gender centers that published the desistance data on pre-pubertal children

   referenced above provided medical interventions to youth whose gender dysphoria persisted into

   adolescence. (Zucker, et al., 2010, DeVries, et al., 2014). In sum, while "watchful waiting" is an

   approach for prepubertal children followed by some clinicians, it is not an accepted approach used

   with adolescents.

           49.    At times, the State's experts appear to recognize that "watchful waiting" is a

   treatment modality for prepubertal children and not adolescents. (See, e.g., Cantor 1246.) Yet

   they still suggest that "watchful waiting" is an alternative to medical interventions such as

   hormone therapy for adolescents even though there is no evidentiary support for applying

   "watchful waiting" to patients once they have started puberty.

           50.    There is no basis for the State's experts' suggestion that providing gender-affirming

   medical care will cause youth with gender dysphoria who would otherwise desist to, instead,

   persist. This claim erroneously relies on the assertion that social transition in prepubertal children

   can cause their gender dysphoria to persist into adolescence. The fact that there is acorrelation

   between social transition prior to puberty and persistence does not establish that social transition

   causes persistence of gender dysphoria. As the Steensma study cited by the State's experts

   reported (see Steensma, 2013), the intensity of gender dysphoria prior to puberty predicted

   persistence, and children with more intense dysphoria were more likely to socially transition. Rae,

   et al., 2019, also found that stronger cross-sex identification in pre-pubertal youth was associated




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      with future social transition. Second, whatever conclusions can be drawn from these desistance

      studies about the impact of gender affirmation on the persistence rates in prepubertal children, as

      discussed above, this research does not apply to adolescents with gender dysphoria, for whom

      desistance is rare, and the treatments banned by Alabama's law are not indicated until adolescence.

             51.    The suggestion that adolescents can just wait until they are 18 years old to get care

      ignores the harm of not providing the care. Allowing endogenous puberty to advance is not a

      neutral decision. For many adolescents, the development of secondary sex characteristics that do

      not match their gender identity can have asevere negative impact on their mental health and can

      exacerbate lifelong dysphoria because some of those characteristics are impossible to change later

      through surgeries.

         THE STATE'S EXPERTS DRAW INAPPROPRIATE CONCLUSIONS FROM THE
              NUMBERS AND SEX-RATIOS OF GENDER CLINIC REFERRALS

             52.    The State's experts devote many pages to the increase in the numbers of referrals to

      gender clinics, and changes in sex ratios of patients. (See, e.g., Con. Nangia Report ¶20-36;

      Cantor ¶J 65-67.) As an initial matter, in their caricature of doctors pushing medical transition,

      the State's experts say the field is ignoring and avoiding exploration of these developments. That

      is not the case. Indeed, the WPATH SOC 8Adolescent chapter specifically discusses the increase

      in referrals to gender clinics and the sex ratios of these young patients (Coleman, et al. 2022). But

      the State's experts draw unsupported conclusions about the rise in number of referrals and changes

      in sex ratios observed in some clinics.      They claim this means adolescents are adopting a

      transgender identity due to "social contagion," leading them to undergo irreversible medical

      treatments they later regret. This conclusion is baseless.

             53.    The rise in numbers of referrals is hardly surprising given the greater awareness on

      the part of youth and their parents of what gender dysphoria is and that care is available, as well




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   as the significant increase in the number of clinics available to provide care. In addition, the stigma

   associated with being transgender, while still significant, has lessened in recent years. Coming out

   to parents and seeking care are options that did not exist for many youth until recently, so an

   increase in numbers of referrals to gender clinics is not surprising. While there is adocumented

   increase in clinic referrals, the State's experts exaggerate the increase by making inappropriate

   comparisons. For example, Dr. Nangia cites surveys of youth who identify as transgender to

   suggest that these show a"rise of gender dysphoria that [she] observe[s] in [her] own patient

   population" as well. (Con. Nangia Report ¶J 17-20.) These statements conflate different issues.

   Transgender is an identity, and only started being asked in the general population in studies

   published in the last 12 years. There is agreat difference between the percentages of people

   responding to aquestion of identity with the number of people receiving adiagnosis or care for

   Gender Dysphoria— fewer than 1in 1000 people are diagnosed with Gender Dysphoria. Indeed,

   Defendants' expert Dr. Cantor confirms this point: "Research from youth with formal diagnoses

   and attending clinics cannot be extrapolated to self-identifying youth and those responding to

   surveys advertised on social media sites." (Cantor Report ¶67.)

           54.   Put another way, the State's experts are comparing apples to oranges. An apples to

   apples comparison of self-identified transgender people over time shows avery different picture.

   Until the past decade, little data on the number of people identifying as transgender was available.

   From 2007 to 2009, aquestion asking whether the respondent identified as transgender was added

   to a large population-based health survey conducted in Massachusetts, and 0.5% of study

   participants identified as transgender. (Conron, et al., 2012). Since then, this question was added

   to large health surveys in other states, and analyses of surveys done in 2014 found that, nationally,

   0.5-0.6% of adults identified as transgender, and 0.7% of youth ages 13 to 17 identified as

   transgender. (Crissman, et al., 2017; Flores, et al., 2016; Herman, et al., 2017).




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              55.    While increases in numbers and changes in sex ratios of patients referred to some

      gender clinics have been reported, since the number of patients referred to gender clinics reflect

      only asmall fraction of the people identifying as transgender, these changes may reflect changes

      in referral patterns to clinics rather than changes in the number of people identifying as

      transgender.

              56.    Sex ratios of patients vary from clinic to clinic and over time. When Iwas the

      psychiatrist for the Dimensions Clinic for transgender youth in San Francisco from 2003 to 2020,

      aconsistent majority of my patients were assigned female at birth. Other clinics have had more

      assigned male at birth patients. The rise in numbers and percentage of patients assigned female at

      birth observed at some clinics in recent years is not surprising given the historical development of

      the study of gender dysphoria in youth. The first large American study of gender non-conforming

      youth was the Feminine Boy Study at UCLA. There was significant societal discomfort with and

      rejection of boys who departed from sex stereotypes—the director of the study referred to them as

      "sissy boys" in the book resulting from the study—and these boys often experienced bullying from

      peers. In this context, boys who were perceived to be effeminate were the population brought to

      psychiatrists by their parents and were the population that was initially studied by researchers.

      (Green, 1987). Parents were not as concerned about gender non-conforming girls as they were

      more socially accepted. There was also less awareness among the general public of the existence

      of transgender males and that transitioning was an option for individuals assigned female at birth

      who were experiencing gender dysphoria. The increase in awareness in recent decades made it

      possible for individuals who ultimately came to identify as transgender men to come out and seek

      care.

              57.    There is asocial or cultural influence on gender in the sense that social and cultural

      developments make it more possible for youth struggling with gender dysphoria to access care.




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   But there is no evidence that peer influence determines an individual's gender identity. The State's

   experts point to Lisa Littman's study discussing what she called "rapid onset gender dysphoria,"

   where parents reported that their children who suddenly identified as transgender boys frequently

   reported consuming social media about transgender issues and having transgender friends. (See

   e.g., Cantor   137; Laidlaw ¶221). While there maybe rapid onset parental awareness of achild's

   transgender status, as is also the case when lesbian and gay youth come out to their parents, that

   does not mean the gender dysphoria was sudden to the adolescent. In any case, this study does not

   provide evidence that peers and social media cause individuals to be transgender. As with other

   marginalized groups, such as lesbian and gay people, it is not unusual to seek out others like you.

   Nor is it unusual to seek out support and information online. Moreover, the diagnostic criteria for

   gender dysphoria are rigorous and if there were individuals claiming atransgender identity to fit

   into apeer group, they would not meet the criteria for agender dysphoria diagnosis let alone be

   deemed to need medical interventions.

              SOME OF THE STATE'S EXPERT WITNESSES QUARREL WITH THE
             FIELD OF PSYCHIATRY AND THEIR OPINIONS REFLECT THEIR LACK
                             OF EXPERIENCE IN THE FIELD


           58.    Gender dysphoria is apsychiatric diagnosis. Some of the State's expert witnesses

   more generally critique the diagnosis of gender dysphoria for being based on self-reports from

   patients. Dr. Cantor asserts that "gender identity refers to subjective feelings that cannot be

   defined, measured, or verified by science." As such, gender identity cannot be a"valid construct"

   since it is not "both objectively measurable and falsifiable with objective testing." (Cantor 1109.)

   Dr. Laidlaw makes similar points when he states that "gender identity is apsychological concept"

   and that there are no "imaging, laboratory tests, biopsy of tissue, autopsy of the brain, genetic

   testing, or other biological markers that can identify the gender identity." (Laidlaw ¶20.) But

   clinical interviews with patients are typically used to diagnose other DSM diagnoses and determine



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      treatment. This widely used assessment tool is not unique to gender dysphoria. This process is

      similar to that of diagnosing other DSM diagnoses, to determine treatment for other disorders. The

      clinical examination, which includes taking ahistory of symptoms from apatient, is not only used

      to determine most psychiatric treatment, but also many medical and pediatric treatments.

      Moreover, the validity and reliability of DSM-5 diagnoses were assessed and determined in the

      process of creating the DSM-5. It is surprising to hear any medical professional dismiss the

      importance of taking agood history from apatient. Even medical disorders that rely on blood tests

      and imaging for adefinitive diagnosis rely first on taking ahistory to know which tests to order.

      And treatment of many DSM diagnoses is considered medically necessary and covered by

      Medicaid and other insurance programs.


             59.    With respect to gender dysphoria in particular, WPATH's Soc 8sets forth criteria

      for assessing adolescents that include a"comprehensive biopsychosocial assessment including

      relevant mental health and medical professionals" and that "[m]ental health concerns (if any) that

      may interfere with diagnostic clarity, capacity to consent, and gender-affirming medical treatments

      have been addressed; sufficiently so that gender-affirming medical treatment can be provided

      optimally." (Coleman, et al., 2022).




        THE STATE'S EXPERT WITNESSES' ATTEMPTS TO DISCREDIT THE WPATH
         STANDARDS OF CARE AND ALL OF THE PROFESSIONAL GROUPS THAT
                          ACCEPT THEM ARE BASELESS


             60.    The State's expertwitnesses characterize WPATH and USPATH as ideological, non-

      scientific, advocacy organizations, open to transgender activists outside of the health field. (E.g.

      Laidlaw ¶178-191; Cantor Supp. Report ¶119; Kaliebe Supp. Report.) Many WPATH and




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   USPATH members are academics who publish in peer-reviewed journals. Many are academic

   leaders in endocrinology, internal medicine, plastic surgery, urology, psychiatry, psychology, and

   other disciplines of the health sciences. WPATH restricts its full membership to those with

   professional credentials and most members are licensed clinicians. The fact that WPATH engages

   in advocacy on behalf of its patient population for access to beneficial care is typical of medical

   associations. For example, the American Psychiatric Association advocates for awide range of

   public policy changes to improve access to mental health care, e.g., for migrants and for

   incarcerated people. 3

           61.    Ihave been involved with WPATH for many years and have 35 years of experience

   treating people with mental illnesses. And there are many other experienced mental health

   professionals in WPATH. These mental health professionals are licensed and regulated by state

   licensing boards, and most provide care to both cisgender and transgender clients—including

   those with serious mental illness. In my more than three decades of experience, Ihave provided

   training and instruction to thousands of healthcare providers across the United States, as well as

   at UCSF. It has not been my experience that practitioners in this field are unqualified. To the

   contrary, they are highly specialized professionals living up to their calling of providing the best

   care possible for their patients.

           62.    The State's expert witnesses also argue that dissenting views are not tolerated in




   See American Psychiatric Association. (2019). Position Statement on the Care of Medically
  Vulnerable Migrants in the United States. Available at
  https://www.psychiatry.orglFile%20Library/About-APA/OrgafliZatiOn- Documents-
  Policies/Policies/Position-Care-of-Medically-Vulnerable-Migrants-in-the-US .pdf; American
  Psychiatric Association. (2016). Position Statement on Treatment of Substance Use Disorders in
  the Criminal Justice System. Available at https://www.psychiatry.org/File%20Library/About-
  APA/Organization-Documents- Policies/Policies/Position-20 16-Substance-Use-Disorders-in-the-
  Criminal-Justice-System.pdf; see generally American Psychiatric Association Policy Finder,
  available at https://www.psychiatry.org/home/policy-finder.


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      WPATH. Yet, as some of them noted, Dr. Marci Bowers has expressed some criticism about how

      some in the field are practicing, and she is the president of WPATH. Ihave attended several

      WPATH conferences since 2001, and have been amember of the Scientific Committees that have

      reviewed abstract submissions for the conferences, and the diversity of views presented and

      discussed has always been notable. For example, as chair of the Scientific Committee for the 2017

      USPATH conference, Ihelped organize apanel of therapists and trainees who had themselves

      detransitioned, and the presentations and discussion were well- received by attendees.

        THE STATE'S EXPERT WITNESSES MISREPRESENT THE AVAILABILITY OF
        TREATMENT FOR ADOLESCENTS WITH GENDER DYSPHORIA IN EUROPE

             63.    Dr. Cantor falsely asserts that anumber of countries "endorse psychotherapy as the

      treatment choice for minors, with medical interventions representing amethod of last resort, if

      permitted at all." He goes on, "[t]hese range from medical advisories to outright bans on the

      medical transition of minors." (Cantor ¶16). In fact, none of the countries he discussed— U.K.,

      Finland, France, Norway, or Sweden—has a law banning transition care to minors, and in none

      of these countries is such care for minors unavailable.

             64.    The UK National Health Service recently stated that the NHS will not "routinely"

      provide puberty blockers. However, it has previously stated that it will provide puberty blockers

      in "exceptional" circumstances and in investigational settings, in which data on outcomes are

      collected. The NHS is proceeding with the opening of regional centers to provide gender affirming

      medical care to minors. In addition, private clinics have received government approval to provide

      gender affirming care to minors. 4

             65.    Of note, the UK NHS proposals have been criticized by the European Professional




     4https ://www.england.nhs .uklwp-content/uploads/2024/03/clinical-commissioning-policy-gender-

     affirm ing-hormones-v2 .pdf


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   Association for Transgender Health (EPATH), representing gender programs across Europe.

   Criticisms included that the UK systematic review excluded studies of puberty blockers which

   also included study of hormones, and criticized restriction of care.

          66.    Swedish, Finnish and Norwegian national health authorities, which the State's experts

   also reference, have recommended caution and more research but have not banned care for

   transgender youth. In these countries, transition care for adults and youth is fully paid for by the

   national health system of each country.

          67.    There remains strong international support for the continued provision of gender-

   affirming medical care. Experts from the around the world have collaborated on WPATH

   Standards of Care Version 8. Iwas chapter lead of the Mental Health chapter of this version, and

   the authors of that chapter include psychiatrists who are leaders of transgender health programs in

   Belgium, Sweden, and Turkey. There is broad agreement in philosophy of care, including support

   for gender-affirming care and opposition to conversion therapy.

          68.    Of note, aworking group of experts from the German-speaking countries of Europe

   has released a draft of policy for care for minors in Germany, Austria, and Switzerland. It

   recommends puberty blockers at Tanner stage 2, for 6months to amaximum of 2years, followed

   by hormone therapy when indicated, aprotocol similar to that in SOC 8.6




             ADDITIONAL POINTS IN RESPONSE TO THE STATE'S EXPERTS

           69.   Ihave only had afew patients over the years who have been forced to detransition,




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  https ://www.wpath.org/media/cmsfDocuments/Public%2OPolicies/2023/30. 1O.23%2OEPATH%20
  -%2OWPATH%2OJoint%2ONHS%2OStatement%2OFina1.pdf
  6 https ://archive.ph120240 115 1710451https ://www.faz.netlaktuell/feuilleton/experte-georg-romer-

  ueber-transsexualitaet-bei-jugendlichen- 19241551 .html.


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      because of incarceration or institutionalization, or other circumstances, and results have been

      uniformly disastrous, with suicide and self-harm attempts, depression, and deterioration of

      functioning. Some of my patients forced to detransition were receiving intensive mental health

      care at the time, on psychiatric wards. But no amount of psychotherapy could counter the

      deleterious effects of forced detransition and the withholding of needed gender-affirming medical

      and surgical care.

             70.    Regarding the State's experts' use of Dhejne et al., 2011 for the proposition that

      gender-affirming is not effective (e.g., Laidlaw Report, 1208; Cantor Report ¶149) Dr. Dhejne

      has stated that such conclusions misinterpret her study: "The findings have been used to argue that

      gender-affirming treatment should be stopped since it could be dangerous (Levine, 2016)

      Despite the paper clearly stating that the study was not designed to evaluate whether or not gender-

      affirming is beneficial, it has been interpreted as such." (Dhejne, 2017). Indeed, the Dhejne et al.

      study explicitly states that the study cannot be used to make any conclusions about the outcome

      of surgery.   (Dhejne, et al., 2011).   And since 2011, Dr. Dhejne has repeatedly stated that

      interpretations like the above are incorrect. Dr. Dhejne compared morbidity and mortality statistics

      from anational database of transgender people with those in the general Swedish population, and

      only made comparisons between these groups, not before and after surgery, or transgender people

      with surgery and without surgery, or "year 7" with prior years. (e.g., Dhejne, 2017). Despite these

      warnings the State's experts continue to improperly use Dr. Dhejne's study. Moreover, the actual

      data from Dhejne's study shows there were ten suicides in the national morbidity and mortality

      database of transgender people over a period of thirty years compared to five suicides from

      matched controls in the general population during that same period.

             71.    Nor is it true, as Dr. Cantor contends, that a"very large dataset from the U.K."

      showed that youth referred to the clinic for evaluation and treatment for gender dysphoria




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   "committed suicide at arate of five times that of the general population. (Cantor ¶149) (citing

   Biggs 2022). That U.K. data is based on four probable suicides in transgender youth, including

   two who were on the waiting list for care and two who were receiving care.

          72.    The State's experts also focus on the two suicides that occurred during the Chen

   study, with one expert claiming they "show the inherent danger of gender affirmative therapy

   found in the Dhejne study." (Laidlaw ¶209.) While any suicide is very concerning, these claims

   are simply untrue. There is zero evidence that the two suicides were due to receiving gender

   affirming care and as other studies have found, medical care significantly reduces suicidality. See,

   e.g., (Kaltiala, et al., 2020) (finding that dramatically fewer youth (35% versus 4%) needed

   treatment for suicidality after starting hormone medication).

           73.    The State's expert witnesses point to elevated rates of mental health problems and

   substance use in the transgender community, suggesting that being transgender is the cause of

   these negative outcomes and, thus, something doctors should try to prevent. (See e.g., Laidlaw ¶

   219.) As discussed above, being transgender is not something doctors can prevent. And these

   comments disregard the significant stigma transgender people continue to face, and stigma is a

   well-documented risk factor for mental health and substance use issues.

                                             Dr. James Cantor

           74.    Dr. Cantor's report indicates that his work at the University of Toronto from 1998 to

   2018 was limited to its adult forensic program, that is, Dr. Cantor worked with people with paraphilias,

   and in particular with pedophiles. Paraphilias are persistent and recurrent sexual interests, urges,

   fantasies, or behaviors of marked intensity involving objects, activities, or even situations that are

   atypical in nature. Being transgender is not aparaphilic disorder. Dr. Cantor is well known for this

   work, but not for his work with transgender people. In testimony in this case, Dr. Cantor stated that

   he had not personally diagnosed any child or adolescent with gender dysphoria, and that he had




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      personally never treated any child or adolescent for gender dysphoria.

             75.    Dr. Cantor focuses on desistance rates of prepubertal children brought into clinics in

      Toronto and Amsterdam. (Cantor ¶134.) However, given that these prior longitudinal studies

      included gender nonconforming children who were not transgender due to the broad criteria for

      the since-abandoned "gender identity disorder in children" diagnosis, or who did not qualify even

      for the gender identity disorder in children diagnosis, these studies shed little light into questions

      of persistence and desistance of gender dysphoria in pre-pubertal children. In fact, amore recent

      study, which is the only large American prospective study that has been published in the past 35

      years, showed much lower desistance rates (Olson, et al., 2022). Specifically, only 2.5% of the

      youth studied identified with their sex assigned at birth. 7

             76.    In any event, longitudinal studies show that gender dysphoria in adolescence usually

      persists (DeVries, et al., 2011; van der Loos, 2022). And no medical treatment, let alone

      irreversible medical interventions, is used prior to puberty. Even in the clinics with higher

      desistance rates for pre-pubertal children upon which Dr. Cantor relies, puberty blockers and

      hormones were used when gender dysphoria persisted after the onset of puberty. In sum, the

      desistance statistics ofpre-pubertal children do not inform the decision whether or not to initiate

      these treatments in adolescents and adults.

             77.    Dr. Cantor references astudy by Kaltiala et al. in 2020 claiming that the authors

      concluded from the study that "the youth who were functioning well after transition were those

      who were functioning well before transition, and those who were functioning poorly before

      transition continued to function poorly after transition." (Cantor Report, at ¶22). In fact, in




       Of these, youth with cisgender identities were more common among youth whose initial social
     transition occurred before age 6years; their retransitions often occurred before age 10 years. And,
     again, no medical treatment is recommended for any transgender person prior to the onset of
     puberty.


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   Kaltiala et al. 2020, of the 52 youth studied, 54% needed treatment for depression before initiation

   of gender-affirming hormones, versus 15% needing treatment for depression after initiation of

   gender-affirming hormones. In the study, 48% of the trans youth needed treatment for anxiety

   before starting hormones, versus 15% after starting hormones. And 35% of the trans youth needed

   treatment for suicidality/seif-harm before starting hormones, versus 4% after initiation of gender

   affirming hormones.

           78.    Dr. Cantor states that the study by Kuper, et al. 2020 did not show benefit from

   treatment. This statement is misleading at best. Dr. Cantor says the Kuper study shows increased

   suicidal ideation and attempts after treatment compared with before treatment—but the measurement

   period for the numbers were 1-3 months before the study versus 11-18 months after the study, explaining

   the higher numbers in the second, longer period. This study does not show that treatment increased the

   patients' rates of suicidality or that they did not benefit from treatment. The article concludes, "Youth

   reported large improvements in body dissatisfaction (P < .00 1), small to moderate improvements

   in self-report of depressive symptoms (P < .00 1), and small improvements in total anxiety

   symptoms (P < .0 1)." Dr. Cantor further states that the study by Achille et al. does not show that

   those   studied   benefitted   from   endocrine    treatment.    (Cantor   ¶ 197.) Again, Cantor's

   characterization of this study's conclusion is misleading. The results of the paper actually show

   that, "Mean depression scores and suicidal ideation decreased over time while mean quality of life

   scores improved over time. When controlling for psychiatric medications and engagement in

   counseling, regression analysis suggested improvement with endocrine intervention. This reached

   significance in male-to-female participants."

           79.    After lengthy criticism of literature supporting gender affirming care, which Dr.

   Cantor distorts through cherry-picking, Dr. Cantor uses Diaz and Bailey (2023) to draw the

   conclusion that the body of research supporting gender-affirming care cannot be applied to current




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      transgender youth. (Cantor ¶137.) Diaz and Bailey's paper has received extensive criticism,

      including that its first author is anonymous and did not seek the human subjects review that is a

      standard requirement, and that the data was obtained from parents of trans people visiting asite

      that is named after the phenomenon the paper purports to examine—a site that opposes gender

      affirming care. The second author, Dr. Bailey, is listed as an editorial board member of the journal

      that published the paper, despite the fact that Bailey's institutional review board at Northwestern

      University refused to approve the research protocol. Ultimately, Springer Nature, publisher of the

      journal, retracted the article, reportedly due to ethical concerns, including lack of informed

      consent. 8

             80.    Dr. Cantor refers to systematic reviews of the literature of gender affirming care for

      minors. It is important to put GRADE scores of systematic reviews in context. Chong, etal., 2023

      found that only 36% of national guidelines for care were based on strong or moderate GRADE

      scores. Recommendations were often based on a comparison with alternatives; there is no

      evidence base to support conversion therapy or other psychotherapeutic interventions as an

      alternative for those who need gender-affirming medical treatment.

             81.    In one large study of systematic reviews, only 5.6% of all medical interventions,

      and 0.0% of all endocrine interventions had ahigh GRADE score. Most medical interventions

      had low or very low GRADE scores. (Howick, et al 2022).

             82.    In other studies, including one of all systematic reviews in the Cochrane database




     8 Diaz S, Michael Bailey J. Retraction Note: Rapid Onset Gender Dysphoria: Parent Reports on

     1655 Possible Cases. Arch Sex Behay. 2023 Jun 14. doi: 10.1007/s10508-023-02635-1. Epub
     ahead of print. PMID: 37314659; see also, Ellie Kincaid, After backlash, publisher to retract
     article that surveyed parents of children with gender dysphoria, says co-author, (May 24, 2023),
     https ://retractionwatch.com/2023/05/2 4/after-backlash-publisher-to-retract-article-that

     surveyedparents-of-children-with-gender-dysphoria-says-co-author.




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   published over an 18-month period, only asmall percentage of systematic reviews of medical

   interventions had a high GRADE score; for a majority of systematic reviews of medical

   interventions, GRADE scores were low or very low. (Fleming et al., 2016, Howick, et al., 2020).

   In astudy of systematic reviews of interventions in anesthesiology, critical care medicine, and

   emergency medicine, only 10% had high GRADE scores, but banning the practice of

   anesthesiology, critical care medicine, and emergency medicine has not been contemplated

   (Conway, et al, 2017). For complex interventions, for which gender affirming care certainly

   qualifies, no high GRADE scores were found for systematic reviews of any complex intervention.

   (Movsisyan, et al., 2016).

          83.    In short, the State's experts use systematic studies in ways they are not intended to

   be used. If only medical interventions with high GRADE scores were permitted by law, most

   medical interventions and all complex interventions, would be banned.

                                 Dr. Cantor's Supplemental Report

          84.    In his supplemental report, Dr. Cantor cites several recent publications as further

   support for his opinions. None of these recent publications alters my opinion that medical

   treatment of gender dysphoria in adolescents is safe, effective and medically necessary where

   indicated. In fact, other recent publications have added to the large and growing body of research

   demonstrating the effectiveness of medical treatment.

          85.    Cantor cites Morandini et al. (2023) to argue that social transition does not improve

   mental health in children and adolescents. As an initial matter, this study examined only social

   transition. Alabama's law does not ban social transition. The article therefore has little, if any,

   relevance to an appraisal of the effectiveness of medical treatments for gender dysphoria.

   Moreover, other research has demonstrated the benefits of social transition for minors with gender

   dysphoria. Olson et al. (2022) conducted alarge prospective study of children and adolescents,




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      finding significant mental health improvements for transgender youth who socially transition.

             86.    Cantor also cites Glintborg et al. (2023) and Kaltiala (2023) to argue that there is no

      mental health benefit from medical treatment of gender dysphoria. The Glintborg study found that

      mental health diagnoses increased in the first year after index date, which was the date of the

      gender dysphoria diagnosis. The paper notes that this increase could be because study participants

      who had not previously sought mental health evaluations or care did so after receiving their gender

      dysphoria diagnosis. Importantly, for the participants in this study, hormones, when prescribed,

      were prescribed on average about 2years after the index date. Starting in year 2after the index

      date, mental health diagnoses among the participants declined to the point where the numbers

      were similar to the index date numbers. Overall, the study states in conclusion, "In this study,

      mental health was stabilized during gender-affirming care, but mental health was still impaired in

      transgender persons compared to age-matched controls."

             87.    Kaltiala (2023) was aregistry study that measured the number of psychiatric visits.

      These patients in this study were largely adults, with amean age of 24 years. The study found that

      the number of psychiatric visits increased more among those receiving medical treatment for

      gender dysphoria than those who did not. The total number of mental health visits, however, is

      not a measure that can demonstrate that medical treatment is ineffective in treating gender

      dysphoria. This disconnect between the number of mental health visits and an assessment of the

      effect of initiation of hormones in adolescents is shown clearly in Kaltiala's earlier study (Kaltiala

      et al 2020), in which the share of adolescents having psychiatric visits changed little, but the

      number of adolescents receiving psychiatric visits for depression, anxiety, or suicidality dropped

      dramatically. Kaltiala (2020) therefore suggests that transgender adolescents elect to continue

      receiving mental health care for other reasons even after their depression, anxiety, and suicidality

      resolve. Such aresult would be fully in keeping with the SOC 8recommendation of continued




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   mental health follow-ups for adolescents.

          88.    McGregor et al. (2024) examined the effects of puberty blockers in aretrospective

   study of all youth between the ages of 13 and 17 who were assessed for hormone readiness at a

   multispecialty gender clinic between 2017 and 2021. The study compared youth who had

  previously received puberty blockers with those who had not at the time of assessment for

  hormones. Puberty blockers were associated with significant reductions in self-reports of total

  mental health problems, including internalizing problems, anxiety, depression, stress, and suicidal

  thoughts. Dr. Cantor minimizes these findings and speculates that they may be influenced by

   comparing youth who experience childhood-onset gender dysphoria with those who experience

   "Rapid Onset Gender Dysphoria" (ROGD). While there are some limitations in comparing youth

  who received puberty blockers at the time of hormone assessment to those who did not, there is no

   evidence that any differences are due to so-called ROGD, which most practitioners in the field do

   not recognize as adistinct phenomenon. McGregor adds further support to the body of evidence

   supporting the safety and effectiveness of puberty blockers for treatment of gender dysphoria.

           89.   The systematic reviews cited in Dr. Cantor's supplemental report also do not change

   my opinions. As an initial matter, systematic reviews do not report new research findings, but are

   conducted to assess existing research. Thompson et al. (2023) used aselection process for papers

   that reduced 6202 papers to just five papers that reported mental health outcomes. While

   improvement in mental health outcomes were apparent in these studies, five studies are an

   insufficient representation of the multitude of studies that measure outcomes from transgender

   care. This is aweakness generally of systematic reviews. Similarly, Christensen et al. (2023)

   assessed the quality of available studies on suicidality of medical treatment for gender dysphoria

   in people age 24 and under. As Idiscuss above, most medical interventions, for gender dysphoria

   or any other condition, lack high or medium GRADE scores on systematic review.




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             90.    Dr. Cantor also discusses the systematic review by Stolk et al. (2023) concerning

     attitudes toward parenting among transgender youth and adults. Although Cantor cites this review

     as evidence that "medical transition will later be perceived by the patient as having inflicted severe

     harm," the studies addressed in the review do not support such aconclusion. The WPATH SOC

      8 state that the informed consent process for hormone therapy in adolescents should include a

     discussion of fertility preservation options. There are many reasons why adolescents receiving

     hormone replacement therapy may not use fertility preservation options, one of the most important

     being that health insurance often does not cover fertility preservation services. Transgender

      individuals who have received hormone therapy can and do have children, both biological and

     nonbiological, whether or not fertility preservation occurs. If anything, the Stolk review provides

     support for expanding the availability of insurance coverage for fertility preservation. It does not

     support banning medical treatment for gender dysphoria in adolescents.

             91.    Dr. Cantor's supplemental report also ignores other recent publications that add to

     the growing body of evidence demonstrating the effectiveness of medical treatment for gender

     dysphoria.

            92.     Cavve, et al (2024) examined the outcomes of 548 of the 552 youth referred to the

     pediatric gender clinic in Perth, Australia. This study is exceptional in medical literature generally

     for the extremely high share of former patients the researchers were able to reach. Of 196 youth

     who were started on puberty blockers or hormones, only 2(1.0%) discontinued medical treatment

     because of reidentification with birth sex.

            93.     Bruce, et al. (2023), reported on 235 patients who had gender-affirming mastectomy

     at one center over 30 years, from 1990-2020. On ascale of 1.0-5.0, the median Satisfaction with

     Decision score in those who had surgery was 5.0. On ascale of 0.0-100.0, the median Decision

     Regret score was 0.0. These median scores are the highest satisfaction and lowest regret levels




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  possible on the measures used.

           94.   Fisher,   et al.   (2023)   showed a significant improvement in psychological

  functioning, with initiation of puberty blockers, including adecrease in suicidality, depression,

  anxiety, and body image concerns.

           95.   A randomized clinical trial—adult participants were randomized to acontrol group

  of the usual 3month wait to initiate testosterone treatment, vs. and intervention group of no wait—

  found that the intervention group had a statistically significant decrease in gender dysphoria,

  depression, and suicidality vs. the control group. This included 52% resolution of suicidality in

  those receiving testosterone compared with a 5% resolution of suicidality in those waiting to

  receive testosterone. (Nolan, et al. 2023)

           96.   The American Psychological Association in February 2024 released a policy

  statement opposing state bans on gender affirming care and the campaign of misinformation

  accompanying these bans. The APA policy statement states in part," WHEREAS state bans on

  gender-affirming care and the imposition of legal penalties on providers engaging in evidence-based care

  disregard the comprehensive body of psychological and medical research supporting the positive impact of

  gender-affirming treatments,... THEREFORE, BE IT FURTHER RESOLVED that the APA urges

  support for policies facilitating access to comprehensive, gender-affirming healthcare for children,

  adolescents, and adults, recognizing the positive impact on mental health outcomes...." (APA,

  2024).

                              Dr. Michael Laidlaw and Dr. Geeta Nangia

           97.   Dr. Laidlaw is an endocrinologist for adults, with no experience or specialized

   training as amental health provider, no apparent experience working with pediatric patients, and no

   apparent experience providing or researching medical treatment for gender dysphoria. Similarly,

   Dr. Nangia claims to have treated 550 children and adolescents who at some point met the criteria




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      for gender dysphoria, but Nangia repeatedly conflates adolescents who exhibit distress over

      gender nonconforming behavior with those who experience the distress about their bodies that

      characterizes those that might need medical treatment for gender dysphoria. This makes it difficult

      for me to believe that Nangia actually has any meaningful experience treating adolescents with

      gender dysphoria.

              98.    Defendants' experts opine at length about the "experimental nature" of gender-

      affirming care. Dr. Nangia also states "there is remarkable controversy and debate over [the

      WPATH] recommendations and the data that supports them. (Corr. Nangia Report ¶131). As

      explained in detail above, gender-affirming medical interventions are widely recognized in the

      medical community as safe, effective, and medically necessary for many adolescents with gender

      dysphoria.

              99.    One misperception is that hormone therapy is experimental because it is not FDA-

      approved for the specific application of treating gender dysphoria. (Laidlaw Report ¶77.)

      Medications very commonly are prescribed for off-label uses. All gender-affirming hormone

      treatments are approved for treatment of other conditions and have been used to treat those

      conditions, as well as for gender-affirming care, for many years, supporting their safety and

      efficacy. The U.S. Department of Health and Human Services Agency for Healthcare Research and

      Quality states, "[Off-label prescribing] is legal and common. In fact, one in five prescriptions written

      today are for off-label use.

              100.   Dr. Laidlaw misleadingly cites a review of psychiatric side effects of anabolic

      steroid abuse in cisgender men (Hall, et al., 2005) to make the claim that testosterone use is

      dangerous to mental health. (Laidlaw ¶142.) In Pope et al. 2000, which was one study cited in the

      Hall, 2005 paper, even 600mg/week of testosterone usually didn't cause psychiatric symptoms.

      This dose is several times the typical dose that would be prescribed to transgender adolescents to




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   treat gender dysphoria. (Pope, et al., 2000).

           101.   When used at proper doses in transgender males, testosterone is safe and well-

   tolerated, usually without clinically significant mental health complications. A prospective study

   showed improved psychological functioning on multiple domains on initiation of testosterone in

   transgender males. (Keo-Meier, etal., 2015)

                                             CONCLUSION

           102.   Alabama's categorical exclusion of gender-affirming medical care for transgender

   adolescents is contrary to widely accepted medical protocols for the treatment of transgender people

   with gender dysphoria that are recognized by major medical and mental health professional

   associations in the United States.

           103.   Decades of medical research and clinical experience have demonstrated that the

   medical treatments Alabama seeks to bar are safe, effective, and medically necessary to relieve

   gender dysphoria for transgender people. Any conclusion otherwise is not supported by medical

   evidence or consensus.

           104.   Denying gender-affirming medical care to transgender people for whom it is

   medically indicated puts them at risk of significant harm to their health and wellbeing, including

   heightened risk of depression and suicidality.

           Ideclare under penalty of perjury under the laws of the United States of America

   that the foregoing is true and correct.

           Executed this 1st day of April 2024.



                                                   a          Y
                                                    Dan H. Karasic, M.D.




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                        Exhibit A




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                                 University of California, San Francisco
                                      CURRICULUM VITAE
  Name:              Dan H. Karasic, MD


  Position:           Professor Emeritus
                     Psychiatry
                     School of Medicine


                     Voice: 415-935-1511
                     Fax: 888-232-9336




  EDUCATION
  1978-1982          Occidental College, Los          A.B.; Summa        Biology
                     Angeles                          Cum Laude

  1982-1987          Yale University School of        M.D.               Medicine
                     Medicine
  1987- 1988         University of California, Los    Intern             Medicine, Psychiatry, and
                     Angeles                                             Neurology

  1988- 1991         University of California, Los    Resident           Psychiatry
                     Angeles; Neuropsychiatric
                     Institute
  1990-1991          University of California, Los    Postdoctoral       Training Program in Mental
                     Angeles; Department of           Fellow             Health Services for Persons
                     Sociology                                           with AIDS
  LICENSES, CERTIFICATION
  1990                 Medical Licensure, California, License Number G65105
  1990                 Drug Enforcement Administration Registration Number BK 1765354
  1993                  American Board of Psychiatry and Neurology, Board Certified in Psychiatry


  PRINCIPAL POSITIONS HELD
   1991   -   1993   University of California, San Francisco         Health Sciences Psychiatry
                                                                   Clincial Instructor
   1993   -   1999   University of California, San Francisco         Health Sciences Psychiatry
                                                                   Assistant Clinical Professor


   1999-2005         University of California, San Francisco         Health Sciences Psychiatry



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                                                                                Associate Clinical
                                                                                 Professor

     2005   -       2020     University of California, San Francisco            Health Sciences Psychiatry Clinical
                                                                                Professor


     2020-present            University of California, San Francisco            Professor Emeritus of Psychiatry


     OTHER POSITIONS HELD CONCURRENTLY
    1980 1980 Associated Western Universities /U.S.
                -                                   Honors                             UCLA Medicine
                               Department of Energy                           Undergraduate
                                                                             Research Fellow
    1981        -   1981 University of California, Los Angeles;        Summer Student       UCLA
                     Medicine American Heart Association, California          Research Fellow
                               Affiliate
     1986   -       1987      Yale University School of Medicine; Medical Student           Psychiatry American
                              Heart Association, Connecticut Research Fellow
                               Affiliate
    1990        -    1991 Unii'ersity of California, Los Angeles Postdoctoral Sociology Fellow

    1991        -   2001 SFGH Consultation-Liaison Service; Attending          Psychiatry
                               AIDS Care                                       Psychiatrist
     1991   -       2001      AIDS Consultation-Liaison Medical        Course Director        Psychiatry Student
                              Elective
     1991   -       present UCSF Positive Health Program at San        HI V/AIDS       Psychiatry Francisco General
                              Hospital (Ward 86)   Outpatient
                                                                               Psychiatrist

     1991   -       present UCSF AHP (AIDS Health Project/Alliance HIV/AIDS                          Psychiatry
                               Health Project)                          Outpatient
                                                                        Psychiatrist

     1994   -       2002       St. Mary's Medical Center CARE Unit.          Consultant              Psychiatry
                              The CARE Unit specializes in the care of patients with
                              AIDS dementia.
     2001   -       2010         Depression and Antiretroviral Adherence Clinical Director           Psychiatry and
                                Study (The H.O.M.E. study: Health                                    Medicine
                              Outcomes of Mood Enhancement)
     2003   -       2020 Transgender Life Care Program and Psychiatrist        Dimensions Dimensions Clinic,
                              Castro Mission Health         Clinic Center
     2013   -       2020 UCSF Alliance Health Project, Co-lead,                Co-Lead and           Psychiatry
                               Transgender Team                                Psychiatrist
     HONORS AND AWARDS
     1981                       Phi Beta Kappa Honor Society             Phi Beta Kappa
     1990                     NIMH Postdoctoral Fellowship in      National Institute of Mental Health Mental Health
                              Services for People with
                              AIDS (1990-1991)
     2001                       Lesbian Gay Bisexual Transgender          SFGH Department of Psychiatry
                              Leadership Award, LGBT Task Force of
                              the Cultural Competence and Diversity
                              Program
     2006                      Distinguished Fellow                       American Psychiatric Association



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  2012                             Chancellor's Award for Leadership in        UCSF
                                  LGBT Health

  2023 Alumni Seal Award for                           Occidental College Professional Achievement




  MEMBERSHIPS
   1992 present Northern California Psychiatric Society
              -




   1992 present American Psychiatric Association
              -




     2000- 2019 Bay Area Gender Associates (an organization of psychotherapists working with
                  transgendered clients)

    2001              -   present World Professional Association for Transgender Health


  SERVICE TO PROFESSIONAL ORGANIZATIONS
  1981    -           1982         The Occidental                                                     News Editor
  1984    -           1985         Yale University School of Medicine                                  Class President
  1989    -           1991          Kaposi's Sarcoma Group, AIDS Project Los Angeles                  Volunteer
                                                                                                      Facilitator

   1992   -           1996    Early Career Psychiatrist Committee, Association of Gay Chair and Lesbian
                              Psychiatrists
   1992           -   1996 Board of Directors, Association of Gay and Lesbian       Member Psychiatrists

   1993           -   1993 Local Arrangements Committee, Association of Gay and Chair Lesbian Psychiatrists

   1994           -   1995 Educational Program, Association of Gay and Lesbian            Director Psychiatrists, 1995
                  Annual Meeting

   1994-1998      Board of Directors, BAY Positives                                                   Member
   1994 2020 Committee on Lesbian, Gay, Bisexual and Transgender Member
                  -




                               Issues, Northern California Psychiatric Society
   1995           -   1997 Board of Directors, Bay Area Young Positives. BAY              President

                               Positives is the nation's first community-based organization
                               providing psychosocial and recreational services to HIV-positive
                               youth
   1995           -   1997 Executive Committee, Bay Area Young Positives. Chair

   1996           -   2004 Committee on Lesbian, Gay, Bisexual and Transgender            Chair Issues, Northern
                  California Psychiatric Society

   1998       -       2002
                 City of San Francisco Human Rights Commission,        Member Lesbian, Gay
                 Bisexual Transgender Advisory Committee
   2000 2004  -  Association of Gay and Lesbian Psychiatrists.         Vice President Responsible for
                 the organization's educational programs
   2004 2005 Association of Gay and Lesbian Psychiatrists
                  -                                            President-elect

   2005           -2007 Caucus of Lesbian, Gay, and Bisexual Psychiatrists of the Chair American Psychiatric
                  Association

  2005-2007                         Association of Gay and Lesbian Psychiatrists                      President
  2007 2009
          -
                                    Association of Gay and Lesbian Psychiatrists                      Immediate Past




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                                                                                                  President

     2009       -   2010 Consensus Committee for Revision of the Sexual and            Member
                              Gender Identity Disorders for DSM-V, GID of Adults
                              subcommittee. (Wrote WPATH recommendations as advisory
                              body to the APA DSM V Committee for the Sexual and Gender
                              Identity Disorders chapter revision.)
     2010       -   2011 Scientific Committee, 2011 WPATH Biennial Symposium, Member Atlanta

     2010 -2022 World Professional Association for Transgender Care                   Member
                     Standards of Care Workgroup and Committee (writing seventh and
                     eighth revisions of the WPATH Standards of Care, which is used
                     internationally for transgender care.)
     2010 2018
            -        lCD 11 Advisory Committee, World Professional          Member Association for
                     Transgender Health
     2012 2014
            -           Psychiatry and Diagnosis Track Co-chair, Scientific          Member Committee,
                     2014 WPATH Biennial Symposium, Bangkok
     2014 2016
            -            Scientific Committee, 2016 WPATH Biennial Symposium, Member Amsterdam
     2014 2018
            -        Board of Directors (elected to 4year term), World      Member Professional Association
                     for Transgender Health
     2014 2018
            -        Public Policy Committee, World Professional Association Chair for Transgender
                     Health
     2014 2018
            -             WPATH Global Education Initiative: Training providers Trainer and and
                       specialty certification in transgender health        Steering
                                                                                                  Committee
                                                                                                  Member

     2014 2016
            -       American Psychiatric Association Workgroup on Gender Member Dysphoria 2016                      -




     present American Psychiatric Association Workgroup on Gender Chair Dysphoria
     2016               USPATH: Inaugural WPATH U.S. Conference, Los              Conference Chair
                      Angeles, 2017


     SERVICE TO PROFESSIONAL PUBLICATIONS
     2011   -       present Journal of Sexual Medicine, reviewer
     2014   -       present International Journal of Transgenderism, reviewer
     2016   -       present LGBT Health, reviewer


     INVITED PRESENTATIONS                            -   INTERNATIONAL
     2009                        World Professional Association for Transgender Health,           Plenary Session
                              Oslo, Norway                                                Speaker
     2009                        World Professional Association for Transgender Health,   Symposium
                              Oslo, Norway                                                Speaker
     2009                       Karolinska Institutet, Stockholm Sweden                   Invited Lecturer
     2012                     Cuban National Center for Sex Education (CENESEX), Invited Speaker Havana, Cuba

     2013                     Swedish Gender Clinics Annual Meeting, Stockholm, Keynote Speaker Sweden

     2013                     Conference on International Issues in Transgender care, Expert Consultant United
                              Nations Development Programme      -   The Lancet, Beijing, China

     2014                     World Professional Association for Transgender Health, Track Chair Bangkok,
                              Thailand




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  2014            World Professional Association for Transgender Health, Invited Speaker Bangkok,
                  Thailand
  2014            World Professional Association for Transgender Health, Invited Speaker Bangkok,
                  Thailand

  2015            European Professional Association for Transgender      Invited Speaker Health, Ghent,
                  Belgium

  2015               European Professional Association for Transgender             Symposium Chair
                  Health, Ghent, Belgium
  2015            Israeli Center for Human Sexuality and Gender Identity, Invited Speaker Tel Aviv

  2016            World Professional Association for Transgender Health, Symposium Chair Amsterdam

  2016            World Professional Association for Transgender Health, Invited Speaker Amsterdam
  2016            World Professional Association for Transgender Health,       Invited Speaker
         Amsterdam         2017
         Brazil Professional
  Association for Transgender
  Health, Sao Paulo
  2017              Vietnam- United Nations Development Programme Asia
                  Transgender Health Conference, Hanoi
  2018            United Nations Development Programme Asia Conference on
                  Transgender Health and Human Rights, Bangkok
  2018            World Professional Association for Transgender Health, Invited Speaker Buenos Aires


  2021                Manitoba Psychiatric Association, Keynote Speaker

  2022           World Professional Association for Public Health, invited speaker, Montreal




  INVITED PRESENTATIONS                 -   NATIONAL
  1990                Being Alive Medical Update, Century Cable Television    Televised Lecturer
   1992 Institute on Hospital and Community Psychiatry, Toronto Symposium Speaker
  1992                Academy of Psychosomatic Medicine Annual Meeting,       Symposium
                   San Diego                                                       Speaker
  1994            American Psychiatric Association 150th Annual Meeting, Workshop Chair Philadelphia
  1994                American Psychiatric Association 150th Annual Meeting, Workshop Speaker
                  Philadelphia
  1994            American Psychiatric Association 150th Annual Meeting, Paper Session Co-
                   Philadelphia                                                   chair
  1995            Spring Meeting of the Association of Gay and Lesbian           Symposium Chair
                  Psychiatrists, Miami Beach

  1996            American Psychiatric Association 152nd Annual Meeting, Workshop Speaker New York

  1997            American Psychiatric Association Annual Meeting, San Workshop Speaker Diego

  1997            Gay and Lesbian Medical Association Annual             Invited Speaker Symposium

   1998           American Psychiatric Association Annual Meeting,       Workshop Chair
                   Toronto
   1998              American Psychiatric Association Annual Meeting,              Workshop Chair



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                Toronto
     1998         American Psychiatric Association Annual Meeting,          Media Session
                Toronto                                                    Chair
     1998       American Psychiatric Association Annual Meeting,   Media Session
                Toronto                                                      Chair
     1999       American Psychiatric Association Annual Meeting,      Symposium Chair
                 Washington, D.C.
     1999          American Psychiatric Association Annual Meeting,            Symposium
                 Washington, D.C.                                             Presenter
     1999       American Psychiatric Association Annual Meeting,      Workshop Chair Washington,
                D.C.

     2000       American Psychiatric Association Annual Meeting,      Workshop Chair Chicago

     2000       National Youth Leadership Forum On Medicine, Invited Speaker
                University of California, Berkeley
     2001       American Psychiatric Association Annual Meeting, New Workshop Chair Orleans

     2001           American Psychiatric Association Annual Meeting, New Media Program
                 Orleans                                                     Chair
     2001       Association of Gay and Lesbian Psychiatrists Chair Symposium, New Orleans
     2001       Harry Benjamin International Gender Dysphoria Invited Speaker
                Association Biennial Meeting, Galveston, Texas
     2002       American Psychiatric Association Annual Meeting,      Media Program
                 Philadelphia                                              Chair
     2002         American Psychiatric Association Annual Meeting,         Workshop Chair
                Philadelphia
     2002       American Psychiatric Association Annual Meeting,   Workshop Chair
                Philadelphia
     2003       Association of Gay and Lesbian Psychiatrists CME      Chair Conference

     2003         American Psychiatric Association Annual Meeting, San         Symposium Chair
                Francisco
     2003         American Psychiatric Association Annual Meeting, San         Symposium Co-
                 Francisco                                                   Chair
     2003       American Psychiatric Association Annual Meeting, San Workshop Chair Francisco
     2003       American Public Health Association Annual Meeting, San Invited Speaker Francisco

     2004       Mission Mental Health Clinic Clinical Conference   Invited Speaker

     2004         Association of Gay and Lesbian Psychiatrists               Co-Chair
                Conference, New York
     2004       Mental Health Care Provider Education Program: Los Invited Speaker
                Angeles. Sponsored by the American Psychiatric
                Association Office of HIV Psychiatry
     2005       American Psychiatric Association Annual Meeting,      Workshop Speaker
                Atlanta
     2005       Association of Gay and Lesbian Psychiatrists Saturday Invited Speaker Symposium
     2008       Society for the Study of Psychiatry and Culture, San Invited Speaker Francisco

     2009       American Psychiatric Association Annual Meeting, San Symposium
                 Francisco                                                     Speaker
     2011          National Transgender Health Summit, San Francisco           Invited Speaker



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  2011          National Transgender Health Summit, San Francisco          Invited Speaker
  2011         American Psychiatric Association Annual Meeting,            Symposium Chair
             Honolulu, HI
  2011         American Psychiatric Association Annual Meeting,             Symposium
             Honolulu, HI                                                   Speaker
  2011       World Professional Association for Transgender Health Invited Speaker Biennial
             Conference, Atlanta, GA
  2011       World Professional Association for Transgender Health Invited Speaker Biennial
             Conference, Atlanta, GA




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     2011        World Professional Association for Transgender Health Biennial
                 Conference, Atlanta, GA
     2011       Institute on Psychiatric Services, San Francisco Invited Speaker

     2012       Gay and Lesbian Medical Association Annual Meeting            Invited Speaker

     2013       National Transgender Health Summit, Oakland, CA       Invited Speaker

     2013         National Transgender Health Summit, Oakland, CA             Invited Speaker
     2013         National Transgender Health Summit, Oakland, CA             Invited Speaker
     2013       American Psychiatric Association Annual Meeting, San Invited Speaker Francisco
     2013       Gay and Lesbian Medical Association, Denver, CO     Invited Speaker

     2014       American Psychiatric Association Annual Meeting, New Invited Speaker York

     2014          Institute on Psychiatric Services, San Francisco              Moderator
     2014          Institute on Psychiatric Services, San Francisco              Invited Speaker
     2014       Institute on Psychiatric Services, San Francisco Invited Speaker

     2015       National Transgender Health Summit, Oakland, CA       Invited Speaker

     2015         National Transgender Health Summit, Oakland, CA            Invited Speaker
     2015         American Psychiatric Association Annual Meeting,           Workshop Speaker
                Toronto
     2015       American Psychiatric Association Annual Meeting,   Course Faculty
                Toronto
     2016       American Psychiatric Association Annual Meeting       Course Faculty

     2016          World Professional Association for Transgender Health           Course Faculty
                 Global Education Initiative, Atlanta
     2016          World Professional Association for Transgender Health           Course Faculty
                 Global Education Initiative, Springfield, MO




     2016       World Professional Association for Transgender Health Course Faculty
                  Global Education Initiative, Fort Lauderdale, FL


     2017       World Professional Association for Transgender Health,
                 GEl, Los Angeles Course Faculty

                 World Professional Association for Transgender Health
                 Surgeon's Training, Irvine, CA Course Faculty




     2017      American Urological Association Annual Meeting, San Francisco CA
                                                                               Invited Speaker




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  2018      World Professional Association for Transgender Health GEl, Portland OR, Course
            Faculty

  2018      World Professional Association for Transgender Health GEl, Palm Springs, Course
            Faculty

  2019      American Society for Adolescent Psychiatry Annual Meeting, San Francisco, Speaker

  2019        American Psychiatric Association Annual Meeting, San Francisco, Session
            Chair

  2020        Psychiatric Congress, Invited Speaker

  2022        World Professional Association for Transgender Health, Montreal, invited
              speaker

  2023        National Transgender Health Summit, San Francisco, invited speaker

  2023      American Psychiatric Association Annual Meeting, San Francisco,          invited
            speaker

  2023'     US Professional Association for Transgender Health, speaker




  INVITED PRESENTATIONS             -   REGIONAL AND OTHER INVITED
  PRESENTATIONS
  1990       Advanced Group Therapy Seminar, UCLA           Invited Lecturer
             Neuropsychiatric Institute
  1991       Joint Project of the Southern California AIDS Interfaith          Symposium
               Council and UCLA School of Medicine                               Speaker
  1991       Joint Project of the Southern California AIDS Interfaith          Workshop Panelist
             Council and UCLA School of Medicine
  1992       Advanced Group Therapy Seminar, UCLA           Invited Lecturer
             Neuropsychiatric Institute
  1993       UCSF School of Nursing Invited Lecturer

  1995       UCSF/SFGH Department of Medicine Clinical Care         Invited Speaker Conference

  1996       UCSF School of Nursing Invited Speaker

  1996       Psychopharmacology for the Primary Care AIDS/Clinician, Invited Lecturer series of
             four lectures, UCSF Department of Medicine
  1996       UCSF AIDS Health Project Psychotherapy Internship Training
             Program
  1996       UCSF/SFGH Department of Medicine AIDS Quarterly            Invited Speaker Update
  1996       San Francisco General Hospital, Division of Addiction      Invited Speaker
             Medicine




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     1996       UCSF Langley Porter Psychiatric Hospital and Clinics           Invited Speaker Grand
                Rounds

     1997       UCSF School of Nursing Invited Speaker

     1997         UCSF Department of Medicine AIDS Program                      Invited Speaker
     1997       Northern California Psychiatric Society Annual Meeting, Workshop Speaker Monterey
     1997       San Francisco General Hospital Department of Psychiatry Invited Speaker Grand
                Rounds
     1997       San Francisco General Hospital Department of Psychiatry Invited Speaker Grand
                Rounds
     1997       Northern California Psychiatric Society LGBT Committee Chair Fall Symposium
     1997       Progress Foundation, San Francisco     Invited Speaker

     1998       San Francisco General Hospital Department of Psychiatry Invited Speaker Grand
                Rounds

     1999       Northern California Psychiatric Society Annual Meeting, Invited Speaker Santa Rosa

     1999       Northern California Psychiatric Society Annual Meeting, Invited Speaker Santa Rosa
     1999       University of California, Davis, Department of Psychiatry Invited Speaker Grand
                Rounds
     1999       California Pacific Medical Center Department of Invited Speaker Psychiatry Grand
                Rounds
     1999       San Francisco General Hospital Department of Psychiatry Discussant
                Departmental Case Conference
     2000       Langley Porter Psychiatric Hospital and Clinics        Invited Speaker
                Consultation Liaison Seminar
     2000       San Francisco General Hospital, Psychopharmacology Invited Speaker Seminar
     2000       UCSF Transgender Health Conference, Laurel Heights Invited Speaker Conference
                Center
     2000          Psychiatry Course for UCSF Second Year Medical             Invited Lecturer
                Students
     2000          Community Consortium Treatment Update Symposium,           Invited Speaker
                California Pacific Medical Center, Davies Campus
     2000       San Francisco General Hospital Department of Psychiatry Invited Speaker Grand
                Rounds

     2001       Psychiatry Course for UCSF Second Year Medical         Invited Lecturer
                Students
     2003         Tom Waddell Health Center Inservice                           Invited Speaker
     2003       San Francisco Veterans Affairs Outpatient Clinic Invited Speaker

     2004       San Francisco General Hospital Psychiatric Emergency Invited Speaker Service
                Clinical Conference

     2004       South of Market Mental Health Clinic, San Francisco    Invited Speaker

     2005       Northern Psychiatric Psychiatric Society Annual Meeting Invited Speaker

     2005       Equality and Parity: A Statewide Action for Transgender Invited Speaker HIV
                Prevention and Care, San Francisco




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  2005            San Francisco General Hospital Department of Psychiatry Invited Speaker Grand
                  Rounds.

  2006            SFGHIUCSF Department of Psychiatry Grand Rounds          Invited Speaker

  2007            UCSF Department of Medicine, HIV/AIDS Grand Rounds, Invited Speaker Positive
                  Health Program

  2007             California Pacific Medical Center LGBT Health              Invited Speaker Symposium,
                  San Francisco LGBT Community Center
  2007            UCSF CME Conference, Medical Management of              Invited Speaker
                  HIV/AIDS, Fairmont Hotel, San Francisco
  2008            UCSF Department of Medicine, Positive Health Program, Invited Speaker HIV/AIDS
                  Grand Rounds

  2008                San Francisco General Hospital Psychiatry Grand Rounds Invited Speaker
  2008              UCSF CME Conference, Medical Management of                    Invited Speaker
                  HIV/AIDS, Fairmont Hotel, San Francisco
  2010            Northern California Psychiatric Society Annual Meeting, Invited Speaker Monterey,
                  CA

  2011            Transgender Mental Health Care Across the Life Span, Invited Speaker
                  Stanford University
  2011            San Francisco General Hospital Department of Psychiatry Invited Speaker Grand
                  Rounds

  2012            UCSF AIDS Health Project      Invited Speaker 2012 San Francisco
                  Veterans Affairs Medical Center.
  2013            Association of Family and Conciliation Courts Conference, Invited Speaker Los
                  Angeles, CA

  2014            UCSF Transgender Health elective      Invited Speaker

  2014               UCSF Department of Psychiatry Grand Rounds                   Invited Speaker
  2014            California Pacific Medical Center Department of Invited Speaker Psychaitry Grand
                  Rounds
  2014            UCLA Semel Institute Department of Psychiatry Grand Invited Speaker Rounds

  2015            UCSF Transgender Health elective      Invited Speaker

  2015              Fenway Health Center Boston, MA (webinar)                        Invited Speaker
  2015               Transgender Health Symposium, Palm Springs                      Invited Speaker
  2015               Transgender Health Symposium, Palm Springs                      Co-Chair
  2015            Santa Clara Valley Medical Center Grand Rounds          Invited Speaker

  2016            UCSF School of Medicine Transgender Health elective Invited Speaker

   2016 Langley Porter Psychiatric Institute APC Case Conference Invited Speaker (2 session
                                                                                                 series)

  2016            Zuckerberg San Francisco General Department of          Invited Speaker Psychiatry
                  Grand Rounds
  2016              UCSF Mini-Medical School Lectures to the Public                  Invited Speaker




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     2021           Los Angeles County Department of Mental Health, Invited Speaker


     2023       Alameda County Department of Behavioral Health, Invited Speaker




     CONTINUING EDUCATION AND PROFESSIONAL DEVELOPMENT
     ACTIVITIES
     2005         Northern California Psychiatric Society
     2005          Northern California Psychiatric Society Annual Meeting, Napa
     2005       Association of Gay and Lesbian Psychiatrist Annual Conference

     2006       Annual Meeting, American Psychiatric Association, Atlanta

     2006          Annual Meeting, American Psychiatric Association, Toronto
     2006       Institute on Psychiatric Services, New York

     2007       Association of Gay and Lesbian Psychiatrists Annual Conference

     2007         American Psychiatric Association Annual Meeting, San Diego
     2007       The Medical Management of HI V/AIDS, aUCSF CME Conference

     2008       Society for the Study of Psychiatry and Culture, San Francisco

     2009       American Psychiatric Association, San Francisco

     2009       World Professional Association for Transgender Health, Oslo, Norway

     2010       Annual Meeting of the Northern California Psychiatric Society, Monterey, CA

     2011       Transgender Mental Health Care Across the Life Span, Stanford University

     2011          National Transgender Health Summit, San Francisco
     2011          American Psychiatric Association Annual Meeting, Honolulu, HI
     2011       World Professional Association for Transgender Health Biennial Conference, Atlanta,
                GA
     2011       Institute on Psychiatric Services, San Francisco

     2012       Gay and Lesbian Medical Association Annual Meeting, San Francisco

     2013       National Transgender Health Summit, Oakland, CA

     2013         American Psychiatric Association Annual Meeting, San Francisco
     2013       Gay and Lesbian Medical Association, Denver, CO

     2014       American Psychiatric Association Annual Meeting, New York

     2014       Institute on Psychiatric Services, San Francisco

     2015       European Professional Association for Transgender Health, Ghent, Belgium

     2015         National Transgender Health Summit, Oakland
     2015       American Psychiatric Association Annual Meeting, Toronto




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  2016              American Psychiatric Association Annual Meeting, Atlanta

  2016                 World Professional Association for Transgender Health, Amsterdam



  GOVERNMENT AND OTHER PROFESSIONAL SERVICE
  1998   -   2002   City and County of San Francisco Human Rights Member Commission LGBT
                    Advisory Committee




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    Iam the chair of the American Psychiatric Association Workgroup on Gender Dysphoria, which developed a
    CME course fort the 2015 and 2016 APA Annual Meetings, and has an larger educational mission to train
    American psychiatrists to better care for transgender patients. Ihave been leading education efforts in
    transgender health at APA meetings since 1998. On the APA Workgroup on Gender Dysphoria, Iam aco-
    author of apaper of transgender issues that has been approved by the American Psychiatric Association as a
    resource document and is in press for the American Journal of Psychiatry. Iam also the sole author of the
    chapter on transgender care in the American Psychiatric Press's Clinical Manual of Cultural Psychiatry,
    Second Edition.

    Ihave been active internationally in transgender health through my work as amember of the Board of
    Directors of the World Professional Association for Transgender Health. Iam an author of the WPATH
    Standards of Care, Version 7, and am Chapter Lead for the Mental Health Chapter of SOC 8.
    Ichaired of the WPATH Public Policy Committee and was amember of the Global Education Initiative,
    which developed aspecialty certification program in transgender health. Ihelped plan the 2016 WPATH
    Amsterdam conference, and was on the scientific committee for the last four biennial international
    conferences. Iwas on the founding committee of USPATH, the national affiliate of WPATH, and Ichaired
    the inaugural USPATH conference, in Los Angeles in 2017. As amember of the steering committee of the
    WPATH Global Educational Initiative, Ihelped train over 2000 health providers in transgender health, and
    helped develop aboard certification program and examination in transgender health.


    UNIVERSITY SERVICE UC SYSTEM AND MULTI-CAMPUS SERVICE
    1991 —2003 HIV/AIDS Task Force               Member

    1992       -   1993 HIV Research Group Member

    1992 1997
           -         Space Committee                                            Member
    1992  2003 Gay, Lesbian and Bisexual Issues Task Force
           -                                                                    Member
    1994 1997
           -          SFGH Residency Training Committee                         Member
    1996 1997
           -          Domestic Partners Benefits Subcommittee.                  Chair
    1996 2000
           -       Chancellor's Advisory Committee on Gay, Lesbian,   Member Bisexual and Transgender
                   Issues.
    1996 2003
           -        HIV/AIDS Task Force                                         Co-Chair
    1996 2003
           -          Cultural Competence and Diversity Program                 Member
    2009 present Medical Advisory Board, UCSF Center of Excellence for Member Transgender Health
               -




    2010       -   2013 Steering Committee, Child Adolescent Gender Center    Member

    2011 —2017 Mental Health Track, National Transgender Health Summit Chair


    DEPARTMENTAL SERVICE
    1991 -2003 San Francisco General Hospital, Department of Psychiatry, Member HIV/AIDS Task Force

    1992       -   1993 San Francisco General Hospital, Department of Psychiatry, Member HIV Research Group

    1992   -       1997
                  San Francisco General Hospital, Department of Psychiatry, Member Space Committee
    1992   -       2003
                  San Francisco General Hospital, Department of Psychiatry, Member GLBT Issues Task
                  Force
    1994 1997
           -          San Francisco General Hospital, Department of Psychiatry, Member
                   Residency Training Committee
    1996 2003
           -               San Francisco General Hospital, Department of Psychiatry, Member Cultural
                   Competence and Diversity Program
    1996 2003
           -      San Francisco General Hospital, Department of Psychiatry, Co-Chair HIV/AIDS Task
                  Force
    2012 2020 San Francisco Department of Public Health Gender Member Competence Trainings Committee
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 2013   -   2020 San Francisco Department of Public Health Transgender     Member Health Implementation
        Task Force

 2014   -   2020San Francisco General Hospital, Department of Psychiatry, Member Transgender Surgery
        Planning Workgroup


 PEER REVIEWED PUBLICATIONS
  1.   Berliner JA, Frank HJL, Karasic D, Capdeville M. Lipoprotein-induced insulin resistance in aortic
       endothelium. Diabetes. 1984; 33:1039-44.

  2.   Bradberry CW, Karasic DH, Deutch AY, Roth RH. Regionally-specific alterations in mesotelencephalic
       dopamine synthesis in diabetic rats: association with precursor tyrosine. Journal of Neural Transmission.
       General Section, 1989; 78:221-9.

  3.   Targ EF, Karasic DH, Bystritsky A, Diefenbach PN, Anderson DA, Fawzy Fl. Structured group therapy
       and fluoxetine to treat depression in HIV-positive persons. Psychosomatics. 1994; 35:132-7.

  4.   Karasic DH. Homophobia and self-destructive behaviors. The Northern California Psychiatric Physician.
       1996; 37 Nov.-Dec. Reprinted by the Washington State Psychiatric Society and the Southern California
       Psychiatric Society newsletters.

  5.   Karasic D. Anxiety and anxiety disorders. Focus. 1996 Nov; 11(12):5-6. PMID: 12206111

  6.   Polansky JS, Karasic DH, Speier PL, Hastik KL, Haller E. Homophobia: Therapeutic and training
       considerations for psychiatry. Journal of the Gay and Lesbian Medical Association. 1997 1(1) 41-47.

  7.   Karasic DH. Progress in health care for transgendered people. Editorial. Journal of the Gay and Lesbian
       Medical Association, 4(4) 2000 157-8.

  8.   Perry S, Karasic D. Depression, adherence to HAART, and survival. Focus: A Guide to AIDS Research
       and Counseling. 2002 17(9) 5-6.

  9.   Fraser L, Karasic DH, Meyer WJ, Wylie, K. Recommendations for Revision of the DSM Diagnosis of
       Gender Identity Disorder in Adults. International Journal of Transgenderism. Volume 12, Issue 2. 2010,
       Pages 80-85.

  10. Coleman, E., Bockting, W., Botzer, M., Cohen-Kettenis, P., DeCuypere, G., Feldman, J., Fraser, L.,
      Green, J., Knudson, G., Meyer, W., Monstrey, S., Karasic D and 22 others.
     (2011). Standards of Care for the Health of Transsexual, Transgender, and Gender
     Nonconforming People, 7th Version. International Journal of Transgenderism, 13:165-232, 2011
  11. Tsai AC, Karasic DH, et at. Directly Observed Antidepressant Medication Treatment and HIV
      Outcomes Among Homeless and Marginally Housed HIV-Positive Adults: A Randomized Controlled
      Trial. American Journal of Public Health. February 2013, Vol. 103, No. 2, pp. 308-315.

  12. Tsai AC, Mimmiaga MJ, Dilley JW, Hammer GP, Karasic DH, Charlebois ED, Sorenson
       JL, Safren SA, Bangsberg DR. Does Effective Depression Treatment Alone Reduce Secondary HIV
       Transmission Risk? Equivocal Findings from aRandomized Controlled Trial. AIDS and Behavior,
      October 2013, Volume 17, Issue 8, pp 2765-2772.
  13. Karasic DH. Protecting Transgender Rights Promotes Transgender Health. LGBT Health. 2016 Aug;
       3(4):245-7. PMID: 27458863

  14. Winter 5, Diamond M, Green J, Karasic D, Reed T, Whittle 5, Wylie K. Transgender people: health at
      the margins of society. Lancet. 2016 Jul 23;388(10042):390-400. doi:
        10.1016/S0l40-6736(16)00683-8. Review.!> PMID: 27323925


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     15. Grelotti DJ, Hammer GP, Dilley JW, Karasic DH, Sorensen JL, Bangsberg DR, Tsai AC. Does
         substance use compromise depression treatment in persons with HIV? Findings from arandomized
         controlled trial. AIDS Care. 2016 Sep 2:1-7. [Epub ahead of print]/> PMID: 27590273

     16. Strang JF, Meagher H, Kenworthy L, de Vries AL, Menvielle E, Leibowitz S, Janssen A, Cohen-
         Kettenis P, Shumer DE, Edwards-Leeper L, Pleak RR, Spack N, Karasic DH, Schreier H, Balleur A,
         Tishelman A, Ehrensaft D, Rodnan L, Kuschner ES, Mandel F, Caretto A, Lewis HC, Anthony LG.
        Initial Clinical Guidelines for Co-Occurring Autism Spectrum Disorder and Gender
        Dysphoria or Incongruence in Adolescents. JClin Child Adolesc Psychol. 2016 Oct 24:1-
         11. [Epub ahead of print]!> PMID: 27775428
     17. Milrod C, Karasic DH. Age Is Just aNumber: WPATH-Affiliated Surgeons' Experiences and Attitudes
         Toward Vaginoplasty in Transgender Females Under 18 Years of Age in the United States. JSex Med
         2017; 14:624-634.


     18. William Byne, Dan H. Karasic, Eli Coleman, A. Evan Eyler, Jeremy D. Kidd, Heino F.L. Meyer-
         Bahlburg, Richard R. Pleak, and Jack Pula.Gender Dysphoria in Adults:
         An Overview and Primer for Psychiatrists.Transgender Health.Dec 2018.57-
         A3.http://doi.org/I0.1089/trgh.2017.0053
     19. Identity recognition statement of the world professional association for transgender health
         (WPATH). International Journal of Transgenderism. 2018 Jul 3; 19(3):1-2. Knudson KG, Green GJ,
         Tangpricha TV, Ettner ER, Bouman BW, Adrian AT, Allen AL, De Cuypere DG, Fraser FL, Hansen HT,
         Karasic KID, Kreukels KB, Rachlin RK, Schechter SL, Winter WS, Committee and Board of Direct


     20. Karasic, DH & Fraser, L Multidisciplinary Care and the Standards of Care for Transgender and Gender Non-
         conforming Individuals. Schechter, L& Safa, B. (Eds.) Gender Confirmation Surgery,
          Clinics in Plastic Surgery Special Issue, Vol 45, Issue 3, pp 295-299. 2018
          Elsevier,Philadelphia. https:/!doi.org/10. 1016/j. cps. 20 18.03.016
     21. Milrod C, Monto M, Karasic DH. Recommending or Rejecting "the Dimple":
         WPATHAffiliated Medical Professionals' Experiences and Attitudes Toward GenderConfirming
         Vulvoplasty in Transgender Women. JSex Med. 2019 Apr; 16(4):586-595. doi:
          10.1016!j.jsxm.2019.01.316. Epub 2019 Mar 2.


     22. lCD-I 1and gender incongruence of childhood: arethink is needed. Lancet Child
         Adolesc Health. 2019 10; 3(10):671-673. Winter S, Ehrensaft D, Telfer M, T'Sjoen G, Koh J, Pickstone-
         Taylor 5, Kruger A, Griffin L, Foigel M, De Cuypere G, Karasic D. PMID: 31439494.


     23. Gender Dysphoria in Adults: An Overview and Primer for Psychiatrists. Focus (Am
    Psychiatr Publ). 2020 Jul; 18(3):336-350. Byne W, Karasic DH, Coleman E, Eyler AE, Kidd JD, Meyer-
    Bahlburg HFL, Pleak RR, Pula J. PMID: 33343244; PMCID: PMC75879l4.

                 24.         WPATH Standards of Care for the Health of Transgender and Gender Diverse
         People, Version 8. E. Coleman, A. E. Radix, W. P. Bouman, G. R. Brown, A. L. C. de Vries, M. B.
         Deutsch, R. Ettner, L. Fraser, M. Goodman, J. Green, A. B. Hancock, T. W. Johnson, D. H. Karasic... J.
         Arcelus (2022) Standards of Care for the Health of Transgender and Gender Diverse People, Version 8,
         International
         Journal of Transgender Health, 23 :sup 1, SI-S259, DOI: 10.1080/26895269.2022.2100644




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 BOOKS AND CHAPTERS
   1. Karasic DH, Dilley JW. Anxiety and depression: Mood and HIV disease. In: The UCSF AIDS Health
      Project Guide to Counseling: Perspectives on Psychotherapy, Prevention, and Therapeutic Practice.
     Dilley JW and Marks R, eds. Jossey-Bass. San Francisco, 1998, pp. 227-248 .

   2. Karasic DH, Dilley JW. Human immunodeficiency-associated psychiatric disorders. In:
     The AIDS Knowledge Base, Third Edition. Cohen PT, Sande MA, Volberding PA, eds. Lippincott-
     Williams &Wilkens, Philadelphia, 1999, pp. 577-584.
   3. Karasic DH and Drescher J. eds. Sexual and Gender Diagnoses of the Diagnostic and
      Statistical Manual (DSM): A Reevaluation. 2005. Haworth Press, Binghamton, NY. (Book Co-Editor)
   4. Karasic DH. Transgender and Gender Nonconforming Patients. In: Clinical Manual of Cultural
     Psychiatry, Second Edition. Lim RF ed.   pp 397-410. American Psychiatric Publishing, Arlington VA.

     2015.

   5. Karasic DH. Mental Health Care of the Transgender Patient. In: Comprehensive Care of the
     Transgender Patient, Ferrando CA ed. pp. 8-11. Elsevier, 2019.

   6. Karasic DH. The Mental Health Assessment for Surgery. In: Gender Confirmation Surgery      -   Principles
     and Techniques for an Emerging Field. Schechter L ed. Springer Nature, in press 2019.




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   1. Karasic DH, Dilley JW. HIV-associated psychiatric disorders: Treatment issues. In: Cohen P, Sande
     MA, Volberding P, eds., The AIDS Knowledge Base. Waltham, MA: The Medical Publishing Group!
     Massachusetts Medical Society. 1994. pp. 5.31-1-5.

   2. Karasic DH, Dilley JW. HIV-associated psychiatric disorders: Clinical syndromes and diagnosis. In:
      Cohen P, Sande MA, Volberding P, eds., The AIDS Knowledge Base, Second Edition. Waltham, MA:
      The Medical Publishing Group/Massachusetts Medical Society. 1994 pp. 5.30-1-5.

   3. Karasic DH. A primer on transgender care. In: Gender and sexuality. The Carlat Report Psychiatry.
      April 2012. Vol 10, Issue 4.

   4. Karasic D and Ehrensaft D. We must put an end to gender conversion therapy for kids. Wired. 7!6!15.



 EXPERT WITNESS AND CONSULTATION ON TRANSGENDER CARE AND RIGHTS



 2008 Consultant, California Department of State Hospitals


 2012 Dugan v. Lake, Logan UT


 2012 XY v. Ontario http:!!www.canlii.orglenlon/onhrt!doc!20 12!20 12hrto726!20 12hrto726.html


 2014 Cabading vCalifornia Baptist University


 2014 CF v. Alberta http:!/www.canlii.org/enlab!abqb!doc/20 14!20 14abqb237!20 14abqb237.html

 2017 United Nations Development Programme consultant, transgender health care and legal rights in the
         Republic of Vietnam; Hanoi.
                                                     55




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    2017- 2018 Forsberg vSaskatchewan; Saskatchewan Human Rights vSaskatchewan
           https:Hcanliiconnects.org/en/summaries/54130
              https:Hcanliiconnects.org/en/cases/2018skqbl59


    2018 United Nations Development Programme consultant, transgender legal rights in Southeast Asia;
           Bangkok.

    2018 Consultant, California Department of State Hospitals

    2019, 2021 Consultant/Expert, Disability Rights Washington

    2019, 2021 Consultant/Expert, ACLU Washington

    2021 Consultant, California Department of Corrections and Rehabilitation

    2021 Expert, Kadel v. Folwell, 1:19-cv-00272 (M.D.N.C.).


    2021   Expert, Drew Glass v. City of Forest Park     -   Case No. 1:20-cv-914 (Southern   District Ohio)


    2021-2022 Expert, Brandt et al v. Rutledge et al. 4:2 1-cv-00450 (E.D. Ark.)


    2021-2022    Expert, Fain v. Crouch, 3:20-cv-00740 (S.D.W. Va.)

    2022 Expert, C.P. v. Blue Cross Blue Shield of Illinois, No. 3:20-cv-06145-RJB (W.D. Wash.)


    2022-3 Expert, Dekker, et al. v. Weida, et al., No. 4:22-cv-00325-RH-MAF

    2019-2023 Expert, Disability Rights Washington vWashington State Department of Corrections

    2023 Expert, K.C. et al. vIndividual Members of the Indiana Licensing Board, et al- No. 1:23-CV-595

    2023 Expert, Doe, et al vLadapo -No. 4:23-cv-001 14-RH-MAF

    2023 Expert, Doe et al vThornbury -No. 3:23-cv-00230-DJH

    2023 Expert Voe vMansfield




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                     Exhibit B




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    mental health and well-being of transgender youths: preliminary results. International
    journal of Pediatric Endocrinology, 2020(8), available at
    https://doi.org/10. 1186/si 3633-020-00078-2.

    American Psychological Association. (2021). APA Resolution on Gender Identity
    Change Efforts. Available at hftps ://www. apa. org/about/policy/resolution-gender-
    identity-changeefforts .pdf.

    Brik, T., Vrouenraets, L. J. J. J., de Vries, M. C., & Hannema, S. E. (2020).
    Trajectories of Adolescents Treated with Gonadotropin-Releasing Hormone
    Analogues for Gender Dysphoria. Archives of Sexual Behavior, 49(7), 2611-2618.
    https://doi.org/i 0.1007/si 0508-020-01660-8.

    Bakker A., van Kesteren P. J. M., Gooren L. J. G., et al. (1993). The prevalence of
    transsexualism in the Netherlands. Acta Psychiatry Scand, 87(4), 237-238.

    Bruce L., Khouri AX, Bolze A., et al. (2023). Long-term regret and satisfaction with
    decision following gender-affirming mastectomy. JAMA Surgery.
    doi: 10.1001/jamasurg.2023.3352

    Bustos, V. P., Bustos, S. S., Mascaro, A., Del Corral, G., Forte, A. J., Ciudad, P.,
    Kim, E. A., Langstein, H. N., & Manrique, 0. J. (2021). Regret after Gender-
    affirmation Surgery: A Systematic Review and Meta-analysis of Prevalence. Plastic
    and Reconstructive Surgery-Global open, 9(3), e3477, available at
    https://doi.org/10. 1097/GOX.0000000000003477.

    Cavve, B., Bickendorf, X., Ball, J., Saunders, L., Thomas, C., Strauss, P., Chaplyn,
    G., Marion, L., Siafarikas, A., Ganti, U., Wiggins, A., Lin, A., Moore, J. (2024).
    Reidentification With Birth-Registered Sex in aWestern Australian Pediatric Gender
    Clinic Cohort. JAMA Pediatrics. doi:10.1001/jamapediatrics.2024.0077.

    Chen, D., Berona, J., Chan, Y. M., Ehrensaft, D., Garofalo, R., Hidalgo, M. A.,
    Rosenthal, S. M., Tishelman, A. C., & Olson-Kennedy, J. (2023). Psychosocial
    Functioning in Transgender Youth after 2Years of Hormones. The New England
    Journal of Medicine, 388(3), 240-250. https://doi.org/10.1056NEJMoa2206297.

    Chong, M. C., Sharp, M. K., Smith, S. M., O'Neill, M., Ryan, M., Lynch, R.,
    Mahtani, K. R., & Clyne, B. (2023). Strong recommendations from low certainty
    evidence: across-sectional analysis of asuite of national guidelines. BMC Medical
    Research Methodology, 23(1), 68. https://doi.org/i 0.1186/s 12874-023-01895-8.
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 Christensen, J. A., Oh, J., Linder, K., Imhof, R. L., Croarkin, P. E., Bostwick, J. M.,
 & McKean, J. S. (2023). Systematic review of interventions to reduce suicide risk in
 transgender and gender diverse youth. Child Psychiatry & Human Development. doi:
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 Coleman, E., Radix, A. E., Bouman, W. P., Brown, G. R., de Vries, A. L. C.,
 Deutsch, M. B.,
 Ettner, R., Fraser, L., Goodman, M., Green, J., Hancock, A. B., Johnson, T. W.,
 Karasic, D. H., Knudson, G. A., Leibowitz, S. F., Meyer-Bahlburg, H. F. L., Monstrey,
 S. J., Motmans, J., Nahata, L., Nieder, T. 0.,  Arcelus, J. (2022). Standards of Care
                                                 ...




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 Journal of Transgender Health, 23(Suppl 1), Si— S259.

 Coleman, E., Bockting, W., Botzer, M., et al. (2012). Standards of Care for the
 Health of Transsexual, Transgender, and Gender-Nonconforming People (7th
 Version). The World Professional Association for Transgender Health. Available at
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 Conron, K. J., Scott, G., Stowell, G. S., & Landers, S. J. (2012). Transgender health
 in Massachusetts: results from ahousehold probability sample of adults. American
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 Conway, A., Conway, Z., Soalheira, K., & Sutherland, J. (2017). High quality of
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 and Emergency Medicine. European Journal ofAnaesthesiology, 34(12), 808-813,
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 Crissman, H. P., Berger, M. B., Graham, L. F., & Dalton, V. K. (2017). Transgender
 Demographics: A Household Probability Sample of US Adults, 2014. American
 Journal ofPublic Health, 107(2), 213-215, available at
 https://doi.org/10.2105/AJPH.2016.3 03 57 1.

 de Vries, A. L., Steensma, T. D., Doreleijers, T. A., & Cohen-Kettenis, P. T. (2011).
 Puberty suppression in adolescents with gender identity disorder: aprospective

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    applications for sex reassignment surgery in Sweden, 1960-2010: prevalence,
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    Dhejne, C., Lichtenstein, P., Boman, M., Johansson, A., Langstrom, N., Landen, M.,
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                                EXHIBIT        ••




                                WIT:
                                                                        INTERNATIONAL JOURNAL OFTRANSGENDER HEALTH   (a) 543
                                DATE:
                                CARLA SCARES, CSR
 CHAPTER 6 Adolescents                                        presented eligibility criteria regarding age/puberty
                                                                  stage—namely fully reversible puberty delaying
 Historical context and changes since previous
                                                              blockers as soon as puberty had started; partially
 Standards of Care
                                                                  reversible hormone therapy (testosterone, estro-
 Specialized health care for transgender adoles-                  gen) for adolescents at the age of majority, which
 cents began in the 1980s when a few specialized                  was age 16 in certain European countries; and
 gender clinics for youth were developed around                   irreversible surgeries at age 18 or older, except
 the world that served relatively small numbers                   for chest "masculinizing" mastectomy, which had
 of children and adolescents. In more recent years,               an age minimum of 16 years. Additional eligibil-
 there has been a sharp increase in the number                    ity criteria     for   gender-related medical        care
 of adolescents requesting gender care (Arnoldussen               included apersistent, long (childhood) history of
 et al., 2019; Kaltiala, Bergman et al., 2020). Since             gender "non-conformity"/dysphoria, emerging or
 then, new clinics have been founded, but clinical                intensifying at the onset of puberty; absence or
 services in many places have not kept pace with                  management of psychological, medical, or social
 the increasing number of youth seeking care.                     problems that interfere with treatment; provision
 Hence, there are often long waitlists for services,              of support for commencing the intervention by
 and barriers to care exist for many transgender                  the parents/caregivers; and provision of informed
 youth around the world (Tollit et al., 2018).                    consent. A chapter dedicated to transgender and
   Until recently, there was limited information                  gender diverse (TGD) adolescents, distinct from
 regarding the prevalence of gender diversity                     the child chapter, has been created for this
 among adolescents. Studies from high school                      edition of the Standards of Care given 1) the
 samples indicate much higher rates than earlier                  exponential growth in adolescent referral rates;
 thought, with reports of up to 1.2% of partici-                  2) the increased number of studies specific to
 pants identifying as transgender (Clark et al.,                  adolescent gender diversity-related care; and 3)
 2014) and up to 2.7% or more (e.g., 7-9%) expe-                  the unique developmental and gender-affirming
 riencing some level of self-reported gender diver-               care issues of this age group.
 sity (Eisenberg et al., 2017; Kidd et al., 2021;                   Non-specific terms for gender-related care are
 Wang et al., 2020). These studies suggest gender                 avoided (e.g., gender-affirming model, gender
 diversity in youth should no longer be viewed as                 exploratory model) as these terms do not repre-
 rare. Additionally, a pattern of uneven ratios by                sent unified practices, but instead heterogenous
 assigned sex has been reported in gender clinics,                care practices that are defined differently in var-
 with adolescents assigned female at birth (AFAB)                 ious settings.
 initiating care 2.5-7.1 times more frequently as
 compared to adolescents who are assigned male
                                                                  Adolescence overview
 at birth (AMAB) (Aitken et al., 2015; Arnoldussen
 et al.,   2019;   Bauer et   al.,     2021;   de   Graaf,        Adolescence is a developmental period charac-
 Carmichael et al., 2018; Kaltiala et al., 2015;                  terized by relatively rapid physical and psycho-
 Kaltiala, Bergman et al., 2020).                                 logical maturation, bridging childhood and
   A specific World Professional Association for                  adulthood (Sanders, 2013). Multiple develop-
 Transgender Health's (WPATH) Standards of Care                   mental processes occur simultaneously, including
 section dedicated to the needs of children and                   pubertal-signaled changes. Cognitive, emotional,
 adolescents was first included in the 1998 WPATH                 and social systems mature, and physical changes
 Standards of Care, 5th version (Levine et al.,                   associated with puberty progress. These pro-
 1998). Youth aged 16 or older were deemed                        cesses do not all begin and end at the same
 potentially eligible for gender-affirming medical                time for a given individual, nor do they occur
 care, but only in select cases. The subsequent 6th               at the same age for all persons. Therefore, the
 (Meyer et al., 2005) and 7th (Coleman et al.,                    lower and upper borders of adolescence are
 2012) versions divided medical-affirming treat-                  imprecise and cannot be defined exclusively by
 ment for adolescents into three categories and                   age. For example, physical pubertal changes may




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  begin in late childhood and executive control                given young person within their specific cultural
  neural systems continue to develop well into the             context.
  mid-20s (Ferguson et al., 2021). There is a lack
  of uniformity in how countries and governments               Gender identity development in adolescence
  define      the    age     of   majority   (i.e.,   legal
                                                               Our understanding of gender identity develop-
  decision-making status; Dick et al., 2014). While
                                                               ment in adolescence is continuing to evolve.
  many specify the age of majority as 18 years of
                                                               When providing clinical care to gender diverse
  age, in some countries it is as young as 15 years
                                                               young people and their families, it is important
  (e.g., Indonesia and Myanmar), and in others
                                                               to know what is and is not known about gender
  as high as 21 years (e.g., the U.S. state of
                                                               identity during development (Berenbaum, 2018).
  Mississippi and Singapore).
                                                               When considering treatments, families may have
        For clarity, this chapter applies to adolescents
                                                               questions regarding the development of their
  from the start of puberty until the legal age of
  majority (in most cases 18 years), however there             adolescent's gender identity, and whether or not
  are developmental elements of this chapter,                  their adolescent's declared gender will remain

  including the importance of parental/caregiver               the same over time. For some adolescents, a
  involvement, that are often relevant for the care            declared gender identity that differs from the
  of transitional-aged young adults and should                 assigned sex at birth comes as no surprise to
  be considered appropriately.                                 their parents/caregivers as their history of gen-
        Cognitive development in adolescence is often          der diverse expression dates back to childhood
  characterized by gains in abstract thinking, com-            (Leibowitz & de Vries, 2016). For others, the
  plex reasoning, and metacognition (i.e., ayoung              declaration does not happen until the emergence
  person's ability to think about their own feelings           of pubertal changes or even well into adoles-
  in relation to how others perceive them; Sanders,            cence    (McCallion     et   al.,   2021;     Sorbara
  2013). The ability to reason hypothetical situa-             et al., 2020).
  tions enables a young person to conceptualize                  Historically, social learning and cognitive
  implications regarding a particular decision.                developmental research on gender development
  However, adolescence is also often associated with           was conducted primarily with youth who were
  increased risk-taking behaviors. Along with these            not gender diverse in identity or expression and
  notable changes, adolescence is often character-             was carried out under the assumption that sex
  ized by individuation from parents and the devel-            correlated with a specific gender; therefore, little
  opment of increased personal autonomy. There                 attention was given to gender identity develop-
  is often aheightened focus on peer relationships,            ment. In addition to biological factors influencing
  which can be both positive and detrimental                   gender development, this research demonstrated
  (Gardner & Steinberg, 2005). Adolescents often               psychological and social factors also play a role
  experience a sense of urgency that stems from                (Perry & Pauletti, 2011). While there has been
  hypersensitivity to reward, and their sense of               less focus on gender identity development in
  timing has been shown to be different from that              TGD youth, there is ample reason to suppose,
  of older individuals (Van Leijenhorst et al., 2010).         apart from biological factors, psychosocial factors
  Social-emotional development typically advances              are also involved (Steensma, Kreukels et al.,
  during adolescence, although there is agreat vari-           2013). For some youth, gender identity develop-
  ability among young people in terms of the level             ment appears fixed and is often expressed from
  of maturity applied to inter- and intra-personal             a young age, while for others there may be a
  communication and insight (Grootens-Wiegers                  developmental process that contributes to gender
  et al., 2017). For TGD adolescents making deci-              identity development over time.
  sions about gender-affirming treatments—deci-                  Neuroimaging studies, genetic studies, and
  sions that may have lifelong consequences—it is              other hormone studies in intersex individuals
  critical to understand how all these aspects of              demonstrate a biological contribution to the
  development may impact decision-making for a                 development      of gender    identity      for   some




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 individuals whose gender identity does not match           seeking care who have not seemingly experienced,
 their assigned sex at birth (Steensma, Kreukels            expressed (or experienced and expressed) gender
 et al., 2013). As families often have questions            diversity during their childhood years.              One
 about this very issue, it is important to note it          researcher attempted to study and describe a spe-
 is not possible to distinguish between those for           cific form of later-presenting gender diversity expe-
 whom gender identity may seem fixed from birth             rience (Littman, 2018). However, the findings of
 and those for whom gender identity development             the study must be considered within the context
 appears to be a developmental process. Since it            of significant methodological challenges, including
 is impossible to definitively delineate the contri-        1) the study surveyed parents and not youth per-
 bution of various factors contributing to gender           spectives; and 2) recruitment included parents from
 identity development for any given young person,           community settings in which treatments for gender
 a comprehensive clinical approach is important             dysphoria are viewed with scepticism and are crit-
 and necessary (see Statement 3). Future research           icized. However, these findings have not been rep-
 would shed more light on gender identity devel-            licated. For a select subgroup of young people,
 opment if conducted over long periods of time              susceptibility to social influence impacting gender
 with diverse cohort groups. Conceptualization of           may be an important differential to consider
 gender identity by shifting from dichotomous               (Kornienko et al., 2016). However, caution must
 (e.g., binary) categorization of male and female           be taken to avoid assuming these phenomena occur
 to a dimensional gender spectrum along a con-              prematurely in an individual adolescent while rely-
 tinuum (APA, 2013) would also be necessary.                ing on information from datasets that may have
   Adolescence may be a critical period for the             been ascertained with potential sampling bias
 development of gender identity for gender diverse          (Bauer et al., 2022; WPATH, 2018). It is important
 young people (Steensma, Kreukels et al., 2013).            to consider the benefits that social connectedness
 Dutch longitudinal clinical follow-up studies of           may have for youth who are linked with supportive
 adolescents with childhood gender dysphoria who            people (Tuzun et al., 2022)(see Statement 4).
 received puberty suppression, gender-affirming               Given the emerging nature of knowledge
 hormones, or both, found that none of the youth            regarding adolescent gender identity development,
 in adulthood regretted the decisions they had              an individualized approach to clinical care is con-
 taken in adolescence (Cohen-Kettenis & van                 sidered both ethical and necessary. As is the case
 Goozen, 1997; de Vries et al., 2014). These find-          in all areas of medicine, each study has method-
 ings suggest adolescents who were comprehen-               ological limitations, and conclusions drawn from
 sively assessed   and   determined emotionally             research cannot and should not be universally
 mature enough to make treatment decisions                  applied to all adolescents. This is also true when
 regarding gender- affirming medical care pre-              grappling with      common       parental    questions
 sented with stability of gender identity over the          regarding the stability versus instability of apar-
 time period when the studies were conducted.               ticular young person's gender identity develop-
   When     extrapolating     findings   from    the        ment. While future research will help advance
 longer-term longitudinal Dutch cohort studies to           scientific understanding of gender identity devel-
 present-day gender diverse adolescents seeking care,       opment,    there   may     always    be   some      gaps.
 it is critical to consider the societal changes that       Furthermore, given the ethics of self-determination
 have occurred over time in relation to TGD people.         in care, these gaps should not leave the TGD
 Given the increase in visibility of TGD identities,        adolescent without important and necessary care.
 it is important to understand how increased aware-
 ness may impact gender development in different
                                                            Research evidence of gender-affirming medical
 ways (Kornienko et al., 2016). One trend identified
                                                            treatment for trans gender adolescents
 is that more young people are presenting to gender
 clinics with nonbinary identities (Twist & de Graaf,       A key challenge in adolescent transgender care is
 2019). Another phenomenon occurring in clinical            the quality of evidence evaluating the effectiveness
 practice is the increased number of adolescents            of medically necessary gender-affirming medical




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  and surgical treatments (GAMSTs) (see medically                      subjective outcomes in adulthood (de Vries et al.,
  necessary      statement           in   the   Global    chapter,     2014). While the study employed a small (n          =

  Statement 2.1), over time. Given the lifelong impli-                 55), select, and socially supported sample, the
  cations of medical treatment and the young age                       results were convincing. Of note, the participants
  at which treatments may be started, adolescents,                     were part of the Dutch clinic known for employ-
  their parents, and care providers should be                          ing a multidisciplinary approach, including pro-
  informed about the nature of the evidence base.                      vision of comprehensive, ongoing assessment and
  It seems reasonable that decisions to move forward                   management of gender dysphoria, and support
  with medical and surgical treatments should be                       aimed at emotional well-being.
  made carefully. Despite the slowly growing body                        Several more recently published longitudinal
  of evidence supporting the effectiveness of early                    studies followed and evaluated participants at
  medical intervention, the number of studies is still                 different stages of their gender-affirming treat-
  low, and there are few outcome studies that follow                   ments. In these studies, some participants may
  youth into adulthood. Therefore, a systematic                        not have started gender-affirming medical treat-
  review regarding outcomes of treatment in ado-                       ments, some had been treated with puberty sup-
  lescents is not possible. A short narrative review                   pression,    while     still   others   had   started
  is provided instead.                                                 gender-affirming hormones or had even under-
    At the time of this chapter's writing, there were                  gone gender-affirming surgery (GAS) (Achille
  several longer-term longitudinal cohort follow-up                    et al., 2020; Allen et al., 2019; Becker-Hebly et al.,
  studies reporting positive results of early (i.e.,                   2021; Carmichael et al., 2021; Costa et al., 2015;
  adolescent) medical treatment; for a significant                     Kuper et al., 2020, Tordoff et al., 2022). Given
  period of time, many of these studies were con-                      the heterogeneity of treatments and methods, this
  ducted      through           one       Dutch    clinic    (e.g.,    type of design makes interpreting outcomes more
  Cohen-Kettenis & van Goozen, 1997; de Vries,                         challenging. Nonetheless, when compared with
  Steensma et al., 2011; de Vries et al., 2014; Smith                  baseline assessments, the data consistently demon-
  et al., 2001, 2005). The findings demonstrated                       strate improved or stable psychological function-
  the resolution of gender dysphoria is associated                     ing, body image, and treatment satisfaction
  with improved psychological functioning and                          varying from three months to up to two years
  body image satisfaction. Most of these studies                       from the initiation of treatment.
  followed a pre-post methodological design and                          Cross-sectional studies provide another design
  compared baseline psychological functioning with                     for evaluating the effects of gender-affirming
  outcomes        after        the    provision     of    medical      treatments. One such study compared psycholog-
  gender-affirming treatments. Different studies                       ical functioning in transgender adolescents at
  evaluated individual aspects or combinations of                      baseline and while undergoing puberty suppres-
  treatment       interventions             and    included     1)     sion with that of cisgender high school peers at
  gender-affirming              hormones          and    surgeries     two different time points. At baseline, the trans-
  (Cohen-Kettenis & van Goozen, 1997; Smith                            gender youth demonstrated lower psychological
  et al., 2001, 2005); 2) puberty suppression (de                      functioning compared with cisgender peers,
  Vries, Steensma et al., 2011); and 3) puberty sup-                   whereas when undergoing puberty suppression,
  pression, affirming hormones, and surgeries (de                      they demonstrated better functioning than their
  Vries et al., 2014). The 2014 long-term follow-up                    peers (van der Miesen et al., 2020). Grannis et al.
  study is the only study that followed youth from                     (2021) demonstrated transgender males who
  early adolescence (pretreatment, mean age of                         started testosterone had lower internalizing men-
  13.6) through young adulthood (posttreatment,                        tal health symptoms (depression and anxiety)
  mean age of 20.7). This was the first study to                       compared with those who had not started tes-
  show gender-affirming treatment enabled trans-                       tosterone treatment.
  gender adolescents to make age-appropriate                             Four additional studies followed different out-
  developmental transitions while living as their                      come designs. In a retrospective chart study,
  affirmed gender with satisfactory objective and                      Kaltiala, Heino et al. (2020) reported transgender




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 adolescents with few or no mental health chal-             detransition (Littman, 2021; Vandenbussche,
 lenges prior to commencing gender-affirming                2021). Some adolescents may regret the steps
 hormones generally did well during the treat-              they have taken (Dyer, 2020). Therefore, it is
 ment. However, adolescents with more mental                important to present the full range of possible
 health challenges at baseline continued to expe-           outcomes when assisting transgender adoles-
 rience the manifestations of those mental health           cents. Providers may discuss this topic in a col-
 challenges over the course of gender-affirming             laborative   and trusting       manner      (i.e.,    as   a
 medical treatment. Nieder et al. (2021) studied            "potential future experience and consideration")
 satisfaction with care as an outcome measure and           with the adolescent and their parents/caregivers
 demonstrated transgender adolescents were more             before gender-affirming medical treatments are
 satisfied the further they progressed with the             started. Also, providers should be prepared to
 treatments they initially started. Hisle-Gorman            support adolescents who detransition. In an
 et al. (2021) compared health care utilization pre-        internet convenience sample survey of 237
 and post-initiation of gender-affirming pharma-            self-identified detransitioners with a mean age
 ceuticals as indicators of the severity of mental          of 25.02 years, which consisted of over 90% of
 health conditions among 3,754 TGD adolescents              birth assigned females, 25% had medically tran-
 in alarge health care data set. Somewhat contrary          sitioned before age 18 and 14% detransitioned
 to the authors' hypothesis of improved mental              before age 18 (Vandenbussche, 2021). Although
 health, mental health care use did not signifi-            an internet convenience sample is subject to
 cantly change, and psychotropic medication pre-            selection of respondents, this study suggests
 scriptions increased. In a large non-probability           detransitioning may occur in young transgender
 sample of transgender-identified adults, Turban            adolescents and health care professionals should
 et al. (2022) found those who reported access to           be aware of this. Many of them expressed dif-
 gender-affirming hormones in adolescence had               ficulties finding help during their detransition
 lower odds of past-year suicidality compared with          process and reported their detransition was an
 transgender people accessing gender- affirming             isolating experience during which they did not
 hormones in adulthood.                                     receive either sufficient or appropriate support
   Providers may consider the possibility an ado-           (Vandenbussche, 2021).
 lescent may regret gender-affirming decisions                To conclude, although the existing samples
 made during adolescence, and a young person                reported on relatively small groups of youth (e.g.,
 will want to stop treatment and return to living           n = 22-101 per study) and the time to follow-up
 in the birth-assigned gender role in the future.           varied across studies (6 months-7 years), this
 Two Dutch studies report low rates of adoles-              emerging evidence base          indicates a general
 cents (1.9% and 3.5%) choosing to stop puberty             improvement in the lives of transgender adoles-
 suppression (Brik et al., 2019; Wiepjes et al.,            cents who, following careful assessment, receive
 2018). Again, these studies were conducted in              medically necessary gender-affirming medical
 clinics that follow a protocol that includes a             treatment. Further, rates of reported regret during
 comprehensive        assessment      before    the         the study monitoring periods are low. Taken as
 gender-affirming medical treatment is started.             a whole, the data show early medical interven-
 At present, no clinical cohort studies have                tion—as part of broader combined assessment
 reported on profiles of adolescents who regret             and treatment approaches focused on gender dys-
 their initial decision or detransition after irre-         phoria and general well-being—can be effective
 versible affirming treatment. Recent research              and helpful for many transgender adolescents
 indicate there are adolescents who detransition,           seeking these treatments.
 but do not regret initiating treatment as they
 experienced the start of treatment as a part of
                                                            Ethical and human rights perspectives
 understanding their gender-related care needs
 (Turban, 2018). However, this may not be the               Medical ethics and human rights perspectives
 predominant      perspective    of   people   who          were also considered while formulating the




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        Statements of Recommendations

        6.1- We recommend health care professionals working with gender diverse adolescents:
        6.1.a- Are licensed by their statutory body and hold a postgraduate degree or its equivalent in a clinical field relevant to this
        role granted by anationally accredited statutory institution.
        6.1.b- Receive theoretical and evidenced-based training and develop expertise in general child, adolescent, and family mental
        health across the developmental spectrum.
        6.1.c- Receive training and have expertise in gender identity development, gender diversity in children and adolescents, have
        the ability to assess capacity to assent/consent, and possess general knowledge of gender diversity across the life span.
        6.1.d- Receive training and develop expertise in autism spectrum disorders and other neurodevelopmental presentations or
        collaborate with adevelopmental disability expert when working with autistic/neurodivergent gender diverse adolescents.
        6.1.e- Continue engaging in professional development in all areas relevant to gender diverse children, adolescents, and families.
        6.2- We recommend health care professionals working with gender diverse adolescents facilitate the exploration and expression
        of gender openly and respectfully so that no one particular identity is favored.
        6.3- We recommend health care professionals working with gender diverse adolescents undertake acomprehensive biopsychosocial
        assessment of adolescents who present with gender identity-related concerns and seek medical/surgical transition-related care,
        and that this be accomplished in acollaborative and supportive manner.
        6.4- We recommend health care professionals work with families, schools, and other relevant settings to promote acceptance of
        gender diverse expressions of behavior and identities of the adolescent.
        6.5- We recommend against offering reparative and conversion therapy aimed at trying to change aperson's gender and lived
        gender expression to become more congruent with the sex assigned at birth.
        6.6- We suggest health care professionals provide transgender and gender diverse adolescents with health education on chest
        binding and genital tucking, including areview of the benefits and risks.
        6.7- We recommend providers consider prescribing menstrual suppression agents for adolescents experiencing gender incongruence
        who may not desire testosterone therapy, who desire but have not yet begun testosterone therapy, or in conjunction with
        testosterone therapy for breakthrough bleeding.
        6.8- We recommend health care professionals maintain an ongoing relationship with the gender diverse and transgender adolescent
        and any relevant caregivers to support the adolescent in their decision-making throughout the duration of puberty suppression
        treatment, hormonal treatment, and gender- related surgery until the transition is made to adult care.
        6.9- We recommend health care professionals involve relevant disciplines, including mental health and medical professionals, to
        reach a decision about whether puberty suppression, hormone initiation, or gender-related surgery for gender diverse and
        transgender adolescents are appropriate and remain indicated throughout the course of treatment until the transition is made
        to adult care.
        6.10- We recommend health care professionals working with transgender and gender diverse adolescents requesting gender-affirming
        medical or surgical treatments inform them, prior to initiating treatment, of the reproductive effects including the potential loss
        of fertility and available options to preserve fertility within the context of the youth's stage of pubertal development.
        6.11- We recommend when gender-affirming medical or surgical treatments are indicated for adolescents, health care professionals
        working with transgender and gender diverse adolescents involve parent(s)/guardian(s) in the assessment and treatment process,
        unless their involvement is determined to be harmful to the adolescent or not feasible.

        The following recommendations are made regarding the requirements for gender-affirming medical and surgical treatment (All of them
        must be met):
        6.12- We recommend health care professionals assessing transgender and gender diverse adolescents only recommend
        gender-affirming medical or surgical treatments requested by the patient when:
        6.12.a- The adolescent meets the diagnostic criteria of gender incongruence as per the lCD-il in situations where adiagnosis
        is necessary to access health care. In countries that have not implemented the latest lCD, other taxonomies may be used although
        efforts should be undertaken to utilize the latest lCD as soon as practicable.
        6.12.b- The experience of gender diversity/incongruence is marked and sustained over time.
        6.12.c- The adolescent demonstrates the emotional and cognitive maturity required to provide informed consent/assent for the treatment.
        6.12.d- The adolescent's mental health concerns (if any) that may interfere with diagnostic clarity, capacity to consent, and
        gender-affirming medical treatments have been addressed.
        6.12.e- The adolescent has been informed of the reproductive effects, including the potential loss of fertility and the available
        options to preserve fertility, and these have been discussed in the context of the adolescent's stage of pubertal development.
        6.12.f- The adolescent has reached Tanner stage 2of puberty for pubertal suppression to be initiated.
        6.12.g- The adolescent had at least 12 months of gender-affirming hormone therapy or longer, if required, to achieve the desired
        surgical result for gender-affirming procedures, including breast augmentation, orchiectomy, vaginoplasty, hysterectomy, phalloplasty,
        metoidioplasty, and facial surgery as part of gender-affirming treatment unless hormone therapy is either not desired or is
        medically contraindicated.



  adolescent Soc statements. For example, allow-                              & Holm, 2020; Kreukels & Cohen-Kettenis,
  ing irreversible puberty to progress in adoles-                             2011). From a human rights perspective, con-
  cents who experience gender incongruence is                                 sidering gender diversity as a normal and
  not a neutral act given that it may have imme-                              expected variation within the broader diversity
  diate and lifelong harmful effects for the trans-                           of the human experience, it is an adolescent's
  gender young person (Giordano, 2009; Giordano                               right to participate in their own decision-making




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 process about their health and lives, including                           child, adolescent,       and family mental
 access to     gender health         services     (Amnesty                 health across the developmental spectrum.
 International, 2020).                                                c.   Receive training and have expertise in
                                                                           gender identity development, gender
                                                                           diversity in children and adolescents,
 Short summary of statements and unique issues
                                                                           have the ability to assess capacity to
 in adolescence
                                                                           assent/consent,       and    possess     general
 These guidelines are designed to account for what                         knowledge of gender diversity across the
 is known and what is not known about gender                               life span.
 identity development in adolescence, the evidence                    d.   Receive training and develop expertise
 for gender-affirming care in adolescence, and the                         in autism spectrum disorders and other
 unique aspects that distinguish adolescence from                          neurodevelopmental presentations or col-
 other developmental stages.                                               laborate with a developmental disability
                                                                           expert when working with autistic/neu-
   Identity exploration: A defining feature of adolescence
   is the solidifying of aspects of identity, including gen-               rodivergent gender diverse adolescents.
   der identity. Statement 6.2 addresses identity explora-            e.   Continue engaging in professional devel-
   tion in the context of gender identity development.                     opment in all areas relevant to gender
   Statement 6.12.b accounts for the length of time                        diverse      children,      adolescents,        and
   needed for a young person to experience a gender
                                                                           families.
   diverse identity, express agender diverse identity, or
   both, so as to make ameaningful decision regarding
   gender-affirming care.                                             When assessing and supporting TGD adoles-
                                                                    cents and their families, care providers/health
   Consent and decision-making: In adolescence, consent
                                                                    care professionals (HCPs) need both general as
   and decision-making require assessment of the indi-
                                                                    well as gender-specific knowledge and training.
   vidual's emotional, cognitive, and psychosocial devel-
   opment. Statement 6.12.c directly addresses emotional
                                                                    Providers who are trained to work with adoles-
   and cognitive maturity and describes the necessary               cents and families play an important role in nav-
   components of the evaluation process used to assess              igating aspects of adolescent development and
   decision-making capacity.                                        family dynamics when caring for youth and fam-

   Caregivers/parent involvement: Adolescents are typ-
                                                                    ilies (Adelson et al., 2012; American Psychological
   ically dependent on their caregivers/parents for                 Association, 2015; Hembree et al., 2017). Other
   guidance in numerous ways. This is also true as                  chapters in these standards of care describe these
   the young person navigates through the process of                criteria for professionals who provide gender care
   deciding about treatment options. Statement 6.11                 in more detail (see Chapter 5—Assessment for
   addresses the importance of involving caregivers/
                                                                    Adults; Chapter 7—Children; or Chapter 13—
   parents and discusses the role they play in the
                                                                    Surgery and Postoperative Care). Professionals
   assessment and treatment. No set of guidelines can
   account for every set of individual circumstances                working with adolescents should understand
   on a global scale.                                               what is and is not known regarding adolescent
                                                                    gender identity development,            and how this
 Statement 6.1
                                                                    knowledge base differs from what applies to
 We recommend health care professionals work-
                                                                    adults and prepubertal children. Among HCPs,
 ing with gender diverse adolescents:
                                                                    the mental health professional (MHP) has the
                                                                    most appropriate training and dedicated clinical
   a.   Are licensed by their statutory body and
                                                                    time to conduct an assessment and elucidate
        hold a postgraduate degree or its equiv-
                                                                    treatment priorities and goals when working with
        alent in a clinical field relevant to this
                                                                    transgender youth,        including those        seeking
        role granted by a nationally accredited
                                                                    gender affirming
                                                                             -                medical/ surgical           care.
        statutory institution.
                                                                    Understanding and managing the dynamics of
   b.   Receive theoretical and evidenced-based
                                                                    family members who may share differing per-
        training and develop expertise in general
                                                                    spectives regarding the history and needs of the




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  young person is an important competency that             changes are completed. Given these variations,
  MHPs are often most prepared to address.                 there is no one particular pace, process, or out-
        When access to professionals trained in child      come that can be predicted for an individual
  and adolescent development is not possible, HCPs         adolescent seeking gender-affirming care.
  should make a commitment to obtain training in             Therefore, HCPs working with adolescents
  the areas of family dynamics and adolescent devel-       should promote supportive environments that
  opment, including gender identity development.           simultaneously respect an adolescent's affirmed
  Similarly,        considering autistic/neurodivergent    gender identity and also allows the adolescent to
  transgender youth represent asubstantial minority        openly explore gender needs, including social,
  subpopulation of youth served in gender clinics          medical, and physical gender-affirming interven-
  globally, it is important HCPs seek additional           tions should they change or evolve over time.
  training in the field of autism and understand the
  unique elements of care autistic gender diverse          Statement 6.3
  youth may require (Strang, Meagher et al., 2018).        We recommend health care professionals work-
  If these qualifications are not possible, then con-      ing with gender diverse adolescents undertake
  sultation and collaboration with a provider who          a comprehensive biopsychosocial assessment of
  specializes in autism and neurodiversity is advised.     adolescents      who     present     with    gender
                                                           identity-related concerns and seek medical/sur-
  Statement 6.2                                            gical transition-related care, and that this be
  We recommend health care professionals work-             accomplished in a collaborative and support-
  ing with gender diverse adolescents facilitate           ive manner.
  the exploration and expression of gender openly            Given the many ways identity may unfold
  and respectfully so that no one particular iden-         during adolescence, we recommend using acom-
  tity is favored.                                         prehensive biopsychosocial assessment to guide
        Adolescence is a developmental period that         treatment decisions and optimize outcomes. This
  involves physical and psychological changes char-        assessment should aim to understand the adoles-
  acterized by individuation and the transition to         cent's strengths, vulnerabilities, diagnostic profile,
  independence from caregivers (Berenbaum et al.,          and unique needs to individualize their care. As
  2015; Steinberg, 2009). It is a period during            mentioned in Statement 6.1, MHPs have the most
  which young people may explore different aspects         appropriate training, experience, and dedicated
  of identity, including gender identity.                  clinical time required to obtain the information
        Adolescents differ regarding the degree to         discussed here. The assessment process should
  which they explore and commit to aspects of              be approached collaboratively with the adolescent
  their identity (Meeus et al., 2012). For some ado-       and   their   caregiver(s), both    separately and
  lescents, the pace to achieving consolidation of         together, as described in more detail in Statement
  identity is fast, while for others it is slower. For     6.11. An assessment should occur prior to any
  some adolescents, physical, emotional, and psy-          medically necessary medical or surgical interven-
  chological development occur over the same gen-          tion under consideration (e.g., puberty blocking
  eral timeline, while for others, there are certain       medication, gender-affirming hormones, surger-
  gaps between these aspects of development.               ies). See medically necessary statement in Chapter
  Similarly, there is variation in the timeline for        2—Global Applicability, Statement 2.1; see also
  gender identity development (Arnoldussen et al.,         Chapter 12—Hormone Therapy and Chapter 13—
  2020; Katz-Wise et al., 2017). For some young            Surgery and Postoperative Care.
  people, gender identity development is a clear             Youth may experience many different gender
  process that starts in early childhood, while for        identity trajectories. Sociocultural definitions and
  others pubertal changes contribute to a person's         experiences of gender continue to evolve over
  experience of themselves as a particular gender          time, and youth are increasingly presenting with
  (Steensma, Kreukels et al., 2013), and for many          a range of identities and ways of describing their
  others a process may begin well after pubertal           experiences and gender-related needs (Twist & de




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 Graaf, 2019). For example, some youth will realize         young people as possible, so long as the assess-
 they are transgender or more broadly gender                ment effectively obtains information about the
 diverse and pursue steps to present accordingly.           adolescent's strengths, vulnerabilities, diagnostic
 For some youth, obtaining gender-affirming med-            profile, and individual needs. Psychometrically val-
 ical treatment is important while for others these         idated psychosocial and gender measures can also
 steps may not be necessary. For example, aprocess          be used to provide additional information.
 of exploration over time might not result in the             The multidisciplinary assessment for youth
 young person self-affirming or embodying a dif-            seeking gender-affirming medical/surgical inter-
 ferent gender in relation to their assigned sex at         ventions includes the following domains that cor-
 birth and would not involve the use of medical             respond to the relevant statements:
 interventions (Arnoldussen et al., 2019).
   The most robust longitudinal evidence support-             • Gender Identity Development: Statements
 ing the benefits of gender-affirming medical and                 6.12.a and 6.12.b elaborate on the factors
 surgical treatments in adolescence was obtained                  associated with gender identity develop-
 in a clinical setting that incorporated a detailed               ment within the specific cultural context
 comprehensive diagnostic assessment process over                 when assessing TGD adolescents.
 time into its delivery of care protocol (de Vries &          • Social       Development          and     Support;
 Cohen-Kettenis, 2012; de Vries et al., 2014). Given              Intersectionality: Statements 6.4 and 6.11
 this research and the ongoing evolution of gender                elaborate on the importance of assessing
 diverse experiences in society, a comprehensive                  gender minority stress, family dynamics,
 diagnostic biopsychosocial assessment during ado-                and other aspects contributing to social
 lescence is both evidence-based and preserves the                development and intersectionality.
 integrity of the decision-making process. In the             • Diagnostic         Assessment        of    Possible
 absence of a full diagnostic profile, other mental               Co-Occurring        Mental      Health        and/or
 health entities that need to be prioritized and                  Developmental Concerns: Statement 6.12.d
 treated may not be detected. There are no studies                elaborates on the importance of understanding
 of the long-term outcomes of gender-related med-                 the relationship that exists, if at all, between
 ical treatments for youth who have not undergone                 any co-occurring mental health or develop-
 a comprehensive assessment. Treatment in this                    mental concerns and the young person's gen-
 context (e.g., with limited or no assessment) has                der identity/gender diverse expression.
 no empirical support and therefore carries the risk          • Capacity for Decision-Making: Statement
 that the decision to start gender-affirming medical              6.12.c elaborates on the assessment of a
 interventions may not be in the long-term best                   young person's emotional maturity and
 interest of the young person at that time.                       the relevance when an adolescent is con-
    As delivery of health care and access to spe-                 sidering gender affirming-medical/surgical
 cialists varies globally, designing a particular                 treatments.
 assessment process to adapt existing resources is
 often necessary. In some cases, a more extended            Statement 6.4
 assessment process may be useful, such as for              We recommend health care professionals work
 youth with more complex presentations (e.g., com-          with families, schools, and other relevant set-
 plicating mental health histories (Leibowitz & de          tings to promote acceptance of gender diverse
 Vries, 2016)), co-occurring autism spectrum char-          expressions of behavior and identities of the
 acteristics (Strang, Powers et al., 2018), and/or an       adolescent.
 absence of experienced childhood gender incon-                Multiple studies and related expert consensus
 gruence (Ristori & Steensma, 2016). Given the              support the implementation of approaches that
 unique cultural, financial, and geographical factors       promote acceptance and affirmation of gender
 that exist for specific populations, providers should      diverse youth across all settings, including fam-
  design assessment models that are flexible and            ilies, schools, health care facilities, and all other
  allow for appropriately timed care for as many            organizations and communities with which they




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  interact (e.g., Pariseau et al., 2019; Russell et al.,            11. Gender inclusive facilities that the youth
  2018; Simons et al., 2013; Toomey et al., 2010;                       can readily access without segregation from
  Travers et al., 2012). Acceptance and affirmation                     nongender diverse peers (e.g., bathrooms,
  are accomplished through arange of approaches,                       locker rooms).
  actions, and policies we recommend be enacted
  across the various relationships and settings in                 We recommend HCPs work with parents,
  which ayoung person exists and functions. It is                schools, and other organizations/groups to pro-
  important for the family members and commu-                    mote acceptance and affirmation of TGD identities
  nity members involved in the adolescent's life to              and expressions, whether social or medical inter-
  work collaboratively in these efforts unless their             ventions are implemented or not as acceptance
  involvement is considered harmful to the adoles-               and affirmation are associated with fewer negative
  cent. Examples proposed by Pariseau et al. (2019)              mental health and behavioral symptoms and more
  and others of acceptance and affirmation of gen-               positive mental health and behavioral functioning
  der diversity and contemplation and expression                 (Day et al., 2015; de Vries et al., 2016; Greytak
  of identity that can be implemented by family,                 et al., 2013; Pariseau et al., 2019; Peng et al., 2019;
  staff, and organizations include:                              Russell et al., 2018; Simons et al., 2013; Taliaferro
                                                                 et al., 2019; Toomey et al., 2010; Travers et al.,
     1.      Actions that are supportive of youth drawn          2012). Russell et al. (2018) found mental health
             to engaging in gender-expansive (e.g., non-         improvement increases with more acceptance and
             conforming) activities and interests;               affirmation across more settings (e.g., home,
     2.      Communications that are supportive when             school, work, and friends). Rejection by family,
             youth express their experiences about their         peers, and school staff (e.g., intentionally using
             gender and gender exploration;                      the name and pronoun the youth does not identify
     3.      Use of the youth's asserted name/pronouns;          with, not acknowledging affirmed gender identity,
     4.      Support for youth wearing clothing/uni-             bullying, harassment, verbal and physical abuse,
             forms, hairstyles, and items (e.g., jewelry,        poor relationships, rejection for being TGD, evic-
             makeup) they feel affirm their gender;              tion) was strongly linked to negative outcomes,
     5.      Positive and supportive communication               such as anxiety, depression, suicidal ideation, sui-
             with youth about their gender and gender            cide attempts, and substance use (Grossman et al.,
             concerns;                                           2005; Klein & Golub; 2016; Pariseau et al., 2019;
     6.      Education about gender diversity issues for         Peng et al., 2019; Reisner, Greytak et al., 2015;
             people in the young person's life (e.g., fam-       Roberts et al., 2013). It is important to be aware
             ily members, health care providers, social          that negative symptoms increase with increased
             support networks), as needed, including             levels of rejection and continue into adulthood
             information about how to advocate for gen-          (Roberts et al., 2013).
             der diverse youth in community, school,               Neutral or indifferent responses to a youth's
             health care, and other settings;                    gender diversity and exploration (e.g., letting a
     7.      Support for gender diverse youth to con-            child tell others their chosen name but not using
             nect with communities of support (e.g.,             the name, not telling family or friends when the
             LGBTQ groups, events, friends);                     youth wants them to disclose, not advocating
     8.      Provision of opportunities to discuss, con-         for the child about rejecting behavior from
             sider,   and       explore   medical   treatment    school staff or peers, not engaging or partici-
             options when indicated;                             pating in other support mechanisms (e.g., with
     9.      Antibullying policies that are enforced;            psychotherapists and support groups) have also
     10. Inclusion of nonbinary experiences in daily             been found to have negative consequences, such
             life, reading materials, and curricula (e.g.,       as increased depressive symptoms            (Pariseau
             books, health, and sex education classes,           et al., 2019). For these reasons, it is important
             assigned essay topics that move beyond the          not to ignore a youth's gender questioning or
             binary, LGBTQ, and ally groups);                    delay consideration of the youth's gender-related




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 care needs. There is particular value in profes-           and are associated with increases in mental ill-
 sionals recognizing youth need individualized              ness and poorer psychological functioning (Craig
 approaches, support, and consideration of needs            et al., 2017; Green et al., 2020; Turban, Beckwith
 around gender expression, identity, and embod-             et al., 2020).
 iment over time and across domains and rela-                  Much of the research evaluating "conversion
 tionships. Youth may need help coping with the             therapy" and "reparative therapy" has investigated
 tension of tolerating others' processing/adjusting         the impact of efforts to change gender expression
 to    an   adolescent's identity exploration    and        (masculinity or femininity) and has conflated
 changes (e.g., Kuper, Lindley et al., 2019). It is         sexual orientation with gender identity (APA,
 important professionals collaborate with parents           2009; Burnes et al., 2016; Craig et al., 2017).
 and others as they process their concerns and              Some of these efforts have targeted both gender
 feelings and educate themselves about gender               identity and expression (AACAP, 2018).
 diversity because such processes may not nec-              Conversion/reparative therapy has been linked to
 essarily reflect rejection or neutrality but may           increased anxiety, depression, suicidal ideation,
 rather represent efforts to develop attitudes and          suicide attempts, and health care avoidance (Craig
 gather information that foster acceptance (e.g.,           et al., 2017; Green et al., 2020; Turban, Beckwith
 Katz-Wise et al., 2017).                                   et al., 2020). Although some of these studies have
                                                            been criticized for their methodologies and con-
 Statement 6.5                                              clusions (e.g., D'Angelo et al., 2020), this should
 We recommend against offering reparative and               not detract from the importance of emphasizing
 conversion therapy aimed at trying to change               efforts undertaken a priori to change a person's
 a person's gender and lived gender expression              identity are clinically and ethically unsound. We
 to become more congruent with the sex assigned             recommend against any type of conversion or
 at birth.                                                  attempts to change a person's gender identity
      Some health care providers, secular or reli-          because 1) both secular and religion-based efforts
 gious organizations, and rejecting families may            to change gender identity/expression have been
 undertake efforts to thwart an adolescent's                associated with negative psychological functioning
 expression of gender diversity or assertion of a           that endures into adulthood (Turban, Beckwith
 gender identity other than the expression and              et al., 2020); and 2) larger ethical reasons exist
 behavior that conforms to the sex assigned at              that should underscore respect for gender diverse
 birth. Such efforts at blocking reversible social          identities.
 expression or transition may include choosing                It is important to note potential factors driving
 not to use the youth's identified name and pro-            a young person's gender-related experience and
 nouns or restricting self-expression in clothing           report of gender incongruence, when carried out
 and hairstyles (Craig et al., 2017; Green et al.,          in the context of supporting an adolescent with
 2020). These disaffirming behaviors typically              self-discovery, is not considered reparative ther-
 aim to reinforce views that a young person's               apy as long as there is no apriori goal to change
 gender identity/expression must match the gen-             or promote one particular gender identity or
 der associated with the sex assigned at birth or           expression (AACAP, 2018; see Statement 6.2). To
 expectations based on the sex assigned at birth.           ensure these explorations are therapeutic, we rec-
 Activities and approaches (sometimes referred              ommend employing affirmative consideration and
 to as "treatments") aimed at trying to change a            supportive tone in discussing what steps have
 person's gender identity and expression to                 been tried, considered, and planned for ayouth's
 become more congruent with the sex assigned                gender expression. These discussion topics may
 at    birth   have   been   attempted,   but   these       include what felt helpful or affirming, what felt
 approaches have not resulted in changes in gen-            unhelpful or distressing and why. We recommend
 der identity (Craig et al., 2017; Green et al.,            employing affirmative responses to these steps
 2020). We recommend against such efforts                   and discussions, such as those identified in
 because they have been found to be ineffective             SOC-8 Statement 6.4.




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  Statement 6.6                                                        gender diverse population—to reduce the risk of
  We suggest health care professionals provide                         serious negative health effects. Methods that are
  transgender and gender diverse adolescents with                      considered unsafe for binding include the use of
  health education on chest binding and genital                        duct tape, ace wraps, and plastic wrap as these
  tucking,        including review of the benefits                     can restrict blood flow, damage skin, and restrict
  and risks.                                                           breathing.    If youth   report   negative   health
        TGD youth may experience distress related to                   impacts from chest binding, these should ideally
  chest and genital anatomy. Practices such as chest                   be addressed by agender-affirming medical pro-
  binding, chest padding, genital tucking, and gen-                    vider with experience working with TGD youth.
  ital packing are reversible, nonmedical interven-                      Genital tucking is the practice of positioning
  tions      that    may help         alleviate     this   distress    the penis and testes to reduce the outward
  (Callen-Lorde, 2020a, 2020b; Deutsch, 2016a;                         appearance of agenital bulge. Methods of tucking
  Olson-Kennedy, Rosenthal et al., 2018; Transcare                     include tucking the penis and testes between the
  BC, 2020). It is important to assess the degree                      legs or tucking the testes inside the inguinal canal
  of distress related to physical development or                       and pulling the penis back between the legs.
  anatomy, educate youth about potential nonmed-                       Typically, genitals are held in place by underwear
  ical interventions to address this distress, and                     or a gaff, a garment that can be made or pur-
  discuss the safe use of these interventions.                         chased.   Limited studies are available on the spe-
        Chest binding involves compression of the                      cific risks and benefits of tucking in adults, and
  breast tissue to create a flatter appearance of the                  none have been carried out in youth. Previous
  chest. Studies suggest that up to 87% of trans                       studies have reported tight undergarments are
  masculine patients report a history of binding                       associated with decreased sperm concentration
  (Jones, 2015; Peitzmeier, 2017). Binding methods                     and motility. In addition, elevated scrotal tem-
  may include the use of commercial binders,                           peratures can be associated with poor sperm
  sports bras, layering of shirts, layering of sports                  characteristics, and genital tucking could theo-
  bras, or the use of elastics or other bandages                       retically affect spermatogenesis and fertility
  (Peitzmeier, 2017). Currently, most youth report                     (Marsh, 2019) although there are no definitive
  learning about binding practices from online                         studies evaluating these adverse outcomes. Further
  communities            composed            of   peers    (Julian,    research is needed to determine the specific ben-
  2019). Providers can play an important role in                       efits and risks of tucking in youth.
  ensuring youth receive accurate and reliable
  information about the potential benefits and risks                   Statement 6.7
  of chest binding. Additionally, providers can                        We recommend providers consider prescribing
  counsel patients about safe binding practices and                    menstrual suppression agents for adolescents
  monitor for potential negative health effects.                       experiencing gender incongruence who may not
  While there          are       potential    negative     physical    desire testosterone therapy, who desire but have
  impacts of binding, youth who bind report many                       not yet begun testosterone therapy, or in con-
  benefits, including increased comfort, improved                      junction with testosterone therapy for break-
  safety, and lower rates of misgendering (Julian,                     through bleeding.
  2019). Common negative health impacts of chest                         When discussing the available options of
  binding in youth include back/chest pain, short-                     menstrual-suppressing medications with gender
  ness of breath, and overheating (Julian, 2019).                      diverse youth, providers should engage in shared
  More serious negative health impacts such as skin                    decision-making, use gender-inclusive language
  infections, respiratory infections, and rib fractures                (e.g., asking patients which terms they utilize to
  are uncommon and have been associated with                           refer to their menses, reproductive organs, and
  chest binding in adults (Peitzmeier, 2017). If                       genitalia) and perform physical exams in a sen-
  binding is employed, youth should be advised to                      sitive, gender-affirmative manner (Bonnington
  use only those methods considered safe for bind-                     et al., 2020; Krempasky et al., 2020). There is no
  ing—such as binders specifically designed for the                    formal    research   evaluating   how   menstrual




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 suppression may impact gender incongruence                  medications require monitoring for potential
 and/or dysphoria. However, the use of menstrual             mood lability, depressive effects, or both, the ben-
 suppression can be an initial intervention that             efits and risks of untreated menstrual suppression
 allows for further exploration of gender-related            in the setting of gender dysphoria should be eval-
 goals of care, prioritization of other mental health        uated on an individual basis. Some patients may
 care, or both, especially for those who experience          opt for combined oral contraception that includes
 aworsening of gender dysphoria from unwanted                different combinations of ethinyl estradiol, with
 uterine bleeding (see Statement 6.12d; Mehringer            ranging doses, and different generations of pro-
 & Dowshen, 2019). When testosterone is not                  gestins (Pradhan & Gomez-Lobo, 2019). Lower
 used, menstrual suppression can be achieved via             dose ethinyl estradiol components of combined
 aprogestin. To exclude any underlying menstrual             oral   contraceptive pills      are   associated with
 disorders, it is important to obtain a detailed             increased     breakthrough        uterine    bleeding.
 menstrual history and evaluation prior to imple-            Continuous combined oral contraceptives may be
 menting menstrual-suppressing therapy (Carswell             used to allow for continuous menstrual suppres-
 & Roberts, 2017). As part of the discussion about           sion and can be delivered as transdermal or vag-
 menstrual-suppressing medications, the need for             inal rings.
 contraception and information regarding the                    The use of gonadotropin releasing hormone
 effectiveness of menstrual-suppressing medica-              (GnRH) analogues may also result in menstrual
 tions as methods of contraception also need to              suppression. However, it is recommended gender
 be addressed (Bonnington et al., 2020). A variety           diverse youth meet the eligibility criteria (as out-
 of menstrual suppression options, such as com-              lined in Statement 6.12) before this medication
 bined estrogen-progestin medications, oral pro-             is considered solely for this purpose (Carswell &
 gestins, depot and subdermal progestin, and                 Roberts, 2017; Pradhan & Gomez-Lobo, 2019).
 intrauterine devices (IUDs), should be offered to           Finally, menstrual-suppression medications may
 allow for individualized treatment plans while              be indicated as an adjunctive therapy for break-
 properly considering availability, cost and insur-          through uterine bleeding that may occur while
 ance coverage, as well as contraindications and             on exogenous testosterone or as abridging med-
 side effects (Kanj et al., 2019).                           ication while awaiting menstrual suppression with
   Progestin-only     hormonal       medication   are        testosterone therapy. When exogenous testoster-
 options, especially in trans masculine or nonbi-            one is employed as a gender-affirming hormone,
 nary youth who are not interested in                        menstrual suppression is typically achieved in the
 estrogen-containing medical therapies as well as            first six months of therapy (Ahmad & Leinung,
 those at risk for thromboembolic events or who              2017). However, it is vital adolescents be coun-
 have other contraindications to estrogen therapy            seled ovulation and pregnancy can still occur in
 (Carswell & Roberts, 2017). Progestin-only hor-             the setting of amenorrhea (Gomez et al., 2020;
 monal   medications     include     oral progestins,        Kanj et al., 2019).
 depo-medroxyprogesterone injection, etonogestrel
 implant, and levonorgestrel IUD (Schwartz et al.,           Statement 6.8
 2019). Progestin-only hormonal options vary in              We recommend health care professionals main-
 terms of efficacy in achieving menstrual suppres-           tain an ongoing relationship with the gender
 sion and have lower rates of achieving amenor-              diverse and transgender adolescent and any
 rhea than combined oral contraception (Pradhan              relevant caregivers to support the adolescent in
 & Gomez-Lobo, 2019). A more detailed descrip-               their decision-making throughout the duration
 tion of the relevant clinical studies is presented          of puberty suppression treatment, hormonal
 in Chapter 12—Hormone Therapy. HCPs should                  treatment, and gender-related surgery until the
 not make assumptions regarding the individual's             transition is made to adult care.
 preferred method of administration as some trans               HCPs with expertise in child and adolescent
 masculine youth may prefer vaginal rings or IUD             development, as described in Statement 6.1, play
 implants (Akgul et al., 2019). Although hormonal            an important role in the continuity of care for




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  young        people       over   the   course   of   their    and medical professionals, to reach a decision
  gender-related treatment needs. Supporting ado-               about whether puberty suppression, hormone
  lescents and their families necessitates approach-            initiation, or gender-related surgery for gender
  ing care using a developmental lens through                   diverse and transgender adolescents are appro-
  which understanding a young person's evolving                 priate and remain indicated throughout the
  emotional maturity and care needs can take place              course of treatment until the transition is made
  over time. As gender-affirming treatment path-                to adult care.
  ways differ based on the needs and experiences                  TGD adolescents with gender dysphoria/gen-
  of individual TGD adolescents, decision-making                der incongruence who seek gender-affirming
  for these treatments (puberty suppression, estro-             medical and surgical treatments benefit from
  gens/androgens, gender-affirmation surgeries) can             the involvement of health care professionals
  occur at different points in time within a span               (HCPs) from different disciplines. Providing care
  of several years. Longitudinal research demon-                to TGD adolescents includes addressing 1) diag-
  strating the benefits of pubertal suppression and             nostic considerations (see Statements 6.3, 6.12a,
  gender-affirming hormone treatment (GAHT)                     and 6.12b) conducted by a specialized gender
  was carried out in a setting where an ongoing                 HCP (as defined in Statement 6.1) whenever
  clinical relationship between the adolescents/fam-            possible and necessary; and 2) treatment con-
  ilies and the multidisciplinary team was main-                siderations when prescribing, managing, and
  tained (de Vries et al., 2014).                               monitoring medications for gender-affirming
     Clinical settings that offer longer appointment            medical and surgical care, requiring the training
  times provide space for adolescents and caregivers            of the relevant medical/surgical professional. The
  to share important psychosocial aspects of emo-               list of key disciplines includes but is not limited
  tional well-being (e.g., family dynamics, school,             to adolescent medicine/primary care, endocri-
  romantic, and sexual experiences) that contextu-              nology, psychology, psychiatry, speech/language
  alize individualized gender-affirming treatment               pathology, social work, support staff, and the
  needs and decisions as described elsewhere in                 surgical team.
  the chapter. An ongoing clinical relationship can                The evolving evidence has shown a clinical
  take place across settings, whether that be within            benefit for transgender youth who receive their
  a multidisciplinary team or with providers in                 gender-affirming treatments in multidisciplinary
  different locations who collaborate with one                  gender clinics (de Vries et al., 2014; Kuper et al.,
  another. Given the wide variability in the ability            2020; Tollit et al., 2019). Finally, adolescents seek-
  to obtain access to specialized gender care cen-              ing gender-affirming care in multidisciplinary
  ters, particularly for marginalized groups who                clinics are presenting with significant complexity
  experience disparities with access, it is important           necessitating close collaboration between mental
  for the HCP to appreciate the existence of any                health, medical, and/or surgical professionals
  barriers to care while maintaining flexibility when           (McCallion et al., 2021; Sorbara et al., 2020;
  defining how an ongoing clinical relationship can             Tishelman et al., 2015).
  take place in that specific context.                            As not all patients and families are in the posi-
     An ongoing clinical relationship that increases            tion or in a location to access multidisciplinary
  resilience in the youth and provides support to               care, the lack of available disciplines should not
  parents/caregivers who may have their own treat-              preclude a young person from accessing needed
  ment needs may ultimately lead to increased                   care in a timely manner. When disciplines are
  parental acceptance—when needed—which is                      available, particularly in centers with existing
  associated with better mental health outcomes in              multidisciplinary teams, disciplines, or both, it is
  youth (Ryan, Huebner et al., 2009).                           recommended efforts be made to include the rel-
                                                                evant providers when developing a gender care
  Statement 6.9                                                 team. However, this does not mean all disciplines
  We recommend health care professionals involve                are necessary to provide care to a particular
  relevant disciplines, including mental health                 youth and family.




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   If written documentation or a letter is required            biologically related children in the future might
 to recommend gender-affirming medical and sur-                change over time needs to be discussed with an
 gical treatment (GAMST) for an adolescent, only               HCP who has sufficient experience, is knowl-
 one letter of assessment from a member of the                 edgeable about adolescent development, and has
 multidisciplinary team is needed. This letter needs           experience working with parents.
 to reflect the assessment and opinion from the team             Addressing the long-term consequences on fer-
 that involves both medical HCPs and MHPs                      tility of gender-affirming medical treatments and
 (American Psychological Association, 2015; Hembree            ensuring transgender adolescents have realistic
 et al., 2017; Telfer et al., 2018). Further assessment        expectations concerning fertility preservation
 results and written opinions may be requested when            options or adoption cannot not be addressed with
 there is aspecific clinical need or when team mem-            a one-time discussion but should be part of an
 bers are in different locations or choose to write            ongoing conversation. This conversation should
 their own summaries. For further information see              occur not only before initiating any medical
 Chapter 5—Assessment for Adults, Statement 5.5.               intervention (puberty suppression, hormones, or
                                                               surgeries), but also during further treatment and
 Statement 6.10                                                during transition.
 We recommend health care professionals working                  Currently, there are only preliminary results
 with transgender and gender diverse adolescents               from retrospective studies evaluating transgender
 requesting gender-affirming medical or surgical               adults and the decisions they made when they
 treatments inform them, prior to the initiation               were young regarding the consequences of
 of treatment, of the reproductive effects, including          medical-affirming treatment on reproductive
 the potential loss of fertility and available options         capacity. It is important not to make assumptions
 to preserve fertility within the context of the               about what future adult goals an adolescent may
 youth's stage of pubertal development.                        have. Research in childhood cancer survivors
    While    assessing    adolescents         seeking          found participants who acknowledged missed
 gender-affirming medical or surgical treatments,              opportunities for fertility preservation reported
 HCPs should discuss the specific ways in which                distress and regret surrounding potential infertility
 the required treatment may affect reproductive                (Armuand et al., 2014; Ellis et al., 2016; Lehmann
 capacity. Fertility issues and the specific preser-           et al., 2017). Furthermore, individuals with cancer
 vation options are more thoroughly discussed in               who did not prioritize having biological children
 Chapter 12—Hormone Therapy and Chapter 16—                    before treatment have reported "changing their
 Reproductive Health.                                          minds" in survivorship (Armuand et al., 2014).
   It is important HCPs understand what fertility                Given the complexities of the different fertility
 preservation options exist so they can relay the              preservation options and the challenges HCPs
 information to adolescents. Parents are advised               may experience discussing fertility with the ado-
 to be involved in this process and should also                lescent and the family (Tishelman et al., 2019),
 understand the pros and cons of the different                 a fertility consultation is an important consider-
 options. HCPs should acknowledge adolescents                  ation for every transgender adolescent who pur-
 and parents may have different views around                   sues medical-affirming treatments unless the local
 reproductive capacity and may therefore come to               situation is such that a fertility consultation is
 different decisions (Quain et al., 2020), which is            not covered by insurance or public health care
 why HCPs can be helpful in guiding this process.              plans, is not available locally, or the individual
    HCPs should specifically pay attention to the              circumstances make this unpreferable.
 developmental and psychological aspects of fer-
 tility preservation and decision-making compe-                Statement 6.11
 tency for     the   individual   adolescent.   While          We recommend when gender-affirming medical
 adolescents may think they have made up their                 or surgical treatments are indicated for adoles-
 minds concerning their reproductive capacity, the             cents, health care professionals working with
 possibility    their    opinions     about     having         transgender and gender diverse adolescents




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  involve parent(s)/guardian(s) in the assessment              child's   gender-related    experience   and    needs
  and treatment process, unless their involvement              (Andrzejewski et al., 2020; Katz-Wise et al., 2017).
  is determined to be harmful to the adolescent                  Parent/caregiver concerns or questions regard-
  or not feasible.                                             ing the stability of gender-related needs over time
     When there is an indication an adolescent                 and implications of various gender-affirming
  might benefit from a gender-affirming medical                interventions are common and should not be
  or surgical treatment, involving the parent(s) or            dismissed. It is appropriate for parent(s)/care-
  primary caregiver(s) in the assessment process is            giver(s) to ask these questions, and there are
  recommended              in   almost    all    situations    cases in which the parent(s)/caregiver(s)' ques-
  (Edwards-Leeper & Spack, 2012; Rafferty et al.,              tions or concerns are particularly helpful in
  2018). Exceptions to this might include situations           informing treatment decisions and plans. For
  in which an adolescent is in foster care, child              example, a parent/caregiver report may provide
  protective services, or both, and custody and par-           critical context in situations in which a young
  ent involvement would be impossible, inappro-                person     experiences   very   recent   or    sudden
  priate, or harmful. Parent and family support of             self-awareness of gender diversity and a corre-
  TGD youth is a primary predictor of youth                    sponding gender treatment request, or when there
  well-being and is protective of the mental health            is concern for possible excessive peer and social
  of TGD youth (Gower, Rider, Coleman et al.,                  media influence on a young person's current
  2018; Grossman et al., 2019; Lefevor et al., 2019;           self-gender concept. Contextualization of the par-
  McConnell et al., 2015; Pariseau et al., 2019;               ent/caregiver report is also critical, as the report
  Ryan, 2009; Ryan et al., 2010; Simons et al., 2013;          of a young person's gender history as provided
  Wilson       et   al.,   2016).   Therefore,   including     by parent(s)/caregiver(s) may or may not align
  parent(s)/caregiver(s) in the assessment process             with the young person's self-report. Importantly,
  to encourage and facilitate increased parental               gender histories may be unknown to parent(s)/
  understanding and support of the adolescent may              caregiver(s) because gender may be internal expe-
  be one of the most helpful practices available.              rience for youth, not known by others unless it
     Parent(s)/caregiver(s) may provide key informa-           is discussed. For this reason, an adolescent's
  tion for the clinical team, such as the young per-           report of their gender history and experience is
  son's gender and overall developmental, medical,             central to the assessment process.
  and mental health history as well as insights into             Some parents may present with unsupportive
  the young person's level of current support, general         or antagonistic beliefs about TGD identities, clin-
  functioning, and well-being. Concordance or diver-           ical gender care, or both (Clark et al., 2020).
  gence of reports given by the adolescent and their           Such unsupportive perspectives are an important
  parent(s)/caregiver(s) may be important informa-             therapeutic target for families. Although challeng-
  tion for the assessment team and can aid in                  ing parent perspectives may in some cases seem
  designing and shaping individualized youth and               rigid, providers should not assume this is the
  family supports (De Los Reyes et al., 2019;                  case. There are many examples of parent(s)/care-
  Katz-Wise et al., 2017). Knowledge of the family             giver(s) who, over time with support and psy-
  context, including resilience factors and challenges,        choeducation, have become increasingly accepting
  can help providers know where special supports               of their    TGD   child's   gender   diversity   and
  would be needed during the medical treatment                 care needs.
  process. Engagement of parent(s)/caregiver(s) is               Helping youth and parent(s)/caregiver(s) work
  also important for educating families about various          together on important gender care decisions is a
  treatment approaches, ongoing follow-up and care             primary goal. However, in some cases, parent(s)/
  needs, and potential treatment complications.                caregiver(s) may be too rejecting of their adoles-
  Through psychoeducation regarding clinical gender            cent child and their child's gender needs to be
  care options and participation in the assessment             part of the clinical evaluation process. In these
  process, which may unfold over time, parent(s)/              situations, youth may require the engagement of
  caregiver(s) may better understand their adolescent          larger systems of advocacy and support to move




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  forward with the necessary support and care           incongruence between experienced gender iden-
  (Dubin et al., 2020).                                 tity and the sex assigned at birth. In the most
                                                        recent revision, the DSM-5-TR, no changes in
  Statement 6.12                                        the diagnostic criteria for gender dysphoria are
  We recommend health care professionals assess-        made. However, terminology was adapted into
  ing transgender and gender diverse adolescents        the most appropriate current language (e.g.,
  only recommend gender-affirming medical or            birth-assigned gender instead of natal-gender
  surgical treatments requested by the patient when:    and gender-affirming treatment instead of gen-
                                                        der   reassignment       (American        Psychiatric
  Statement 6.12.a                                      Association, 2022). Compared with the lCD 10th
  The adolescent meets the diagnostic criteria of       edition, the gender incongruence classification
  gender incongruence as per the lCD-11 in sit-         was moved from the Mental Health chapter to
  uations where a diagnosis is necessary to access      the Conditions Related to Sexual Health chapter
  health care. In countries that have not imple-        in the lCD-11. When compared with the DSM-5
  mented the latest lCD, other taxonomies may           classification of gender dysphoria, one important
  be used although efforts should be undertaken         reconceptualization is distress is not a required
  to utilize the latest lCD as soon as practicable.     indicator of the lCD-11 classification of gender
    When working with TGD adolescents, HCPs             incongruence (WHO, 2019a). After all, when
  should realize while a classification may give        growing up in a supporting and accepting envi-
  access to care, pathologizing transgender identi-     ronment, the distress and impairment criterion,
  ties may be experienced as stigmatizing (Beek         an inherent part of every mental health condi-
  et al., 2016). Assessments related to gender health   tion, may not be applicable (Drescher, 2012). As
  and gender diversity have been criticized, and        such, the lCD-11 classification of gender incon-
  controversies exist around diagnostic systems         gruence may better capture the fullness of gen-
  (Drescher, 2016).                                     der diversity experiences and related clinical
    HCPs should assess the overall gender-related       gender needs.
  history and gender care-related needs of youth.         Criteria for the lCD-11 classification gender
  Through this assessment process, HCPs may pro-        incongruence of adolescence or adulthood require
  vide a diagnosis when it is required to get access    amarked and persistent incongruence between an
  to transgender-related care.                          individual's experienced gender and the assigned
    Gender incongruence and gender dysphoria            sex, which often leads to aneed to "transition" to
  are the two diagnostic terms used in the World        live and be accepted as a person of the experi-
  Health Organization's International Classification    enced gender. For some, this includes hormonal
  of Diseases (lCD) and the American Psychiatric        treatment, surgery, or other health care services
  Association's Diagnostic and Statistical Manual       to enable the individual's body to align as much
  of Mental Disorders (DSM), respectively. Of           as required, and to the extent possible, with the
  these two widely used classification systems, the     person's experienced gender. Relevant for adoles-
  DSM is for psychiatric classifications only and       cents is the indicator that a classification cannot
  the lCD contains all diseases and conditions          be assigned "prior to the onset of puberty" Finally,
  related to physical as well as mental health. The     it is noted "that gender variant behaviour and
  most recent versions of these two systems, the        preferences alone are not abasis for assigning the
  DSM-5 and the lCD-11, reflect a long history          classification" (WHO, lCD-11, 2019a).
  of reconceptualizing and de-psychopathologizing         Criteria for the DSM-5 and DSM-5-TR classi-
  gender-related diagnoses (American Psychiatric        fication of gender dysphoria in adolescence and
  Association, 2013; World Health Organization,         adulthood denote "a marked incongruence between
  2019a). Compared with the earlier version, the        one's experienced/expressed gender and assigned
  DSM-5 replaced gender identity disorder with          gender, of at least 6 months' duration' (criterion
  gender dysphoria, acknowledging the distress          A, fulfilled when 2 of 6 subcriteria are manifest;
  experienced by some people stemming from the          DSM-5, APA, 2013; DSM 5-TR, APA, 2022).




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    Of note, although a gender-related classifica-              premise of the treatment as a means to buy time
  tion is one of the requirements for receiving                 while avoiding distress from irreversible pubertal
  medical gender-affirming care, such a classifica-             changes. For youth who have experienced a
  tion alone does not indicate a person needs                   shorter duration of gender incongruence, social
  medical-affirming care. The range of youth expe-              transition- related and/or other medical supports
  riences of gender incongruence necessitates pro-              (e.g., menstrual suppression/androgen blocking)
  fessionals provide a range of treatments or                   may also provide some relief as well as furnish-
  interventions based on the individual's needs.                ing additional information to the clinical team
  Counseling, gender exploration, mental health                 regarding a young person's broad gender care
  assessment and, when needed, treatment with                   needs (see Statements 6.4, 6.6, and 6.7).
  MHPs trained in gender development may all be                   Establishing evidence of persistent gender
  indicated with or without the implementation of               diversity/incongruence typically requires careful
  medical-affirming care.                                       assessment with the young person over time (see
                                                                Statement 6.3). Whenever possible and when
  Statement 6.12.b                                              appropriate, the assessment and discernment pro-
  The experience of gender diversity/incongruence               cess should also include the parent(s)/caregiver(s)
  is marked and sustained over time.                            (see Statement 6.11). Evidence demonstrating
    Identity exploration and consolidation are                  gender diversity/incongruence sustained over time
  experienced by many adolescents (Klimstra et al.,             can be provided via history obtained directly
  2010; Topolewska-Siedzik & Cieciuch, 2018).                   from the adolescent and parents/caregivers when
  Identity exploration during adolescence may                   this information is not documented in the med-
  include aprocess of self-discovery around gender              ical records.
  and gender identity (Steensma, Kreukels et al.,                 The research literature on continuity versus
  2013). Little is known about how processes that               discontinuity of gender-affirming medical care
  underlie consolidation of gender identity during              needs/requests is complex and somewhat diffi-
  adolescence (e.g., the process of commitment to               cult to interpret. A series of studies conducted
  specific identities) may impact a young person's              over the last several decades, including some
  experience(s) or needs over time.                             with methodological challenges (as noted by
    Therefore,       the level of reversibility of a            Temple Newhook et al., 2018; Winters et al.,
  gender-affirming medical intervention should be               2018) suggest the experience of gender incon-
  considered along with the sustained duration of               gruence is not consistent for all children as they
  a young person's experience of gender incon-                  progress into adolescence. For example, a subset
  gruence when initiating treatment. Given poten-               of youth who experienced gender incongruence
  tial shifts in gender-related experiences and                 or who socially transitioned prior to puberty
  needs during adolescence, it is important to                  over time can show a reduction in or even full
  establish the young person has experienced sev-               discontinuation of gender incongruence (de
  eral years of persistent gender diversity/incon-             Vries et al., 2010; Olson et al., 2022; Ristori &
  gruence      prior    to    initiating   less   reversible    Steensma, 2016; Singh et al., 2021; Wagner et al.,
  treatments such as gender-affirming hormones                  2021). However, there has been less research
  or surgeries. Puberty suppression treatment,                  focused on rates of continuity and discontinuity
  which provides more time for younger adoles-                  of gender incongruence and gender-related needs
  cents to engage their decision-making capacities,             in pubertal and adolescent populations. The data
  also     raises   important      considerations       (see    available       regarding   broad     unselected
  Statement 6.12f and Chapter               12—Hormone          gender-referred     pubertal/adolescent   cohorts
  Therapy) suggesting the importance of a sus-                  (from the Amsterdam transgender clinic) suggest
  tained experience of gender incongruence/diver-              that, following extended assessments over time,
  sity prior to initiation. However, in this age                a subset of adolescents with gender incongru-
  group of younger adolescents, several years is               ence presenting for gender care elect not to
  not always practical nor necessary given the                 pursue   gender affirming
                                                                                    -       medical    care




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  (Arnoldussen et al., 2019; de Vries, Steensma               The skills necessary to assent/consent to any
  et al., 2011). Importantly, findings from studies         medical intervention or treatment include the
  of gender       incongruent    pubertal/adolescent        ability to 1) comprehend the nature of the treat-
  cohorts, in which participants who have under-            ment; 2) reason about treatment options, includ-
  gone comprehensive gender evaluation over                 ing the risks and benefits; 3) appreciate the nature
  time, have shown persistent gender incongruence           of the decision, including the long-term conse-
  and gender-related need and have received refer-          quences;    and    4)   communicate     choice
  rals for medical gender care, suggest low levels          (Grootens-Wiegers et al., 2017). In the case of
  of regret regarding gender-related medical care           gender- affirming medical treatments, a young
  decisions (de Vries et al., 2014; Wiepjes et al.,         person should be well-informed about what the
  2018). Critically, these findings of low regret           treatment may and may not accomplish, typical
  can only currently be applied to youth who have           timelines   for changes       to    appear   (e.g.,    with
  demonstrated sustained gender incongruence                gender-affirming hormones), and any implications
  and gender-related needs over time as estab-              of stopping the treatment. Gender-diverse youth
  lished through a comprehensive and iterative              should fully understand the reversible, partially
  assessment (see Statement 6.3).                           reversible, and irreversible aspects of atreatment,
                                                            as well as the limits of what is known about cer-
  Statement 6.12.c                                          tain treatments (e.g., the impact of pubertal sup-
  The adolescent demonstrates the emotional and             pression on brain development (Chen and Loshak,
  cognitive maturity required to provide informed           2020)). Gender-diverse youth should also under-
  consent/assent for the treatment.                         stand, although many gender-diverse youth begin
    The process of informed consent includes com-           gender- affirming medical care and experience
  munication between a patient and their provider           that care as a good fit for them long-term, there
  regarding the patient's understanding of apoten-          is a subset of individuals who over time discover
  tial intervention as well as, ultimately, the patient's   this care is not a fit for them (Wiepjes et al.,
  decision whether to receive the intervention. In          2018). Youth should know such shifts are some-
  most settings, for minors, the legal guardian is          times connected to achange in gender needs over
  integral to the informed consent process: if a            time, and in some cases, ashift in gender identity
  treatment is to be given, the legal guardian (often       itself. Given this information, gender diverse
  the parent [s] /caregiver [s]) provides the informed      youth must be able to reason thoughtfully about
  consent to do so. In most settings, assent is a           treatment options, considering the implications of
  somewhat parallel process in which the minor              the choices at hand. Furthermore, as afoundation
  and the provider communicate about the inter-             for providing assent, the gender-diverse young
  vention and the provider assesses the level of            person    needs    to   be   able    to   communicate
  understanding and intention.                              their choice.
    A necessary step in the informed consent/                 The skills needed to accomplish the tasks
  assent process for considering gender-affirming           required for assent/consent may not emerge at
  medical care is acareful discussion with qualified        specific ages per se (Grootens-Wiegers et al.,
  HCPs trained to assess the emotional and cog-             2017). There may be variability in these capacities
  nitive maturity of adolescents. The reversible and        related to developmental differences and mental
  irreversible effects of the treatment, as well as         health presentations (Shumer & Tishelman, 2015)
  fertility preservation options (when applicable),         and dependent on the opportunities ayoung per-
  and all potential risks and benefits of the inter-        son has had to practice these skills (Alderson,
  vention are important components of the discus-           2007). Further, assessment of emotional and cog-
  sion.   These    discussions   are   required    when     nitive maturity must be conducted separately for
  obtaining informed consent/assent. Assessment             each     gender-related        treatment        decision
  of cognitive and emotional maturity is important          (Vrouenraets et al., 2021).
  because it helps the care team understand the                The following questions may be useful to con-
  adolescent's capacity to be informed.                     sider in assessing ayoung person's emotional and




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  cognitive readiness to assent or consent to a spe-             consider options, weigh benefits and potential
  cific gender-affirming treatment:                              challenges/ costs, and develop a plan for any
                                                                 needed (and potentially ongoing) supports asso-
        • Can the young person think carefully into              ciated with the treatment.
              the future and consider the implications of
              apartially or fully irreversible intervention?     Statement 6.12.d
        • Does the young person have sufficient                  The adolescent's mental health concerns (if any)
              self-reflective capacity to consider the           that may interfere with diagnostic clarity, capac-
              possibility that gender-related needs and          ity to consent, and/or gender-affirming medical
              priorities can develop        over time,   and     treatments have been addressed.
              gender-related priorities at a certain point         Evidence indicates TGD adolescents are at
              in time might change?                              increased risk of mental health challenges, often
        • Has the young person, to some extent,                  related to family/caregiver rejection, non-affirming
              thought through the implications of what           community environments, and neurodiversity-
              they might do if their priorities around           related factors (e.g., de Vries et al., 2016; Pariseau
              gender do change in the future?                    et al., 2019; Ryan et al., 2010; Weinhardt et al.,
        • Is the young person able to understand                 2017). A young person's mental health challenges
              and manage the day-to-day short- and               may impact their conceptualization of their gen-
              long-term aspects of a specific medical            der    development        history     and    gender
              treatment     (e.g.,   medication   adherence,     identity-related needs, the adolescent's capacity
              administration,        and necessary medical       to consent, and the ability of the young person
              follow-ups)?                                       to engage in     or receive medical treatment.
                                                                 Additionally, like cisgender youth, TGD youth
        Assessment of emotional and cognitive matu-              may experience mental health concerns irrespec-
  rity may be accomplished over time as the care                 tive of the presence of gender dysphoria or gen-
  team continues to engage in conversations about                der incongruence. In particular, depression and
  the treatment options and affords the young per-               self-harm may be of specific concern; many stud-
  son the opportunity to practice thinking into                ies reveal depression scores and emotional and
  the future and flexibly consider options and                 behavioral problems comparable to those reported
  implications. For youth with neurodevelopmental                in populations referred to mental health clinics
  and/or some types of mental health differences,                (Leibowitz & de Vries, 2016). Higher rates of
  skills for future thinking, planning, big picture              suicidal ideation, suicide attempts, and self-harm
  thinking, and self-reflection may be less-well                 have also been reported (de Graaf et al., 2020).
  developed (Dubbelink & Geurts, 2017). In these                 In addition, eating disorders occur more fre-
  cases, a more careful approach to consent and                  quently than expected in non-referred popula-
  assent may be required, and this may include                   tions (Khatchadourian et al., 2013; Ristori et al.,
  additional time and structured opportunities for               2019; Spack et al., 2012). Importantly, TGD ado-
  the young person to practice the skills necessary            lescents show high rates of autism spectrum dis-
  for medical decision-making (Strang, Powers                    order/characteristics (øien et al., 2018; van der
  et al., 2018).                                                 Miesen et al., 2016; see also Statement 6.ld).
        For unique situations in which an adolescent             Other neurodevelopmental presentations and/or
  minor is consenting for their own treatment with-              mental health challenges may also be present,
  out parental permission (see Statement 6.11),                  (e.g., ADHD, intellectual disability, and psychotic
  extra care must be taken to support the adoles-                disorders (de Vries, Doreleijers et al., 2011; Meijer
  cent's informed decision-making. This will typi-               et al., 2018; Parkes & Hall, 2006).
  cally require greater levels of engagement of and                Of note, many transgender adolescents are
  collaboration between the HCPs working with                  well-functioning and experience few if any mental
  the adolescent to provide the young person                   health concerns. For example, socially transi-
  appropriate cognitive and emotional support to                 tioned pubertal adolescents who receive medical




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  gender- affirming treatment at specialized gender              thoughtful, future-oriented thinking by the
  clinics may experience mental health outcomes                  adolescent, with support from the parents/
  equivalent to those of their cisgender peers (e.g.,            caregivers, as indicated (see Statement 6.11).
  de Vries et al., 2014; van der Miesen et al., 2020).           To be able to make such an informed deci-
  A provider's key task is to assess the direction               sion, an adolescent should be able to under-
  of the relationships that exist between any mental             stand the issues, express achoice, appreciate
  health challenges and the young person's                       and give careful thought regarding the wish
  self-understanding of gender care needs and then               for medical-affirming treatment (see
  prioritize accordingly.                                        Statement 6.12c). Neurodevelopmental dif-
     Mental health difficulties may challenge the                ferences, such as autistic features or autism
  assessment and treatment of gender-related needs               spectrum disorder (see Statement 6.ld, e.g.,
  of TGD adolescents in various ways:                            communication differences; apreference for
                                                                 concrete or rigid thinking; differences in
    1.    First, when a TGD adolescent is experi-                self-awareness, future thinking and plan-
          encing acute suicidality, self-harm, eating            ning), may challenge the assessment and
          disorders, or other mental health crises that          decision-making process; neurodivergent
          threaten physical health, safety must be               youth may require extra support, structure,
          prioritized. According to the local context            psychoeducation, and time built into the
          and existing guidelines, appropriate care              assessment process (Strang, Powers et al.,
          should seek to mitigate the threat or crisis           2018). Other mental health presentations
          so there is sufficient time and stabilization          that involve reduced communication and
          for thoughtful gender-related assessment               self-advocacy, difficulty engaging in assess-
          and decision-making. For example, an                   ment, memory and concentration difficul-
          actively suicidal adolescent may not be                ties, hopelessness, and difficulty engaging in
          emotionally able to make an informed                   future-oriented thinking may complicate
          decision regarding gender-affirming medi-              assessment and decision-making. In such
          cal/surgical treatment. If indicated,                  cases, extended time is often necessary
          safety-related interventions should not pre-           before      any     decisions      regarding
          clude starting gender-affirming care.                  medical-affirming treatment can be made.
    2.    Second, mental health can also complicate         4.   Finally, while addressing mental health
          the assessment of gender development and               concerns is important during the course of
          gender identity-related needs. For exam-               medical treatment, it does not mean all
          ple, it is critical to differentiate gender            mental health challenges can or should be
          incongruence from specific mental health               resolved completely. However, it is import-
          presentations, such as obsessions and                  ant any mental health concerns are
          compulsions, special interests in autism,              addressed sufficiently so that gender
          rigid thinking, broader identity problems,             -affirming medical treatment can be pro-
          parent/child interaction difficulties, severe          vided optimally (e.g., medication adher-
          developmental anxieties (e.g., fear of                 ence, attending follow-up medical
          growing up and pubertal changes unre-                  appointments, and self-care, particularly
          lated to gender identity), trauma, or psy-             during apostoperative course).
          chotic thoughts. Mental health challenges
          that interfere with the clarity of identity     Statement 6.12.e
          development         and    gender-related       The adolescent has been informed of the repro-
          decision-making should be prioritized and       ductive effects, including the potential loss of
          addressed.                                      fertility, and available options to preserve fer-
     3.   Third,    decision-making     regarding         tility, and these have been discussed in the con-
          gender-affirming medical treatments that        text of the adolescent's stage of pubertal
          have life-long consequences requires            development.




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     For guidelines regarding the clinical approach,           does not warrant the use of puberty-blocking
  the scientific background, and the rationale, see            medications (Roberts & Kaiser, 2020). Educating
  Chapter 12—Hormone Therapy and Chapter 16—                   parents and families about the difference between
  Reproductive Health.                                         adrenarche and gonadarche helps families under-
                                                               stand   the   timing    during    which    shared
  Statement 6.12.f                                             decision-making about gender-affirming medical
  The adolescent has reached Tanner stage 2 of                 therapies should be undertaken with their mul-
  puberty for pubertal suppression to be initiated.            tidisciplinary team.
     The onset of puberty is a pivotal point for                 The importance of addressing other risks and
  many gender diverse youth. For some, it creates              benefits of pubertal suppression, both hypothet-
   an intensification of their gender incongruence,            ical and actual, cannot be overstated. Evidence
   and for others, pubertal onset may lead to gender           supports the existence of surgical implications for
  fluidity (e.g., a transition from binary to nonbi-           transgender girls who proceed with pubertal sup-
   nary gender identity) or even attenuation of a              pression (van de Grift et al., 2020). Longitudinal
  previously affirmed gender identity (Drummond                data exists to demonstrate improvement in
   et al., 2008; Steensma et al., 2011, Steensma,              romantic and sexual satisfaction for adolescents
   Kreukels et al., 2013; Wallien & Cohen-Kettenis,            receiving puberty suppression, hormone treatment
   2008). The use of puberty-blocking medications,             and surgery (Bungener et al., 2020). A study on
   such as GnRH analogues, is not recommended                  surgical outcomes of laparoscopic intestinal vag-
   until children have achieved a minimum of                   inoplasty (performed because of limited genital
   Tanner stage 2 of puberty because the experience            tissue after the use of puberty blockers) in trans-
   of physical puberty may be critical for further             gender women revealed that the majority expe-
   gender identity development for some TGD ado-               rienced orgasm after surgery (84%), although a
   lescents   (Steensma et al.,        2011).   Therefore,     specific correlation between sexual pleasure out-
   puberty blockers should not be implemented in               comes and the timing of pubertal suppression
   prepubertal     gender    diverse    youth    (Waal   &     initiation was not discussed in the study (Bouman,
   Cohen-Kettenis, 2006). For some youth, GnRH                 van der Sluis et al., 2016), nor does the study
   agonists may be appropriate in late stages or in            apply to those who would prefer a different sur-
   the post-pubertal period (e.g., Tanner stage 4 or           gical procedure. This underscores the importance
   5), and this should be highly individualized. See           of engaging in discussions with families about
   Chapter 12—Hormone Therapy for amore com-                   the future unknowns related to surgical and sex-
   prehensive review of the use of GnRH agonists.              ual health outcomes.
     Variations in the timing of pubertal onset is
   due to multiple factors (e.g., sex assigned at birth,       Statement 6.12.g
   genetics, nutrition, etc.). Tanner staging refers to        The adolescent had at least 12 months of
   five stages of pubertal development ranging from            gender-affirming hormone therapy or longer, if
   prepubertal (Tanner stage 1) to post-pubertal,              required, to achieve the desired surgical result
   and adult sexual maturity (Tanner stage 5)                  for gender-affirming procedures, including
   (Marshall & Tanner, 1969, 1970). For assigned               breast augmentation, orchiectomy, vaginoplasty,
   females at birth, pubertal onset (e.g., gonadarche)         hysterectomy, phalloplasty, metoidioplasty, and
   is defined by the occurrence of breast budding              facial surgery as part of gender-affirming treat-
   (Tanner stage 2), and for birth-assigned males,             ment unless hormone therapy is either not
   the achievement of atesticular volume of greater            desired or is medically contraindicated.
   than or equal to 4mL (Roberts & Kaiser, 2020).                GAHT leads to anatomical, physiological, and
   An experienced medical provider should be relied            psychological changes. The onset of the anatomic
   on to differentiate the onset of puberty from               effects (e.g., clitoral growth, breast growth, vag-
   physical changes such as pubic hair and apocrine            inal mucosal atrophy) may begin early after the
   body odor due to sex steroids produced by the               initiation of therapy, and the peak effect is
   adrenal gland (e.g., adrenarche) as adrenarche              expected at 1-2 years (T'Sjoen et al., 2019). To




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  ensure sufficient time for psychological adapta-      surgical interventions after age 18 with exceptions
  tions to the physical change during an important      in some cases. It is not clear if deviations from
  developmental time for the adolescent, 12 months      this approach would lead to the same or different
  of hormone treatment is suggested. Depending          outcomes. Longitudinal studies are currently
  upon the surgical result required, a period of        underway to better define outcomes as well as
  hormone treatment may need to be longer (e.g.,        the safety and efficacy of gender-affirming treat-
  sufficient clitoral virilization prior to metoidio-   ments in youth (Olson-Kennedy, Garofalo et al.,
  plasty/phalloplasty, breast growth and skin expan-    2019; Olson-Kennedy, Rosenthal et al., 2019).
  sion prior to breast augmentation, softening of       While the long-term effects of gender-affirming
  skin and changes in facial fat distribution prior     treatments initiated in adolescence are not fully
  to facial GAS) (de Blok et al., 2021).                known, the potential negative health consequences
     For individuals who are not taking hormones        of delaying treatment should also be considered
  prior to surgical interventions, it is important      (de Vries et al., 2021). As the evidence base
  surgeons review the impact of hormone therapy         regarding outcomes of gender-affirming interven-
  on the proposed surgery. In addition, for indi-       tions in youth continues to grow, recommenda-
  viduals undergoing gonadectomy who are not            tions on the timing and readiness for these
  taking hormones, a plan for hormone replace-          interventions may be updated.
  ment can be developed with their prescribing              Previous guidelines regarding gender-affirming
  professional prior to surgery.                        treatment of adolescents recommended partially
                                                        reversible GAHT could be initiated at approxi-
  Consideration of ages for gender-affirming            mately 16 years of age (Coleman et al., 2012;
  medical and surgical treatment for adolescents        Hembree et al., 2009). More recent guidelines
    Age has a strong, albeit imperfect, correlation     suggest there may be compelling reasons to ini-
  with cognitive and psychosocial development and       tiate GAHT prior to the age of 16, although
  may be auseful objective marker for determining       there are limited studies on youth who have
  the potential timing of interventions (Ferguson       initiated hormones prior to 14 years of age
  et al., 2021). Higher (i.e., more advanced) ages      (Hembree et al., 2017). A compelling reason for
  may be required for treatments with greater irre-     earlier initiation of GAHT, for example, might
  versibility, complexity, or both. This approach       be to avoid prolonged pubertal suppression,
  allows for continued cognitive/emotional matu-        given potential bone health concerns and the
  ration that may be required for the adolescent        psychosocial implications of delaying puberty as
  to fully consider and consent to increasingly com-    described    in   more    detail in     Chapter      12—
  plex treatments (see Statement 6.12c).                Hormone Therapy (Klink, Cans et al., 2015;
    A growing body of evidence indicates provid-        Schagen et al., 2020; Vlot et al., 2017; Zhu &
  ing gender-affirming treatment for gender diverse     Chan, 2017). Puberty is a time of significant
  youth who meet criteria leads to positive out-        brain and cognitive development. The potential
  comes (Achille et al., 2020; de Vries et al., 2014;   neuro developmental impact of extended pubertal
  Kuper et al., 2020). There is, however, limited       suppression in gender diverse youth has been
  data on the optimal timing of gender-affirming        specifically identified as an area in need of con-
  interventions as well as the long-term physical,      tinued study (Chen et al., 2020). While GnRH
  psychological, and neurodevelopmental outcomes        analogs have been shown to be safe when used
  in youth (Chen et al., 2020; Chew et al., 2018;       for the treatment of precocious puberty, there
  Olson-Kennedy et al., 2016). Currently, the only      are concerns delaying exposure to sex hormones
  existing longitudinal studies evaluating gender       (endogenous or exogenous) at a time of peak
  diverse youth and adult outcomes are based on         bone mineralization may lead to decreased bone
  a specific model (i.e., the Dutch approach) that      mineral density. The potential decrease in bone
  involved acomprehensive initial assessment with       mineral density as well as the clinical signifi-
  follow-up. In this approach, pubertal suppression     cance of any decrease requires continued study
  was considered at age 12, GAHT at age 16, and           (Klink, Cans et al., 2015; Lee, Finlayson et al.,




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  2020; Schagen et al., 2020). The potential neg-             Data are limited on the optimal timing for ini-
  ative psychosocial implications of not initiating         tiating other gender-affirming surgical treatments
  puberty with peers may place additional stress            in adolescents. This is partly due to the limited
  on gender diverse youth, although this has not            access to these treatments, which varies in differ-
  been explicitly studied. When considering the             ent geographical locations (Mahfouda et al., 2019).
  timing of initiation of gender-affirming hor-             Data indicate rates of gender-affirming surgeries
  mones, providers should compare the potential            have increased since 2000, and there has been an
  physical and psychological benefits and risks of          increase in the number of TGD youth seeking
  starting treatment with the potential risks and          vaginoplasty (Mahfouda et al., 2019; Milrod &
  benefits of delaying treatment. This process can          Karasic, 2017). A 2017 study of 20 WPATH-affiliated
  also help identify compelling factors that may            surgeons in the US reported slightly more than
  warrant an individualized approach.                      half had performed vaginoplasty in minors (Milrod
    Studies carried out with trans masculine youth          & Karasic, 2017). Limited data are available on
  have demonstrated chest dysphoria is associated          the outcomes for youth undergoing vaginoplasty.
  with higher rates of anxiety, depression, and dis-       Small studies have reported improved psychosocial
  tress and can lead to functional limitations, such       functioning and decreased gender dysphoria in
  as avoiding exercising or bathing (Mehringer              adolescents who have undergone vaginoplasty
  et al., 2021; Olson-Kennedy, Warus et al., 2018;          (Becker et al., 2018; Cohen-Kettenis & van Goozen,
  Sood et al., 2021). Testosterone unfortunately            1997; Smith et al.,2001). While the sample sizes
  does little to alleviate this distress, although chest    are small, these studies suggest there may be a
  masculinization is an option for some individuals        benefit for some adolescents to having these pro-
  to address this distress long-term. Studies with         cedures performed before the age of 18. Factors
  youth who sought chest masculinization surgery           that may support pursuing these procedures for
  to alleviate chest dysphoria demonstrated good           youth under 18 years of age include the increased
  surgical outcomes, satisfaction with results, and        availability of support from family members,
  minimal regret during the study monitoring               greater ease of managing postoperative care prior
  period      (Marinkovic      &     Newfield,   2017;     to transitioning to tasks of early adulthood (e.g.,
  Olson-Kennedy, Warus et al., 2018). Chest mas-           entering university or the workforce), and safety
  culinization surgery can be considered in minors         concerns in public spaces (i.e., to reduce trans-
  when clinically and developmentally appropriate          phobic violence) (Boskey et al., 2018; Boskey et al.,
  as determined by a multidisciplinary team expe-          2019; Mahfouda et al., 2019). Given the complexity
  rienced in adolescent and gender development             and irreversibility of these procedures, an assess-
  (see relevant statements in this chapter). The           ment of the adolescent's ability to adhere to post-
  duration or current use of testosterone therapy          surgical care recommendations and to comprehend
  should not preclude surgery if otherwise indi-           the long-term impacts of these procedures on
  cated. The needs of some TGD youth may be                reproductive and sexual function is crucial (Boskey
  met by chest masculinization surgery alone.               et al., 2019). Given the complexity of phal!op!asty,
  Breast augmentation may be needed by trans               and current high rates of complications in com-
  feminine youth, although there is less data about        parison to other gender-affirming surgical treat-
  this procedure in youth, possibly due to fewer           ments, it is not recommended this surgery be
  individuals requesting this procedure (Boskey            considered in youth under 18 at this time (see
  et al., 2019; James, 2016). GAHT, specifically           Chapter 13—Surgery and Postoperative Care).
  estrogen, can help with development of breast               Additional key factors that should be taken
  tissue, and it is recommended youth have amin-           into consideration when discussing the timing of
  imum of 12 months of hormone therapy, or lon-            interventions    with   youth    and   families   are
  ger as is surgically indicated, prior to breast          addressed in detail in statements 6.12a-f. For a
  augmentation unless hormone therapy is not               summary of the criteria/recommendations for
  clinically       indicated    or     is   medically      medically necessary gender-affirming medical
  contraindicated.                                         treatment in adolescents, see Appendix D.




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     ORIGINAL ARTICLE


     Consensus Parameter:
     Research Methodologies to Evaluate
     Neurodevelopmental Effects of Pubertal Suppression
     in Transgender Youth
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                                          StVictoria D. Kolbuck,' Stephen M. Rosenthal,' ° Kim Wallen,"

     Deborah P. Waber,' 2"3 Laurence Steinberg, 14 Cheryl L. Sisk, 15 Judith Ross, 16 ,17 Tomas Paus,' 82°
     Sven C. Mueller '21 ,22 Margaret M. McCarthy, 23 Paul E. Micevych, 24 Carol L. Martin '25 Baudewijntje P.C. Kreukels, 26
     Lauren Kenworthy, 59 Megan M. Herting, 27 '        28 Agneta Herlitz, 29 Ira R.J. Hebold Haraldsen, 3° Ronald Dahl, 3'

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         Abstract
         Purpose: Pubertal suppression is standard of care for early pubertal transgender youth to prevent the
         development of undesired and distressing secondary sex characteristics incongruent with gender identity.
         Preliminary evidence suggests pubertal suppression improves mental health functioning. Given the widespread
         changes in brain and cognition that occur during puberty, acritical question is whether this treatment impacts
         neurodevelopment.
         Methods: ADelphi consensus procedure engaged 24 international experts in neurodevelopment, gender de-
         velopment, puberty/adolescence, neuroendocrinology, and statistics/psychometrics to identify priority research
         methodologies to address the empirical question: is pubertal suppression treatment associated with real-world
         neurocognitive sequelae? Recommended study approaches reaching 80% consensus were included in the
         consensus parameter.
         Results: The Delphi procedure identified 160 initial expert recommendations, 44 of which ultimately achieved
         consensus. Consensus study design elements include the following: aminimum of three measurement time
         points, pubertal staging at baseline, statistical modeling of sex in analyses, use of analytic approaches that ac-
         count for heterogeneity, and use of multiple comparison groups to minimize the limitations of any one
         group. Consensus study comparison groups include untreated transgender youth matched on pubertal stage,
         cisgender (i.e., gender congruent) youth matched on pubertal stage, and an independent sample from a
         large-scale youth development database. The consensus domains for assessment includes: mental health, exec-
         utive function/cognitive control, and social awareness/functioning.
         Conclusion: An international interdisciplinary team of experts achieved consensus around primary methods
         and domains for assessing neurodevelopmental effects (i.e., benefits and/or difficulties) of pubertal suppression
         treatment in transgender youth.

         Keywords: expert consensus; Delphi; puberty blockers; GnRHa; transgender; adolescents




    Introduction                                                  two (conducted by the same research group) followed
    Standards of care established by the World Professional       asingle cohort over time, immediately before initiat-
    Association for Transgender Health' and the Endo-             ing GAH (N= 70) 7 and later in early adulthood after
    crine Society2 recommend pubertal suppression for             surgery for gender affirmation (N=55). 8 The third
    gender dysphoric transgender youth during early pu-           study compared groups of GnRHa-treated (n=35)
    berty (i.e., Tanner stages 2-3).' Pubertal suppression        and untreated (n = 36) youth longitudinally. 9 Findings
    is achieved through administration of gonadotropin-           across these studies include significant reductions in
    releasing hormone agonists (GnRHa). When adminis-             depressive symptoms and improvement in overall psy-
    tered in early puberty, GnRHa suppress endogenous             chosocial functioning in GnRHa-treated transgender
    sex hormone production and prevent the development            youth. A fourth cross-sectional study compared ado-
    of undesired and irreversible secondary sex characteris-      lescents diagnosed with gender dysphoria (GD), who
    tics, thereby minimizing distress associated with puber-      were treated with GnRHa and close to starting GAH
    tal development incongruent with gender identity. 5 For       treatment (n = 178), adolescents newly referred for GD
    youth who later decide to initiate estrogen/testosterone      evaluation (n = 272), and cisgender adolescents recrui-
    (gender-affirming hormones [GAH]) treatment to in-            ted from the general population (n = 651) on self-
    duce development of the desired secondary sex charac-         reported internalizing/externalizing problems, self-harm/
    teristics, pubertal suppression may minimize the need         suicidality, and peer relationships. 1° Before medical
    for more invasive, surgical interventions (e.g., facial       treatment, clinic-referred adolescents reported more
    and chest surgery). For youth who decide not to pursue        internalizing problems and self-harm/suicidality and
    GAH treatment, discontinuing GnRHa will reactivate            poorer peer relationships compared to age-equivalent
    the hypothalamic-pituitary-gonadal axis and endoge-           peers. GnRHa-treated transgender adolescents had
    nous puberty will resume. 6                                   fewer emotional and behavioral problems than clinic-
       Three longitudinal studies have examined psychoso-         referred, untreated adolescents and had compara-
    cial outcomes in GnRHa-treated transgender youth;             ble or better psychosocial functioning than same-age




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 cisgender peers. In addition to studies of youth, the       mones on both reproductive and nonreproductive
 2015 U.S. Transgender Survey included questions             behaviors, including anxiety, scent-marking, and food
 about past gender-affirming medical treatment, includ-      guarding. 34 In human studies, pubertal progression has
 ing pubertal suppression. These questions were asked        been linked to developmental changes in reward,        38

 retrospectively and linked to reported current and life-    social, 39 and emotional processing as well as cognitive/
 time mental health.' 1 Individuals who received puber-      emotional control .  41 However, consensus regarding

 tal suppression treatment (n = 89), when compared to        pubertal impacts at the neural level—such as puberty-
 those who wanted pubertal suppression, but did not          associated changes observed in magnetic resonance
 receive it (n = 3405), had lower odds of endorsing life-    imaging (MRI) measures—has been more difficult to
 time suicidal ideation on the survey. Given these five      achieve .42 Distinct puberty-related neurodevelopmen-
 studies and the presumed reversibility of GnRHa treat-      tal trajectories have been differentiated by sex.43
 ment, pubertal suppression is increasingly offered to          The combination of animal neurobehavioral re-
 early pubertal transgender youth. It is important to        search and human behavior studies supports the no-
 note that there has been only one longitudinal report       tion that puberty may be asensitive period for brain
 of adult outcomes, 8 and questions remain regarding         organization: 4 46 that is, alimited phase when devel-
                                                                           4-



 the potential for both positive and disruptive effects      oping neural connections are uniquely shaped by
 of pubertal suppression on neurodevelopment. 12 -14         hormonal and experiential factors, with potentially life-
    The pubertal and adolescent period is associated long consequences for cognitive and emotional health.
 with profound neurodevelopment, including trajecto- Studies have linked early life adversity to early pu-
 ries of increasing capacities for abstraction and logical berty onset47 and early puberty onset to poorer mental
 thinking,' 5 integrative thinking (e.g., consideration of health. 48 There is also some evidence to suggest that
 multiple perspectives), 16,17 and social thinking and delayed puberty onset predicts slightly poorer adult
 competence. 18 '19 During this period, there is adevelop-   functional outcomes. 49 Taken as awhole, the existing
 mental shift toward greater exploration and novelty knowledge about puberty and the brain raises the pos-
 seeking, 20 '
             2'salience of peer perspectives and interac-    sibility that suppressing sex hormone production
 tions, 22 and accelerated development of passions/ during this period could alter neurodevelopment in
 interests and identities. 23 These developments lay the complex ways—not all of which may be beneficial.
 groundwork for adult functioning. 18,24 At the level of        Two small studies have assessed impacts of pubertal
 the brain, several primary neurodevelopmental pro- suppression on neural and cognitive functioning in
 cesses unfold during adolescence, including myelin peripubertal transgender youth. Staphorsius et al.
 development25 and changes in neural connectivity26 ; compared brain and behavioral responses of GnRHa-
 synaptic pruning27 and gray matter maturation28,29; treated (8 transgender girls [birth-assigned male] and
 changes in functional connectivity30 ;and maturation        12 transgender boys [birth-assigned female]) and un-
 of the prefrontal cortex31 and the "social brain" net- treated transgender youth (10 of each sex) during an
 work.' 9 Adolescent neurodevelopmental processes un- executive function task .      50 No group differences were

 derlie mental health risks, resilience, and outcomes. 32,33 found in task load-related brain activation; GnRHa-
    Considerable research has addressed the effects of treated transgender girls demonstrated poorer perfor-
 puberty-related hormones on neurodevelopment, in- mance compared with untreated transgender boys
 cluding hormone manipulation studies in nonhuman and cisgender controls. Schneider et al. evaluated a
 animals and observational studies in humans. Animal single pubertal transgender girl undergoing GnRHa
 studies demonstrate pubertal hormones exert broad with Mm scans of white matter and cognitive assess-
 neuronal influence, including effects on neurogenesis, ments at baseline (before GnRHa initiation) and at
 differentiation, apoptosis, dendritic branching, spine 22 and 28 months of pubertal suppression treat-
 density, and regional gray and white matter volumes. 30,34 ment .5 'During follow-up, white matter fractional an-
 Androgen and estrogen receptors are found in high           isotropy (i.e., a measure of axonal diameter, fiber
 density within the hypothalamus and amygdala, and           coherence, and myelination) did not increase in the
 are also present in the hippocampus, midbrain, cere-        manner otherwise expected during puberty. By 22
 bellum, and cerebral cortex of the rodent and               months of pubertal suppression treatment, working
 monkey. 3537 This widespread receptor distribution in       memory scores dropped by more than half astandard
 rodents may explain the diverse effects of pubertal hor-    deviation.




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      Larger-scale, longitudinal studies are required to      nature, the Delphi method avoids problems of typical
   understand possible neurodevelopmental impacts of          expert work groups (e.g., adhering to the perspectives
   pubertal suppression over time in transgender youth.       of more senior workgroup experts, inflexibly defending
   Suppressing puberty may reduce dysphoria and dimin-        ideas) and allows for interaction among larger groups
   ish risks for poor mental health in this population,       of experts from diverse locations and disciplines
   thereby exerting neuroprotective effects. If pubertal      through asynchronous communication. 586°
   suppression disrupts aspects of neurodevelopment, it          We employed a two-round Delphi procedure to
   is possible these effects are temporary, with youth        obtain expert consensus regarding the most efficacious
   "catching up" developmentally after transitioning to       research design elements to address the following re-
   GAH treatment or discontinuing GnRHa. However,             search question: What, i fany, real-world impact does
   pubertal suppression may prevent key aspects of devel-     pubertal suppression have on transgender children's
   opment during asensitive period of brain organization.     cognitive and neural development? International ex-
   Neurodevelopmental impacts might emerge over time,         perts in relevant research fields were identified and
   akin to the "late effects" cognitive findings associated   invited as follows:
   with certain oncology treatments. 52 In sum, GnRHa
                                                                1. An independent advisory panel consisting of five
   treatment might produce amyriad of varied impacts,
                                                                   experts across key disciplines (see Acknowledg-
   both positive and disruptive.
                                                                   ments section) was formed to identify interna-
      The goal of this study was to develop aframework in
                                                                   tional experts who, based on knowledge and
   which these questions could be asked, and ultimately
                                                                   experience, could best propose aresearch design
   answered. We identify priority research methodologies
                                                                   to assess neurodevelopmental impacts of pubertal
   that can be used to address the empirical question of
                                                                   suppression in transgender youth.
   how pubertal suppression in transgender youth may
                                                                2. Thirty-two recommended experts were vetted
   affect neurodevelopment and real-world functioning.
                                                                   for their expertise; all met required criteria (i.e.,
   Given the complexity of neural development during
                                                                   aminimum of 10 first-author publications in rel-
   the pubertal period and the novelty of developmental
                                                                   evant fields).
   research with transgender youth, this study employed
                                                                3. These experts were invited to participate in the
   aDelphi consensus method to leverage international
                                                                   Delphi procedure and were informed they
   expertise in neurodevelopment, gender development,
                                                                   would be invited to consider being aco-author
   puberty/adolescence, neuroendocrinology, and statistics/
                                                                   of the resulting article. Twenty-eight experts
   psychometrics. By engaging acommunity of experts in
                                                                   responded: 20 agreed to participate, 4 declined
   an iterative consensus-building procedure, this study
                                                                   due to lack of time, and 4 declined due to self-
   aimed to advance thinking about efficacious designs
                                                                   reported lack of expertise in this research area.
   by moving beyond individual research efforts and
                                                                   Snowball sampling identified an additional 16
   single-discipline approaches.
                                                                   recommended experts, who were vetted (as de-
                                                                   scribed above) for their experience. Eight met
   Methods
                                                                   criteria and were invited. Five of these experts
   The Delphi procedure is a reliable iterative research
                                                                   participated, yielding atotal of 25 experts agree-
   method for establishing expert agreement, 53,54 and
                                                                   ing to participate, 24 of whom completed the
   has been used extensively to address health-related
                                                                   Delphi process. See Table 1for academic institu-
   questions, particularly in emerging fields of clinical
                                                                   tion locations and areas of expertise represented
   care. 55 57 In the first round of a two-round Delphi
         -
                                                                   in the expert panel.
   procedure, a key question is presented to experts,
   who remain anonymous to one another throughout                The Ann & Robert H. Lurie Children's Hospital of
   the Delphi process. Each expert provides responses/        Chicago Institutional Review Board found that an ex-
   solutions to the question, which are then combined         pert Delphi consensus initiative did not require in-
   and organized by the study team. In the Delphi             formed consent since the experts were direct partners
   round two, experts rate each proposed statement/           in the research product. The first round of Delphi
   solution according to the level of agreement. Responses    survey was distributed through the REDCap online
   reaching the apriori consensus criterion are included      survey platform and presented an overview of the
   as consensus statements. Given its anonymous iterative     research question with the following prompt for




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 Table 1. Institutional Representation and Self-Reported              listed in reverse alphabetical order by last name (au-
 Areas of Expertise
                                                                      thors 5-26). The Results section contains the exact
                                                                 n    statements endorsed as a"priority" approach by 80%
                                                                      or more of the Delphi panel.
 Location of academic institution
   United States                                                 16
   The Netherlands                                                3   Results
   Belgium                                                        2
   Canada
                                                                      Four of the 131 individually presented statements were
   Norway                                                             excluded from analyses because fewer than 15 experts
   Sweden
                                                                      rated them. Of the remaining 127 statements, 44 met
 Self-endorsed areas of expertise'
   Brain development                                             13   the 80% or higher criterion for consensus and inclusion
   Adolescent development                                        12   (see Table 2for endorsement rates by statement). The
   Neuroendocrinology                                            11
   Neuroimaging                                                  11   average endorsement rate of included statements was
   Neuropsychology                                                8   89.4%.
   Cognitive development                                          7
   Developmental assessment                                       4
   Expert in GnRHa                                                2   Consensus parameter
   Other (write in)                                               4
                                                                      Study design considerations.        A multicenter design
      Developmental social neuroscience
      Transgender health                                              with more than asingle clinic will be necessary to re-
      Genetics of sex chromosomes                                     cruit asufficient sample size, as the effect size will likely
      Gender development
                                                                      be small. Meaningful effect sizes must be determined to
    Experts endorsed as many areas of expertise as applicable.        ensure sufficient recruitment to power multiple expec-
   GnRHa, gonadotropin-releasing hormone agonists.
                                                                      ted comparisons accounting for attrition in alongitudi-
                                                                      nal design. Three time points of measurement are the
 respondents: "What methods and tools should we use                   absolute minimum. It will be necessary to manage
 to identify clinically meaningful neurodevelopmental                 the effects of repeated testing with aparticular focus
 impacts of pubertal suppression? What type of longitu-               on minimizing the practice effects of alongitudinal de-
 dinal design and follow-ups are both practical and                   sign with multiple time points. For cognitive assess-
 appropriate? What comparison groups might we con-                    ments, standardized batteries should be employed as:
 sider?" This initial process yielded 131 distinct re-                (1) there may be alarger database of norms available
 search design considerations; multiple descriptions of               that the cohort could be compared to, in addition to a
 the same concept were collapsed into single statements.              local comparison (control) group(s), (2) general compos-
 In the second Delphi round, each first-round research                ite scores within test batteries tend to provide more reli-
 design consideration was presented back to the ex-                   able and stable scores than individual tests, and (3) tasks
 perts and rated as follows: apriority idea/approach or               within acategory may be swapped in case of worries for
 not apriority idea/approach. Experts could also select,              learning effects. In any study of cognitive change based
 "cannot rate due to lack of expertise." The first Delphi             on serial assessments, reliability of measures is para-
 round also yielded lists of potential comparison groups              mount (the consensus in the field is that tests should
 and assessment domains (29 items). In the second Del-                have a minimum test-retest reliability of >0.70). It
 phi round, participants were asked to rank order these               may be pragmatic to use measures and methods from
 items according to priority. For the priority rankings of            large representative studies, such as the Adolescent
 comparison groups, the top-rated comparison group by                 Brain Cognitive Development (ABCD) Study.
 each expert was given avalue of 2and the second rated                   All processes being studied (e.g., gender identity,
 comparison group was given avalue of 1. A mean was                   mental health, neural structure, and function) display
 calculated for each comparison group option based on                 considerable heterogeneity, and methods that fail to
 these values and these mean scores were used to identify             capture this will provide distorted findings and lead
 the overall priority rankings. For the list of priority do-          to biased clinical recommendations. Analyses based
 mains to measure, aparallel approach was taken with                  on group means (e.g., regression or ANOVAs) are un-
 the top 6domains ranked by each expert.                              likely to generalize to all individuals being treated.
    All experts participated in the second Delphi round.              Therefore, it is necessary to collect enough data per
 Twenty-two of the Delphi experts participated in the                 person to characterize individual trajectories of change
 construction of the resulting article and are co-authors             over time.




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   Table 2. Consensus Priority Recommendations Ordered by Consensus Ratings Within Categories

    Study design considerations

       1       It would be helpful to follow these youth through and beyond initiation of cross-sex hormone treatment. Some aspects of                22/22
                  human adolescent brain development are more related to pubertal hormone status than age per se, and to the extent
                  that pubertal suppression may also put some features of brain development on hold; it would be good to know whether
                  these features "catch up" once cross-sex hormone treatment has begun or whether asensitive window for hormone-
                  dependent brain development has closed.
       2       Follow cohort after GnRHa treatment ends—collect data after the youth transition to GAH (when they complete their                      22/23
                  GnRHa treatment).
       3       Any neurocognitive effect of GnRHa pubertal suppression may be complicated by the psychosocial and affective aspects of                22/23
                  the transgender experience. This means that you would have to include multivariate models of both cognitive and
                  psychosocial functioning.
       4       Need to determine meaningful effect sizes and ensure sufficient statistical power for multiple expected comparisons with               21/22
                  attrition.
       5       Across the course of the study, three assessment points is the absolute minimum.                                                       20/21
       6       Need to use amulticenter design (not just one clinic).                                                                                 21/23
       7       Effects of GnRHa may not appear for several years. Any difference in brain structure due to GnRHa is likely to be seen over            20/22
                  time (long term), rather than immediately.
       8       Social and affective learning process may be affected by pausing puberty. These social and affective learning processes                17/19
                  might cause subtle short-term differences that could ultimately cause clinically impactful and meaningful longer-term
                  effects.
       9       Of particular interest would be to also monitor the impact of hormonal therapy. One could then ask, Does the trajectory                16/18
                  change in response to cross-sex hormonal therapy or do they stay on the same trajectory as when they were on GnRHa?"
      10       Assess target and comparison groups before puberty.                                                                                    20/23
      11       Need to manage the effects of repeated testing (i.e., minimize the practice effect of a longitudinal design with multiple              19/22
                  time points).
      12       The effect size will likely be small—therefore, you would need a large sample size.                                                    19/23
      13       The research design will need to account for the differences between youth who are assumed male versus assumed female                  19/23
                  as biological sex is differentially related to rate and pattern of cognitive development, connectome distinctiveness, and
                  timing of peak brain volume.
      14       All processes being studied (e.g., gender identity, mental health, and neural structure and function) display huge amounts             18/22
                  of heterogeneity, and research methods that fail to capture this will provide distorted findings and lead to biased clinical
                  recommendations. Analyses based on mean levels of these processes are unlikely to generalize to all individuals being
                  treated (e.g., regressions or ANOVA5 that compare groups with aslew of covariates). It is, therefore, necessary that
                  enough data are collected per person to capture personalized trajectories of change across time. And the data need to
                  be modeled in ways that reflect the heterogeneity of individual characteristics and trajectories.
    Comparison groups and recruitment
      15      At least one control group should be cisgender participants as this area of research (i.e., hormones and the adolescent                 20/22
                 brain) is still rather new and more data are needed on all youth during this stage.
      16      Critical to match the groups carefully to allow for evaluation of the effects of repeated testing (practice effects).                   20/22
      17      Comparison groups should be matched for pubertal stage.                                                                                 19/21
      18       Recruit all gender dysphoric youth across the pubertal age range, including those who are treated with GnRHa and those                 18/21
                 who are not.
      19      This is not dissimilar from issues of discerning differences in cognitive trajectories in normal aging versus                           15/18
                 neurodegenerative disorders. The basic question involves cognitive growth curves among cisgender and transgender
                 children overtime. There have been large-scale large-sample studies that have produced trajectories of brain
                 development during the pre-pubertal, pubertal, and adolescent periods that could treated like a brain growth curve."
      20       Need more than one comparison group to minimize the limitations of any one comparison group (no single comparison                      18/22
                 group is ideal).
    Pubertal staging/measurement
      21        Measure gonadal hormone levels.                                                                                                       23/23
      22        Collect information on menstrual cycle and contraceptive use for female adolescents involved in the study.                            23/23
      23        Measure Tanner staging (i.e., secondary sex characteristics).                                                                         21/23
      24        Measure height/weight.                                                                                                                18/22
    Domains to measure
      25       Use white matter microstructure scans (diffusion tensor imaging)—and use alongitudinal imaging pipeline (which exists)                 15/15
                  for processing these data with scientific rigor.
      26       A pragmatic methodological implication is to consider: (1) not only relying solely on measures of performance and                      19/20
                  behavior but also measures of learning and motivation, and (2) not only relying solely on measures of cognitive
                  capacities but also on social, affective, and value-based learning processes.
      27       If MRI is included, consider imaging approaches focused on the following domains: social-emotional processing, executive               20/22
                  functioning, risk and reward processing, and self-concept.
      28       Studies in laboratory rodents show that testosterone, acting during puberty, programs the ability to adapt behavior as a               19/21
                  function of social experience—therefore, include instruments that evaluate social proficiency.
      29       Use diffusion tensor imaging to analyze white matter at the microstructural level.                                                     17/19

                                                                                                                                                 (continued)




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 Table 2. (Continued)

 Study design considerations

   30        Studies in laboratory rodents show that ovarian hormones, acting during puberty, program cognitive flexibility by exerting         18/21
               long-lasting effects on excitatory-inhibitory balance in prefrontal cortex—so include instruments that evaluate
               behavioral flexibility.
   31        Examine white matter development, which is important for processing speed.                                                         17/20
   32        Important to measure emotional functioning because it is bidirectionally related to executive functioning.                         16/19
   33        Look at white matter characteristics since they seem to develop during puberty under the influence of sex hormones.                15/18
   34        One cannot study everything or study everything well. It will be critical to identif
                                                                                                ythe priorities in such astudy, as there is a   19/23
               danger of doing too much here. Consider the outcomes that matter most and the hypothesized mediating mechanisms.
               Focus on the outcomes of interest.
   35        There is no clear evidence that progressing through puberty later than peers is associated with delayed maturation of              18/22
               abstract reasoning, executive function, and social capacities.
   36        Use structural MRI (T1/T2)—and use alongitudinal imaging pipeline (which exists)—for processing these data with                    13/16
               scientific rigor.
   37        There is an emerging shift in thinking about the increase in reward sensitivity and sensation-seeking during puberty as            13/16
               related to social value learning. Dopamine release is not primarily a"reward" signal, but rather alearning signal (e.g.,
               prediction error signal)—the natural increased salience of social learning (status, prestige, being admired, respected,
               liked, etc.) These pubertal changes may have small effects on immediate behavior, yet that could contribute to changes
               in patterns of behavior over time, which could lead to large individual differences in developmental trajectories for
               people, such as if they had blocked puberty.
 Measurement approaches
   38      in any study of cognitive change based on serial assessments, reliability of the measure is paramount. The consensus in the          20/20
              field is that tests should have aminimum test-retest reliability of >0.70.
   39      Behavioral measurements should include standardized measures appropriate for repeated assessment with high test-retest               21/22
              reliability.
   40      Match acquisition parameters between imaging sites.                                                                                  17/18
   41      Consider implementing measures and methods from large representative protocols, such as the ABCD.                                    17/18
   42      Neuroimaging should parallel the behavioral study—neural measures should be linked to neurocognitive and behavioral                  19/22
              measures.
   43      For cognitive assessment, use astandardized battery for two reasons: (1) there might be a larger database of norms                   18/21
              available that the cohort could be compared to, in addition to the likely to be small comparison ("control") group, and (2)
              tasks within acategory may be swapped in case of worries for learning effects.
   44      Use "test batteries" that provide ageneral composite score as well as specific composites. By virtue of being composites,            17/20
              scores tend to be more reliable and stable than individual test scores.

    The proportion represents the number of experts endorsing an item as a "priority" out of the total number of experts who rated the item as
 "priority" or "not priority." The denominator represents the number of experts rating an item as a"priority" or "not priority" (as opposed to "cannot
 rate due to lack of expertise" or skipping the item).
    ABCD, Adolescent Brain Cognitive Development Study; GAH, gender-affirming hormones; MRI, magnetic resonance imaging.


   Any GnRHa-induced neurocognitive effect may be                              mence. Some aspects of human adolescent brain devel-
 complicated by psychosocial and affective aspects of                          opment are more related to pubertal hormone status
 the transgender experience. Therefore, multivariate                           than age per se. To the extent that pubertal suppression
 models of both cognitive and psychosocial functioning                         may also put some features of brain development on
 should be included. Accounting for differences be-                            hold, it is critical to know whether these features
 tween birth-assigned male youth versus birth-assigned                         "catch up" (either once GAH treatment is initiated or
 female youth is important, as sex is differentially re-                       if the adolescent elects to stop GnRHa and resume en-
 lated to the rate and pattern of cognitive development,                       dogenous puberty), or whether asensitive window for
 connectome distinctiveness, and timing of peak brain                          hormone-dependent brain development has closed.
 volume. Assessments should begin before puberty in                            One way to measure this is to assess whether neurode-
 both treatment and comparison groups. The effects                             velopment shifts in response to initiating GAH follow-
 of pubertal suppression may not appear for several                            ing pubertal suppression: Do GnRHa-treated youth stay
 years. Any GnRHa-related difference in brain structure                        on the same neurodevelopmental trajectory as when
 is likely to be observed over the long term, rather than                      puberty was suspended or does this trajectory change?
 immediately. Shifts in social and affective learning pro-
 cesses might cause subtle short-term differences that                         Comparison groups. To assess neurodevelopmental
 could ultimately result in clinically impactful longer-                       trajectories associated with GnRHa treatment, more
 term effects. Therefore, studies should follow GnRHa-                         than one comparison group is needed to minimize
 treated youth over time, including the time period                            the limitations of any one comparison group. No single
 after GnRHa treatment ends and/or when GAH com-                               comparison group is ideal for this study question.




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    A rank order of possible comparison groups is pro-                       measure as follows: mental/behavioral health, puber-
    vided in Table 3. Groups should also be well matched,                    tal stage, executive function/control, gender identity/
    given the effects of arepeated testing design (e.g., prac-               dysphoria, and social awareness/functioning. See Table 4
    tice effects). Matching for pubertal/developmental                       for acomplete list of ranked domains. Although we
    stage will be critical, including Tanner staging, gonadal                (the Delphi experts) identify executive function/control
    hormone levels, height and weight, and, among youth                      and social functioning as key domains to measure, it is
    assigned female at birth, menstrual cycle and contra-                    important to note that there is no clear evidence that
    ceptive use. A primary comparison should be between                      progressing through puberty later than peers is associ-
    GnRHa-treated transgender youth and untreated                            ated with delayed maturation of abstract reasoning, ex-
    transgender youth, but it will also be important to in-                  ecutive function, and social capacities. Executive function
    clude comparisons with cisgender samples as research                     and emotional functioning are bidirectionally related,
    on hormones and the adolescent brain is still novel                      and for this reason, the two should be integrated in mod-
    and emerging and more data are needed on all youth                       els/analyses. In addition, cognitive/behavioral flexibil-
    during this developmental period. One way to accom-                      ity, a component of executive functioning, should be
    plish the latter is to employ existing large-scale data-                 measured, given that studies in rodents show ovarian
    bases from studies of brain development during the                       hormones, acting during puberty, program cogni-
    pre-pubertal, pubertal, and later-adolescent periods,                    tive flexibility by exerting long-lasting effects on
    treating them as brain growth curves for comparisons.                    excitatory-inhibitory balance in the prefrontal cor-
    This approach is similar to the differentiation of cogni-                tex. 6'Studies in rodents also demonstrate that testos-
    tive trajectories in normal aging versus neurodegener-                   terone, acting during puberty, programs the ability to
    ative disorders. The basic research question involves                    adapt behavior as afunction of social experience. 34
    comparing cognitive growth curves over time.                             Measurement approaches should extend beyond cogni-
                                                                             tive capacities alone, embedding social, affective, and
                                                                             value-based learning processes. There is an emerging
    Domains to assess. It will be critical to prioritize as-
                                                                             shift in thinking about increases in reward sensitivity
    sessment domains based on hypothesized mediating
    mechanisms, with the most important domains to
                                                                             Table 4. Rank Order of Priority Domains of Characterization
                                                                             and Assessment
    Table 3. Rank Order of Priority Comparison Groups
                                                                             Rank order
    Rank order                                                               of priority          Domains of characterization and assessment
    of priority                     Comparison group
                                                                                               Mental/behavioral health (including suicidality/
                  Transgender youth who do not take GnRHa matched on                              hopelessness)
                     pubertal status at the beginning of the study            2                Pubertal stage/development (Tanner staging/
    2             Cisgender typically developing adolescents matched on                           hormone levels)
                     pubertal status at the beginning of the study            3                Executive function/control and attention
    3             Use a standardized battery and/or a large existing          4                Gender identity/dysphoria
                    database of norms to compare to (in addition to a         5                Social awareness/functioning
                     smaller comparison group)                                6                Quality of life
    4             Transgender youth who commence GnRHa treatment              7                Brain/functional connectivity
                    earlier compared to later in puberty                      8                Brain structure/volume
    5             siblings of transgender youth enrolling in the study        9                Emotional awareness/functioning
                     (to serve as genetic and shared environmental           10                Physical health symptoms and outcomes (especially
                     controls)                                                                    in adulthood)
    6             Mixed clinical group of adolescents presenting for MH      11                Adaptive/independence skills
                    assessment/treatment in an outpatient setting            12                General cognitive functioning (IQ)
                     matched on pubertal status                              13                Sensation seeking, risk taking, reward sensitivity,
    7a
                  Peers with mood disorders (to control for the                                   and motivation
                     overoccurrence of mental health distress in             14                Genetics (i.e., possible impacts of GnRHa on DNA
                    transgender youth) matched on pubertal status                                 and RNA expression)
                  Youth with precocious puberty who are given GnRHa to       15                Academic functioning
                     delay puberty                                           16                Processing speed
                                                                             17                Memory systems
       This priority sequence was based on participants' top 2ranked com-
    parison groups, where the top rated comparison group was given a            This priority sequence was based on participants' top 6 ranked do-
    value of 2 and the second rated comparison group was given avalue        mains to measure, where the top rated domain was given avalue of 6
    of 1. A mean score was derived for each comparison group based on par-   and the second rated comparison group was given a value of 5, and
    ticipants' ratings and ordered from highest to lowest.                   soon. A mean score was derived for each domain based on participants'
        Comparison groups received the same mean score in the ranking.       ratings and ordered from highest to lowest.




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 and sensation-seeking during puberty as related to            potentially organizing effects. Experts also highlighted
 social-value learning. 18 Dopamine release is not primar-     that accounting for the psychosocial aspects of the
 ily a"reward" signal, but rather alearning signal (e.g.,      transgender experience itself on development will re-
 prediction error signal)—the natural increased salience       quire models that integrate both cognitive and psycho-
 of social learning (e.g., status and prestige, being ad-      social functioning. The highest endorsed measurement
 mired, respected, and liked). The effects of suspending       priorities were mental and behavioral health, execu-
 puberty on the salience of social-value learning might        tive function/cognitive control, and social awareness!
 produce small near-term effects, but could contribute         functioning. The importance of interrelations between
 to changes in patterns of behavior over time, leading to      domains that mature during puberty/adolescence was
 large individual differences in developmental trajectories    also emphasized, including bidirectional relationships
 for GnRHa-treated youth.                                      between cognitive and emotional control and links
    If neuroimaging is included, imaging approaches            between reward sensitivity and social value learning.
 should focus on the following domains: social/                Regarding neuroimaging, experts stressed the impor-
 emotional processing, executive functioning, risk and         tance of linking neural signatures to cognitive and be-
 reward processing, and self-concept. Neuroimaging             havioral measures, with attention to white matter
 should parallel behavioral assessment. Neural measures        development. Notably, while there was consensus in
 should be linked to neurocognitive and behavioral             this approach to neuroimaging, there were divergent
 measures. Acquisition parameters should be matched            views as to whether aneuroimaging protocol should
 between imaging sites. Investigation of white matter          be prioritized in astudy with limited resources. Some
 development is important as myelination progresses            experts noted that insufficient work has been done on
 during puberty, likely under the influence of sex hor-        neural development during puberty in general and
 mones, 62 and is related to cognitive processing speed.       expending resources on an expensive neuroimaging
 Both structural Mill and diffusion tensor imaging ap-         protocol for this subset of youth may be premature,
 proaches should be used for white matter imaging              while others felt that defining underlying brain mecha-
 and analyzed using a longitudinal imaging pipeline            nisms by neuroimaging was important. Furthermore,
 for processing these data with scientific rigor.              at the final review of the article, four co-authors
                                                               noted a concern with this specific Delphi consensus
 Discussion                                                    recommendation: "Accounting for differences between
 Puberty suppression has become an increasingly                birth-assigned male youth versus birth-assigned female
 available option for transgender youth, and its bene-         youth is important, as sex is differentially related to the
 fits have been noted, particularly in the area of mental      rate and pattern of cognitive development, connectome
 health. However, puberty is a major developmental             distinctiveness, and timing of peak brain volume." The
 process and the full consequences (both beneficial            four authors felt that instead of "peak brain volume,"
 and adverse) of suppressing endogenous puberty are            a more appropriate measurement concept might be
 not yet understood. The experts who participated in           that of "structural brain metrics" (e.g., thickness and
 this procedure believe the effects of pubertal suppres-       regional volumes).
 sion warrant further study, and this Delphi consensus            Twelve different comparison groups were proposed
 process develops aframework from which future re-             in the first round of the Delphi and 8of the 12 groups
 search endeavors can be built.                                were rated as either first or second priority by at least 1
     Expert consensus emphasized aminimum of three             expert in the second Delphi round. This heterogeneity
 measurement time points, inclusion of multiple com-           underscores the complexity of selecting comparison
 parison groups to minimize the limitations of any             groups for this research and lends support to the ex-
 one group, precision pubertal staging at baseline, ac-        perts' recommendation to engage more than one com-
 counting for sex in design and analysis, and the use          parison group. The highest rated comparison groups
 of designs that capture heterogeneity in processes            were untreated transgender youth matched on pubertal
 being studied. Focus on longer-term trajectories and          stage, cisgender youth matched on pubertal stage, and a
 outcomes was emphasized, given that effects of pu-            sample from a large-scale quasi-normative database
 bertal suppression on various processes may not be ev-        (e.g., from the ABCD study) used as a"brain growth
 ident in the near term, and responses to delayed receipt      curve." These comparison groups are not without weak-
 of gonadal hormones may not be comparable to initial          nesses. Untreated transgender youth may differ in their




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    intensity or experience of GD, level of parent support        lescent neurodevelopment. Thus, the experts could
    (e.g., are the parents against GnRHa treatment?), and         comment with authority on neurodevelopment, in-
    socioeconomic status of the family and access to treat-       cluding gender development/dysphoria aspects of
    ment (e.g., insurance coverage). A cisgender compari-         study design, but the real-world clinical care consider-
    son group would lack gender-minority experience               ations may well be underdeveloped in the proposed
    and associated stress.                                        research design. For example, the everyday lived expe-
       Some statements approached, but did not reach con-         rience of transgender youth seeking gender-affirming
    sensus. For example, many experts suggested continu-          medical care would be unfamiliar to most neurodeve-
    ing assessments of transgender youth through young            lopmental researchers. After the Delphi procedure
    adulthood (mid-20s) when prefrontal development               was completed, one panelist commented that pubertal
    is near completion. Assessing adaptive functioning            hormones might play arole in organizing neurodeve-
    (everyday skills) over time due to the bidirectional          lopmental gender-related trajectories, including
    link between executive functioning and adaptive be-           identity itself, which would be important to consider
    haviors was also often endorsed.                              for adevelopmental study of gender diverse youth.
       Not all relevant study considerations were raised by          Despite these limitations, an international expert
    the Delphi panel. Neurodevelopmental impacts of               team successfully completed an iterative Delphi proce-
    pubertal suppression in transgender youth with neuro-         dure achieving consensus around priority research de-
    developmental differences/diagnoses (e.g., attention          sign elements to study neurodevelopmental impacts
    deficit/hyperactivity disorder and autism spectrum dis-       of pubertal suppression in transgender youth. The
    order) were not specifically addressed by the experts.        resulting consensus parameter addresses broad design
    Yet, evidence suggests an overoccurrence of neurodi-          issues, including comparison groups, longitudinal de-
    versity characteristics (especially related to autism)        sign, neurodevelopmental targets for assessment, and
    among gender-referred youth. 55 '   6366 The neurodeve-       measurement approaches. While it may not be possible
    lopmental impacts of pubertal suppression on neurodi-         to incorporate all consensus methodologies into asin-
    verse gender-diverse youth might well be different            gle study, this parameter may serve as aroadmap for
    than in neurotypical gender-diverse youth, given vari-        a range of research initiatives investigating pubertal
    ations in neurodevelopmental trajectories observed            suppression treatment in transgender youth.
    across neurodevelopmental conditions. 67-69
       This study included experts from arange of relevant        Acknowledgments
    disciplines—a strength and also apossible limitation.         The advisory board was led by pediatric endocrinol-
    The varied disciplines allowed for abroader range of          ogist, Stephen Rosenthal, MD, and also included
    ideas and perspectives, but some specialized recom-           pediatric neuropsychologist, Gerard Gioia, PhD; gender-
    mendations might not have been sufficiently under-            specialized neuroscientist, Lise Eliot, PhD; gender-
    stood by Delphi experts from other disciplines. It is         specialized geneticist, Eric Vilain, MD, PhD; and
    possible that some useful recommendations were lost           developmental neuroscientist, Gregory E. Wallace,
    in the process because few experts had backgrounds            PhD. We would also like to recognize the contribu-
    relevant to them. In fact, four recommendations were          tions of Arthur P. Arnold, PhD, and Nicholas Allen,
    dropped from consideration because more than nine             PhD, as experts on the Delphi panel.
    experts indicated they could not rate the item or skip-
    ped the item. These four items included topics related        Author Disclosure Statement
    to advanced growth curve modeling, impact of GnRHa            No competing financial interests exist.
    on immune system functioning multifactorial relation-
    ships between GD and neurodevelopment, and challenges         Funding Information
    associated with using alternative forms of measures in lon-   This work was supported by agrant from the Ann &
    gitudinal designs. The Delphi team included experts across    Robert H. Lurie Children's Hospital of Chicago Foun-
    the fields of neuroscience, neurodevelopment, develop-        dation funded by agrateful family that has chosen to
    mental measurement, and gender development; however,          remain anonymous. Study sponsors had no role in
    most were not specialized in clinical transgender care        (1) study design, (2) collection, analysis, and inter-
    per se. This reflects the dearth of transgender care cli-     pretation of data, (3) writing of the report, or (4) the
    nicians/specialists with research productivity in ado-        decision to submit the article for publication.




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   WHITE PAPER                                                                                                                                     Open Access


   Gender Dysphoria in Adults:                                                                                                                   EXHIBIT           •f
   An Overview and Primer for Psychiatrists                                                                                                      WIT:

                                                                                                                                                 DATE:
   William Byne,12* Dan H. Karasic, 3 Eli Coleman ,
                                                  4 A. Evan Eyler,5 Jeremy D. Kidd, 6                                                            CARLA SOARES, CSR
   Heino F.L. Meyer-Bahlburg, 7 Richard R. Pleak,8 and Jack Pula 9


           Abstract
           Regardless of their area of specialization, adult psychiatrists are likely to encounter gender-variant patients; how-
           ever, medical school curricula and psychiatric residency training programs devote little attention to their care.
           This article aims to assist adult psychiatrists who are not gender specialists in the delivery of respectful, clinically
           competent, and culturally attuned care to gender-variant patients, including those who identify as transgender
           or transsexual or meet criteria for the diagnosis of Gender Dysphoria (GD) as defined by The Diagnostic and Stat-
           istical Manual of Mental Disorders (5th edition). The article will also be helpful for other mental health profession-
           als. The following areas are addressed: evolution of diagnostic nosology, epidemiology, gender development,
           and mental health assessment, differential diagnosis, treatment, and referral for gender-affirming somatic treat-
           ments of adults with GD.

           Keywords: assessment; gender dysphoria; gender transition; mental health; psychiatry; intersex; transgender



   Introduction                                                                             history in this area and many are likely to have encoun-
   Individuals who would likely be considered transgen-                                     tered providers who adhere to outdated stigmatizing the-
   der today are evident throughout the historical record.'                                 ories and approaches to treatment. 3 Today's mental
   The historical and sociocultural conceptualizations of                                   health professionals should, therefore, be familiar with
   gender variance, and their evolution within mental                                       the history in this area as it is not unusual for gender-
   health professions over the past century and a half                                      variant patients to have apprehensions about seeking
   are reviewed elsewhere. 2                                                                mental healthcare or to raise questions about their
      Nineteenth and 20th century theories of gender vari-                                  providers' views and approach to treatment consid-
   ance and views of appropriate treatment were pathologiz-                                 ering that history.
   ing and highly stigmatizing to transgender people. 2 While                                  Between 1963 and 1979, over 20 university-based
   mainstream psychiatry is now more affirming of gender                                    gender identity clinics opened in the United States. 2'
                                                                                                                                                  4

   variance, transgender individuals often are aware of the                                 These clinics provided interdisciplinary care that

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   Meeting of the APA, May 16,2015, Toronto, Canada, and Course 4196 by the same name given at the 169th Annual Meeting of the APA, May 24,2016, Atlanta, GA.

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      included psychiatrists and other mental health profes-                         network of medical and mental health providers, often af-
      sionals and played an important role in the provision of                       filiated with the Harry Benjamin International Gender
      medical services to transgender people and in promot-                          Dysphoria Association (HBIGDA), which was subse-
      ing research to improve their care. 2'4 The majority of                        quently renamed the World Professional Association
      these clinics closed following a 1981 decision of the                          for Transgender Health (WPATH). HBIGDA/WPATH
      U.S. Department of Health and Human Services (HHS)                             developed and successively revised standards of care
      that labeled sex reassignment surgery as experimental, -5                      (SOC) for gender transition, which are currently in
      adecision what was overturned by HHS in 2014 in a                              their seventh revision as the WPATH SOC7. 7 In the
      determination that concluded that the 1981 decision                            WPATH SOC7, mental health professionals are tasked
      was "unreasonable and contrary to contemporary sci-                            with determining whether those interested in gender-
      ence and medical standards of care." 6                                         affirming treatments meet eligibility criteria, have capacity
         With the closure of the academic gender clinics, trans-                     for informed consent, and have adequately anticipated
      gender people in the United States came to rely on aloose                      the psychosocial impacts of their transition.

      Table 1. Glossary

      Assigned gender: the initial gender attributed to an individual after birth; for most individuals, this corresponds to the sex on their original birth
         certificate, aka assigned gender, birth sex."
      Cisgender: aterm for individuals whose experienced and expressed gender are congruent with their gender assigned at birth, that is, those who are
         not transgender.
      Experienced gender: one's sense of belonging or not belonging to aparticular gender, aka gender identity.
      Expressed gender: how one expresses one's experienced gender.
      Gender: aperson's social status as male (boy/man) or female (girl/woman), or alternative category."
      Gender-affirming surgery: surgical procedures intended to alter aperson's body to affirm their experienced gender identity, aka sex
         reassignment surgery, gender reassignment surgery, and gender-confirming surgery.
      Gender assignment: assignment of agender to an individual. In typically developed newborns, the initial gender assignment (aka "birth-assigned
         gender") is usually made on the basis of the appearance of the external genitalia.
      Gender binary: agender-categorization system limited to the two options, male and female. Individuals who identify outside the gender binary may
         use avariety of gender identity labels, including genderqueer or nonbinary.
      Gender dysphoria (not capitalized): distress caused by the discrepancy between one's experienced/expressed gender and one's assigned gender
         and/or primary or secondary sex characteristics.
      Gender Dysphoria (GD) (capitalized): adiagnostic category in DSM-5, with specific diagnoses defined by age group-specific sets of criteria. This
         article addresses only GD in adults.
      Gender identity: one's identity as belonging or not belonging to aparticular gender, whether male, female, or anonbinary alternative, aka
         experienced gender.
      Gender Identity Disorder (GID) adiagnostic category in DSM-Ill and DSM-IV that was replaced in DSM-5 by GD.
      Gender incongruence (not capitalized): incongruence between experienced/expressed gender and assigned gender, and/or psychical gender
         characteristics.
      Gender Incongruence (capitalized): adiagnostic category (analogous to GD in DSM-5) proposed for lCD-i 1.
      Gender role: cultural/societal definition of the roles of males and females (or of alternative genders).
      Gender transition: the process through which individuals alter their gender expression and/or sex characteristics to align with their sense of gender
         identity.
      Gender variance: any variation of experienced or expressed gender from socially ascribed norms within the gender binary.
      Gendered behavior: behavior in which males and females differ on average.
      Genderqueer: an identity label used by some individuals whose experienced and/or expressed gender does/do not conform to the male/female
         binary or who reject the gender binary.
      Intersex conditions: asubset of the somatic conditions known as "disorders of sex development" or 'differences of sex development 'in which
         chromosomal sex is inconsistent with genital sex, or in which the genital or gonadal sex is not classifiable as either male or female. Some individuals
         who report their identity as "intersex" do not have averifiable intersex condition.
      Sex: aperson's categorization as biologically male or female, usually on the basis of the genitals and reproductive tract."
      Sex assigned at birth: the sex or gender first assigned to an individual after birth. Also known as "natal gender," "birth-assigned sex," and "gender
         assigned at birth." Often queried as "What sex was listed on your original birth certificate?"
      Sexual orientation: aperson's pattern of sexual attraction and physiological arousal to others of the same, other, both, or neither sex. Sexual
         orientation cannot be inferred from one's gender identity. As ashow of respect, we recommend that the sexual orientation of transgender
         individuals be expressed in relation to their gender identity rather than their gender assigned at birth; however, all gender scholars do not follow
        that convention. Ambiguity in charting can be avoided by using terms such as sexually attracted to men, women, both, or neither.
      ""Transgender: an umbrella term usually referring to persons whose experienced or expressed gender does not conform to normative social
         expectations based on the gender they were assigned at birth.
      "Transsexual: aterm often reserved for the subset of transgender individuals who desire to modify, or have modified, their bodies through
         hormones or surgery to be more congruent with their experienced gender.

         "On official documents such as birth certificates, driver's licenses, and passports, the traditional category "sex" is equivalent to "gender" in current
      psychological terminology.
         ""Trans" (also "Trans"") More recent umbrella terms being increasingly used to avoid distinguishing between transgender and transsexual individuals.
         DSM, Diagnostic and Statistical Manual of Mental Disorders; GD, Gender Dysphoria; GID, Gender Identity Disorder; lCD, International Classifi-
      cation of Diseases.




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      The WPATH Soc also provide clinical guidance for             disruptive behavior disorder, eating disorders, and tic dis-
   health professionals to assist transgender people in            orders. Under this parent category, DSM-IIIR added a
   their search for psychological well-being in their gen-         new diagnosis, Gender Identity Disorder of Adolescence
   dered selves. In the absence of other comprehensive             and Adulthood Nontranssexual Type (GIDAANT).
   English language guidelines, U.S. providers and their           These changes recognized that gender identity disorder
   professional associations came to rely heavily on the           (GID) often begins in childhood, may or may not per-
   HBIDGA/WPATH SOC. 8 '       ° Similarly, insurance car-         sist into adolescence and adulthood, and when it does
   riers and tax courts employ WPATH soc criteria in               persist, it may not entail adesire for the primary or sec-
   evaluating the medical necessity of transition treatments       ondary sexual characteristics of the other sex.
   for determination of reimbursable and tax-deductible               With DSM-W, the diagnoses of Transsexualism and
   medical expenses.' 1-14                                         GIDAANT were discontinued, but GIDC and GIDAA
      With transition services offered outside of university-      were retained and placed under anew parent category,
   based clinics, U.S. medical schools and residency training      Sexual and Gender Identity Disorders, a category that
   programs offered little exposure to the provision of tran-      also included the unrelated sexual dysfunctions and para-
   sition services, leaving psychiatrists and other physicians     phiias. 24 Individuals with somatic intersex conditions,
   poorly prepared for the growth in demand for these ser-         who experienced dysphoria attributable to dissatisfaction
   vices seen in recent years.' 5 This article aims to assist      with their gender assigned at birth, could be diagnosed
   adult psychiatrists and other mental health professionals       with Gender Identity Disorder Not Otherwise Specified.
   who are not gender specialists in the care of these indi-          Retention of the diagnosis by the DSM and its new
   viduals. Detailed information on the assessment and             name, including the word "disorder," was perceived by
   treatment of gender dysphoria in children and adoles-           many as stigmatizing and contributing to societal dis-
   cents can be found elsewhere. 16-19                             crimination against transgender individuals.25 By analogy
      A glossary of transgender-related terms is found in          to homosexuality, much of the distress and functional im-
   Table 1. Providers should be respectful of their patients'      pairment associated with being transgender, and required
   identity labels; however, due to the rapid evolution of         for the diagnosis of GID, could derive from social stigma-
   gender terminology, they may need to clarify how both           tization rather than from being transgender, per se. On
   their patients and colleagues employ particular terms.          the other hand, removal of acoded diagnosis for medical
                                                                   classification and billing purposes would limit access to
   Diagnostic and Statistical Manual of Mental                     transition care, deny the full impact of gender dysphoria,
   Disorders and Transgender-Related Nosology                      and prove harmful to transgender individuals. 2,26
   The first two editions of the Diagnostic and Statistical           Ultimately, the diagnosis was retained by DSM-5,27
   Manual of Mental Disorders (DSM) published in                   but its name was changed to Gender Dysphoria (GD),
   1952 and 1968, respectively, did not include any gender         simultaneously removing the stigmatizing "disorder"
   diagnosis. 2° The diagnosis, "Transsexualism" (sic), first      from its name and shifting the focus to dysphoria as
   appeared in 1975 in the ninth revision of the International     the target symptom for intervention and treatment,
   Classification of Diseases (IcD)-92'and subsequently, in        rather than gender identity itself. 27 '
                                                                                                          28 GD was also

   the DSM-III in 1980 under the parent category, Sexual           moved out of the parent category that included sexual
   Deviations. 22 The defining characteristics of this diagnosis   dysfunctions and paraphilias, with which it has nothing
   were as follows: (1) discomfort about one's assigned sex;       in common, and into a separate parent category, also
   (2) "cross-dressing," in reality or fantasy, as the other       named Gender Dysphoria.
   sex, but not for the purpose of sexual excitement; and             Use of the diagnostic label, GD, requires that aperson
   (3) the desire to get rid of one's primary and secondary        meets the full criteria specified in DSM-5. This is distinctly
   sex characteristics and to acquire those of the other sex.      different from the historical generic use of the term, gender
   DSM-III also included "Gender Identity Disorder of              dysphoria, which refers to the distress caused by adiscrep-
   Childhood" (GIDC).                                              ancy between one's experienced gender and assigned gen-
     Both transsexualism and GIDC were carried over into           der, whether or not frill DSM criteria for GD are met. For
   DSM-IIIR, but were no longer categorized as sexual devi-        clarity here, references to the diagnosis will be capitalized
   ations. Instead, they were placed within the parent cate-       or abbreviated (i.e., Gender Dysphoria or GD) while
   gory, Disorders Usiilly First Evident in Infancy,               references to the symptom will not be capitalized or abbre-
   Childhood, or Adolescence. 23 This category also included       viated (i.e., gender dysphoria).




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         The DSM is amanual on mental disorders and, there-           gender specialty clinics,25 and, therefore, do not reflect
      fore, despite the name change, GD retains its classifi-         the prevalence of all individuals with gender dysphoria
      cation as amental disorder. In contrast, the lCD is not         or who identify as transgender.
      limited to only mental disorders. In its forthcom-                 The prevalence of transgender people receiving gen-
      ing eleventh iteration, lCD-i 1, the diagnosis of Gender        der specialty care in the Netherlands has been esti-
      Incongruence (GI) (corresponding to GD in DSM-5 ter-            mated at 0.008% for transgender women and 0.003%
      minology) will most likely be moved out of the section on       for transgender men. 32 More recent data for those
      mental disorders. Instead, it has been proposed to place it     obtaining surgery in Belgium were similar. 33 In Swe-
      in a separate section tentatively named Conditions              den, point prevalence in 2010 was estimated to be
      Related to Sexual Health or Sexual and Gender Health.29         0.013% for transgender women and 0.008% for trans-
      Placing GI in this section will declassify it as amental        gender men. 34 A higher percentage, 0.023%, received a
      disorder, while maintaining adiagnosis that will facili-        diagnosis of GID recorded in the health records of the
      tate access to care through third party reimbursement,          U.S. Veteran's Administration. 35
      and could eventually lead to American Psychiatric Asso-            Other studies, rather than measuring the propor-
      ciation (APA) removing GD from the DSM.                         tion of apopulation that received aclinical diagnosis,
         Importantly, the GD diagnosis does not apply auto-           have reported on those who self-identified as trans-
      matically to people who identify as transgender but is          gender or gender incongruent, and found that mea-
      given only to those who either exhibit clinically signif-       suring self-identity yields much higher numbers. In
      icant distress or impairment associated with aperceived         2016, data from the Center for Disease Control's
      incongruence between their experienced/expressed gen-           Behavioral Risk Factor Surveillance System suggested
      der and their assigned gender or who, after transition,         that 0.6% of U.S. adults identify as transgender, double
      no longer meet full criteria, but require ongoing care          the estimate utilizing data from the previous decade. 36
      (e.g., hormonal replacement therapy). In DSM-5, this lat-          In a large Massachusetts population-based phone
      ter group is given a"post-transition" specifier.                survey, 0.5% of the population (age 18-64 years) identi-
         Unlike previous versions of the DSM, in DSM-5,               fied as transgender. 37 In another large population-based
      gender-dysphoric individuals with somatic intersex              survey in the Netherlands, 1.1% of those assigned male
      conditions, who were previously excluded from the di-           at birth (age 15-70 years) reported an incongruent
      agnosis, can now receive the diagnosis with aspecifier          gender identity (stronger identification with agender
      to indicate the presence of the intersex condition.             other than the one assigned at birth), as did 0.8% of
      DSM-5 is also the first DSM to recognize the legiti-            those assigned female at birth. 38
      macy of gender identities outside the gender binary                Recent surveys of youth showed even higher numbers.
      such that individuals with GD are no longer described           In New Zealand, 1.2% of high school students surveyed
      as identifying simply as "the other gender," but as "the        identified as transgender. 39 In asurvey of San Francisco
      other gender (or some alternative gender different              middle school students (grades 6-8), 1.3% identified as
      from one's assigned gender)." Examples of alternative           transgender.'° More study is needed, but these larger
      genders include eunuch, genderqueer, and nonbinary.             numbers indicate that many transgender people have
                                                                      not been counted in clinical studies, including those
      Epidemiology                                                    with nonbinary identities, those not seeking transition
      Epidemiological research has employed different mea-            care, those receiving hormones outside of clinics special-
      sures of transgender populations, resulting in varying es-      izing in transgender care or by self-administration, and
      timates of prevalence. 30,31 Some studies assessed the          others who identify as transgender when surveyed, but
      fraction of apopulation, which had received the DSM-            do not report gender dysphoria to clinicians.
      IV diagnosis of GID or the lCD 10 diagnosis of transsex-
      ualism, both of which were limited to clinical populations      Gender Development
      who sought binary transition (male-to-female or female-         Biological considerations
      to-male). For example, the prevalences reported in DSM-         Animal research has established that sex differences in
      5(0.005-0.014% for birth-assigned males; 0.002-0.003%           the phenotype of both body and brain as well as behav-
      for birth-assigned females) are based on people who             iors are the result of multiple, sex-biasing factors. These
      received a diagnosis of GID or transsexualism, and              include hormonal, sex-chromosomal, 4' genetic, and
      were seeking hormone treatment and surgery from                 epigenetic contributions. 42 The sensitivity of brain




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   tissues to organizational effects of sex hormones ap-            Much of what is known about the role of early hormonal
   pears to be particularly high at prenatal/perinatal stages     exposure on the development of gender identity in humans
   of development and gradually declines toward young             derives from studies of gender outcomes in individuals
   adulthood. 43 The timing of hormonal secretions in the         with somatic intersex conditions. Early guidelines for ini-
   course of development, however, gives the impression           tial gender assignment for such infants relied heavily on
   of three discrete sensitive periods: (1) pre/perinatal; (2)    the surgical potential to achieve concordance between
   pubertal44;and (3) for females, the first pregnancy.45         the gender assigned and the appearance and functional
      In humans, statistical sex differences in brain struc-      potential of the external genitalia, in particular, the capac-
   ture are well documented, 46 and findings of sensitive         ity of penile-vaginal intercourse.9 Current guidelines,
   periods for sexual differentiation of the brain appear         however, emphasize what is known about the long-
   to parallel those seen in other mammals. 47,48 The ev-         term gender outcomes of individuals with intersex
   idence for brain/behavior effects of prenatal andro-           conditions on asyndrome by syndrome basis. 52
   genization is particularly strong, 495 ' much of                  Overall, these data suggest that regardless of genetic
   which derives from studies of individuals with so-             constitution, or gonadal or genital development at
   matic intersex conditions and varying degrees of               birth, individuals prenatally exposed to afull comple-
   functional androgen exposure. 51 -53                           ment of masculinizing hormonal influences (i.e., an-
      Androgenization of the brain depends not only upon          drogen exposure and the cellular mechanisms for
   the level of androgen to which afetus is exposed but also      responding fully to androgens as described above)
   upon numerous other factors, including the presence of         have an increased likelihood of GD when assigned
   enzymes to convert androgens to the specific metabolites       female. 51,52 Conversely, most reported 46,XY indi-
   required by particular brain cells, their steroid receptors,   viduals with complete androgen insensitivity syn-
   and their postreceptor mechanisms that are involved in         drome (and hence no functional androgenization of
   the full response to androgens. Receptor structure,            the brain) have developed afemale gender identity, de-
   which can influence sensitivity, is genetically deter-         spite having aY chromosome as well as normally de-
   mined, while the activity of genes for receptors and post-     veloped and functioning testes. 51,52 To date, however,
   receptor mediators is subject to epigenetic modulation. 54     no brain marker of sexual differentiation has been val-
      As the period of genital differentiation largely pre-       idated to guide the initial gender assignment of infants
   cedes the sexual differentiation of the brain '55 it is con-   with intersex conditions.
   ceivable that GD in individuals without somatic intersex
   conditions could reflect abrain-limited intersex condi-        Psychosocial factors influencing gender expression
   tion (i.e., alack of concordance between the sexually dif-     In mammals, and particularly in humans, psychological
   ferentiated state of the brain and body). That hypothesis      and social factors have amajor additional influence on be-
   has been tested in avariety of ways, including searching       havioral outcome. 65 In humans, these psychosocial pro-
   for features of the brain in individuals with GD that          cesses include verbal labeling (e.g., "boy" and "girl") and
   more closely match their experienced gender than their         nonverbal gender-cuing (e.g., gender-specific clothing
   birth-assigned gender. 56 Investigations in this regard        and haircuts) of children by parents and others in their
   have included postmortem morphometric and stereo-              social environment, as well as the shaping of children's
   logical studies, 57 as well as in vivo morphometric, 58        gendered behavior by positive and negative reinforcement
   functional magnetic resonance imaging, 59 and diffu-           and later by explicit statements of gender-role expecta-
   sion tensor imaging studies of the brain, 60 -62 and ex-       tions. Related processes in developing children include
   amination of otoacoustic emissions. 63                         gender-selective observational learning/imitation, the
      As reviewed elsewhere,53 '' while some positive find64      formation of gender stereotypes and of related self-
   ings in the predicted direction have been reported, 56 '       concepts, and self-socialization. The effects on gender
   inferences are currently limited. This is because few          development have been documented in avast body of
   findings have been replicated and few studies have ade-        research in developmental psychology. 65
   quately controlled for potentially confounding variables         The impact of such psychosocial factors, however, is
   such as age, sexual orientation, transition status (includ-    not determinative. This is evidenced by individuals in
   ing history of gender-affirming hormonal treatment, if         whom gender identity is discordant with the initial
   any), and hormonal status at the time of study (or of          gender assignment and gender of rearing, for example,
   death in the case of postmortem studies). 53                   transgender individuals and a higher than expected




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      proportion of individuals with particular intersex con-      childhood into adolescence are likely to experience an
      ditions (i.e., 46,XY individuals with high degrees of so-    exacerbation of dysphoria with the emergence of (or
      matic hypomasculinization and 46,XX individuals with         with the anticipation of) undesired secondary sexual
      high degrees of somatic hypermasculinization 66'  67 ).      characteristics at puberty, in which case pubertal sus-
                                                                   pension should be considered.' °
      Factors in gender-identity development                          Regardless of their initial sexual orientation, during
      Systematic data on gender identity development are and after transitioning to express their experienced
      much more limited than those on gendered behavior. gender, some individuals retain their pretransition sex-
      Yet, the data available, especially for those with intersex ual attraction patterns, while others change. 7 In some
      conditions, lead to the conclusion that, while early transgender women, the desire to transition gender
      androgenization plays arole, adefinitive biological pre- is preceded by fantasizing themselves as women, some-
      determination of gender identity seems unlikely. Not a times with sexual arousal. 78 This phenomenon has
      single biological factor, but multiple factors (i.e., bio- been controversially interpreted by some as fetishism. 79
      logical, psychological, and social) appear to influence Importantly, neither ahistory of fetishistic arousal nor
      the development of gender identity. 5°                       one's sexual orientation precludes one from meeting
         The need to transition gender is even less understood in the criteria for the diagnosis of GD 27 or eligibility for
      individuals without, compared to those with, intersex con- gender transition services. 7,80
      dlitions. 68 Along with the dramatically increased referrals
      of gender-variant individuals to specialized clinics in Mental Health Assessment and Treatment
      Western Europe and North America over the last two de- This section addresses the assessment and treatment of
      cades, 69' 70 there has been a diversification of presenta-  adults with gender identity or expression concerns in the
      tions beyond the original "transsexual" who sought absence of an intersex condition. GD in individuals with
      (or was perceived by providers to seek) change to intersex conditions is addressed in the Appendix. Treat-
      the "other" gender through treatment with gender- ment of GD in prepubescent children, where there is
      affirming hormones and genital surgeries. Currently, currently less consensus, 8'is addressed elsewhere as
      many transgender people seek chest, but not genital is treatment of adolescents, including selection of can-
      surgery, or only gender-affirming hormones, or only didates for pubertal suspension. 81,82 The primary roles
      a social transition without any medical changes.                of the mental health professional in assessing and treating
      Others may simply desire flexibility in gender expres-          patients with GD are based on expert consensus,' ,'  ,°' 2°

      sion without transition to "the other gender," identi-          summarized in Table 2and described more fully below
      fying, for example, as nonbinary or genderqueer. 71 '      72   in the broader context of gender variance.
         Prospective follow-up studies of children, who before           Expert consensus regarding the treatment of adults has
      puberty had met criteria for the DSM-IV diagnosis of            been arrived at after many years of clinical experience.
      GID, showed that the majority of those diagnosed with           Attempts to engage individuals in psychotherapy to
      GID in early or early middle childhood "desisted," mean-
      ing that they subsequently identified as their birth-assigned
                                                                      Table 2. Roles of the Psychiatrist
      gender and did not meet criteria for GID. As adults, many
      identified as lesbian, gay, or bisexual. 7375 Some "desist      Assess and diagnose gender concerns according to current DSM criteria
                                                                        and see that they are addressed.
      ers," however, subsequently transitioned later in life.73       Assess and diagnose any coexisting psychopathology and see that it is
         The data available do not allow aclear prediction be-          addressed.
                                                                      Assess eligibility for hormonal and/or surgical treatments, or refer to
      fore puberty of which child will persist and transition           professionals capable of making such assessments.
      permanently, and which child will not. 75 With the in-          Assess capacity to give informed consent for hormonal and surgical
                                                                        treatments.
      troduction of stricter criteria for the diagnostic cate-        Ensure that eligible individuals are aware of the full range of treatment
      gory of Gender Dysphoria in DSM-5, the persistence                options and their physical, psychological, and social implications,
                                                                        including risks, benefits, and impact on sexual functioning and
      rate likely will be higher, 73 but this needs to be tested
                                                                        reproductive potential.
      by future long-term follow-up studies. For example,             Ensure adequate psychological and social preparation for transition
      the degree of gender nonconformity and whether a                  treatments.
                                                                      Refer patients for hormonal or surgical treatments, collaborating with
      child believes they are, as opposed to wishes to be,              providers as needed.
      "the other" gender have been proposed as predictors             Ensure continuity of mental healthcare as indicated throughout
                                                                        transition and beyond.
      of persistence. 76,77 Those in whom GD persists from




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   change their gender identity or expression are currently       ities, the transgender population also exhibits marked
   not considered fruitful by the mental health professionals     general health disparities. 90 Few of these disparities
   with the most experience working in this area7,9,83 and        are linked to sexually transmitted infections or hor-
   legal bans of therapies aimed at changing sexual orienta-      monal or surgical transition treatments,7.      but are
   tion have recently been extended to therapies aimed at         instead linked to financial barriers to care as well as
   changing gender identity or expression in anumber of           avoidance of healthcare due to experienced and/or an-
   U.S. states and Canadian provinces. 84,85 Currently, psy-      ticipated stigma and discrimination in healthcare set-
   chotherapeutic involvement with adults with GD is              tings, and the widespread belief among transgender
   primarily used to assist in clarifying their desire for,       individuals that medical professionals are poorly trained
   and commitment to, changes in gender expression                to meet their needs, 3 abelief that appears to be well-
   and/or somatic treatments to minimize discordance              founded. 15 Extensive guidance on overcoming these bar-
   with their experienced gender, and to ensure that              riers to care, including creating awelcoming clinical
   they are aware of and have considered alternatives. 7          environment, can be found elsewhere. 91
      Gender questioning, gender-variant, and transgender
   adults present to mental health services for avariety of       Assessment of gender concerns
   reasons. Some presentations may relate explicitly to gen-      Treatment should be patient centered and tailored to
   der. For example, patients may wish to explore their gen-      the needs and individuality of each patient. Patients
   der identity, consider transition options and concerns         should be asked what names and pronouns they use
   (e.g., coming out to family or coworkers), or request eval-    and should be addressed by those names and pronouns
   uation for hormonal or surgical treatments. The latter         regardless of their stage of transition. Those who trail-
   may include requests for referrals for such treatments, in-    sitioned many years ago and are seeking treatment for
   cluding requests for mental health referral letters as spec-   another problem typically need much less focus on
   ified by the WPATH SOC7 or required by their providers         gender history than those who are questioning their
   of transition treatments and/or insurance carriers. 7,1 1-13   gender identity, just beginning gender transition, or ex-
      According to WPATH 5007, as an alternative to an        ploring options for gender expression. When gender
   evaluation by a mental health professional, primary        is not the primary concern, devoting the appropriate
   care providers who are competent in the assessment amount of attention to gender-related issues is impor-
   of GD may evaluate patients for hormone therapy, par- tant, balancing against an overemphasis on gender that
   ticularly in the absence of significant coexisting mental can feel inadvertently stigmatizing to the patient or dis-
   health concerns and when working in the context of a tract from adequate focus on the chief complaint.
   multidisciplinary specialty team. 7                           While it is important to avoid the assumption that
      Patients may also seek couples or family therapy be- coexisting psychiatric symptoms are due to gender vari-
   fore, during, or after transition to address the impact of ance, the impact of past and present gender-related
   the transition on interpersonal or family dynamics. stigma should be considered in the biopsychosocial eval-
   Alternatively, many transgender patients seek or are re- uation. This is particularly important in light of the stress-
   ferred to psychiatric services for reasons that are either diathesis model of psychiatric illness and its exacerba-
   unrelated to gender identity or expression (e.g., man- tions.8'   92 Suicidality should always be assessed, as should

   agement of primary psychiatric illnesses), or only par- protective factors such as social and family supports. 93
   tially related (e.g., sequela of childhood trauma as a Suicidal ideation 3,94 and completed suicide9° are dramat-
   result of minority stress due to gender nonconformity). ically increased in this population and GD may be arisk
     A careful evaluation for ahistory and psychological          factor for suicidality, independent of other psychiatric
   sequela of gender-related stigma and abuse, from child-        conditions. 94'95 Up to 47% of transgender adults have

   hood on, is crucial given the high rates of violence and       considered or attempted suicide. 93 Assessment of suicide
   bullying experienced by gender-variant individuals, as         risk is especially important during periods of heightened
   well as the high rates of discrimination, unemploy-            vulnerability, such as when transgender identity is dis-
   ment, homelessness, sex work, and HIV infection. 3.86          closed to family and more broadly. 9,83
   High rates of depressive, anxiety, and substance use              The gender assessment should include the age and cir-
   disorders, as well as suicidal ideation and completed          cumstances when the patient first became aware of asense
   suicide have been linked to such gender minority               of difference from peers of the same sex assigned at birth as
   stress. 8789 In addition to these mental health dispar-        well as experiences of negative affect or self-perception




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      Byne, etal.; Transgender Health 2018, 3.1                                                                                               64
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      related to that sense of difference. 8,20 Any history of pen-    Before masculinizing or feminizing genital reconstruc-
      pubertal and/or pubertal distress due to the anticipation        tive surgeries, the WPATH SOC7 also recommend 12
      and/or emergence of unwanted secondary sex character-            continuous months of living in a gender role that is
      istics should also be explored, as should past experiences       congruent with the patient's gender identity. 7
      of gender-related stigmatization, discrimination, harass-
      ment, and violence.8' 2°                                         Diagnosis of gender dysphoria. The DSM-5 diagnostic
         The patient's history of coping mechanisms and sup-           criteria for GD in adolescents and adults are shown in
      port systems should also be examined .8,20 Gender ex-            Table 3. Diagnosing GD in adults by these criteria is mu-
      pression (e.g., pronoun use, name changes, manner of             ally straightforward, especially for those with overt mani-
      dress, and bodily modifications) over time should be             festations in childhood, exacerbation of distress with
      explored as well as what has and has not been helpful            pubertal changes, and persistence into adulthood in the
      in improving the sense of well-being. It is important            absence of significant coexisting mental health concerns. 8'
                                                                                                                                  9

      to clarify each patient's goals and plans for social                Assessment of patients who are seeking transition ser-
      and/or medical transition, degree of commitment,                 vices, but do not clearly meet criteria for GD, may require
      and expectations. 7,96 For those who do not wish to              more time and exploratory therap (e.g., apatient desiring
      transition, assessing current psychosocial challenges            hormonal or surgical treatment to transition to another
      and formulating with the patient how to best address             gender, who does not clearly experience incongruence be-
      them (e.g., psychotherapy, group therapy, and social             tween their experienced gender and their gender assigned
      support) should not be neglected.                                at birth). The same is true for those with the onset of gen-
         Recommendations regarding psychiatric assessment of           der dysphoria in the context of apsychiatric disturbance
      individuals with GD have focused largely on assessment           (e.g., psychosis, dissociative disorder, and autism spectrum
      of eligibility for and decision-making capacity related to       disorder) or recent trauma9'   98 '
                                                                                                         99 ;
                                                                                                            those who are ambivalent
      medical and surgical gender transition services. 7,8, Eligi-     about their gender identity or desired sex characteristics;
      bility for both gender-affirming hormone therapy and             and those who exhibit marked exacerbations and re-
      surgeries requires persistent gender dysphoria, a docu-          missions of dysphoria over time.
      mented diagnosis of GD based on DSM-5 criteria, and                 The psychiatrist must assess whether some factor
      the capacity to give informed consent.7 In addition, any         other than GD accounts for the expressed desire to
      significant medical or psychiatric concerns must be suffi-       transition. If not, coexisting mental illness is not acon-
      ciently controlled so that they do not interfere with the        traindication to supporting transition if it is sufficiently
      patient's ability to safely adhere to the treatment regimen.     controlled to not interfere with the patient's capacity for
      The current standard of care in major clinics, the
      WPATH SOC7, and insurance requirements for reim-
                                                                       Table 3. Diagnostic Criteria for Gender Dysphoria
      bursement of services follow aflexible progression of
                                                                       in Adolescents and Adults
      transition steps, which may begin with completely re-
      versible steps (e.g., change of pronouns, name, and              A marked incongruence between an individual's experienced/expressed
                                                                         gender and assigned sex as evidenced by two of the below, which
      manner of dress), followed by partially reversible                 have been present after the onset of puberty for at least 6months:
      changes (e.g., gender-affirming hormones), and                   A marked incongruence between one's experienced/expressed gender
                                                                         and primary and/or secondary sex characteristics (or the anticipated
      then irreversible gender-affirming surgeries. 7"° '      4'
                                                                97
                                                                         secondary sex characteristics in young adolescents).
      There is flexibility in this process given that some people      A strong desire to be rid of one's primary and/or secondary sex
                                                                         characteristics because of amarked incongruence with one's
      do not pursue all of these interventions or may prefer to
                                                                         experienced/expressed gender (or adesire to prevent the
      do so in adifferent sequence. For example, transgender             development of the anticipated secondary sex characteristics in young
                                                                         adolescents).
      men may wish to undergo mastectomy or male breast
                                                                       A strong desire for the primary and/or secondary sex characteristics of
      construction before initiating masculinizing hormones. 7           another gender.
         Before gonadectomy, 12 months of continuous hor-              A strong desire to be of agender different from one's assigned gender.
                                                                       A strong desire to be treated as agender different from one's assigned
      mone therapy consistent with the patient's gender goals            gender.
      are recommended, unless hormones are clinically con-             A strong conviction that one has the typical feelings and reactions of a
                                                                         gender different from one's assigned gender.
      traindicated for the individual. The aim of hormone              The condition is associated with distress or impairment in social,
      therapy before gonadectomy is primarily to allow the               occupational, or other important areas of functioning that are clinically
                                                                         significant.
      individual to experience aperiod of gender-affirming
      hormones, before irreversible surgical intervention. 7             Adapted from DSM-5.27




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   decision-making or ability to safely adhere to the de-          Participation in transgender support groups, including
   mands of the desired treatment. 7,9,98                        peer-led groups, and other interactions with transgender
                                                                 individuals or the transgender community are often use-
   Differential diagnosis. Few conditions can be mis-            ful in clarifying the goals of those who experience ambiv-
   taken for GD. Simple nonconformity to gender roles            alence about transition. With patients who are otherwise
   can be differentiated from GD based on the degree of          eligible for transition treatments, but express ambivalence
   associated distress and whether or not the individual         about transition, the therapist should maintain astance of
   identifies as the sex assigned to them at birth. GD           neutrality, creating asafe therapeutic space in which the
   can be differentiated from body dysmorphic disorder           patient can weigh all options and arrive at adecision in
   (BDD), in which an individual may wish abody part             their own time. Many transgender adults need some com-
   to be removed or altered because it is viewed as de-          bination of hormonal treatment and/or surgical proce-
   formed. 27 In contrast, in GD alterations are sought          dures for relief of GD, but some experience relief with a
   for anatomical characteristics that are incongruent           change in gender expression without any medical treat-
   with one's gender identity. BDD and GD can, how-              ment. 7 Strengthening resilience factors identified in the
   ever, coexist and the presence of BDD is not an absolute      transgender population93 should be afocus, particularly,
   contraindication for gender-confirming surgery.27 Trans-      in patients with suicidal ideation.
   vestic disorder is characterized by significant distress         Although treatment with exogenous estrogen or tes-
   or impairment due to sexual arousal in the context of         tosterone carries arisk for medical side effects, 1° both
   cross-dressing fantasies, urges, or behavior. It may          have been associated with improvement with respect
   exist independently or co-occur with GD, 27 and is            to anxiety, mood, and mood stability, as well as overall
   not a contraindication to supporting transition in            satisfaction and quality of life for both transgender
   those who meet criteria for GD. 7                             women and transgender men. 101 '     °4 Similarly, review

      Gender-themed delusions have been reported to              of the available literature9 demonstrates the benefits of
   occur in up to 20% of those with psychotic disorders.' °°     surgery in alleviating GD and the rarity of postsurgical
   Such delusions can usually be easily differentiated from      regret. Emotional changes may occur with use of either
   GD by their content (i.e., if they do not entail the belief   androgen or estrogen supplementation, although these
   that one's gender differs from that assigned at birth),       are usually subtle.9 An increase in libido usually occurs
   as well as by their presence only during psychotic            with androgen use with female to male transition.' °
   phases of illness, and the absence of other DSM crite-        Although decreased libido due to antiandrogen and/or
   ria required for the diagnosis of GD. 98 Importantly,         estrogen treatment in individuals transitioning male to
   GD and psychotic disorders may coexist and patients           female is common,' ° some may experience astronger
   with both diagnoses can benefit from gender-affirmative       interest in sex, perhaps due to the affirming aspects of
   treatment and appropriate hormonal and/or surgical            attaining desired bodily changes.
   gender interventions. 98 Timely diagnosis of GD may              Safer sex information and instruction in self-protective
   be impeded when it is first overtly expressed in ado-         negotiation in sexual settings should be provided and tai-
   lescence or early adulthood coincident with, or               lored to the anatomy, needs, and experiences of transgender
   shortly following, the first psychotic episode. 98            persons. 9 Masculinizing hormones have been associated
                                                                 with apossible destabilization of psychotic and bipolar
   Mental health treatment                                       disorders, especially with supraphysiological blood lev-
   Statements in this section are based on the cited studies     els of testosterone' in both cisgender and transgender
   supplemented by the authors' cumulative clinical expe-        men. 105 - 106 The likelihood of such episodes can, there-
   rience treating patients with GD. Psychotherapy can be        fore, be minimized by careful dosing and monitoring.
   useful for patients with GD; however, many success-              Detailed information on specific gender-affirming
   fully transition or decide against transition with little     surgical procedures can be found elsewhere.7,107 Psy-
   or no psychotherapy. Psychotherapy may be helpful             chiatrists should collaborate with other providers (e.g.,
   at different times and for different reasons across the       endocrinologists, surgeons, psychotherapists, primary
   lifespan. 7 Many transgender people seek mental health        care providers, social workers, and other mental health
   treatment on an intermittent basis, while contemplat-         professionals) to ensure that patients have the knowl-
   ing gender transition, at key points in the transition pro-   edge required to adequately evaluate the benefits, risks,
   cess, or post-transition if symptoms recur or worsen.         and limitations of desired treatments and their




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      alternatives. This is necessary not only for informed           large online survey, the National Transgender Discrimi-
      consent but also to ensure adequate preparation for             nation S          found that rejection, discrimination, vic-
      surgery and postsurgical needs (e.g., convalescent pe-          timization, and violence against transgender people occur
      riod, period of sexual abstinence, and vaginal dilata-          in amultitude of settings and negatively affect transgen-
      tion in the case of vaginoplasty).                              der people across the life span. Transgender youth are
         Helping the patient anticipate and prepare for psy-          often harassed and assaulted in schools, which is associ-
      chosocial impacts of treatment (e.g., impact on social          ated with dropping out and subsequent impoverishment
      relationships and employment) is also essential. Impor-         Many transgender people are harassed at work or lose
      tantly, transition treatments target GD, not coexisting         jobs due to their gender identity and expression. Discrim-
      psychiatric diagnoses, and coexisting diagnoses are             ination extends to healthcare settings, where patients may
      likely to require ongoing attention after transition, al-       be refused care or treated disrespectfully, or do not have
      though symptom severity may be ameliorated.98, 100,102          access to care.88
                                                                         U.S. public policy has contributed to the lack of ac-
      Referrals for hormones and surgery                              cess to care. A report by the National Center for Health
      Whether the initial evaluation for hormones is done by          Care Technology of the HHS Public Health Service
      the hormone prescriber or by amental health profes-             issued in 1981, titled "Evaluation of Transsexual Sur-
      sional, criteria for starting hormones are the same:            gery," deemed these procedures "experimental," and
      the presence of persistent GD, the ability to give in-          recommended that Medicare not cover transition-
      formed consent, and relative mental health stability. 7         related care. This was formalized in a 1989 Health
      Insurance carriers and surgeons require mental health           Care Financing Administration National Coverage
      evaluation before transition-related surgeries to assess        Determination. 5 Exclusion of transgender healthcare
      and document eligibility, readiness, and medical necessity      in private insurance as well as Medicaid and Medicare
      of the requested procedure. 7,10-14                             was near universal in the decades to come. A lack of
         The specific requested content of referral letters           funding for clinical care and research led to the closing
      varies among surgical providers and insurance plans.            of transgender care programs at academic institutions
      To avoid unnecessary delays in treatment, letter writ-          in the years following the 1981 report.
      ers should be aware of such differences and ensure                 Many transgender health insurance exclusions have
      that their letters meet the requirements of all relevant        been removed recently. This trend started with increas-
      parties. The content requested by most providers and            ing numbers of employers in the last 15 years adding
      insurance carriers is similar to that outlined in the           transition care to health coverage. Starting in 2013,
      WPATH SOC7. Genital and gonadal surgeries usually               some states have ruled that transgender healthcare ex-
      require documentation from two licensed mental                  clusions are discriminatory and have banned them
      health professionals, while chest surgeries generally           from state-regulated health insurance plans. In 2014,
      require just one evaluation and referral .
                                               7'
                                                108 Although          the 1981 Medicare policy was reversed, removing cate-
      not requirements of WPATH SOC7, some insurers re-               gorical exclusions for transgender care. 6 In 2015, the
      quire one letter from apsychiatrist or other doctoral           HHS moved to end categorical exclusions for transgen-
      level mental health provider, or may specify aminimal           der care from all insurance and care providers who ac-
      duration of mental healthcare. 13 Such requirements             cept federal funding or reimbursement; 109 and since
      vary by health system, insurance carrier, and state,            2016, insurers in the Federal Employees Health Bene-
      and raise challenges for those without access to reim-          fits Program must include transition-related coverage
      bursement for mental healthcare.                                for transgender federal
                                                                          During this same period, executive orders and other
      Current Social Issues: Stigmatization                           guidance from the Obama administration conferred in-
      and Access to Care                                              creased protection against discrimination to transgender
      Transgender health advocates have worked to address so-         individuals in workplace and educational settings," the
      cietal discrimination against transgender people, includ-       ban on open military service of transgender individuals
      ing stigmatization of identity, discrimination in schools,      was lifted,' 2 and changes at the HHS and the National
      workplaces, and healthcare, and to improve access to            Institutes of Health (NIH) facilitated research to better
      care. Increasingly, this advocacy has been embraced by          define and address the health needs of transgender indi-
      major institutional and governmental agencies. One              viduals."'   Much work remains, however, to fully




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   actuali7e these policy changes. In addition, progress has     of the reasons these individuals may seek psychiatric
   been slowed on the federal level by the change in presi-      care and, regardless of their area of specialization, psychi-
   dential administrations and legal actions.' 3                 atrists should be adept at conducting respectful, culturally
      WPATH SOC7 7 has attempted to improve access to            sensitive, and affirming gender assessments without
   care by including the informed consent model for hor-         placing an undue emphasis on gender when it is not
   mone administration. In multidisciplinary clinics pro-        the patient's presenting concern. Mental health profes-
   viding transgender care, primary care providers can           sionals must fully appreciate that the focus of treatment
   assess for and diagnose longstanding GD that might            for GD is on the dysphoria, not the gender identity. At
   benefit from treatment with hormones and administer           the same time, they must appreciate the role of minority
   hormones without referral from amental health pro-            stress in gender minority mental health disparities,
   fessional. However, patients with cooccurring mental          screen for related manifestations, including anxiety dis-
   health conditions should be referred to mental health         orders, depression, and suicidality, and consider resil-
   providers when appropriate. WPATH has advocated               ience factors in treatment planning.
   for the depathologization of transgender identity, the           Psychiatrists should also be competent in the provi-
   medical necessity of transgender care, and improved           sion of routine psychiatric care that is gender affirming
   access to legal gender change. 7                              to gender variant patients with serious mental illnesses
      The APA has also attempted to reduce stigma and im-        without assuming that the gender variance is amani-
   prove access to care. As discussed previously, the DSM-IV     festation of the illness. They should not expect coexist-
   diagnosis of GID, regarded as stigmatizing by many            ing serious mental illness, especially in the context of
   transgender health and advocacy groups, was replaced          strong genetic loading, to fully resolve with successful
   with GD in DSM-5." 4 In addition, the APA approved            treatment of GD and should assist the patient in for-
   position articles on discrimination and access to care.       mulating realistic expectations.
   Its statement on discrimination against transgender and         If not included in their residency or fellowship train-
   gender-variant individuals 115 opposes all private and pub-   ing, or supervised clinical experience, psychiatrists should
   lic discrimination against transgender individuals, and its   familiarize themselves with the standards of care for gen-
   statement on access to care for transgender and gender-       der transition as described in the WPATH SOC7 and out-
   variant individuals" 6 urged the removal of all categorical   lined in this article, as well as the roles and minimal
   healthcare exclusions for transgender people and advo-        competencies of mental health professionals working
   cated for the expansion of access to care.                    with adults with GD .7 In addition to the minimal com-
      Increased access to care must be accompanied by            petencies, WAPTH SOC7 recommends that health
   culturally competent research in transgender health,          professionals take steps to sustain or augment their cul-
   recommended by the Institute of Medicine 86 and out-          tural competency to work with transgender and other
   lined in the NIH's Strategic Plan to Advance Research         gender minority patients by participating in continu-
   on the Health and Well-being of Sexual and Gender             ing education and becoming knowledgeable about
   Minorities.' 7 Expanded and improved education of             community, advocacy, and public policy issues that
   healthcare providers is necessary, and the American           affect transgender individuals and their families. 7
   Association of Medical Colleges has produced guide-              All providers should work within their sphere of
   lines for curricular and climate change to improve            competency and refer patients when necessary. Board-
   transgender health.' 8 Principles of culturally competent     certified psychiatrists should be competent in the diag-
   care for transgender and nonbinary patients should be         nosis of GD by the criteria of the most current DSM
   included in residency training as well, including psychi-     and in assuring that any coexisting psychiatric disorder
   atric residency programs.                                     is appropriately diagnosed and adequately controlled." 8
                                                                 In the absence of additional training, they should refer
   Conclusions                                                   to other providers or seek supervision in fulfilling the
   Transgender, nonbinary, and gender questioning peo-           other tasks of mental health professionals in addressing
   ple are sufficiently common that even psychiatrists           the gender concerns of transgender and other gender
   whose practice does not focus on gender are likely to         diverse patients. Providers from all disciplines should
   encounter patients who have transitioned gender, are          work within their professional organizations to ensure
   planning or considering transition, or are questioning        that training in gender-affirmative care is integrated
   their gender identity. Gender concerns are only one           throughout all levels of the training curriculum. 119




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      No author has any conflict of interest to report.                                        Association, 1987.
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                                                              Appendix


   Gender Dysphoria in Patients                                     sentations of the various intersex conditions. Thus, to
   with Intersex Conditions                                         be fully effective, the mental health provider needs to
   As reviewed elsewhere, A' Gender Dysphoria (GD) and              be informed about the medical and surgical history of
   patient-initiated gender transition occur with increased         the i
                                                                        n dividual,& 6A7 the available data on long-term gen-

   frequency in individuals with intersex conditions.               der development (e.g., contentment vs. dysphoria in the
   Because Diagnostic and Statistical Manual of Mental              assigned gender), and other psychological outcomes of
   Disorders-5 now allows gender-dysphoric individuals              patients on asyndrome by syndrome basis.ASA8 More-
   with somatic intersex conditions to receive the diagno-          over, intersex conditions are frequently associated with
   sis of GD, psychiatrists need to be aware of assessment-         stigma, even in medical settings, which may result in
   and treatment-relevant characteristics of such individuals       shame and maladaptive coping mechanisms on the
   that differ from gender-dysphoric individuals without            part of the patients as well as their parents.A9_Al2
   somatic intersexuality.                                            Providers need to be aware of the many ways in
      Intersex conditions are asubset of conditions relatively      which some individuals with intersex conditions report
   recently designated as "disorders of sex development'    A3      having been stigmatized by their treatment by clinicians
   or "differences of sex development" (DSD).A4 We use              and parents (e.g., failure of age-appropriate disclosure
   the term "intersex" in this document as our focus is on          of their condition, attempts to modify their gender ex-
   that subset of individuals with DSDs who were born               pression, and repeated genital examinationsA9Al3).
   with atypical external genitalia or lack of concordance          Efforts are under way to develop decision-making
   among various sex characteristics such as sex chromo-            tools and clinical checklists to ensure that parents
   somes, gonads, or external genitalia so that questions           and affected children are adequately assessed and in-
   often arise as to which gender should be assigned at             formed as active participants in decision-making pro-
   birth. GD may develop from late preschool age through            cesses and that the intersex condition and its
   late adulthood with arange from 0% to          70% depending     ramifications are disclosed to the affected individual
   on the specific intersex syndrome, its severity (degree of       in an age-appropriate manner. A14
   androgen insensitivity, degree of 21-hydroxylase defi-
   ciency, degree of genital atypicality, etc.), the gender orig-   Gender evaluation
   inally assigned, and the postnatal history of exposure to        The questionnaires and interview schedules developed
   both endogenous and exogenous sex hormones.A5                    for the assessment of gender development in transgender
      Persons with the combination of GD and intersex               individuals who do not have an intersex conditionAlSAl6
   condition encounter fewer barriers to legal gender reas-         apply to those with intersex conditions as well, but
   signment, and the barriers to hormonal and surgical              need to be complemented by detailed medical, surgi-
   treatments are much lower. A 'This is because, depend-           cal, and related psychosocial histories, including the
   ing on the particular condition, individuals with an in-         histories of disclosure to the patient of her/his medical
   tersex condition may have been gonadectomized (often             condition, efforts made to reinforce the initial gender
   due to concern about risk of malignancy) before pu-              assignment, and responses by parents and providers
   berty so that administration of exogenous hormones               to behaviors perceived as atypical with respect to the
   is required as part of routine care to induce puberty.           gender assignment. Mental health providers should also
   In addition, infertility is quite common whether due             assess the patient's knowledge of their surgical history,
   to the condition itself or to gonadectomy, and genital           their understanding of the implications with respect
   surgery has often been done in infancy or childhood              to fertility and gender-affirming hormonal and surgical
   with the intent of affirming, both to the patient and            procedures, and any history of shaming or other stigma
   the parents, the gender to which the individual was              due to their condition, or perceived gender atypicality
   assigned. Furthermore, such early procedures may                 with respect to their gender assigned at birth.
   have been followed by additional surgical modifications
   in adolescence or young adulthood.                               Decisions regarding gender transition
      Decisions regarding hormonal and surgical proce-              For individuals with intersex conditions, GD usually
   dures are complicated by the highly variable somatic pre-        raises the question of transition to adifferent gender,




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      and all issues of relevance to transgender persons with-        tersex status in adolescence or adulthood, and may
      out these conditions should also be considered here.            have been stigmatized for gender nonconformity or ho-
      Yet, the situation is often more complex than in GD             mosexuality, or subjected to irreversible hormonal or
      in the absence of an intersex condition. Factors con-           surgical treatments consistent with their assigned
      tributing to the desire to transition may include the           rather than their experienced gender. Upon discovery
      awareness of the discrepancy between assigned gender            of their biological status, such patients may feel
      and genetic factors such as the karyotype, anatomic             betrayed by their parents and physicians, feeling they
      factors such as the type of gonads, and secondary sex           colluded to keep them in ignorance of their medical
      characteristics like breast development in men or hirsut-       condition, damaged their bodies, or punished or stig-
      ism and masculine habitus in women. Related psychoso-           matized them for their gendered behaviors. Such pa-
      cial influences may derive from being misidentified as          tients need empathic validation of their feelings.
      the "other" gender or from frank stigmatization due to          Assurance that parents and providers had their best in-
      gender-atypical physical features.                              tentions at heart, while usually true, is likely to be expe-
         Different cultures and even subcultures within agiven        rienced as an empathic failure and negatively impact
      country may differ in the roles (including rights) associated   the formation of atherapeutic alliance.
      with one's gender, and in the salience and weight of criteria      As is often seen in many individuals with uncommon
      used in decision-making on gender reass i   gnment. Al 7 lS     medical conditions, many people with intersex condi-
      When discussing gender options, clinicians need to con-         tions experience varying degrees of isolation and lone-
      sider the legal regulations of the country in which they        liness.Al Therefore, linking them to existing intersex
      work as well as the religious and other ideologies that         support groups by internet or face-to-face meetings
      can influence the gender perspectives of patients (and          can be very beneficial. Despite the emotional relief
      of caregivers for minors). These considerations are also        that support groups can provide, such contacts may
      very important when doing clinical work with visitors           sometimes cause additional concerns. For instance,
      or immigrants from foreign countries. Thus, the view-           the composition of the group (e.g., the syndromes rep-
      points of patients (and caregivers) within their cultural       resented within the group, the personalities of some
      contexts should be explored in detail and taken into con-       group members, or the goals of the group) may not
      sideration when these individuals are provided with psy-        meet the individual's expectations, and the information
      choeducation about gender and other issues related to           provided may not always be accurate. Thus, some mon-
      their intersex conditions.A19                                   itoring of the patient's experience with the chosen
         As with other transgender patients, when working             group is recommended.
      with patients with an intersex condition and GD, clini-
      cians should engage the patient in adetailed discussion         Hormonal and surgical treatments
      of their expectations from the gender transition: the so-       As reviewed elsewhere,Al many individuals with both
      cial effects of public gender change as well as the med-        an intersex condition and GD will be agonadal in later
      ical and social effects of the attendant change in              adolescence or adulthood, either because they were
      hormone treatment and, if desired, of genital or chest          born that way (e.g., in syndromes involving gonadal
      surgery. Some of their expectations may be unrealistic,         dysgenesis) or due to surgery, for instance, for the pre-
      and after detailed discussion, some patients may mod-           vention of gonadal malignancy. In those with intact
      ify the hormonal and/or surgical treatments they desire         gonads (especially 46,XX congenital adrenal hyperpla-
      or decide against medical treatments or legal gender            sia raised female), loss of fertility may be another issue
      change, and pursue other ways of finding authenticity           of concern. Persons who are agonadal are usually on
      in their gender expression. Patients may be happy               hormone replacement therapy by the time of late ado-
      with their gender-atypical bodies and/or adapt anonbi-          lescence. Cessation of that treatment, change to treat-
      nary gender identity such as "intersex." Mental health          ment with hormones congruent with their gender
      providers should not assume that patients would ben-            identity, patient education for informed consent, and
      efit from conforming to fit within a gender binary,             the monitoring of treatment effects are tasks of the en-
      physically or with respect to gender identity.                  docrinologist.
         Empathic listening is especially important in work-            Also, the technical aspects of genital surgery are
      ing with intersex individuals, perhaps particularly             more complex than in patients receiving gender-
      with those who have inadvertently discovered their in-          confirming genital surgeries, who do not have intersex




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   Byne, etal.; Transgender Health 2018, 3.1                                                                                                                    A3
   http:I/online.liebertpub.com/doi/10.1089/trgh.2017.0053




                                                                                    A4. Johnson EK, Rosoklija I, Finlayson C, et al. Attitudes towards "disorders of
   conditions. Both the external genitalia and the internal
                                                                                        sex development" nomenclature among affected individuals. JPediatr
   reproductive tract in intersex conditions typically dif-                             Ural. 2017;13:402-413.
   fer from what most surgeons are familiar with in                                 AS. Meyer-Bahlburg HFL Introduction: gender dysphoria and gender change
                                                                                        in persons with intersexuality. Arch Sex Behay. 2005;34:   371-373.
   transgender patients without these conditions. In ad-                            AS. Rey RA, iosso N. Diagnosis and treatment of disorders of sexual devel-
   dition, many patients with intersex conditions have al-                              opment. In: Endocrinology: Adult and Pediatric, 7th ed. Vol II. (Jameson
                                                                                        IL, De Groot U; eds). Philadelphia, PA: Elsevier/Saunders, 2016,
   ready undergone one or more genital surgeries by late
                                                                                        pp. 2086-2118.
   adolescence. The resulting postsurgical anatomy con-                             AT New MI, Lekarev 0, Parse A, et al. (eds), Genetic Steroid Disorders.
                                                                                        London, UK: Academic Press/Elsevier, 2014.
   stitutes an additional challenge for the surgeon per-
                                                                                    A8. Meyer-Bahlburg NFL Psychoendocrinology of congenital adrenal hy-
   forming gender-confirming surgery, and agood sex-                                    perplasia. In: Genetic Steroid Disorders (New MI, Lekarev 0, Parse A,

   functional outcome may be more difficult to achieve.                                 et al.; eds). London, UK: Academic Press/Elsevier, 2014, pp. 285-300.
                                                                                    A9. Consortium on the Management of Disorders of Sex Development.
      Mental health providers should also be aware that                                 Handbook for Parents. Rohnert Park, CA: Intersex Society of North
   not all individuals who identify their gender or gender                              America, 2006.
                                                                                   A1O. Meyer-Bahlburg HFL, Khuri I, Reyes-Portillo J, et al. Stigma associated
   identity as intersex have asomatic intersex condition,                               with classical congenital adrenal hyperplasia in women's sexual lives.
   and should ensure that those who do have an intersex                                 Arch Sex Behay. 2018;47:943-951.
                                                                                   All. Meyer-Bahlburg HF, Reyes-Portillo IA, Khuri J, et al. Syndrome-related
   condition are receiving adequate medical care, includ-                               stigma in the general social environment as reported by women with
   ing hormones (to prevent osteoporosis) and cancer                                    classical congenital adrenal hyperplasia. Arch Sex Behay. 2017,46:
                                                                                         341-351.
   screenings, as appropriate to their particular condi-
                                                                                   Al 2. Meyer-Bahlburg NFL, Khuri J, Reyes-Portillo J, New MI. Stigma in medical
   tion.A3 Without challenging apatient's identity label,                                settings as reported retrospectively by women with congenital adrenal
                                                                                         hyperplasia (CAH) for their childhood and adolescence. IPediatr Psy-
   this distinction can usually be made by inquiring
                                                                                         chol. 2017;42:496-503.
   about the name of the patient's condition, when and                             A13. Consortium on the Management of Disorders of Sex Development.
   how they learned of it, and any history of related sur-                               Clinical Guidelines for the Management of Disorders of Sex Develop-
                                                                                        ment. Rohnert Park, CA: Intersex Society of North America, 2006.
   geries, hormonal replacement, or ongoing follow-up                              A14, Siminoff LA, Sandberg DE, Promoting shared decision making in dis-
   evaluations. If there is any doubt, appropriate referrals                            orders of sex development (DSD): decision aids and support tools. Horm
                                                                                        Metabol Res. 2015;47:335-339.
   should be made to ensure that the patient is receiving
                                                                                   A15. Zucker KJ. Measurement of psychosexual differentiation. Arch Sex
   adequate follow-up and treatment.                                                    Behay. 2005;34:375-388.
                                                                                   A16. Meyer-Bahlburg HFL. Gender monitoring and gender reassignment of
                                                                                        children and adolescents with asomatic disorder of sex development.
   Appendix References                                                                  Child Adolesc Psychiatr Clin N Am 2011;20:639-649.
    Al. Byne W, Bradley Si, Coleman E, et al. Report of the American Psychiatric   A17. Lang C, Kuhnle U. Intersexuality and alternative gender categories in
        Association task force on treatment of gender identity disorder. Arch           non-Western cultures. Horm Res. 2008;69:240-250.
        Sex Behay. 2012;41:759-796.                                                A18. Meyer-Bahlburg HF. Introduction to the special section on culture
    A2. Meyer-Bahlburg HFL. Variants of gender differentiation in somatic dis-          and variants of sex/gender: gias and stigma. Arch Sex Behay. 2017;46:
        orders of sex development: recommendations for Version 7of the                  337-339.
        World Professional Association for Transgender Health's Standards of       A19. Meyer-Bahlburg HF, Baratz Dalke K, Berenbaum SA, et al. Gender as-
        Care. Int JTransgend. 2009;11:226-237.                                          signment, reassignment and outcome in disorders of sex development:
    A3. Hughes IA, Houk C, Ahmed SF, et al. Consensus statement on man-                 update of the 2005 Consensus Conference. Horm Res Paediatr. 2016;85:
        agement of intersex disorders. JPediatr Urol. 2006;2:148-162.                   112-118.




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              Dan Karasic
              Febru ary 4, 20 1
                              7e

       The following is apersonal statement, not an official or organizational one, though Iam the
       founder of this Facebook group and chair of the USPATH conference. As some people know,
       for many years Ihave been acritic of conversion therapy and pathologization of trans identity.
       Starting in the 1990's Ibrought to American Psychiatric Association conferences trans voices
       critical of the APA. For many years, my views were distinctly in the minority in my field, and I
       appreciate the support of my trans colleagues in providing encouragement to continue
       working for change. In 1998 Ibrought aworkshop critical of the APA and the GID diagnosis to
       the annual APA meeting in Toronto, featuring the fearless Kelley Winters. That year Iauthored
       astatement condemning reparative therapy that was submitted by my local branch, the
       Northern California Psychiatric Society, to the APA leadership, and which was adopted by
       Board of Directors of the American Psychiatric Association as their first condemnation of
       reparative therapy. In the early 2000's Iedited abook of critiques of the adult and child GID
       diagnoses, and brought critics of pathologization of trans identity to APA to debate directly
       those responsible for the DSM. After one memorable symposium, Kelley Winters and Iwere
       taken to dinner by Robert Spitzer, asomewhat surreal experience, but one that allowed for
       frank conversation, including Spitzer's statement of regret to us for having supported
       conversion therapy.

       Over the years, my views at APA went from one without much support, to views that are now
       popular. Iwas recently appointed the chair of the APA's Workgroup on Gender Dysphoria, a
       committee that now has three psychiatrist members who are trans, aquite different
       composition from the past APA committee Ken Zucker chaired that changed the GID diagnosis
       to Gender Dysphoria. After Ken was appointed by the APA to chair the GID DSM 5committee,
       the APA met in San Francisco, in 2009. Kelley Winters was invited back to speak at a
       symposium put on by Zucker's APA committee, presenting an opposing view. After the
       session, Iwas the lone APA member to step outside the Moscorie Center and speak with a
       bullhorn at the protest of Ken's GID DSM revision committee, at aprotest organized by Danrii
       Askini.
       Over these decades of opposition to prevailing views, our dissenting views were welcomed, or
       at least tolerated, in the spirit of the free-wheeling atmosphere of scientific conferences.
       Opinions, data are put forth and then open to the criticism of our peers. WPATH Symposia
       have also always operated in this fashion. And over the years, trans affirmative approaches
       have gained more than atoehold.

       USPATH's inaugural conference would clearly have adifferent balance from the start. A trans
       affirmative approach is now standard practice in the US, and most time slots in the conference
       had competing panels of those providing affirmative care to trans kids. Ithought Zucker's
       submissions could be contextualized by this now dominant perspective of trans affirmative
       care.

       However, this conference has adual mission of being aWPATH scientific conference
       organized under the procedures long used to organize WPATH international symposia, but also
       forming the foundation of the formation of USPATH. And this conference and the launch of
       USPATH is happening under circumstances none of us imagined when organizing the
       conference, circumstances that demand asolidarity moving forward. The new political climate
       is adirect threat to the health, the lives of trans people. The most vulnerable of these are trans
       women of color. My actions, and the actions of our scientific committee, made them and other
       trans people, as well as the parents and providers of trans kids, feel like WPATH and the
       organizers of the USPATH conference were deaf to their concerns. For that Iapologize. I
       pledge to do better in the future.




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           Re: Fw: NYTimes Maa fact-checkin

           From:
           To:
           Cc:
           Date:                   Tue, 07 Jun 2022 20:16:57 -0400

           Thanks,

           My responses are integrated below...


           On Tue, Jun 7, 2022, 4:18 P                                                     wrote:



                   New set of fact checks below.


                   Including you            since you're mentioned several times.


                   Thanks for any guidance!


                   Best,


                   From: Mark de Silva <                               >
                   Sent: Tuesday, June 7, 2022 7:10 PM
                   To:
                   Subject: Re: NYTimes Mag fact-checking

                   Hi

                   Iwill look forward to the answers to the questions that are still pending. In the meantime, Ihave
                   some further questions for WPATH. If you could get answers to these, plus the outstanding ones,
                   by Wednesday morning, that would be ideal. We have to close the story soon.

                   1. Correct that               was selected by WPATH in Q7 to lead agroup of 7clinicians and
                   researchers to draft achapter for SOC8 on adolescents?   Ithink this is true.
                                                                                  ­   0




                   2. WPATH Standards of Care (SOC) are meant to set the guidelines for transgender health care
                   worldwide? --Yes, not specific to any healthcare delivery system, but focused on transgender
                   health as ahuman/universal concept/need.

                   3. True that after WPATH was formed in 1979, transgender activists gained increasing influence in
                   the organization? -rofessionals who happened to be trans people joined the organization;
                   they were not necessarily activists. Some who recognized that amedical association was
                   important for institutionalizing transgender health were interested in strengthening the association
                   functionally and clarifying the SOC, while others took more aggressive positions as clinicians
                   because they saw how interpretations of the SOC were weaponized against their clients/patients in
                   specific regions or environments. Different approaches are present throughout the membership.
                   The Board tries to balance the values that are expressed through the SOC and good association
                   management principles.




                                                                           EXHIBIT
                                                                           WIT:
CONFIDENTIAL   -    SUBJECT TO PROTECTIVE ORDER                                                              BOEAL,WPATH_064098
                                                                           DATE           _-




                                                                           CARLA SOARES, CSR




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               I
                   et these activists did not contribute to formulating the Soc and its updates over the years?        --




                    No. Transgender-identified professionals have been given avoice, to varying degrees since
               version 5. The first 4versions were very spare. As more trans professionals joined the association
               and participated in association committees and activities, and their opinions and experience was
               recognized as credible and respectable, these professionals gained more access to being able to
               contribute to the Soc. Note that the association membership application does not ask an
               applicant's gender identity or personal transgender history. It only asks for professional
               qualifications, which are vetted (right,

               5. Fair to say that agood number of these activists (rightly or wrongly) view SOC criteria as
               imposing e cessvely restrictive, patern alistic, and even demeaning barriers to transgender
               treatment?            o. There are some members who are clinicians who work with marginalized
               groups within the transgender community who would like to see standards relaxed in many ways,
               but in the U.S., it is also true that insurance plans and clinical institutions overlay their own
               interpretations or additional rules on transgender care and some cliniciansand patients/clients
               blame WPATH for this when these systems/processes are outside WPATH's influence or control.
               Activists outside of WPATH blame WPATH, and alot of misinformation about the soc is shared
               throughout the trans community.

                   We also have questions about aprotest in February 2017 [[see video:
                   https://www.voutube.com/watch?v=rfciG5TaCzsk1]. We have spoken with                       and he
                   believes it is generally accurate, but we would also like see if WPATH sees anything inaccurate
                   here:

                   6. In February 2017, the inaugural conference of USPAT1T--the US branch of WPATH--was held in Los
                   Angeles? -Yes; is branch the appropriate term,

                   7. At this conference, protesters interrupted and picketed apanel featuring                       Yes.
                   Most of the protesters were not WPATH members.

                   8. That evening of the protest, at ameeting with the conference leaders, agroup of activists led by
                   transgender women of color read aloud astatement in which they said the "entire institution of
                   WPATH" was "violently exclusionary" because it "remains grounded in 'cis-normativity and trans
                   exclusion."? [[QUOTES ARE FROM VIDEO]]          --     Yes. These were Los Angeles activists who
                   had been given free admission to the conference orecognize their community-based healthcare
                   advocacy, and to help them engage with national trans health leaders and researchers who
                   created much of the literature in the field. Some trans-identified clinicians who supported them also
                   attended the meeting where the statement was read.

                    9. The group asked for cancellation of Mappearance on asecond upcoming panel?               --




                   Yes.

                   10.                  who was on the board at the time, agreed to the demand to cancel
                   appearance on the second panel/symposium?              iid not appear further at that 2017 USPATH
                   conference? -EYes. This was not my sole decision; Idelivered the consensus of the officers
                   present with regret and sadness, because we recognized we could not guarantee his safety.

                   11.        told the protestors: 'We are very, very sorry." -Yes, true, because (for me) we were
                   sorry they felt this way.




                   On Tue, Jun 7, 2022 at 3:36 PM                                                wrote:
                     Sounds good. Thanks, Mark.




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                          Karasic Depo. Ex. 10:


                               Video Clip:
                             07:45 – 10:15:
            https://www.youtube.com/watch?v=rfgG5TaCzsk




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                          Karasic Depo. Ex. 11:


                               Video Clip:
           https://www.youtube.com/watch?v=djULM6Y1YP0




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                          Karasic Depo. Ex. 12:


                               Video Clip:
           https://www.youtube.com/watch?v=wxbsOX4hX0M




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                            WPATH              WORLD PROFESSIONAL
                                               ASSöflTION for
                                               IRANSGENDER HEALTH




  https://web.archive.orq/web/201 70214131 508/http://www.wpath.org/site_home.cfm).




                                                                                                                          EXHIBIT      I
                                                                                                                          WIT:
                                                                                                                          DATE:
                                                                                                                                   5-7 -cZ 41
                                                                                                                          CARLA SOARES, CSR




     A message from the WPATH Executive Committee

     On February 03, 2017 aWPATH member presented at the USPATH conference on aclinical modality that WPATH opposes. A
     conference attendee disrupted the offensive session due to this act of negligence. Later that day the same presenter was asked to
     leave by agroup of professionals attending the conference. Campus security responded by asking the registered participants to leave
     and threatened to call the police. This group included trans women of color and gender non-binary persons of color all of which are
     already consistently policed in society. WPATH regrets that this incident occurred, and our staff and the USPATH conference organizers
     are deeply sorry for the distress, anxiety, and discomfort this unfortunate incident created for our colleagues and especially those that
     are trans and gender non-binary people. We are committed to providing asafe and welcoming environment at our scientific meetings,
     and we are implementing further procedures and engaged in ongoing communications with trans community to not only ensure this
     kind of incident does not happen in the future, but also that transgender communities, particularly trans communities of color are
     meaningfully involved in future conference planning.




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  Through our efforts to address these issues, we have had aseries of meetings with adiverse representation of trans community
  members that work in the field of trans health, including people of color who participated in the USPATH conference, and local trans
  community leaders. The agreements made during these meetings include the following:

      • In the future we will work with local trans communities when we hold conferences in various locations.
      • WPATH and USPATH boards will intentionally include trans people of color, especially trans women of color, and other minorities
        in the ongoing work of WPATH. We are committed to working with trans people of color to guide us in our growth and process.
        Moving forward, USPATH and WPATH embraces the opportunity to have our colleagues who are trans and people of color
        involved in every aspect of the organization as elected leadership, in committee and task force leadership, and in advisory
        positions that will make WPATH more relevant to the field of trans health around the world.
      • WPATH is committed to increasing access to membership, added member benefits and mentorship opportunities for all
        students, especially those who are trans identified and/ or students of color.

      • A scholarship system will be created and implemented to ensure participation that is representative of the diversity of providers
        in the trans health field.
      • 2seats on the Soc (Standards of care) 8creation and revision committees will be reserved for trans people of color.
      • WPATH will develop and present awebinar that will include detailed information about the structure and voting process of
        WPATH and USPATH. This will allow for those interested in participating in and/or joining WPATH to have abetter sense of how
        to do so.

  We look forward as an organization to the great possibilities that lay ahead. This transformative process will help shape and change
  the landscape of the livelihood and health of trans people in the United States and globally.

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                                                                             QUICK LINKS

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                    Fwd: A message from the WPATH Executive Committee (re
                    USPATH meeting, Febr. 3, 2017)
                   Privileged




                            Forwarded messase
                    From:
                    Date: 'on,             at
                    Subect: A messase from the WPATH Executive Committee (re USPATH meetin., Febr. 3, 2017)
                    To:




                    Dear Executive Committee:




                    Ithink it is agood idea for WPATH to ensure participation that is representative of the diversity of
                    providers in the trans health field."




                    Iam concerned, however, that WPATH's commitment "to providing asafe and welcoming
                    environment at our scientific meetings" was not met at this month's USPATH meeting in L.A.




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                       The Mini-Symposium entitled "Development of Gender Variations: Features and Factors" that I
                       convened and chaired was interrupted twice by asmall group of protesters. A few minutes into my
                       introductory remarks, an attendee interrupted me by taking aposition in front of me and yelling into
                       the audience, with some support from others, then leaving after awhile with agroup of adozen or so
                       followers, while the overwhelming majority of the audience remained in the room. Near the end of the
                       session, while Iwas moderating the Q&A for                lecture, another disruption was staged by
                       one person in the back of the audience.




                       Because of the time used up by the •disonrelated questions from the audience later, I
                       decided to give the first two speaker("Gender dysphoria and dissociative gender
                       identity disorder combined") andariations during childhood") more time for their
                       presentations and Q&A sections and was, therefore, unable to present my own lecture ("Gender
                       Variations in Somatic Intersexuality", which also included asummary of the fourth lecture IJAW
                                         who was unable to attend). Thus, the protests certainly interfered with the
                       presentation of the full range of data and issues covered in the Mini-Symposium's abstract.




                      From the first paragraph in your statement Iconclude that no one from the Executive Committee
                      attended this Mini-Symposium, because otherwise you would have noticed that the apparently primary
                      target of the protesters,               , did not address a"clinical modality", but focused on follow-up
                      studies of gender development in children with gender problems. By misrepresenting the content of
                      the session and labelling the entire session as "offensive", "due to this act of negligence" (a vague
                      formulation that also needs explanation), you are aligning yourselves with the small group of
                      protesters, insult the speakers involved, and violate a primary condition of ascientific meeting, namely
                      the open and constructive exchange of ideas, which is particularly important in an area of research as
                      emotion-laden as gender.




                      Ihope you will correct your statement accordingly.




                      As similar incidents occurred already in two symposia Iwas involved with at the recent WPATH
                      meeting in Amsterdam, Ithink WPATH's leadership needs to become more proactive in furthering a
                      constructive style of scientific exchange rather than inhibiting scientific exchange by suppressing
                                                              -




                      presentations as you did in L.A., when you cancelled                  Mini-Symposium on Febr. 4. In the
                      U.S., we are not living in adictatorship (at least not yet), and if WPATH intends to continue as a
                      scientific society, it must be able to provide "a safe and welcoming environment" for the entire
                      "diversity of providers".




                      In aprofessional society dealing with highly emotional issues, protests are to be expected and should
                      not be outlawed. However, we obviously need to find abetter balance between protesting and
                      constructive scientific exchange, and explicit guidelines by the Executive Committee, perhaps to be
                      distributed to every meeting registrant in the future. This may be atask appropriate for the Bylaws,
                      Policies & Procedures Committee: that's why Icc'd its chairperson,




                      In the hope that my comments will support aconstructive discussion among Executive-Committee
                      members of potential solutions to the problem mentioned, with best regards,




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           Fwd: A messaae from the WPATH Executive Committee

           From:
           To:                   WPATH EC <wpathec@wpath.org>
           Date:                 Sun, 12 Feb 2017 23:20:45 -0500
           Attachments:          USPATH1.2017.FINAL.ppt (2.58 MB); ATT00001.htm (168 bytes)

           Sent from my iPhone

           Begin forwarded message:

           Fr
           To:
           Subject: A message from the WPATH Executive Committee



           Ihave read the above-titled message on the WPATH website.

           Since ou are                           Iwould ask that you share this message with


           1. The first sentence reads: "On February 3, 2017 aWPATH member                          presented at the
           USPATH conference on aclinical modality that WPATH opposes."

           Comment: Let me begin by saying that Ido nt knnw if nu rr                                           were
           at the Symposium (organized and chaired by                              The sentence simply
           astonishes me. My talk was not at all about any "clinical modality"—it was asummary of follow-up
           studies of children diagnosed with GlD (the diagnostic label that was in place for anumber of the
           follow-up studies) or children subthreshold for the diagnosis. Ialso presented data on predictors of
           follow-up status (persistence vs. desistance), including new data that Ipresented for the first time
           during this talk. Iattach the POWERPOINT presentation that Igave.

           2. The third sentence reads: "Later that day the same presenter was asked to leave by agroup of
           professionals attending the conference."

           Comment: This sentence also simply astonishes me. No one asked me to leave. What did happen is
           on the evening of February 3Iwas called (I think the person Ispoke with was                        although
           perhaps Ihave the name wrong--perhaps you were in the room at the time the call was made) to
           inform me that the second Symposium Iwas to be in on Saturday (along with
                                              -  was cancelled because the leadership at the meeting was
           concerned about safety issues. This symposium was going to discuss several therapeutic models
           currently in use with pre-pubertal children (labeled as "gender diverse" in the title of the cancelled
           Symposium). Iaccepted this decision, as Icertainly had no desire for audience members to attend the
           Symposium if their physical safety was at risk.

           Iwould, therefore, request that the EC issue acorrection to both of these sentences, which are
           inaccurate and misleading.

           3. There is, of course, abroader issue at stake here. At WPATH in Amsterdam last June, activists
           disrupted aSymposium on DSDs and defaced aposter. Ifind it remarkable that the leadership of
           WPATH has remained silent about this. If there cannot be meaningful dialogue about complex issues
           at WPATH or USPATH, how can the organization consider itself to be "Professional"?

           Ilook forward to hearing from you.


                                                                            EXHIBIT     )5
                                                                            WIT:
                                                                           DATE:
                                                                           CARLASOARES CSR

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           email:


           email:




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          We feel that this apology is insufficient and does not sincerely and sufficiently address our demands. Please see
          the recommendations below.


                   1.    This letter fails to include an apology for the invitation of Kenneth Zucker to present his research on
                         conversion therapy for transgender youth, which was clearly stated by us in our meeting with the Board
                         last night as a high priority demand of ours, your intentional (at this point) exclusion of this is cause for
                         additional concern. We have been advised by our attorney not to post anything on the WPATH website
                         that names Ken Zucker. We called him last night and told him we were cancelling the session where he
                         was to appear with 3 other presenters, who were also informed that they would also not be allowed to
                         present (as trans-positive practitioners and researchers, the other 3 presenters had planned to rebut
                         Zucker's theories, and they were disappointed because they had spent a great deal of time in
                         preparation). We have posted the cancellation on the door, and we have communicated verbally with
                         everyone who asks about the cancellation. Ialso want to make clear that Ken Zucker was not "invited" to
                         present: Both of the sessions he was participating in were submitted as "mini-symposia" with multiple
                         presenters associated with the abstract. The Abstracts were reviewed by both cis and trans peers in the
                         discipline of the presenters, and both received very high scores. As a result, the mini-symposia were
                         accepted for presentation. The only invited speakers were CA Insurance Commissioner Jones and HHS
                         LGBT representative Elliot Kennedy, and no speakers were paid to be here.
                   2.    This statement fails to include the multiple people and range of identities that were affected by the
                         violence that Zucker and WPATH allowed and perpetuated. Did you want the affected people's names to
                         be mentioned? It would be helpful to me if you could provide the range of identities that should be listed.
                   3.    Acknowledgement of the policing of trans community and the willful perpetuation of the policing of trans
                         communities, belonging to along legacy of racist and transphobic violence against our communities. ldo
                         understand this, and Iempathize. Ican include this for sure.
                   4.    Calling security on transgender conference participants is not being seen by us as an "anonymous"
                         incident, this further minimizes not only the experiences we actually faced, but also the responsibility of
                         the board and the management agency to perform due diligence in screening, training, and informing
                         staff and security on best practices and expectations throughout the duration of the conference. We
                         contacted the hotel and the campus security department to see if they had any knowledge about who
                         made the request for them to come to the Luskin Center. Both said they had no record of who called. The
                         hotel's security policy states that they do not disclose any information about security incidents, and
                         because nothing happened requiring security action there is no written report on file at the campus
                         security office. As such, Ican only say it was an anonymous request that brought security to the hotel.
                   5.    "The security staff apologized to the trans people and to WPATH staff."          .....   We are professionals,
                         attending the conference, transgender or not. Again highlighting our value as professionals and not
                         minimizing our experiences to our identities as transgender individuals. Iunderstand that you are
                         professionals; Iwas only trying to emphasize that the security people were apologetic to the people who
                         they had surrounded, and that it was WPATH staff who sent them away. Ican certainly rephrase to
                         emphasize your collective professionalism.
                   6.    Instead of simply putting the words "we apologize" can you give specific examples as to what exactly you
                         are apologizing for, how you understand the implications of your actions, and your specific resolutions to
                         addressing our demands and concerns to ensure that this never happens again, containing the inclusion
                         of transgender women of color in the fabric of WPATHs planning processes. Yes. Our staff has embraced




                                                                                    EXHIBIT
                                                                                    WIT.
                                                                                    DATE:
                                                                                    CARLA SOARES, CSR



CONFIDENTIAL   -        SUBJECT TO PROTECTIVE ORDER                                                                       BOEAL_WPATH_143750




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                     the opportunity to partake in sensitivity training, and we look forward to speaking with you on Sunday
                     afternoon to discuss next steps.
               7.    Being intentional about creating a safe space for transgender professionals and community for the
                     planning of all future conferences and events. Yes! No worries!! That's our intention for sure!!


         Please revisit our list of demands and adjusts your apology so that it is reflective of all of them. The actions of
         USPATH/WPATH and insincere apology does not align with WPATH's vision, which is to promote the health,
         respect, and equality for transgender, transsexual and gender-variant people in all cultural settings. We are very
         sincere in our apology. As aformal statement, usually there isn't a lot of detail. We assure you we have learned
         from this situation, and we are truly excited to partner with you and your colleagues to make sure this never
         happens again, and that USPATH in particular will be more adept in meeting the needs of ALL our US members.




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION




     BRJANNA BOB, individually and on
     behalf of her minor son, MICHAEL BOE;
     et al.,

                     Plaintiffs,                          Case No. 2:22-cv-00184-LCB-CWB


     and                                                  Honorable Liles C. Burke

     UNITED STATES OF AMERICA,

                     Plaintiff-Intervenor,


               V.



     STEVE          MARSHALL,       in   his   official
     capacity as Attorney General of the State
     of Alabama; et al.,

                      Defendants.




                          PRIVATE PLAINTIFFS' SUPPLEMENTAL
                                RULE 26 DISCLOSURES




                                                                         EXHIBIT      I7
                                                                         WIT:

                                                                        DATE:
                                                                        CARLA SOARES, CSR




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              Private Plaintiffs submit the following supplemental disclosures pursuant to

       Federal Rule of Civil Procedure 26(a)(1)(A):

       A.     The name and, if known, the address and telephone number of each
              individual likely to have discoverable information—along with the
              subjects of that information—that the disclosing party may use to
              support its claims or defenses, unless the use would be solely for
              impeachment.

              In addition to witnesses previously disclosed, Private Plaintiffs identify the

        following:

              1.     Dr. Marci Bowers

              Dr. Bowers is the President of the World Professional Association for

        Transgender Health (WPATH) and is expected to provide testimony regarding the

        development and finalization of the Standards of Care Version 8.

              Dr. Bowers may be contacted through counsel:

              Jean Veta
              Cortlin Lannin
              COVINGTON & BuRUNG
              Salesforce Tower
              415 Mission Street, Suite 5400
              San Francisco, CA 94105
              (415) 591-7078
              clannin(d,cov. corn



              2.     Dr. Eli Coleman

              Dr. Coleman was the chair of the WPATH Standards of Care Version 8

        (SOC8) and part of the lead evidence team. He is expected to testify regarding the




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     development and implementation of the Delphi process that served as framework for

     developing the SOC8 in addition to topics relating to the development and

     finalization of SOC8.

           Dr. Coleman may be contacted through counsel:

           Jean Veta
           Cortlin Lannin
           COVINGTON & BuRLrNG
           Salesforce Tower
           415 Mission Street, Suite 5400
           San Francisco, CA 94105
           (415) 591-7078
           clannin(Z,cov. corn



           3.    Dr. Dan Karasic

           Dr. Karasic is Professor Emeritus of Psychiatry at the University of

     California-San Francisco Weill Institute for Neurosciences. He sat on the WPATH

     Board of Directors and was the lead author of the mental health chapter of SOC8.

     He was also acoauthor of SOC 7. Dr. Karasic is expected to testify regarding the

     work of the chapter groups to finalize the recommendations and accompanying

     chapter text on the SOC8. He is also expected to testify in response to claims that

     WPATH limited debate and robust exchange of ideas across the organization and at

     conferences hosted by affiliate organizations.




                                               3




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            Dr. Karasic may be contacted through counsel:

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                                      /s/ArnieA. Vague
                                      Melody H. Eagan
                                      Jeffrey P. Doss
                                      Arnie A. Vague
                                      LIGHTFOOT, FRANKLIN & WHITE LLC
                                      The Clark Building
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                                      meaganlightfootlaw.com
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                                      J. Andrew Pratt (ASB-3507-J56P)
                                      Misty L. Peterson (GA Bar No. 243715) (pro hac
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                               Diego A. Soto (AL Bar No. ASB-3626-Y61S)
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                               jessica.stone@ splcenter.org

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                               vice)
                               HUMAN RIGHTS CAMPAIGN FOUNDATION
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                               Washington, DC 20036
                               202.628.4160
                               cynthia.weaverhrc.org




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                            CERTIFICATE OF SERVICE

           Ihereby certify that on this, the 28th day of March, 2024, I served the
     foregoing via electronic mail and/or U.S. Mail on all counsel of record.




                                        /s/AmieA. Vague
                                        Of Counsel




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           Re: Re: the imminent release of the SOC8 and please be                         -




           so kind as to give us your support or endorsement

           From:           Asa Radix <a
           To:             walterbouman MENEENU_
           Cc:             WPATH EC 2022 <wpathec2022wpath.org>,
           Date:           Tue, 14 Jun 2022 16:51:52-0400

           Idon't think that they endorse any guidelines. The best people to reach out to would be orgs such as
           the American College of Physicians. The AMA has no power in the USA except lobbying for higher
           reimbursement through congress.

           On Tue, Jun 14, 2022, 4:32 PM Walter Bouman <                                             rote:

                   Dear Friends,

                   I
                   just wanted to share this email trail with you.

                   It annoyed the hell out of me, and Ihad to stop my impulsivity to not respond with avery very rude
                   email response to the AMA and its current custodians (probably some white cisgender
                   heterosexual hillbillies from nowhere     (please delete this quote)

               They can do SO MUCH BETTER THAN THIS AND CLEARLY THEY HAVE THOUGHT ABOUT
               THIS ISSUE A PRIORI given the very very swift response. Not even wanting to read the
                                            -




               SOC8

                   In the context of the previous AMA responses and official statements regarding TGD healthcare
                   (which were quite in keeping with modern medicine and medical ethics) this is simply not good
                   enough and Iwould very much like to spend alittle bit of time together tomorrow to give a
                   response to them in away that (like AASECT did) they cannot simply ignore

                   It is time to stand up and fight for what we believe in

               Interestingly, the response to asking colleagues around the world (and of course the world is far far
               more bigger than the USA) for their support for the SOC8 has been overwhelmingly positive,
               so      let's stick to finding confirmation that our colleagues in the USA are in agreement with the
               values we profess.

               At the end of the day, we all committed ourself to the same Hippocratic Oath.

                   Speak tomorrow,

               Warmest,

               Walter



                   Dr Walter Pierre Bouman MD MA MSc UKCPreg PhD

                   Consultant in Trans Health/Honorary Professor School of Medicine, University of Nottingham, UK

                   President World Professional Association for Transgender Health (WPATH)

                   Editor-in-Chief International Journal of Transgender Health (Impact Factor 2020 = 5.333)




                                                                             I
                                                                             EXHIBIT      IS
                                                                             WIT:

                                                                             DATE:     —1   -



                                                                             CARLA SOARES, CSR

CONFIDENTIAL   -    SUBJECT TO PROTECTIVE ORDER                                                               BOEAL_WPAT H_i 05494




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               Nottingham National Centre for Transgender Health




                       Original Message

                           Re: the imminent release of the SOC8   -   and please be so kind as to give us your support
               Subject:    or endorsement
               Date:       2022-06-13 22:11
               From:
                                                                            Walter Bouman
               To:
               Copy:



               Nice response... .thanks




                   ti



               Please respect the confidentiality of this email




CONFIDENTIAL   -   SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_105495




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                   From:
                   Date: Monday, June 13, 2022 at 4:04 PM
                   To: Walter Bouman
                   Cc


                   Subject: RE: the imminent release of the SOC8              -   and please be so kind as to give
                   us your support or endorsement




                   Thank you for your outreach to the American Medical Association (AMA);
                            asked me to reply on their behalf. While we appreciate your efforts on the SOC-8, the
                   AMA does not endorse or support standards of care--that falls outside of our expertise. Thus, we
                   are unable to respond affirmatively to your request, but wish you the best in your efforts to assist
                   transgender and gender diverse people.




                   Sincerely,




                   From: Walter Bouman
                   Se
                   To:

                   Cc:
                   Subject: the imminent release of the SOC8        -   and please be so kind as to give us your
                   support or endorsement




CONFIDENTIAL   -    SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_105496




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               [Warning External Email]

               This email is meant to be read by

               Please please do re-direct this email to your President and CEO as it is importantll

               Dear Colleagues,

               Iam writing to you as President and CEO of the American Medical Association on
               behalf of the World Professional Association for Transgender Health (WPATH), as its
               President.

               After more than 4 years, we are ready to publish the next version of the WPATH
               Standards of Care version 8 (SOC-8).

               Aim: The overall goal of SOC-B is to provide clinical guidance for health care
               professionals to assist transgender and gender diverse (TGD) people with safe and
               effective pathways to achieving lasting personal comfort with their gendered selves, in
               order to optimize their overall physical health, psychological well-being, and self-
               fulfillment.

               Methods: The SOC-8 is based on the best available science and expert professional
               consensus in transgender health. International professionals and stakeholders were
               selected to serve on the SOC-8 committee. Recommendation statements were
               developed following independent systematic literature reviews, where available,
               background reviews and experts' opinions, Grading of recommendations were based
               on available evidence supporting interventions, a discussion of risks and harms, as
               well as feasibility and acceptability within different contexts and country settings.

               The reason Iam writing to you is this:

               We, as WPATH would be most grateful if the AMA would be willing to support or
               endorse the SOC-8.

               If you agree to this, we will send you a link to the SOC8 (which is currently under
               embargo, and currently only ADM Dr Rachel Levine and her Department (HHS/OASH)
               in the US have access to the full document) and we will provide access following the
               signing of a non-disclosure document.

               Please let me know whether you are willing to do this. There is no hard timeline for
               this, but something in writing before the 1st August 2022 would be most appreciated.

               Iam of course always willing to explain our request in more detail, both via email
                      -           -




               or via an online meeting at your convenience.

               With kind regards, and looking forward to your response, to better the lives of trans
               and gender diverse people globally,

               Walter




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               Dr Walter Pierre Bou man MD MA MSc UKCPreg PhD

               Consultant in Trans Health/Honorary Professor School of Medicine, University of
               Nottingham, UK

               President World Professional Association for Transgender Health (WPATH)

               Editor-in-Chief International Journal of Transgender Health (Impact Factor 2020 =
               5.333)

               Nottingham National Centre for Transgender Health




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                        SOC 8Mental Health chapter
                            in Clinical Practice
                                               SOC 8chapter presentation




         1




                    Mental health in prior SOCs

                   •Prior SOCs discussed provision of mental health care when
                    appropriate
                   •SOC 7: Mental health assessments for gender-affirming medical and
                    surgical care required, but not psychotherapy. Some principles of
                    psychotherapy discussed.
                   •Minimal discussion of care of trans and gender diverse people with
                    severe mental illness and substance use disorders
                      •SOC 7: Mental illness "relatively well-controlled" or "well-controlled" prior to
                       initiating gender-affirming care
                      •This matched with referral practices at national health systems with
                       centralized gender centers before 2011 SOC 7release; American community
                       health systems provided limited gender-affirming care at that time

                                                 WPSTH SOC 8 Mental Health dankaracc.ore




         2



                                                                                 EXHIBIT
                                                                                 WIT:

                                                                                 DATE:     'S7-29
                                                                                 CARLA SOARES, CSR
CONFIDENTIAL   -   SUBJECT TO PROTECTIVE ORDER                                                       BOEAL_WPATH_139861




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                    Concerns in advance of SOC 8Mental Health Chapter

                    •Recognition among mental health authors in soc 7that "well-
                     controlled" and "relatively well-controlled" criteria need to be
                     reassessed for SOC 8.
                    •Feedback from clinicians of shortcomings of "well-controlled" criteria
                    •continued concerns about care of trans people in mental health and
                     substance use disorder facilities
                    •Presentations and discussions on these issues at WPATH, EPATH, and
                     USPATH conferences in 2014 (Bangkok), 2015 (Ghent), 2016
                     (Amsterdam), and 2017 (Los Angeles)


                                                 WPATH Soc 8 FIer,taI He alth dankarasiccom




         3




                    Cases demonstrating need for better guidelines on
                    care of trans people with mental illness
                    1.   "Expert" hired by state correctional agency to conduct evaluations for
                         gender affirming surgery denies surgery due to incarcerated person
                         having apersonality disorder that is not "well-controlled."
                    2.   Young trans man's psychiatrist and therapist reluctant to provide letter
                         for chest surgery due to history of suicidal thoughts and depression.
                    3.   Insurance denies coverage for surgery because of psychiatric
                         hospitalization in the last 6months.
                   4.    Ombudsman for astate psychiatric hospital contacts me with complaint
                         by patient after discharge from several month hospitalization, because
                         hormones were discontinued on admission and not restarted through
                         hospitalization. Policy at hospital is to not provide gender affirming
                         hormones due to concerns that mental illness not 'well-controlled" and
                         questions of capacity to consent.

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                   More cases demonstrating need for better
                   guidelines on care of trans people with mental
                   illness
                   •5. Patient in state forensic hospital with DID permitted to transition
                    after integration of alters to being present in co-consciousness. Pt
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                    psychiatrist takes over case. She decides that the patient's male
                    identity is due to an alter, and forces the patient to detransition to try
                    to bring back afemale alter.
                   •6. A fifteen year old trans girl who had been an early transitioner is
                    treated with an SSRI for depression and develops new onset SI as a
                    side effect of the SSRI. Parents take their daughter to an ER; only bed
                    is in outlying hospital. Weekday staff are respectful of the girl's gender
                    identity, but weekend staff misgender her and move her out from
                    sharing aroom with another girl.

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                   More cases demonstrating need for better
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                   •7. Trans patient with severe mental illness has pre-operative urine
                    test positive for nicotine metabolites, and surgery is postponed.
                   •8. "Expert" in case over whether gender affirming care for youth
                    should be banned recommends psychotherapy to help youth accept
                    their bodies as an alternative to transition.




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                                                SOC 8 Process

                   •SOC 7Chair Eli Coleman, PhD is         of SOC 8
                   •           MD and                MD, PhD are
                   •Chapter leads were then selected
                   •Remainder of SOC 8committee were selected by editors and chapter leads
                    and approved by the WPATH Board
                   •Johns Hopkins team selected and hired to rate levels of evidence in literature
                   •Each chapter wrote review and recommendations
                   •Delphi process for consensus recommendations
                   •Drafts of SOC 8chapters written and edited
                   •Complete and published in 2022!




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                                                                         Soc 8Chapters
                   •   Introduction 55

                   •   Chapter!. Terminology 511

                   • ChapterS. Global Applicability 515

                   • Chapter3. PopalatonEstirnaten III

                   • Chapter 4. Education 527 Chapter

                   • Chapter 5. Assessment of Adults 531 Chapter
                   • Cha inter S. Adolescents 543 Chapter

                   •   Chapter 7. Children 187 Chapter

                   • Chapter 8. Nonbinary ISO
                   •   Chapter 9. Eunuchs 588

                   •   Chapter 13. lr,tersex 593

                   •   Chapter 11. Institutional Environments 1104

                   • Chapter 12. Hormone Th erapy 5110

                       Chapter 13. Surgery and Postoperative Care 5128

                   • Chapter 14. Voice and Communication 5137

                   • Chapter 15. Primary Cane S143

                   •   Chapter 16. Reproductive Health S156

                   •   Chapter 17. Sexual Health 5163

                   • Chapter 13. Mental Health




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                                          Mental Health chapter process
                   •Through phone, Zoom and email, our group came to consensus on 20
                    statements for the mental health chapter.
                   •Soc 8editors, led by                        provided feedback. Half of the
                                                                                 ,


                    statements were considered "good practice" statements, rather than
                    directives reflecting actions our group recommended for health practitioners,
                    and therefore did not go to Delphi process.
                   •Ten statements went to Delphi process, the first chapter to do so.
                   •All ten statements were approved on first pass by Delphi.
                   •With public comment release of the SOC 8draft, there was opportunity to
                    communicate with other chapter leads and editors re consistency of
                    recommendations.
                   •Response to public comments.
                   •Final editing.



         11




                               Soc 8 Mental Health: Informed Consent

                   •We recommend mental health professionals address mental health symptoms that
                    interfere with aperson's capacity to consent to gender affirming treatment before
                    gender affirming treatment is initiated.

                      • The healthcare provider proposing to provide care must educate the patient on the risks, benefits, and
                        alternatives to any care that is offered, so that the patient can make an informed, voluntary choice.
                      • Psychiatric illness and substance use disorders, and in particular cognitive impairment and psychosis, may
                        impair an individual's ability to understand the risks and benefits of the treatment
                      • A patient may have significant mental illness, yet be able to understand the risks and benefits of aparticular
                        treatment.
                      • Multidisciplinary communication is important in challenging cases, and expert consultation should be
                        utilized as needed.
                      • For some, careful explanation may overcome limitations on capacity for consent
                      • For some, treatment of mental illness may be necessary for capacity to consent




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4-




                                   Soc 8 Mental Health: Perioperative care
                        •We recommend that mental health professionals offer care and
                         support to transgender and gender diverse people to address mental
                         health symptoms that interfere with aperson's capacity to participate
                         in essential perioperative care before gender-affirmation surgery
                           •The inability to adequately participate in perioperative care should not be ablock to needed
                            transition care, but rather an indication that mental health care and social support should be
                            provided.
                          • Mental illness and substance use disorders may impair the ability of the patient to participate in
                            perioperative care
                          •Treatment of the mental illness or substance use disorder may assist in successful outcomes in
                           these cases
                          • Arranging more support for the patient, from family and friends or ahome healthcare worker,
                            may assist the patient in participating in perioperative care sufficiently for surgery to proceed
                          • The benefits of mental health treatments that might delay surgery should be weighed against the
                            risks of delaying surgery, including the impact on mental health of delays in addressing gender
                            dysphoria




              13




               SOC 8Mental Health: Impacts differ with demands of procedure

                        •We recommend that when significant mental health symptoms or
                         substance use exists, mental health professionals assess the impact
                         that the mental health symptoms may have on outcomes based on the
                         nature of the specific gender-affirming surgical procedure
                          •Some procedures require agreater ability to follow pre-operative planning as well
                           as peri and post-operative care in order to achieve best outcomes
                          •Mental health providers can assist patients/clients in reviewing pre-planning and
                           perioperative care instructions for each surgical procedure
                          •Provider and patient can collaboratively determine the necessary support or
                           resources to assist with keeping appointments for perioperative care, necessary
                           supplies, financial issues, and other pre-operative coordination and planning




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               Soc 8Mental Health: Psychosocial support for surgery

                   •We suggest health care professionals assess the patient's need for
                    psychosocial and practical support in the perioperative period
                    surrounding gender affirming surgery.
                      •This assessment is the first step in identifying where additional supports may be
                       needed and to work collaboratively with the patient to successfully navigate the
                       pre-surgical, pen-surgical and post-surgical periods.
                      •Health providers can help patients to secure stable housing, build social and
                       family supports, plan ways to respond to medical complications, and help
                       patients to navigate the potential impact on work/income
                      •In the post-surgical period, patients benefit from e.g. asafe, private space to
                       dilate, friends or family that can help support their activities of daily living, and
                       support coping through the emotional challenges of recovery.




         15




                                soc Mental Health: Tobacco/nicotine
                    •We recommend that health care professionals counsel and assist
                     transgender and gender diverse patients in becoming abstinent
                     from tobacco/nicotine prior to gender-affirming surgery.
                       •Trans people smoke tobacco at higher rates than general population
                       •People with mental illness smoke tobacco at higher rates
                       •Smoking impairs healing from plastic surgery
                       •Smoking increases complications from surgery (thrombosis, respiratory complications
                        with anesthesia)
                       •Many surgeons require smoking cessation prior to surgery
                       •Mental health and medical providers should address tobacco/nicotine use well ahead of
                        surgery— e.g. with smoking cessation programs, medication (varenicline)




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A.




               Soc 8 Mental Health: Maintaining hormones for inpatients

                        •We recommend that health care professionals maintain
                         existing hormone treatment if atransgender/ gender diverse
                         individual requires admission to apsychiatric or medical
                         inpatient unit, unless contraindicated.
                          •Providers may see hormones as secondary in the setting of an emergency or as
                           potentially contributing to the presenting medical or psychiatric issue.
                          •Excepting uncommon circumstances, e.g. acute thrombosis, it's best to view
                           maintaining hormone regimens as the default and discontinuing them as an
                           active intervention, rather than vice versa
                          •While, for example, atestosterone injection might be delayed afew days in the
                           patient presenting with an acute manic episode, in most cases discontinuing
                           hormones disrupts provider-patient relationship and increases patient distress.




              17




                        SOC 8Mental Health: Respecting gender in inpatient and
                                         residential settings
                         We recommend that health care professionals ensure that if transgender and
                         gender diverse people need inpatient or residential mental health, substance
                         abuse, or medical care, all staff use the correct name and pronouns (as
                         provided by the patient), as well as provide access to bathroom and sleeping
                         arrangements that are aligned with the person's gender identity.
                          •Transgender and gender diverse patients encounter discrimination in arange of health
                           settings, including in hospitals, mental health treatment settings, and drug treatment
                           programs.
                          •Not respecting gender identity or otherwise discriminating against trans/gender diverse
                           patients in medical or mental health inpatient settings, and residential treatment
                           settings, harms patients and dissuades them from receiving care in the future
                          •Illustration: recent experience of apatient




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                         Dangers of not recognizing patient's gender

                   •Denial of access to gender appropriate bathrooms has been associated
                    with increased suicidality. (Seelman 2016).
                   •Use of chosen names for trans and gender diverse people has been
                    associated with lower depression and suicidality. (Russell et al 2018).




        19




                               Soc 8Mental Health: Social support

                   •We recommend that mental health professionals encourage, support,
                    and empower transgender and gender diverse people to develop and
                    maintain social support systems, including peers, friends and families.
                      •Trans and gender diverse people may become isolated from family, community
                       and other sources of psychosocial support
                      •Development of supportive network important for mental health




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                                Soc 8 Mental Health: Psychotherapy

                   •We suggest that health care professionals should not make it
                    mandatory for transgender and gender diverse people to undergo
                    psychotherapy prior to the initiation of gender-affirming medical
                    treatment, while acknowledging that psychotherapy may be helpful for
                    some transgender and gender diverse people.
                       • Psychotherapy is helpful for many
                       •A psychotherapy requirement to obtain hormones or surgery is an unnecessary
                        barrier to care
                   •




         21




                            SOC 8: Mental Health: Conversion therapy

                   •We recommend that "reparative" and "conversion" therapy aimed at
                    trying to change aperson's gender identity and lived gender expression
                    to become more congruent with sex assigned at birth should not be
                    offered.
                       •See American Psychological Association 2021 statement opposing gender identity
                        change efforts.




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                                      Gender Identity Change Efforts


                   •American Psychological                           APA RESOLUTION on Gender Identity Change Efforts


                    Association on Gender                            FEBRUAR     2Q21




                    Identity Change Efforts,
                                                                     dl




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        23




                    Cases demonstrating need for better guidelines on
                    care of trans people with mental illness
                    1.   "Expert" hired by state correctional agency to conduct evaluations for
                         gender affirming surgery denies surgery due to incarcerated person
                         having apersonality disorder that is not "well-controlled."
                    2.   Young trans man's psychiatrist and therapist reluctant to provide letter
                         for chest surgery due to history of suicidal thoughts and depression.
                    3.   Insurance denies coverage for surgery because of psychiatric
                         hospitalization in the last 6months.
                    4.   Ombudsman for astate psychiatric hospital contacts me with complaint
                         by patient after discharge from several month hospitalization, because
                         hormones were discontinued on admission and not restarted through
                         hospitalization. Policy at hospital is to not provide gender affirming
                         hormones due to concerns that mental illness not 'well-controlled" and
                         questions of capacity to consent.

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                   More cases demonstrating need for better
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                    lives as trans man, on testosterone for extended period until anew
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                    identity is due to an alter, and forces the patient to detransition to try
                    to bring back afemale alter.
                   •6. A fifteen year old trans girl who had been an early transitioner is
                    treated with an SSRI for depression and develops new onset SI as a
                    side effect of the SSRI. Parents take their daughter to an ER; only bed
                    is in outlying hospital. Weekday staff are respectful of the girl's gender
                    identity, but weekend staff misgender her and move her out from
                    sharing aroom with another girl.

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                   •7. Trans patient with severe mental illness has pre-operative urine
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                 Initial Clinical Guidelines for Co-Occurring Autism
                 Spectrum Disorder and Gender Dysphoria or
                 Incongruence in Adolescents

                 John F. Strang, Haley Meagher, Lauren Kenworthy, Annelou L. C. de Vries,
                 Edgardo Menvielle, Scott Leibowitz, Aron Janssen, Peggy Cohen-Kettenis,
                 Daniel E. Shumer, Laura Edwards-Leeper, Richard R. Pleak, Norman Spack,
                 Dan H. Karasic, Herbert Schreier, Anouk Balleur, Amy Tishelman, Diane
                 Ehrensaft, Leslie Rodnan, Emily S. Kuschner, Francie Mandel, Antonia
                 Caretto, Hal C. Lewis & Laura G. Anthony


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                 Anouk Balleur, Amy Tishelman, Diane Ehrensaft, Leslie Rodnan, Emily S. Kuschner, Francie
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     Scott Leibowitz4,Aron Janssen 5, Peggy Cohen-Kettenis 6,Daniel E. Shumer7,Laura Edwards-Leeper8,
          Richard R. Pleak9,Norman Spack' °,Dan H. Karasic", Herbert Schreier' 2,Anouk BalIeur6,
                 Amy Tishelrnan' 3,Diane Ehrensaft 14 ,Leslie Rodnan' 5,Emily S. Kuschner' 6,
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                              Evidence indicates an overrepresentation of youth with co-occurring autism spectrum dis-
                              orders (ASD) and gender dysphoria (GD). The clinical assessment and treatment of




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                       adolescents with this co-occurrence is often complex, related to the developmental aspects of
                       ASD. There are no guidelines for clinical care when ASD and GD co-occur; however,there
                       are clinicians and researchers experienced in this co-occurrence. This study develops initial
                       clinical consensus guidelines for the assessment and care of adolescents with co-occurring
                       ASD and GD, from the best clinical practices of current experts in the field. Expert partici-
                       pants were identified through acomprehensive international search process and invited to
                       participate in atwo-stage Delphi procedure to form clinical consensus statements. The Delphi
                       Method is awell-studied research methodology for obtaining consensus among experts to
                       define appropriate clinical care. Of 30 potential experts identified, 22 met criteria as expert in
                       co-occurring ASD and GD youth and participated. Textual data divided into the following
                       data nodes: guidelines for assessment; guidelines for treatment; six primary clinical/psycho-
                       social challenges: social functioning, medical treatments and medical safety, risk of victimiza-
                       tion/safety, school, and transition to adulthood issues (i.e., employment and romantic
                       relationships). With acutoff of 75% consensus for inclusion, identified experts produced a
                       set of initial guidelines for clinical care. Primary themes include the importance of assessment
                       for GD in ASD, and vice versa, as well as an extended diagnostic period, often with overlap/
                       blurring of treatment and assessment.



  Gender dysphoria (GD; formerly described as gender iden-                   Several studies have suggested that autism spectrum dis-
  tity disorder; American Psychiatric Association, 2000), cur-            order (ASD) and GNC/GD co-occur more often than by
  rently referred to as transsexualism in the International               chance in adolescents (de Vries, Noens, Cohen-Kettenis,
  Statistical Classification of Disease and Related Health                van Berckelaer-Onnes, & Doreleijers, 2010), and this co-
  Problems,     10th    Revision  (ICD-10;   World    Health              occurrence   presents  significant  clinical  challenges
  Organization, 2010) and likely to be referred to as gender              (Menvielle, 2012). Ten independent case studies of co-
  incongruence in LCD-il (lCD-il Beta Draft; World Health                 occurring ASD and GNC/GD appear in the research litera-
  Organization, 2014), is the condition of incongruence, with             ture, representing a range of nationalities and ages (four
  or without distress, related to a discrepancy between an                prepubescent children, three adolescents, six adults, and a
  individual's assigned gender at birth and their experienced             10-year-old whose pubertal status was not reported;
  gender (American Psychiatric Association, 2013). Gender                 Gallucci, Hackerman, & Schmidt, 2005; Jacobs, Rachlin,
  nonconformity (GNC; also known as "gender variance") is a               Erickson-Schroth, & Janssen, 2014; Kraemer, Delsignore,
  broader term that encompasses GD and describes the situa-               Gundelfinger, Schnyder, & Hepp, 2005; Landén &
  tion in which an individual's gender identity or expression             Rasmussen, 1997; Lemaire, Thomazeau, & Bonnet-
  shows variation from the cultural norms prescribed for a                Brilhault, 2014; Mukaddes, 2002; Parkinson, 2014; Perera,
  particular sex. Standards of clinical care for GNC and GD               Gadambanathan, & Weerasiri, 2003; Tateno, Tateno, &
  youth include those outlined in the World Professional                  Saito, 2008; Williams, Allard, & Sears, 1996). Several stu-
  Association for Transgender Health "Standards of Care for               dies have found an overrepresentation of ASD or ASD
  the Health of Transsexual, Transgender, and Gender-                     symptoms among child/adolescent referrals for GD (de
  Nonconforming People" document (Coleman et al., 2012)                   Vries et al., 2010; Shumer, Tishelman,            Reisner,   &
  and the practice parameter on gay, lesbian, or bisexual                 Edwards-Leeper,  2015; Skagerberg,  Di            Ceglie,    &
  sexual orientation, gender nonconformity, and gender dis-               Carmichael, 2015; VanderLaan, Leef, Wood, Hughes, &
  cordance in children and adolescents (Adelson & American                Zucker, 2015). Three studies have found an overrepresenta-
  Academy of Child and Adolescent Psychiatry Committee on                 tion of the "wish to be the other gender" among children
  Quality Issues, 2012). These guidelines include providing               and adolescents with ASD (Janssen, Huang, & Duncan,
  psychoeducational and social support for GNC young peo-                 2016; Miesen, Hurley, Ball, & de Vries, 2015; Strang
  ple and their parents and careful psychological evaluation              et al., 2014). Shumer and colleagues examined relationships
  for GD. For those youth (as young as early puberty) who                 between Social Responsiveness Scale (SRS) scores (used as
  meet criteria for GD, who are determined to be appropriate              aproxy for ASD symptoms) and GNC, finding that eleva-
  for physical interventions to promote healthy psychological             tions on child SRS scores (as rated by the parent) and
  adjustment, the following treatments are available: puberty              maternal SRS scores (as rated by the other parent or a
  suppression beginning in early puberty, cross-sex hormones               close relative) independently predicted greater GNC in the
  in later adolescence, and gender-affirming surgical proce-               child (Shumer, Roberts, Reisner, Lyall, & Austin, 2015).
  dures (many different types of procedures, some of which                    ASD is often adebilitating disorder, with studies report-
  are also referred to as sex reassignment surgery; generally              ing generally poor long-term (adult) outcomes in terms of
  available when a young person reaches the legal age of                   independence and meaningful employment (Howlin,
  majority to give consent).                                               Goode, Hutton, & Rutter, 2004). Even for individuals with




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      average or above intelligence, estimates indicate that only        who then anonymously offer responses. The data are com-
      9% reach full adult functional independence (Farley et al.,        bined and returned to the expert participants, with no names
      2009). Deficits in social skills and communication, and the        tied to statements, and each expert indicates his or her level
      presence of repetitive behaviors/overfocused interests char-       of agreement with each item. The method helps circumvent
      acterize the diagnosis. Children and adolescents with ASD          the problems of a group process including rigidity in
      often show profoundly underdeveloped adaptive/indepen-             defending proposed ideas, conforming to more senior mem-
      dence skills, which are related to problems with executive         bers, and rejection of novel ideas. Various formats have
      function skills (Gilotty, Kenworthy, Sirian, Black, &              been used for the Delphi method, including in-person
      Wagner, 2002; Pugliese et al., 2015). Typical ASD execu-           work sessions and online survey formats (Hsu &
      tive function profiles include problems with cognitive and         Sandford, 2007). For this study, we employed an online
      behavioral flexibility, as well as with organization and plan-     survey method, which allowed for experts to participate
      fling (e.g., setting and completing goals; Kenworthy, Yerys,       from geographically distant regions (Keeney et al., 2011;
      Anthony, & Wallace, 2008).                                         Linstone & Turoff, 1975). The Delphi procedure is arobust
         The co-occurrence of ASD and GNC/GD in adolescents              method for fields in which there are a small number of
      presents significant diagnostic and treatment challenges           experts (Akins, Tolson, & Cole, 2005), such as with ado-
      given the social, adaptive, self-awareness, communication,         lescents with co-occurring ASD and GNC/GD.
      and executive function complexities of youth with ASD.                Participant recruitment followed Delphi method standards
      However, many adolescents with this co-occurrence are              for recruiting experts in afield (Keeney et al., 2011; Linstone
      found clinically appropriate for GD-related treatment (de          & Turoff, 1975). Potential participants were identified first
      Vries et al., 2010). A primary challenge is how to clinically      through a comprehensive search of the research literature
      assess and support them (Kraemer et al., 2005). Individual         using the terms "autism spectrum disorder," "autism," or
      clinics have through experience developed rich clinical            "Asperger's" combined with the following: "gender identity,"
      knowledge for supporting adolescents with the co-occur-            "gender variance," "gender nonconformity," "transgender,"
      rence; however, there are currently no guidelines published.       or "gender dysphoria." Authors were identified from the
      In response to this need, this current study aimed to develop      resulting research literature. In addition, a comprehensive
      initial clinical guidelines for the care of adolescents with co-   search of pediatric outpatient gender clinics was conducted,
      occurring ASD and GNC/GD through use of the Delphi                 including the names of the directors and clinical staff experi-
      procedure, which allows collaborative participation of             enced in co-occurring GNC/GD and ASD in adolescents. We
      experts in the field. These guidelines address the clinical        then used asnowball sampling technique to allow this group
      care of adolescents (defined as the time of onset of puberty       of experts to identify other potential experts who were missed
      through age 19) but do not address the clinical care of            in our initial search (Biernacki & Waldorf, 1981). This was
      prepubertal children, as prepubertal children do not receive       accomplished by asking the participants to forward the invi-
      gender-related medical interventions and therefore their care      tation e-mail themselves to other researcher or clinician
      needs are somewhat different. Further, many youth with             experts in the field of co-occurring ASD and GNC/GD
      ASD first present with gender issues in adolescence, with          youth. In total, 30 potential participants were invited, and
      no significant signs of either gender exploration or gender        27 expressed interest in participating.
      dysphoria in young childhood. We strongly endorse future              The 27 potential participants were then screened both for
      workgroups developing specific clinical recommendations            level of training/experience in the fields of ASD and GNC/
      addressing the needs of prepubertal children with co-occur-        GD independently and for their experience with adolescents
      ring ASD and GNC/GD.                                               with the co-occurrence. In total, 22 individuals met criteria
                                                                         for the study in terms of expertise and then participated.
                                                                         Expertise, and resulting invitation to complete the Delphi
                               METHODS                                   surveys, was defined as at least 2years of experience work-
                                                                         ing with adolescents with the ASD and GNC/GD co-occur-
      To obtain clinical consensus statements, as well as to iden-       rence clinically and/or in research settings, as well as a
      tify areas in which current experts differ, this study             clinical and/or research specialization in GNC/GD, ASD,
      employed atwo-stage Delphi procedure. The Delphi proce-            or GNC/GD and ASD. As was expected, a majority of
      dure is awell-studied multistep survey method for obtaining        participants were experts in GNC/GD (91%), as the co-
      consensus among experts to define appropriate clinical care        occurrence with ASD has been primarily reported on from
      (Keeney, McKenna, & Hasson, 2011; Linstone & Turoff,               gender clinics/specialists in past reports. Forty-one percent
      1975), such as with self-injury (Kelly, Jorm, Kitchener, &         reported being experts in ASD, and 36% reported being
      Langlands, 2008), postdisaster care (Bisson et al., 2010),         experts in both GNC/GD and ASD independently.
      palliative care (Morita, Bito, Kurihara, & Uchitomi, 2005),        Although not all were experts in ASD, 68% reported spe-
      stroke care (Philp et al., 2013), and so forth. The method         cialization in the co-occurrence of GNC/GD and ASD. The
      presents structured pertinent questions in afield to experts,      participants represented abroad range of specialties: clinical




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                                                                             TABLE 1
                                                           Participant Experience With GD and ASD

                                                                                                           No. of Individuals Participant Has Seen Clinically
                                                                                                                                Total (%)

                   Years Experience        Expert With Population       Published in Population
  Diagnosis             M (SD)                    Total (%)                    Total (%)                     1-10                 11-20                 21+

  GD                   17.2 (10.7)                21(95%)                       18 (82%)                   1(4.5%)              1(4.5%)              20(91%)
  ASD                  14.2 (10.2)                 9(43%)                        7(32%)                                         6(27%)                16 (73%)
  GD + ASD             11.9 (10.0)                16 (73%)                       7(32%)                   9(43%)                5(24%)                 7(33%)

     Note: Data were missing for one participant's self-assessment of expertise with ASD and in the reported number of individuals one participant had seen
  clinically. GD = gender dysphoria; ASD = autism spectrum disorders; Years Experience = years experience working with this population; Expert with
  Population = participant has aprimary clinical specialty and advanced training with this population; Published in Population = participant has published at least
  one peer-reviewed article in an area related to this population.




  psychology (45.5%), psychiatry (31.8%), endocrinology                                  Next, two readers worked to synthesize the data into
  (9.1%), pediatrics (4.5%), social work (4.5%), and counsel-                         summary statements, working independently and then
  ing (4.5%). A majority of participants reported participation                       together to achieve consensus for how best to express the
  in peer-reviewed academic research, with 32% published in                           ideas clearly and concisely while maintaining the integrity
  the field of ASD, 77% in GNC/GD, and 32% in co-occur-                               of the participants' intents. This process included removing
  ring GNC/G[) and ASD. Twenty-one of the 22 participants                             repetitious data, as well as generating astructure for orga-
  were child/adolescent specialists, and one participant was an                       nizing the statements. The resulting statements were pre-
  adult specialist with significant experience working with                           sented to the participants for their review (Round 2 of the
  children/adolescents. Three of the participants reside and                          Delphi procedure), without any indication linking authors/
  work in Europe (the Netherlands), and the others work in                            names to statements. Participants were asked whether they
  the United States. A majority of participants were affiliated                       agreed or disagreed with each statement, and if they dis-
  with academic medical center clinical and/or research pro-                          agreed, what changes would need to be effected in the
  grams at the time of this study (20 of the 22 participants).                        statement for them to agree. Twenty people participated in
  See Table 1for asummary of participant training, speciali-                          the second round: 17 of the original 19 participants and
  zation, and experience.                                                             three participants who chose not to participate in the first
      Informed consent was obtained from all individual parti-                        round of the Delphi procedure. The "new" participants were
  cipants included in the study. For the first round of the                           allowed to respond to the second questionnaire even though
  Delphi interviews, participants were asked to complete                              they did not give any input into the original questionnaire,
  online surveys, responding to 12 areas of clinical care.                            because their input provided more perspectives, which is
  Questions focused on diagnosis/evaluation, treatment, and                           critical in a field in which there are few experts. This
  significant issues that affect people with the co-occurrence.                       inclusive method has been used in previous studies using
  Nineteen participants completed this first round. The data                          the Delphi procedure (Keeney et al., 2011).
  were compiled and coded using NVivo qualitative data                                    Statements were evaluated for consensus, with 75% con-
  analysis computer software (NVivo 10, 2012). The data                               sensus required for astatement to be included in the expert
  were first divided between the main categories of diagnos-                          guidelines (see Results section). If participant recommenda-
  tics and intervention, with considerable overlap between the                        tions for editing astatement could be made without chan-
  two. Because terminology in the data was extremely diverse                          ging the essence of the statement, these slight edits were
  for clinical and gender issues, the NVivo search mechanism                          made. These edits were often clarifications, or more inclu-
  would have resulted in asignificant loss of data. Therefore                         sive language to describe variations in gender. Finally, all
  we used the manual coding functions of NVivo, which                                 expert participants were invited to identify themselves and
  resulted in the following principle thematic areas: approach                        serve as coauthors of this resulting article. A majority of the
  to assessment, differential diagnosis, and treatment.                               participants (> 90%) consented to identify themselves as
  Subcategories within these thematic areas included diagnos-                         coauthors. Additional informed consent was obtained from
  ing GD in youth diagnosed with ASD, diagnosing ASD in                               all identified participants. This group then participated in the
  youth with GD, assessment protocols, appropriate clinical                           editing of the resulting article, with the exception of the
  specialists/team, challenges working with other providers,                          Results section, which was produced through the Delphi
  parent/family involvement, protocols for treatment, treat-                          procedure and is presented in its original form based on
  ment targets, treatment approaches, issues of safety, and                           that process. The first three authors were primary architects
  coping/socialization.                                                               of the study, and the final author made significant




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      contributions to the statistical methods. All of the other                              adolescent, including cognitive level, executive function/
      authors were from the expert participant panel, listed as                               future thinking-skills, communication abilities, social
      Authors 4-22. The author order, excluding the first three                               awareness, and self-awareness. Understanding this profile
      authors and the last author, was determined by arandom                                  of skills will help inform the clinical approaches to best
      procedure.                                                                              match the patient's profile/strengths. Given the increased
                                                                                              incidence of gender issues among people diagnosed with
                                                                                              ASD, youth with ASD should also be screened for gender
                                     RESULTS                                                  issues. Screening may be accomplished by including afew
                                                                                              questions about gender identity on an intake form and/or by
      The following is the document that was developed through                                including some content about gender issues in the clinical
      the Delphi procedure, with an average of 89.6% agreement                                interview. If gender concerns are noted, areferral should be
      for all items. These guidelines were created to accompany                               made to an appropriate gender specialist for assessment and
      and support existing best practice GD/GNC treatment                                     supports. See Figure 1for aclinical assessment protocol.
      guidelines for adolescents (e.g., Adelson & American                                       The diagnosis of ASD should not exclude an adolescent
      Academy of Child and Adolescent Psychiatry Committee                                    from also receiving a GD diagnosis and, when indicated,
      on Quality Issues, 2012; Coleman et al., 2012). Minor                                   appropriate GD-related treatment. However, clinicians and
      clarifications to the guidelines were made following masked                             parents sometimes dismiss GD as atrait of ASD (e.g., as an
      review, all of which were considered and approved by the                                overfocused or unusual interest). Although in some cases
      author team. Contentious items that need further considera-                             GD symptoms appear to stem from ASD symptoms, many
      tion and research are reviewed in the discussion.                                       adolescents have persistent GD independent of their ASD.
                                                                                              Similarly, an undiagnosed ASD can be missed if aclinician
                                                                                              and/or parents view an adolescent's social difficulties as
      Assessment
                                                                                              stemming from GD-related challenges alone. Parents and/
      When assessing for co-occurring ASD and GD, gender                                      or clinicians may resist further assessments after receiving
      specialists and autism specialists should collaborate to be                             one diagnosis, whether it be ASD or GD, if they view all
      part of the assessment when there is no available clinician                             symptoms through the lens of the initial diagnosis.
      skilled in both specialties. Due to the complexity of diag-                                Diagnosing ASD can be complex in gender nonconform-
      nosis in many of these cases, there may be amore extended                               ing youth. A young person might appear socially awkward
      diagnostic period and clinical decisions may proceed more                               or withdrawn related to their history of GNC, such as when
      slowly. Given the high incidence of ASD among adoles-                                   there has been insufficient opportunity to develop asense of
      cents with GNC/GD, gender referrals should be screened for                              social belonging and acceptance. Diagnosing GD can be
      ASD. If ASD is suspected and the screening clinician is not                             complex in adolescents with ASD due to ASD-related
      an ASD specialist, the patient should be referred to an ASD                             weaknesses in communication, self-awareness, and execu-
      specialist for ASD diagnostics. ASD-related evaluation can                              tive function. For example, ASD communication deficits
      provide important information about the capacities of the                               can result in unclear, tangential communication, which can



       • Emergency intakes: If the adolescent presents in astate of emergency, as some gender dysphoria (GD) referrals do, then as in any assessment, the first priority is
        risk reduction/safety. Hospitalization may be necessary in extreme cases to prevent self-harm/mutilation, though psychiatric hospital units are often not equipped
        to work with gender dysphoric adolescents with autism spectrum disorders (ASD), and so outside consultation to the unit may be necessary. Ultimately, engaging
         atherapist with training (or consultation support) in both ASD and gender nonconformity/GD may be acritical step; helping apatient understand that relief is
         coming and that their gender-needs will be addressed may reduce safety risks, and support further assessment.
         ASD assessment: When an ASD diagnosis is suspected, it is important for an autism specialist to confirm the diagnosis, if adiagnosis has not been established.
         Whenever possible, aneuropsychological/autism evaluation should be conducted to evaluate the impact of ASD on an adolescent's ability to understand and report
         GD symptoms as well as engage in therapy/treatments. Evaluations should include assessment of general cognitive skills, executive function skills (impulse
         control, flexibility, planning, future thinking), communication skills, emotional functioning, self-awareness/social cognition, and capacity for self-advocacy.
         Knowledge of the young person's capacities will inform the GD diagnosis process (i.e., how to best obtain clinical/diagnostic information and understand that
         information), as well as deciding on clinical treatment options (i.e., the ability to understand treatments, comply with treatments, consider arange of gender
         possibilities vs. concrete/black-and-white thinking).
       •Gender-related assessment: When gender issues are reported/suspected in an adolescent with ASD, astructured interview should be used to assess for gender
        dysphoria, including dysphoria over time, intensity of dysphoria, and its pervasiveness. Whenever possible, it is important to obtain additional report from other
         sources (e.g., parents), as communication, self-awareness, and self-advocacy skills may be vulnerable in adolescents with ASD. It is difficult to separate the
         assessment and treatment of many of these individuals, because assessment continues throughout the treatment process as the person may develop increased
         understanding of themselves and increased ability to express their wants and needs. Therefore, gender-related diagnostics may take more time. For some individu-
         als, however, GD diagnosis is immediately clear, such as when the dysphoria has been present for an extended period, the young person is already presenting as a
         different gender, or when the level of urgency about gender transition is extreme.



                                                                       FIGURE 1 Assessment protocol.




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  make it difficult to know how an adolescent truly feels about                           people may struggle to see or consider an "in-between"
  their gender. ASD-related executive function deficits may                               solution, such as being afeminine male or "gender queer."
  result in concrete thinking and struggle with ambiguity and                             Gay or bisexual adolescents with ASD may concretely
  future thinking, which can make assessing an adolescent's                               assume that their sexual attraction to the same gender
  understanding of the long-term implications of gender tran-                             means that they must be a different gender. Important to
  sition/treatment challenging. In addition, ASD-related flex-                            note, although some adolescents express gender concerns
  ibility difficulties can limit a young person's ability to                              clearly related to (or due to) their ASD symptoms as just
  embrace the concept of agender spectrum or that gender                                  described, based on our long-term clinical experience with
  can be fluid; adolescents with ASD may present with more                                this population, we have observed that many have enduring
  "black-and-white" thinking about gender.                                                GD and are over time found appropriate for GD supports/
      Adolescents with ASD may have limited self-awareness                                treatment (see also de Vries et at., 2010).
  and may struggle to recognize or understand their gender
  concerns until later in development. There are some young
                                                                                          Treatment
  people with ASD who do not embody abinary transgender
  presentation (e.g., they may not work to present as adiffer-                            Assessment and treatment of gender-related issues in ado-
  ent gender, they may not dress as adifferent gender, they                               lescents with the co-occurrence often overlap and blur
  may not be concerned with their name, etc.) These varia-                                because insight, flexible thinking, communication, and
  tions from more common GD presentations may raise issues                                other skills develop over time in ASD treatment.
  of credibility for parents, medical/psychological profes-                               Assessment may continue over time as the young person,
  sionals, and so on. However, many such youth appear to                                  through treatment, develops increased capacity for thinking
  have persistent gender signs, feelings, or experiences of                               and communicating about their gender. Treatments often
  another gender and should not be excluded from considera-                               must address both diagnoses (GD and ASD) concurrently
  tion of GD diagnosis and appropriate related treatments,                                and evaluate the gender-related needs as therapy progresses
  tailored to their individual needs.                                                     and patients have abetter understanding of their needs and
      ASD-related symptoms can sometimes create or intensify                              challenges, the possible solutions that might meet their
  an identification with GD. Rigid, overly concrete thinking                              needs, and their consequences. See Figure 2for atreatment
  (i.e., black-and-white thinking) in adolescents with ASD                                checklist. Adolescents and their parents often require psy-
  and milder gender concerns may lead some children/adoles-                               choeducation about the nature of the co-occurrence of ASD
  cents to assume that their gender nonconforming interests/                              and GNC/GD (e.g., that this is a common co-occurrence,
  traits imply full GD and aneed for transition. These young                              that there are arange of options/outcomes), with afocus on




   oEstablish appropriate clinical team, ideally aclinician trained in both autism spectrum disorders (ASD) and gender nonconformity/gender dysphoria
        (GNC/GD), or clinicians collaborating from each specialty.
    oAddress and assess intensity of gender feelings/urgency throughout the treatment process, as assessment often continues during treatment, informing and
        shaping the goals of the treatment. Key clinical questions:
               a. Is the GD clear, urgent, pervasive, and persistent over time (i.e., meeting full diagnostic criteria for GD)? If yes, consultation with medical
                  transition services may be indicated (see "If medical transition is indicated" below).
               b. Does the GD increase or decrease with intervention (e.g., as adolescent develops increased social/self-awareness, executive function flexibility
                   and big picture thinking skills, communication/self-advocacy skills)?
    oProvide psycho-education about and explore the possibility of arange of gender outcomes (e.g., gender spectrum, incorporating aspects of adifferent
        gender without full gender transition, etc.) This may require specific approaches targeting ASD related deficits in cognitive flexibility (i.e., reducing all or
        nothing/black and white thinking).
    oProvide structure, as necessary, for gender exploration, supporting the adolescent's ability to explore gender transition, including clothing, name, pronouns,
        etc. Parents may need to assume acentral role in helping facilitate an individual's exploration of their gender when ASD-related weaknesses in daily living
        skills, planning and self-advocacy interfere with that exploration. Such family support may include reminding ayoung person of their gender exploration
        therapy goals during the week, helping ayoung person to obtain appropriate clothing to try on, and so forth.
    o Over the course of treatment, assess for signs that the adolescent's experience of GNC/GD is caused by comorbidities or symptoms of ASD (e.g., ASD
        preoccupations, misinterpreting sexual orientation for gender, etc.) If it becomes clear that awish to transition is caused by acomorbidity or symptoms of
        ASD, explore alternative solutions to gender transition.
    o If medical transition is indicated during the process, ensure that apediatric endocrinologist (or similar medical specialist) trained in GD is engaged in the
        treatment to discuss risks/benefits of pubertal blockade and/or cross sex hormones. The endocrinologist/medical specialist and other treatment providers
        (e.g., autism specialist) should collaborate around diagnostics and treatments. If medical treatments begin, provide concrete psycho-education about
        treatment side effects, risks and benefits and ensure that these issues are understood by the adolescent with concurrent GD and ASD.
    o Consider the accessibility and appropriateness of adjunct gender and/or ASD-related supports/services. Provide support, coaching, and vetting as needed.
        For example, an LGBT youth group leader may require some coaching in how to welcome and engage aperson with ASD, and an autism skills group
        provider may require support in how to work with aGD/gender nonconforming adolescent.



                                                     FIGURE 2 Treatment checklist (psychosocial and medical).




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      how GD presentation may be different in individuals with            the inherent complexities of GNC/GD and transition.
      ASD than those without ASD (e.g., differences in presenta-          Specific challenges often arise in the areas discussed next.
      tion and age of onset) and how the assessment/treatment
      process will unfold. To the extent possible, the assessment/
                                                                          Social
      intervention sequence should be outlined in a straightfor-
      ward and visual manner for the adolescent with ASD (e.g., a         For some young people with this co-occurrence, it may be
      checklist or flowchart), using clear language to reduce over-       difficult/anxiety provoking to express their gender publicly,
      load and increase participation in treatment. To reduce the         such as at school or at work. Others are surprisingly resilient
      conceptual complexity and vagueness of gender-related con-          and unconcerned (or perhaps unaware) with how others
      cepts, the concepts should be presented as simply and con-          experience them, related to their apparent disconnect from
      cretely as possible.                                                social expectations/bias. Our experience is that the co-occur-
          Some adolescents with the co-occurrence struggle with           rence can often lead to increased social isolation, as both
      treatment compliance. They may not see the purpose, or              ASD and GD can in themselves be isolating, and together
      may not have sufficient organizational skills to attend reg-        the impact is exacerbated. These individuals may struggle to
      ular appointments (e.g., psychotherapy or medical) without          fit in with ASD treatment/social groups due to their GD, and
      supports. Given the importance of ongoing monitoring and            teen gender support groups may struggle to welcome them
      counseling, it is critical to develop aplan to maximize a           due to their ASD-related social differences, which may be
      patient's motivation and ability to participate consistently in     off-putting to non-ASD peers. Sometimes the primary social
      the treatment process. Parent/caregiver involvement is often        contact that these adolescents have is through Internet-based
      necessary to support treatment compliance, help move the            transgender-related blogs/groups, and this may be where they
      therapy goals along, and help clarify key information such          are first introduced to the concept of GD/transgenderism.
      as intensity of symptoms/gender dysphoria, gender expres-
      sion/behaviors outside of treatment, and so on. An adoles-
                                                                          Medical Treatments
      cent with ASD may not know how to present as adifferent
      gender, such as choosing/obtaining appropriate clothing.            An ASD diagnosis should not exclude the potential for
      Parent/caregiver involvement may be necessary to guide              medical GD treatments, including puberty suppression
      the gender exploration process. Young people with ASD               and cross-sex hormone intervention. Of these treatments,
      who are transitioning may require family organizational             puberty suppression is considered to have generally rever-
      supports for transition to manage hormone treatments, med-          sible effects if discontinued, though further research is
      ical appointments, remembering aspects of dress/presenta-           required (Schagen, Cohen-Kettenis, Delemarre-van de
      tion, and so forth.                                                 Waal, & Hannema, 2016). Cross-sex hormones may
          Adolescents who are clearly in an exploratory phase of          have more permanent effects, even if discontinued (Seal,
      gender (e.g., with unclear or inconsistent signs of GD) should      2016). More caution may need to be taken in this popula-
      be encouraged to explore their gender identity over time            tion when deciding on medical treatments that may have
      before being considered for any potentially irreversible gen-       irreversible effects given the presence of ASD-related
      der-related medical treatments. Clinical work may help ado-         deficits in future thinking and planning. Because it is
      lescents explore whether they might be more comfortable             often harder for an adolescent with ASD to comprehend
      with their body than they originally assert and/or whether          the long-term risks and implications of gender-related
      they might feel comfortable identifying somewhere outside of        medical interventions, consenting for treatment may be
      the gender binary (i.e., "gender spectrum"). A focus on             more complex in this population. It is important for the
      comorbid symptoms may be helpful during this phase, such            clinician to develop aspecialized consenting plan for an
      as treatments targeting executive function (e.g., flexibility/big   adolescent with ASD and GD, with the benefits and risks
      picture thinking), communication, social cognition, and so          presented in aconcrete manner, appropriate for the young
      on. By providing concrete psychoeducation about how gen-            person's cognitive and communication abilities. If hor-
      der for some people can be fluid, not just binary and physical,     mone treatment is initiated, it may be helpful in some
      and concurrent intervention targeting flexible thinking and         adolescents to start with lower doses and increase more
      self-awareness, some individuals with less urgent gender            gradually. Attention should be given to how ASD-related
      presentations may realize that full gender transition does not      sensory issues and problems with changes in routine may
      fit them. These young people may become more comfortable            impact medical treatments (e.g., pill taking, injections).
      with a less binary solution, such as maintaining a female           The Delphi group could not achieve consensus on exact
      body while expressing some male-typical interests/behaviors.        criteria for commencing medical treatments in this popu-
          For those adolescents who ultimately engage in some             lation, but several of the key considerations offered by
      level of transition or cross-gender presentation/identifica-        the Delphi team are reviewed in the Discussion section
      tion, intervention may be required to help them navigate            (paras. 3-4).




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  Medical Safety                                                        School and Employment

  Adolescents with ASD and GD may pose ahigher risk for               Youth with ASD or GNC/GD may have more difficulties at
  medical compliance and medical safety. Young people with            school or in the workplace due to related challenges and/or
  this co-occurrence may have difficulty following aspecific          stigma; a co-occurring diagnosis of ASD and GNC/GD
  medical protocol. For example, it may be more challenging           often compounds these difficulties. Young people with the
  for some adolescents with this co-occurrence to remember            co-occurrence may have more problems navigating their
  to take medications, maintain regular medical checkups, and         gender presentation at work or in school and may be less
  refill prescriptions. Some may struggle with making safe            aware of the potential safety risks and how others are
  decisions, such as taking the appropriate (prescribed) dose         perceiving them. Finding and maintaining ajob and devel-
  of hormones/medications or obtaining hormones/medica-               oping acareer is challenging for many people with ASD,
  tions through a doctor, rather than illegally and/or from           and with additional GNC/GD-related issues of stigma/bias
  abroad. Adolescents with this co-occurrence often have              (i.e., hiring/firing practices), they may have even fewer job
  unrealistic expectations from treatment and medical inter-          opportunities.
  ventions, including the belief that hormones alone will
  result in aperfect/complete transition. Unrealistic thinking
                                                                        Romantic Relationships
  about the transformational possibilities of medical interven-
  tions may be followed by disappointment/hopelessness,                 It can be difficult for ayoung person with co-occurring ASD
  when a young person's expectations for their body (or                 and GD to understand why potential romantic partners might
  others' perceptions of them) fall short of reality. Medical           feel and respond differently to atransgender person regarding
  safety issues may be even more complex when an adoles-                issues of dating and sexual attraction. GD youth without ASD
  cent with ASD has lower cognitive skills and/or signifi-              more easily comprehend the social nuances of being trans-
  cantly impaired communication skills.                                 gender and dating, whereas ayoung person with GD and
                                                                        ASD may struggle to understand why apotential partner does
                                                                        not just accept them as their transitioned/intended gender. It
  Risk of Victimization/Safety
                                                                        can be challenging to help people with this co-occurrence
  These youth are at high risk for being bullied and exploited          understand that their medical and dating/romantic decisions
  and for being victims of violence. Some struggle with                 affect the life of their romantic partner as well. They may
  gender transition, making them less likely to "pass" as               struggle to understand the implications of failing to disclose
  their affirmed gender, which may increase their risk for              their transgender status to aromantic partner and that gender
  victimization. ASD-related deficits can make it difficult for         transition mid-relationship might be hard for the other person
  them to consider the safety demands of social and romantic            to accept. These young people may have increased difficulty
  interactions, such as the implications of nondisclosure of            finding an understanding partner who can accept both ASD
  transgender status in romantic encounters and meeting/being           and GD. Although the dating pool may be narrowed for these
  in potentially unsafe locations. They may be less aware of            individuals, there may be some structure for finding apartner
  the relative safety level of different settings/situations (e.g.,     within specific groups, such as agroup of people with ASD,
  when in agroup of supportive friends in locations that are            who themselves may be less concerned with GD in apoten-
  transgender friendly vs. walking alone at night in an unfa-           tial dating partner.
  miliar setting). In addition, societal prejudice/victimization,
  combined with poor coping strategies, detail-oriented and
  rigid thinking, and social difficulties/isolation may contri-                                DISCUSSION
  bute to suicidal ideation.
                                                                        This study found that agroup of international clinicians and
                                                                        researchers, highly experienced in working with adolescents
  Young Adulthood
                                                                        with co-occurring GD and ASD, were able to achieve con-
  Because transition to adulthood is aparticular challenge for          sensus around abroad set of initial clinical guidelines for
  adolescents with ASD and because skills necessary for                 working with this population. Study participation rates
  young adult life must be practiced during the school-age              reflect the importance of this clinical inquiry, as the overall
  years (Howlin & Moss, 2012; Parsi & Elster, 2015), the                participation rate of clinicians/researchers who met "expert
  Delphi team offered some commentary on topics bridging                criteria" was 85%, and 73% of the consensus panel partici-
  into young adulthood (employment and romantic relation-               pated in both rounds of the Delphi procedure. Several pri-
  ships). These areas are included so that clinicians may               mary themes emerged in the consensus guidelines.
  provide targeted psychoeducation and therapeutic supports             Participants emphasized the importance of screening for
  aimed at helping the young person navigate these challenges           ASD among gender referrals and the importance of screen-
  in their transition to adulthood.                                     ing for gender issues among ASD referrals. There was




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                                                                                  ADOLESCENT CO-OCCURRING ASD AND GD              113

      acknowledgment that the assessment and intervention               significantly to get started with gender affirmation/transition
      aspects of care must often overlap, as ASD-related treatment      until they feel that their medical needs have begun to be
      supports the ability for adolescents to consider different        addressed. Some Delphi participants noted that the execu-
      gender-related options/outcomes, contemplate future impli-        tive function and adaptive challenges of many teens with
      cations, and self-advocate for what they need regarding           ASD often interfere with their ability to move forward with
      gender. The panel noted amore extended diagnostic process         outward expressions of gender affirmation/transition and
      for many adolescents with the co-occurrence while they            that commencing requested medical treatments may be
      agreed that many adolescents with the co-occurrence are           appropriate if the teen's experience of GD and gender-
      ultimately over time found appropriate for gender transition      related needs are clear, even when there are few (or slowly
      services.                                                         progressing) outward signs of gender transition/affirmation.
         The Delphi group did not reach consensus on several                Some Delphi participants emphasized the importance of
      key clinical issues. Although prior literature has reported       considering the broad range of gender-related experiences/
      that in some adolescents, apparent overfocused interest in        expression that are present in many individuals with GD
      gender-related imagery/concepts appears to have driven            and ASD when considering medical treatments, and care-
      the report of GD (de Vries et al., 2010), only 64% of the         fully avoiding expectations/biases, such as that gender
      panel had experienced this clinical phenomenon, and so it         must be binary (e.g., gender is male or female) or that
      was not included in the guidelines. A majority of partici-        outward gender expression and inner experience of gender
      pants noted that in some cases gay or lesbian adolescents         must be clearly parallel. From this perspective, some
      with ASD may concretely assume that their sexual attrac-          Delphi participants encouraged more flexible approaches
      tion to the same gender implies that they are adifferent          to medical treatments to address an individual's specific,
      gender. However, several Delphi participants reported             and sometimes nonbinary, needs; for example, an indivi-
      never experiencing this clinically. Most participants             dual who feels the need to suppress male-typical character-
      emphasized the particular challenges that ASD adds to             istics but who does not wish to increase female-typical
      GD, though some described potential protective effects            characteristics could be considered for antiandrogen med-
      related to ASD profiles, noting that adolescents with             ication without estrogen. Given the complexity of the
      ASD may be less aware of social bias or social expecta-           many treatment factors highlighted by Delphi participants,
      tions and may therefore be less worried about how others          the Delphi method did not produce simple consensus state-
      may react to their transition or gender presentation. This        ments around when and how to provide medical treatment
      concept has been previously discussed in the literature,          in this population. Future work should aim to synthesize
      related to the finding that children and adolescents with         the different, and in some cases seemingly competing,
      ASD and GD symptoms had less parent-reported anxiety              treatment considerations and emphasize longitudinal treat-
      than children with GD and other neuro developmental dis-          ment outcome studies in this population to better inform
      orders (Strang et al., 2014). Although most participants          treatment decision-making approaches.
      noted that adolescents with this co-occurrence may pose               This study has several limitations. First, although we
      higher risk for medical safety and treatment compliance,          employed an intensive procedure to locate clinical and
      some participants noted that some young people on the             research expert participants internationally, a majority of
      autism spectrum may have increased treatment adherence            participants were from the United States, and the remaining
      related to their strength in following routines exactly.          participants were from the Netherlands. In addition,
          A key area of divergence between Delphi participants          although a diverse group of professionals are represented
      was around the question of specific criteria for commencing       (e.g., psychologist, psychiatrist, etc.), a majority of our
      medical interventions. Some participants endorsed the             participants were affiliated with academic medical centers,
      importance of adolescents experiencing their affirmed gen-        and we did not include key stakeholders such as adolescents
      der in daily life (i.e., living as their affirmed gender) in at   with the co-occurrence and their families. Second, the study
      least some settings (e.g., at home, in gender group therapy,      focused on arestricted age range (puberty age through age
      etc.) prior to commencing medical treatment. These partici-        19). Although many of the recommendations may also be
      pants felt that the experience adolescents with ASD gain by       useful for adults with GD and ASD, additional guidelines
      living as their affirmed gender in at least some settings helps   must be developed to address adult-specific issues such as
      them to assess whether gender transition (and medical treat-      decision making around surgical procedures, which gener-
      ments) are the best fit, and therefore allows them to more        ally do not occur until the age of majority. Development of
      confidently consent for treatment. However, other Delphi          clinical care guidelines for prepubertal children is also
      participants were concerned that requiring adolescents to         clearly an important future direction. Finally, because these
      "live as" their affirmed gender prior to beginning medical        guidelines generally rely on some level of verbal commu-
      treatments is an inappropriate barrier. Of those who advo-        nication with the adolescent, they are appropriate for indi-
      cated amore flexible approach around commencing treat-            viduals without severe intellectual disability or severe
      ment, some noted that some adolescents with ASD struggle          language disorders; cognitive and language impairments




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  that make communication about gender needs, the nature of                      de Vries, A. L. C., Noens, I. L. J., Cohen-Kettenis, P. T., van Berckelaer-
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  current work. This limitation was highlighted in the Delphi                       093 5-9
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